&YIJCJU"8BVLFTIB$PVOUZ$JSDVJU$PVSU
            &MFDUSPOJD3FDPSE




    Case 2:20-cv-01820-JPS Filed 12/09/20 Page 1 of 272 Document 1-2
                      Case 2020CV001583                    Document 1                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 TOWN OF EAGLE
                                 820 E MAIN STREET
                                 EAGLE WI 53119




                              D
                Case number 2020CV001583 was electronically filed with/converted by the Waukesha aukesha
                                                                                                   ukesh
                                                                                             w for fast, reliable
                County Circuit Court office. The electronic filing system is designed to allow           reli



                             E
                exchange of documents in court cases.




                            T
                Parties who register as electronic parties can file, receive andd view
                                                                                    ew documents online through
                                                                                                           th
                                                                                                           t
                                                                            ronically
                                                                             onically has the same legal
                the court electronic filing website. A document filed electronically                 lega effect as




                           C
                                                                        ties are responsible for
                a document filed by traditional means. Electronic parties                    fo serving
                                                                                                 ser
                non-electronic parties by traditional means.




                         DA
                http://efiling.wicourts.gov/ and may
                                                          arty by following the instructions
                You may also register as an electronic party
                                                    ayy withdraw as an electronic
                                                ctronic party.
                $20.00 fee to register as an electronic pa
                                                                                 instru
                                                                         electroni
                                                                         electro
                                                                                              found at
                                                                                     party at any time. There is a




                        E
                                         ted by an attorney and would
                If you are not represented                      wou like to register an electronic party, you
                                                                wo
                                    he following code on the eF
                will need to enter the                       eFiling website while opting in as an electronic



                       R
                party.




                      N
                     e opt-in code:
                Pro Se        code 596b65
                                    59

                Unless you register as a
                                       an electronic party, you will be served with traditional paper documents



                     U
                by other parties and by the court. You must file and serve traditional paper documents.

                 egistratio is available to attorneys, self-represented individuals, and filing agents who are
                 egistration
                Registration
                   horiz under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                authorized
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 2 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 2                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 TOWN OF EAGLE TOWN BOARD
                                 820 E MAIN STREET
                                 EAGLE WI 53119




                              D
                Case number 2020CV001583 was electronically filed with/converted by the Waukesha aukesha
                                                                                                   ukesh
                                                                                             w for fast, reliable
                County Circuit Court office. The electronic filing system is designed to allow           reli



                             E
                exchange of documents in court cases.




                            T
                Parties who register as electronic parties can file, receive andd view
                                                                                    ew documents online through
                                                                                                           th
                                                                                                           t
                                                                            ronically
                                                                             onically has the same legal
                the court electronic filing website. A document filed electronically                 lega effect as




                           C
                                                                        ties are responsible for
                a document filed by traditional means. Electronic parties                    fo serving
                                                                                                 ser
                non-electronic parties by traditional means.




                         DA
                http://efiling.wicourts.gov/ and may
                                                          arty by following the instructions
                You may also register as an electronic party
                                                    ayy withdraw as an electronic
                                                ctronic party.
                $20.00 fee to register as an electronic pa
                                                                                 instru
                                                                         electroni
                                                                         electro
                                                                                              found at
                                                                                     party at any time. There is a




                        E
                                         ted by an attorney and would
                If you are not represented                      wou like to register an electronic party, you
                                                                wo
                                    he following code on the eF
                will need to enter the                       eFiling website while opting in as an electronic



                       R
                party.




                      N
                     e opt-in code:
                Pro Se        code 596b65
                                    59

                Unless you register as a
                                       an electronic party, you will be served with traditional paper documents



                     U
                by other parties and by the court. You must file and serve traditional paper documents.

                 egistratio is available to attorneys, self-represented individuals, and filing agents who are
                 egistration
                Registration
                   horiz under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                authorized
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 3 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 3                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 DON MALEK
                                 820 E MAIN STREET
                                 TOWN OF EAGLE CHAIRMAN
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 4 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 4                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 CHRIS MOMMAERTS
                                 820 E MAIN STREET
                                 TOWN OF EAGLE SUPERVISOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 5 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 5                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 STEVE MUTH
                                 820 E MAIN STREET
                                 TOWN OF EAGLE SUPERVISOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 6 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 6                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 JANICE SUHM
                                 820 E MAIN STREET
                                 TOWN OF EAGLE SUPERVISOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 7 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 7                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 DANIEL WEST
                                 820 E MAIN STREET
                                 TOWN OF EAGLE SUPERVISOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 8 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 8                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 MUNICIPAL LAW & LITIGATION GROUP, S.C.
                                 730 N GRAND AVENUE
                                 TOWN OF EAGLE ATTORNEY
                                 WAUKESHA WI 53186




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 9 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 9                 Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 MARTIN MONTOYA
                                 820 E MAIN STREET
                                 TOWN OF EAGLE BUILDING INSPECTOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                           Case 2:20-cv-01820-JPS Filed 12/09/20 Page 10 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                           §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2020CV001583                    Document 10                Filed 11-09-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                          CIRCUIT COURT                                      WAUKESHA              11-09-2020
                                                                                                                                     Clerk of Circuit Court
Erica Brewer et al vs. Town of Eagle et al                                                 Electronic Filing                         Waukesha County
                                                                                                Notice
                                                                                                                                     2020CV001583
                                                   Case No. 2020CV001583
                                                   Class Code: Declaratory Judgment



                                 TIM SCHWECKE
                                 820 E MAIN STREET
                                 TOWN OF EAGLE PLANNER AND ZONING ADMINISTRATOR
                                 EAGLE WI 53119




                             ED
                Case number 2020CV001583 was electronically filed with/converted by the      e Waukesha
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable
                exchange of documents in court cases.




                           CT                                              e and view documents online
                Parties who register as electronic parties can file, receive
                                                                        lectronically
                                                                             onically has the same
                the court electronic filing website. A document filed electronically
                a document filed by traditional means. Electronicc parties are responsible for
                non-electronic parties by traditional means.
                                                                                              s
                                                                                                   onlin through
                                                                                                   legal effect as
                                                                                             fo serving




                         DA
                http://efiling.wicourts.gov/ and
                                                    nic
                You may also register as an electronicic party by following the instructions
                                                d may withdraw as an electronic
                                           n electronic party.
                $20.00 fee to register as an            par
                                                                         elec
                                                                                in           found at
                                                                                    party at any time. There is a




                party.

                       RE           esented by an attorney and would like to register an electronic party, you
                If you are not represented
                                ter the following code on the
                will need to enter                        th eFiling website while opting in as an electronic


                 ro Se opt-in code: 596b65
                Pro




                     UN
                Unless you regi


                   gistr
                Registration
                                    596

                            register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                             is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-548-7525.

                                                                                    Waukesha County Circuit Court
                                                                                    Date: November 9, 2020




                           Case 2:20-cv-01820-JPS Filed 12/09/20 Page 11 of 272 Document 1-2
GF-180(CCAP), 06/2017 Electronic Filing Notice                                           §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
  Case 2020CV001583     Document 11      Filed 11-09-2020      Page 1 of 55
                                                                              FILED
                                                                              11-09-2020
                                                                              Clerk of Circuit Court
                                                                              Waukesha County
                                                                              2020CV001583

   STATE OF             CIRCUIT          WAUKESHA
  WISCONSIN             COURT             COUNTY




PLAINTIFFS

   Erica Brewer                               Case No.: ____________________
   W367 S9594 South Road                      Case Codes: 30701, 30704, 30301
   Eagle, WI 53119-1571

   Zachary Mallory
   W367 S9594 South Road
   Eagle, WI 53119-1571

                                        Plaintiffs,
                   v.
DEFENDANTS

     Town of Eagle
     820 E. Main St.
     Eagle, WI 53119

     Town of Eagle Town Board
     820 E. Main St.
     Eagle, WI 53119

     Don Malek, in his official capacity as
     Chairman of the Town Board
     820 E. Main St.
     Eagle, WI 53119




     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 12 of 272 Document 1-2
Case 2020CV001583     Document 11       Filed 11-09-2020   Page 2 of 55
                                                                          FILED
                                                                          11-09-2020
                                                                          Clerk of Circuit Court
                                                                          Waukesha County
   Chris Mommaerts, in her official capacity as                           2020CV001583
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Steve Muth, in his official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Janis Suhm, in her official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Daniel West, in his official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Municipal Law & Litigation Group, S.C.
   in its official capacity as Town Attorney
   730 N. Grand Ave.,
   Waukesha WI 53186

   Martin Montoya, in his official capacity as
   Town Building Inspector
   820 E. Main St.
   Eagle, WI 53119

   Tim Schwecke, in his official capacity as
   Town Planner and Zoning Administrator
   820 E. Main St.
   Eagle, WI 53119
                                     Defendants.




                                    2
   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 13 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020      Page 3 of 55
                                                                                FILED
                                                                                11-09-2020
                                                                                Clerk of Circuit Court
                                                                                Waukesha County
                                                                                2020CV001583
                                       SUMMONS



THE STATE OF WISCONSIN, To each person named above as a Defendant:

You are hereby notified that the Plaintiffs named above have filed a lawsuit against you.

The complaint, which is attached, states the nature and basis of the legal action.

       Within twenty (20) days of receiving this summons, you must respond with a

written answer, as that term is used in chapter 802 of the Wisconsin Statutes, to the

complaint. The court may reject or disregard an answer that does not follow the

requirements of the statutes. The answer must be sent or delivered to the court, whose

address is:

              Clerk of the Circuit Court for Waukesha County
              Waukesha County Courthouse
              515 W. Moreland Blvd.
              Waueksha, WI 53188

and to Michael Van Kleunen, Plaintiffs’ attorney, whose address is:

              Michael Van Kleunen
              CRAMER, MULTHAUF & HAMMES, LLP
              1601 East Racine Ave., Ste. 200
              Waukesha, WI 53186

Plaintiffs also request that you please send copies of your answer to Plaintiffs’ lead

counsel—Kirby West, Marie Miller, and Alexa Gervasi—whose pro hac vice applications

are currently forthcoming. Their addresses are:




                                        3
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 14 of 272 Document 1-2
   Case 2020CV001583        Document 11    Filed 11-09-2020        Page 4 of 55




               Kirby West
               Marie Miller
               Alexa Gervasi
               INSTITUTE FOR JUSTICE
               901 N. Glebe Suite, Suite 900
               Arlington, VA 22203

You may have an attorney help or represent you.

       If you do not provide a proper answer within twenty (20) days, the court may

grant judgment against you for the award of money or other legal action requested in the

complaint, and you may lose your right to object to anything that is or may be incorrect

in the complaint. A judgment may be enforced as provided by law.

       Dated this 9th day of November, 2020.

                                          Electronically signed by Michael Van Kleunen
 Kirby West* (Pa. Bar No. 321371)         Michael Van Kleunen
 Marie Miller* (Ind. Bar No. 34591-53)    (Wis. Bar No. 1113958)
 Alexa Gervasi* (D.C. Bar No.             CRAMER, MULTHAUF & HAMMES, LLP
 1500433)                                 1601 East Racine Ave., Ste. 200
 INSTITUTE FOR JUSTICE                    Waukesha, WI 53186
 901 N. Glebe Suite, Suite 900            (262) 542-4278
 Arlington, VA 22203                      mvk@cmhlaw.com

 * Lead counsel for Plaintiffs; Pro Hac   Local Counsel for Plaintiffs
 Vice Applications Forthcoming




                                        4
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 15 of 272 Document 1-2
  Case 2020CV001583     Document 11      Filed 11-09-2020      Page 5 of 55
                                                                              FILED
                                                                              11-09-2020
                                                                              Clerk of Circuit Court
                                                                              Waukesha County
                                                                              2020CV001583

   STATE OF             CIRCUIT          WAUKESHA
  WISCONSIN             COURT             COUNTY




PLAINTIFFS

   Erica Brewer                               Case No.: ____________________
   W367 S9594 South Road                      Case Codes: 30701, 30704, 30301
   Eagle, WI 53119-1571

   Zachary Mallory
   W367 S9594 South Road
   Eagle, WI 53119-1571

                                        Plaintiffs,

                   v.

DEFENDANTS

     Town of Eagle
     820 E. Main St.
     Eagle, WI 53119

     Town of Eagle Town Board
     820 E. Main St.
     Eagle, WI 53119

     Don Malek, in his official capacity as
     Chairman of the Town Board
     820 E. Main St.
     Eagle, WI 53119




     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 16 of 272 Document 1-2
Case 2020CV001583     Document 11       Filed 11-09-2020   Page 6 of 55
                                                                          FILED
                                                                          11-09-2020
                                                                          Clerk of Circuit Court
                                                                          Waukesha County
   Chris Mommaerts, in her official capacity as                           2020CV001583
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Steve Muth, in his official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Janis Suhm, in her official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Daniel West, in his official capacity as
   Supervisor on the Town Board
   820 E. Main St.
   Eagle, WI 53119

   Municipal Law & Litigation Group, S.C.,
   in its official capacity as Town Attorney
   730 N. Grand Ave.,
   Waukesha WI 53186

   Martin Montoya, in his official capacity as
   Town Building Inspector
   820 E. Main St.
   Eagle, WI 53119

   Tim Schwecke, in his official capacity as
   Town Planner and Zoning Administrator
   820 E. Main St.
   Eagle, WI 53119
                                     Defendants.




                                          2

   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 17 of 272 Document 1-2
   Case 2020CV001583     Document 11      Filed 11-09-2020      Page 7 of 55
                                                                               FILED
                                                                               11-09-2020
                                                                               Clerk of Circuit Court
                                                                               Waukesha County
                                                                               2020CV001583
 CIVIL RIGHTS COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF



                                   INTRODUCTION

      1.     This is a civil-rights lawsuit to vindicate the constitutional rights of Erica

Brewer and Zachary Mallory (the “Mallorys”) to speak freely without retribution from

their local government and to be protected from a deprivation of their property without

due process of law. The Town of Eagle and its Town Board have implemented a policy

or custom of retaliating and discriminating against property owners, such as the

Mallorys, by selectively enforcing Town ordinances against them—and not other

violators of the ordinances—for speaking out against Town officials’ exercise of

authority. The United States Constitution unequivocally prohibits this selective

enforcement. To make matters worse, the Town has deprived the Mallorys of their right

to due process by (1) implementing its selective-enforcement practice through

individuals who have an improper financial interest in the enforcement proceedings;

(2) demanding that the Mallorys either raze certain structures and utility lines on their

property or pay punitive permit fees based on the mere fact that the Town cannot locate

existing permits in its own records; and (3) imposing fines based on unconfirmed

allegations of ordinance violations. The Mallorys are entitled to declaratory and

injunctive relief, as well as nominal damages, to redress these constitutional violations

and to restore the Mallorys’ rights to free speech and enjoyment of their property.

                                            3

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 18 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020    Page 8 of 55




                             JURISDICTION AND VENUE

        2.    The Mallorys bring this civil-rights lawsuit under the First Amendment to

the U.S. Constitution; the Equal Protection Clause of the Fourteenth Amendment to the

U.S. Constitution; the Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution; and the Civil Rights Act of 1871, Rev. Stat. § 1979, as amended, 42 U.S.C. §

1983.

        3.    The Mallorys seek declaratory and injunctive relief, as well as nominal

damages, under Wis. Stat. §§ 806.04 and 813.01 to redress past harms that Defendants

have caused and to enjoin future harms that Defendants continue to cause by selectively

enforcing Town ordinances based on the Mallorys’ protected speech and by depriving

the Mallorys of their right to due process of law.

        4.    This Court has jurisdiction under Wis. Stat. §§ 753.03 and 801.04.

        5.    Venue is proper in this Court pursuant to Wis. Stat. §§ 801.50(2)(a)-(b) and

227.40(1).

                                         PARTIES

        6.    Erica Brewer and Zachary Mallory are a married couple and the owners of

the property located at W367 S9594 South Road, Eagle, Wisconsin 53119-1571 (the

“Farm”). They have been threatened with fines and fees for alleged violations on that

property; those threats are the subject of this lawsuit.




                                              4

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 19 of 272 Document 1-2
   Case 2020CV001583       Document 11     Filed 11-09-2020      Page 9 of 55




       7.     Defendant Town of Eagle (the “Town”) is a municipality in Waukesha

County, Wisconsin. This case concerns unconstitutional ordinance-enforcement policies

or customs instituted by the Town and implemented by the Town’s officials.

       8.     Defendant Town of Eagle Town Board (the “Town Board”) was created by

the Town in accordance with Wis. Stat. § 60.10 and is authorized to, among other things,

determine whether to investigate, pursue, and enforce ordinance violations against

residents of the Town, including the Mallorys.

       9.     Defendant Don Malek is named in his official capacity as the Chairman of

the Town Board. In this role, he is a policymaker for the Town and votes on whether to

investigate, pursue, and enforce ordinance violations, including those that are the subject

of this lawsuit.

       10.    Defendant Chris Mommaerts is named in her official capacity as a

Supervisor on the Town Board. In this role, she is a policymaker for the Town and votes

on whether to investigate, pursue, and enforce ordinance violations, including those that

are the subject of this lawsuit.

       11.    Defendant Steve Muth is named in his official capacity as a Supervisor on

the Town Board. In this role, he is a policymaker for the Town and votes on whether to

investigate, pursue, and enforce ordinance violations, including those that are the subject

of this lawsuit.




                                            5

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 20 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020      Page 10 of 55




       12.    Defendant Janis Suhm is named in her official capacity as a Supervisor on

the Town Board. In this role, she is a policymaker for the Town and votes on whether to

investigate, pursue, and enforce ordinance violations, including those that are the subject

of this lawsuit.

       13.    Defendant Daniel West is named in his official capacity as a Supervisor on

the Town Board. In this role, he is a policymaker for the Town and votes on whether to

investigate, pursue, and enforce ordinance violations, including those that are the subject

of this lawsuit.

       14.    Defendants Malek, Mommaerts, Muth, Suhm, and West are collectively

referred to as the “Board Members.”

       15.    Defendant Municipal Law & Litigation Group, S.C. (“Municipal Law

Group”) is a law firm hired by the Town to enforce ordinance violations. Municipal Law

Group is named in its official capacity as Town Attorney. This lawsuit concerns the

unconstitutionality of Municipal Law Group’s financial interest in investigating,

pursuing and enforcing or threatening to enforce ordinance violations.

       16.    Defendant Martin Montoya is named in his official capacity as the Town

Building Inspector. This lawsuit concerns the unconstitutionality of Montoya’s financial

interest in the Town’s inspection, pursuit, and enforcement of ordinance violations.

       17.    Defendant Tim Schwecke is named in his official capacity as the Town

Planner and Zoning Administrator. This lawsuit concerns the unconstitutionality of

                                            6

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 21 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020   Page 11 of 55




Schwecke’s financial interest in the Town’s investigation, pursuit, and enforcement of

ordinance violations.

                                STATEMENT OF FACTS

                  THE MALLORYS AND THEIR ENJOYMENT OF THE FARM

       18.    Plaintiff Erica Brewer is an operating-room nurse specializing in

cardiothoracic procedures.

       19.    Plaintiff Zachary Mallory is a cyber-security specialist and veteran of the

United States Coast Guard.

       20.    In 2016, the Mallorys purchased their Farm with intention of creating a

stable family business that would generate enough income to provide for the and to

enable them to retire early from their outside professions. For the Mallorys, farming is

not simply a hobby; it is a business and a way of life.

       21.    The Farm is a 3.8-acre property, upon which the Mallorys maintain a house,

barn, chicken coop, and sixteen beehives.

       22.    The house, barn, and water and electrical lines were built and installed on

the Farm at or around the same time in 1997, long before the Mallorys purchased the

property.

       23.    At the time of purchase, the Mallorys were assured that the house, barn,

and original utility lines were properly permitted. They continue to be unaware of any




                                             7

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 22 of 272 Document 1-2
   Case 2020CV001583       Document 11       Filed 11-09-2020     Page 12 of 55




evidence that either the house or the barn were built, or the original utilities were

installed, without the required permits.

        24.     When the Mallorys purchased their Farm, it was zoned as “Agricultural 3”;

however, the Town unexpectedly rezoned the property to “Rural Residential” in 2017,

limiting the Mallorys’ ability to engage in agricultural activities under the Town’s Zoning

Code.

        25.     Despite the rezoning, the Mallorys are allowed to utilize their property for

limited agricultural uses. And because of Mr. Mallory’s service in the armed forces, their

Farm is recognized as a Veteran Farm by the Farmer Veteran Coalition, and the Mallorys

are certified members of the Coalition’s Homegrown by Heroes program.

        26.     The Mallorys’ farming activities provide an important source of income for

their family.

        27.     Prior to Defendants’ actions at issue in this case, the Farm housed a farm

stand, from which the Mallorys sold fresh vegetables, eggs, poultry, and other products

to their neighbors, allowing neighbors to leave payment for their purchases on an honor

system.

        28.     On information and belief, Board Members and their families regularly

purchased products from the Mallorys’ farm stand.

        29.     In addition to growing fresh produce, raising laying hens, and preparing

organic poultry, the Mallorys conscientiously and humanely extract honey and beeswax

                                              8

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 23 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020      Page 13 of 55




from their beehives for jarring and to create hot sauce, lip balm, reusable food wraps, and

other products.

      30.    The Mallorys, with proper permits and licenses, sell their products at local

farmers’ markets.

      31.    During the COVID-19 pandemic, the Mallorys have exercised all necessary

precautions to ensure the safety of themselves and their customers.

      32.     Because of the Farm’s status as a Veteran Farm and its value to the

community, country-music star Brantley Gilbert selected the Mallorys to provide food

from their farm during his tour stop in southeastern Wisconsin as part of a Homegrown

by Heroes program.

      33.    The Mallorys’ long-term dream is to offer Mallory Meadows as a haven for

veterans to experience nature and engage in therapeutic farming and beekeeping.

      34.     Defendants’ actions that are the subject of this lawsuit have threatened the

Mallorys’ long-term plans for their property, including their plans for retirement.

       DEFENDANTS’ ORDINANCE INVESTIGATION AND ENFORCEMENT PRACTICES

      35.     According to the Town’s written policy, the Town may investigate and

enforce ordinance violations only in response to written complaints submitted by

residents alleging their neighbors are non-compliant with Town ordinances. The terms

“ordinance” or “ordinances,” as used herein, include the Town of Eagle's Zoning Code,




                                            9

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 24 of 272 Document 1-2
   Case 2020CV001583      Document 11     Filed 11-09-2020        Page 14 of 55




the Town of Eagle's Municipal Code, the Town of Eagle’s Building Code, and other civil

ordinances enforced through proceedings before the Town Board.

      36.    According to the Town’s written policy, complainants may submit

complaints anonymously after speaking with a Board Member and requesting that the

Board Member write and sign the complaint on the complainants’ behalf.

      37.    According to the Town’s written policy, all complaints must be signed by

the Town Chairman and forwarded to the Town Clerk before a site inspection may occur.

      38.    On information and belief, Defendants do not follow their written policy in

all circumstances.

      39.    On information and belief, Defendants selectively investigate and enforce

violations even if they have not received a neighbor complaint.

      40.    On information and belief, Defendants draft and sign certain “anonymous”

complaints, though they have not received a complaint from a neighbor of the allegedly

non-compliant resident.

      41.    On information and belief, Defendants at times direct neighbors of specific

residents to lodge complaints, giving the appearance of compliance with the Town’s

stated enforcement procedures.

      42.    According to the Town’s written policy, the Town Clerk must forward

complaints to the Zoning Administrator and/or Building Inspector who then performs an




                                           10

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 25 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 15 of 55




on-site inspection and notes instances of non-compliance with photographs and

references to the violated ordinance.

       43.    According to the Town’s written policy, if the Zoning Administrator and/or

Building Inspector identifies violations, he must give notice of the violations to the non-

compliant resident, providing the resident thirty days to come into compliance.

       44.    On information and belief, despite this written policy, the Town and Town

Board retroactively impose, or threaten to impose, fines for violations even if the resident

comes into compliance within the thirty-day compliance period.

       45.    Pursuant to the Town’s written policy, residents, after making “substantial

progress” toward compliance, may appear before the Town Board to request a thirty-day

extension.

       46.    On information and belief, the Town Board will, in its sole discretion, grant

some residents additional extensions.

       47.    Pursuant to the Town’s written policy, the Zoning Administrator and/or

Building Inspector conducts a follow-up inspection after expiration of the time the Town

allotted for coming into compliance.

       48.    On information and belief, the Zoning Administrator, Building Inspector,

and/or Town Attorney at times conduct additional inspections between providing notice

of non-compliance and the deadline for compliance, occasionally without either receiving




                                            11

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 26 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 16 of 55




the property owner or occupant’s consent for the inspection or obtaining a warrant,

though additional inspections are not provided for in the Town’s written policy.

       49.    On information and belief, the Zoning Administrator, Building Inspector,

and/or Town Attorney at times conduct additional inspections after the resident has come

into compliance, occasionally without either receiving the property owner or occupant’s

consent for the inspection or obtaining a warrant, though additional inspections are not

provided for in the Town’s written policy.

       50.    According to the Town’s written procedures, if the resident has failed to

come into compliance after their time limit has expired, the Zoning Administrator and/or

Building Inspector forwards the matter to the Town Attorney for a citation to be issued.

       51.    However, based on information and belief, the Town Attorney is often

made aware of, and begins communicating with, the non-compliant resident before the

time limit for coming into compliance has expired.

       52.    According to the Town’s written policy, if a resident’s property returns to

non-compliance within six months of coming into compliance, the Town Attorney might

issue a citation or commence a civil action without first providing the resident with notice

of the new violation.

       53.    Though it is not provided for in the Town’s written policy, members of the

Town Board generally vote on whether to either pursue fines and fees for violations or to

dismiss the allegations and findings of non-compliance.

                                             12

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 27 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020    Page 17 of 55




      54.     The Town contracts with Defendant Schwecke, principal of Civi Tek

Consulting, LLC, to serve as Zoning Administrator and Town Planner.

      55.     Schwecke is paid hourly—$75.00 per hour—for investigating, pursuing,

and enforcing violations, including communicating with residents regarding alleged

violations and providing instructions for how to come into compliance.

      56.     On information and belief, Schwecke receives additional financial

compensation for identifying and enforcing violations.

      57.     On information and belief, Schwecke advises the Town of additional

ordinances that he believes the Town should pass, and he is then compensated for

enforcing those ordinances.

      58.     On information and belief, Schwecke’s fees for investigating, pursuing, and

enforcing violations are paid by residents against whom violations are found, either

through the fines imposed for the violations or through separate fees.

      59.     The Town contracts with Defendant Montoya, a building inspector with

SafeBuilt, Inc., to serve as Town Building Inspector.

      60.     On information and belief, Montoya is paid on an hourly basis for

investigating complaints and enforcing violations, including communicating with

residents regarding alleged violations and providing instructions for how to come into

compliance.




                                            13

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 28 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020     Page 18 of 55




      61.      On information and belief, Montoya receives additional financial

compensation for identifying and enforcing violations.

      62.      On information and belief, Montoya’s fees for investigating, pursuing, and

enforcing violations are paid by residents against whom violations are found, either

through fines imposed for the violations or through separate fees.

      63.      The Town contracts with Municipal Law Group to serve as Town Attorney.

      64.      On information and belief, Municipal Law Group is paid on an hourly basis

for all work related to enforcing Town ordinances, including conducting inspections,

deciding whether to bring enforcement actions, negotiating with residents, attending

Town Board meetings related to ordinance violations, and prosecuting violations.

      65.      Though Municipal Law Group does not have the authority to determine

whether ordinance violations exist, it will conduct inspections of residents’ property

without the presence of the Zoning Administrator or Building Inspector.

      66.      Municipal Law Group has no authority under the Town’s written policy to

conduct an inspection.

      67.      On information and belief, in its bills to the Town and/or the non-compliant

resident, Municipal Law Group includes charges for the time spent conducting

inspections.




                                             14

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 29 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020     Page 19 of 55




      68.    On information and belief, Municipal Law Group’s fees for investigating,

pursuing, and enforcing violations are paid by residents against whom violations are

found, either through the fines imposed for the violations or through separate fees.

      69.    On information and belief, with Municipal Law Group’s advice and

counsel, the Town Board has enacted extensive ordinances to facilitate more aggressive

enforcement and fine and fee recovery.

      70.    On information and belief, many in-town attorneys will not represent

residents in enforcement proceedings for fear of retribution, resulting in many residents

participating or defending themselves in enforcement proceedings without legal counsel.

      71.    On information and belief, Municipal Law Group exercises broad

discretion and makes critical decisions, including whether to negotiate out-of-court

resolutions, negotiation tactics, and fine and fee amounts.

      72.    The Town does not have neutral government attorneys without personal

financial incentives to communicate with residents, make settlement decisions, or

consider, advise on, or oversee enforcement actions.

      73.    Residents are given no opportunity to discuss their violations with neutral

government attorneys who do not have a financial stake in the outcome of the

enforcement action.

      74.    On information and belief, if residents attempt to discuss their violations

with Municipal Law Group, Schwecke, or Montoya, these Defendants will either directly

                                            15

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 30 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020     Page 20 of 55




bill the resident for the time spent discussing the matter or they will bill the Town, who

then passes the bill through to the resident.

       75.    On information and belief, Municipal Law Group assists the Town in

ensuring that residents—instead of the Town—ultimately pay the bills for Municipal Law

Group’s, Schwecke’s, and Montoya’s fees.

       76.    On information and belief, Municipal Law Group assisted the Town in

creating a cost reimbursement agreement, which the Town—often through Municipal

Law Group—demands residents sign before an enforcement action can be resolved.

       77.    In meetings and in communications to the Mallorys, Board Members have

acknowledged that Municipal Law Group and Schwecke charge “excessive,” and

occasionally duplicative, fees.

       78.    On information and belief, Municipal Law Group, Schwecke, and Montoya

may at times exercise ultimate control over enforcement decisions.

                 THE MALLORYS’ SPEECH AND THE TOWN’S RETALIATION

       79.    After learning that the Town used its enforcement policy to impede a

neighbor’s ability to run a small horse-farm business on their property, the Mallorys

began speaking up at town meetings and on social media, questioning the propriety of

the Town Board’s actions.




                                            16

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 31 of 272 Document 1-2
   Case 2020CV001583        Document 11       Filed 11-09-2020       Page 21 of 55




       80.      The Mallorys have made open records requests for documents and

regularly attempt to communicate with members of the Town Board and the Town Clerk

regarding whether the Town Board is following the law and proper procedures.

       81.      The Mallorys have been respectful, but persistent, in questioning and

calling attention to the Town Board’s practices and exercise of authority.

       82.      On or about May 15, 2020, Defendant Town Chairman Malek either

received or himself created an anonymous complaint alleging that the Mallorys and their

Farm were in violation of numerous Town ordinances.

       83.      By letter dated May 19, 2020, Schwecke informed the Mallorys that a

complaint had been lodged against them for unspecified allegations of ordinance

violations.

       84.      Schwecke’s May 19 letter expressly noted that the Town had “not

determined if there [was] merit to the complaint or not.”

       85.      After requests by the Mallorys, Schwecke provided them with a copy of the

anonymous complaint on May 26, eleven days after the complaint was submitted. It

alleged that the Mallorys:

             a. Were running a retail business from the Farm and promoting the Farm on

                social media as a pick-up location for community supported agriculture;

             b. Had excess grazing animals per acre and were announcing, via social

                media, their intention to sell meat to the public;

                                               17

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 32 of 272 Document 1-2
   Case 2020CV001583       Document 11       Filed 11-09-2020      Page 22 of 55




            c. Had unconfined poultry and “possible” excess poultry;

            d. Kept livestock in an accessory building fewer than fifty feet from a lot line;

            e. Had an excess number of accessory buildings;

            f. Had constructed or expanded accessory buildings without a permit; and

            g. Had an outdoor wood burning stove too close to their residence.

      86.      On or about June 18, 2020, Schwecke and Montoya conducted an on-site

inspection of the Farm pursuant to a special inspection warrant.

      87.      By letter dated June 30, 2020, Schwecke and Montoya informed the

Mallorys that numerous violations had been identified on their property, including:

            a. Having too many detached accessory buildings, including a prohibited

               soft-sided structure;

            b. Having an unpermitted hot tub;

            c. Operating a home business without a permit;

            d. Having too many livestock;

            e. Housing livestock in a structure within fifty feet of the Mallorys’ lot line;

            f. Failing to properly maintain property by keeping farming equipment and

               construction materials outside and having tufts of grass or weeds taller than

               twelve inches;

            g. Building “something” on their second-floor deck without a permit;

            h. Having unpermitted water and electrical lines running to their barn; and

                                              18

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 33 of 272 Document 1-2
   Case 2020CV001583           Document 11     Filed 11-09-2020     Page 23 of 55




             i. Failing to complete accessory buildings, evidenced by the sight of plywood

                on the roof.

       88.      On information and belief, none of the cited violations created a health or

safety risk for the Mallorys, their neighbors, or the Town.

       89.      On information and belief, Defendants do not enforce many of these

violations, or similar violations, against similarly situated residents, including the Board

Members themselves, who do not speak out against the Town Board.

       90.      On information and belief, Defendants do not conduct investigations, even

after receiving a written complaint, of Board Members’ properties or the properties of

Board Members’ friends and families.

       91.      On   information       and   belief,   Defendants   conduct   less   thorough

investigations on the properties of similarly situated residents who do not speak out

against the Town Board, reducing the chance of identifying the violations alleged in

complaints.

       92.      Schwecke and Montoya provided the Mallorys with instructions for how to

remedy some of the alleged violations and informed the Mallorys that failure to remedy

all violations would result in the Town pursuing legal action and the imposition of an

undisclosed monetary penalty.




                                                19

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 34 of 272 Document 1-2
   Case 2020CV001583         Document 11     Filed 11-09-2020     Page 24 of 55




       93.        Schwecke and Montoya instructed the Mallorys to direct their questions

regarding the property maintenance ordinance and building code to Montoya and to

direct their questions regarding the zoning code to Schwecke.

       94.        In response to these threats of unspecified fines, the Mallorys hired the

below-signed attorney, Mr. Van Kleunen, for guidance and took steps to bring the Farm

into compliance.

       95.        Because in-town attorneys are dissuaded from representing residents, the

Mallorys had to seek legal counsel from outside their immediate geographical area. Mr.

Van Kleunen is not a resident of the Town of Eagle, and his law firm, Cramer, Multhauf,

& Hammes, LLP, is located in Waukesha, Wisconsin, approximately twenty miles from

the Town of Eagle.

       96.        Between June 30, 2020 and October 5, 2020, the Mallorys—either personally

or through their attorney—communicated regularly with Defendants about the Mallorys’

efforts to come into compliance, to seek clarification regarding why certain ordinances

were being enforced against them, and to accommodate Defendants’ requests for follow-

up site visits.

       97.        During this time, the Mallorys received conflicting information from

Schwecke, Montoya, and Municipal Law Group regarding what steps the Mallorys

needed to take to come into compliance and which violations would be enforced by the

Town, increasing costs and drawing out the enforcement proceedings.

                                              20

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 35 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 25 of 55




        98.    On October 2, 2020, after a follow-up site inspection, Montoya informed the

Mallorys that they must apply for quadruple-fee permits to bring their barn and water

line into compliance with the requirement that such structures and features must be

permitted. Montoya insisted on requiring these quadruple-fee permits despite the

Mallorys’ reliable representations that the barn and water line have been on the property

since 1997 and were installed with proper permits.

        99.    Despite receiving conflicting advice from Schwecke, Montoya, and

Municipal Law Group regarding how to come into compliance, the Mallorys took

significant steps to resolve their violations, including closing and tearing down their farm

stand, making arrangements to slaughter their excess livestock, razing their greenhouse,

removing equipment and building materials from their property, and cutting their grass

where necessary.

        100.   The Mallorys did not want to take any of these compliance steps.

        101.   The Mallorys want their farm stand—which they purchased—on the Farm.

        102.   The Mallorys want to be able to sell produce, poultry, eggs, honey, and

other products from the Farm—which they are authorized to do by the State of

Wisconsin.

        103.   The Mallorys want to have the greenhouse—which they purchased—on the

Farm.




                                            21

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 36 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020     Page 26 of 55




       104.    In addition to taking these undesired steps to come into compliance, the

Mallorys also filed an open records request for copies of the permits related to their Farm,

as the Town is responsible for maintaining records of these permits; however, the Town

claimed it did not have any permit records related to the Mallorys’ house, barn, or

original utility lines.

       105.    On October 5, 2020, the Mallorys provided the Town Board with an update

on their substantial progress, requested an extension on their deadline to comply, and

requested that the Town Board not pursue certain alleged violations due to the Mallorys’

belief that they were inapplicable.

       106.    The Town Board considered the Mallorys’ request in a closed-door session.

       107.    By letter dated October 9, 2020 (the “October 9 Letter”), Municipal Law

Group, through its representative Paul Alexy, responded to the Mallorys’ requests,

accusing the Mallorys of an “apparent lack of effort to address the multiple violations”

identified by Schwecke and Montoya on June 30, 2020, and further informing the

Mallorys, on behalf of the Town Board, that:

           a. Despite Schwecke’s previous instructions, the Mallorys were required to

               fully remove their entire hot tub, not just the wood-burning heating device,

               by October 31, 2020;

           b. Despite Schwecke and Montoya’s original contention that the Mallorys

               could keep their tarp shed as long as it was built before March 28, 2017—

                                             22

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 37 of 272 Document 1-2
Case 2020CV001583     Document 11     Filed 11-09-2020      Page 27 of 55




         which it was—the Mallorys were required to remove their tarp shed by

         October 31, 2020;

      c. The Mallorys remained in violation of property maintenance requirements

         due to a “vast amount of outside storage” and that the Mallorys were

         required to come into compliance by October 31, 2020;

      d. The Mallorys were required to either remove the flower shelf from their

         second-floor balcony or obtain a permit by October 31, 2020;

      e. The Mallorys were required to obtain a permit for the water line to their

         barn by October 31, 2020;

      f. The Mallorys were required to remove all but two of their beehives by

         October 31, 2020;

      g. The Mallorys would only be granted an extension for slaughtering their

         excess     livestock—to    accommodate     the   butcher’s   first   available

         appointment—if the Mallorys satisfied all other conditions set forth in the

         letter;

      h. Despite Schwecke’s suggestion to the Mallorys otherwise, it is irrelevant

         that the Town is considering changes to its ordinance to allow structures

         that house animals within fifty feet of lot lines was irrelevant, and the

         Mallorys would only be excused from razing the housing structure if the




                                       23

   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 38 of 272 Document 1-2
   Case 2020CV001583       Document 11       Filed 11-09-2020        Page 28 of 55




               Mallorys satisfied all other conditions set forth in the letter, applied for a

               permit for the exception, and paid all permit fees;

          i. The Town would not charge the threatened fees only if the Mallorys

               “sign[ed] a reimbursement agreement with the Town to demonstrate their

               agreement to reimburse the Town for its costs and expenses in addressing

               the violations”;

          j.   If the Mallorys failed to comply with all of the terms set forth in the letter,

               the Town would pursue fines and fees for each day of each violation,

               beginning on the date of the anonymous complaint, amounting to

               undefined “forfeitures in the area of $20,000.”

       108.    In September of 2020, the Town passed an ordinance limiting properties of

less than four acres to two beehives. The Town thereafter added the Mallorys’ beehives,

which Montoya observed in one of his follow-up inspections, to the list of the Mallorys’

violation, as expressed in the October 9 Letter.

       109.    After receiving the October 9 Letter, and in response to the threatened fines,

the Mallorys additionally removed their tarp shed, which they used to store farming

equipment. As with the other changes the Mallorys have been forced to make to their

Farm, they did not want remove the tarp shed—which they purchased—and they want

to reinstall the structure on the Farm.




                                              24

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 39 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020      Page 29 of 55




       110.   The Mallorys do not want to remove the hot tub from their property, which,

without the heating unit that has been removed, is not in violation of a Town ordinance.

       111.   The Mallorys do not want to remove their beehives. The honey and

beeswax gathered from the beehives, and the products made from the honey and wax,

provide an essential source of income for the Mallorys.

       112.   The Mallorys have repeatedly requested that the Town and Town Board

inform them of the amount of the costs, or an approximation thereof, that they will be

responsible for if they sign the cost reimbursement agreement. To date the Town and

Town Board have not provided the Mallorys this information or any documents that

would aid the Mallorys in understanding what costs they might face.

       113.   The amount of the costs the Mallorys will be responsible for if they sign the

reimbursement agreement is a critical consideration in whether they will sign and,

therefore, will satisfy the requirements set forth in the October 9 Letter.

       114.   Though this cost-liability information is critical to the Mallorys’ ability to

make an informed decision, the Town and Town Board have not extended the Mallorys’

deadline to comply with the October 9 Letter—including the requirement that the

Mallorys sign the reimbursement agreement—to account for the Town’s failure to

provide this information.

       115.   Following bouts of rain and snow during the week of the Mallorys’ October

31 deadline, the Mallorys requested an additional two weeks, until November 15, 2020,

                                             25

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 40 of 272 Document 1-2
   Case 2020CV001583        Document 11     Filed 11-09-2020      Page 30 of 55




to consider the conditions set forth in the October 9 letter and to take additional steps

toward compliance.

       116.    Municipal Law Group, through its representative Paul Alexy, initially

responded to the request by suggesting that the Town Board might consider granting the

extension at their next Town meeting (scheduled for November 2, 2020, two days after

the October 31 deadline).

       117.    Mere hours later, and before receiving a response from the Mallorys,

Municipal Law Group, through its representative Paul Alexy, sent a follow-up response

(the “October 26 Letter”). The response proclaimed that, even though Alexy did not have

discretion to extend or modify the offer set forth in his October 9 letter, his impression

“[q]uite frankly . . . is that it is unlikely that [the Mallorys’] request would be granted.”

Alexy realleged that—despite the Mallorys’ destruction of their farming structures,

arrangements to slaughter their livestock, movement of their livestock to be at least fifty

feet from the lot line, and efforts to remove their outside storage and farming

equipment—the Mallorys had not made “a concerted effort to bring the property into

compliance.”

       118.    Alexy closed the October 26 Letter by informing the Mallorys that, though

the Town Board had not considered or voted on the Mallorys’ request for an extension,

the Mallorys should consider the October 31 deadline to remain in effect. He also




                                             26

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 41 of 272 Document 1-2
   Case 2020CV001583       Document 11      Filed 11-09-2020      Page 31 of 55




informed them, for the first time, that the Town wanted to again reinspect the Mallorys’

property on November 2, 2020.

       119.   Though the October 26 Letter noted that the Town sought reinspection on

November 2, 2020, the letter also claimed that the Town Board had to cancel its previously

scheduled November 2 meeting and could not make the time to consider the Mallorys’

request for an extension because of the upcoming election.

       120.   Municipal Law Group, through its representative Paul Alexy, ultimately

reinspected the Mallory’s Farm on November 6, 2020.

       121.   Between June 18 and the filing of this complaint, Schwecke, Montoya,

and/or Municipal Law Group have made five separate visits to the Mallorys’ property,

regularly changing their instructions regarding what steps the Mallorys needed to take

to come into compliance.

       122.   On information and belief, Schwecke, Montoya, and/or Municipal Law

Group have billed or will bill hourly fees for each visit, with the intention of charging, or

with the understanding that the Town will charge, those fees to the Mallorys.

       123.   On the basis of the October 9 Letter, the Mallorys now face the threat of

either (1) agreeing to pay Schwecke, Montoya, and Municipal Law Group an undisclosed

amount for their visits to the Farm, communications with the Mallorys and the Town

Board, meeting attendance, ever-changing compliance guidance, and other fees; or

(2) facing non-itemized, non-specified “forfeitures in the area of $20,000,” calculated from

                                             27

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 42 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 32 of 55




the date of the complaint, more than a month before the property was inspected or the

Mallorys received notice of the specific violations. Defendants have never provided the

Mallorys with an itemized list of the specific violations, the dates on which each specific

violation occurred, or the fine that the Town will impose for each violation.

       124.   By email dated October 27, 2020, Suhm, a Town Board Supervisor,

informed the Mallorys that the Board Members voted against them in deciding to pursue

enforcement of the above-enumerated violations because the Mallorys “have literally

ticked off all the board members with [their] meeting comments and on [F]acebook.”

Suhm then warned the Mallorys “that wasn’t good because the board members voted

with emotion,” leaving the Mallorys with no option but to pay for the permits and abide

by Municipal Law Group’s compliance instructions—which would include agreeing to

pay Municipal Law Group’s, Montoya’s, and Schwecke’s fees—“to get this over with.”

       125.   Defendants have spent six months investigating, pursuing, and enforcing

trivial ordinances against the Mallorys, that it does not enforce against similarly situated

residents, because the Mallorys spoke out against the Town Board.

       126.   The Mallorys want their Farm restored to the way it was before the Town

began its enforcement proceedings, and they do not want to tear down their barn,

prematurely slaughter their livestock, take down or pay for a permit that is not required

by the zoning code for their flower shelf, pay for quadruple-fee permits, remove their

bees from the Farm, or pay an undisclosed amount of fees to Municipal Law Group,

                                            28

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 43 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 33 of 55




Montoya, and Schwecke—actions that other members of the Town would not be forced

to take. But the Mallorys also cannot afford tens of thousands of dollars in fines. The

Town’s enforcement proceedings, which were only initiated because the Mallorys

exercised their constitutional right to speak freely, have placed the Mallorys in the

position of choosing one of these two injurious paths.

       127.   Since the Town began its enforcement proceedings against the Mallorys in

June of 2020, the Mallorys have not been able to exercise their right to speak about the

Town, Town Board, or Town officials without first weighing whether speaking up is

worth the risk of likely retribution.

       128.   If the Town’s retaliatory actions are not enjoined, so that the Mallorys may

exercise their right to free speech without constant fear of retribution, they will have no

choice but to move away from the Town of Eagle, leaving behind their home, their Farm,

and their retirement plans.

                                INJURY TO PLAINTIFFS

       129.   Because of Defendants’ retaliatory and discriminatory threats of fines and

fees and unconstitutional enforcement practices, the Mallorys have suffered significant

injury, including, but not limited to:

          a. Being forced to destroy structures on their property that the Town allows

              similarly situated residents to have and that the Mallorys want to have;




                                            29

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 44 of 272 Document 1-2
Case 2020CV001583        Document 11    Filed 11-09-2020        Page 34 of 55




      b. Being forced to destroy structures on their property that the Mallorys paid

           to construct;

      c. Being forced to make changes to their property that the Town does not

           require of similarly situated residents and that the Mallorys did not want

           to make;

      d. Being forced to retain an attorney to protect their property rights;

      e. Being forced to destroy their farm stand and cease selling products from

           the Farm, limiting their earning potential through their farming activities;

      f. Facing the continuing threat that the Town will file suit to enforce an

           undisclosed fine amount for unspecified violations;

      g. Taking actions that they otherwise would not take based on the Town’s

           threats of litigation to enforce an undisclosed fine amount for unspecified

           violations;

      h. Facing the continuing threat of Defendants arriving on their property

           without notice and alleging additional violations;

      i. Living with the fear that they will be subjected to further unconstitutional

           retaliation and deprivations of property without due process;

      j.   Facing threats that they will be compelled to pay an undisclosed amount—

           but potentially thousands of dollars—to Municipal Law Group, Montoya,

           and Schwecke for their alleged fees;

                                         30

   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 45 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020    Page 35 of 55




          k. Taking actions that they otherwise would not take in reliance on the Town’s

             threats that they will charge the Mallorys an undisclosed amount for

             Municipal Law Group’s, Montoya’s, and Schwecke’s fees;

          l. Being deprived of the opportunity to fully enjoy their property;

          m. Being forced to reconsider their plans for income post-retirement;

          n. Being forced to choose between remaining in the Town of Eagle or

             exercising their right to free speech;

          o. Worrying that the Town will continue retaliating against them for their past

             speech; and

          p. Knowing that they will likely face retribution for exercising their right to

             engage in speech against the Defendants and being forced to weigh

             whether exercising that right is worth the retaliation and discrimination.

                           CONSTITUTIONAL VIOLATIONS

                        COUNT I: RETALIATORY ENFORCEMENT
                  (Freedom of Speech—U.S. Constitution amend. I)

      130.   The Mallorys incorporate Paragraphs 1–129 as if fully set forth herein.

      131.   The Mallorys’ actions in questioning and challenging the Town Board and

holding Board Members accountable to their official duties are safeguarded by the First

Amendment to the U.S. Constitution, made applicable to the states through the

Fourteenth Amendment.



                                            31

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 46 of 272 Document 1-2
    Case 2020CV001583       Document 11      Filed 11-09-2020     Page 36 of 55




        132.    The Town, Town Board, and Board Members are forbidden from enforcing

Town ordinances against individuals in retaliation for engaging in free speech.

        133.    Yet, the Town and Town Board—acting through the Board Members under

color of state law—adopted and enforced a deliberate and pervasive policy or custom to

retaliate against residents who speak out against the Town, Town Board, and Town

officials.

        134.    Motivated to punish the Mallorys for their free speech and to deter them

from exercising this right in the future, the Board Members relied on the Town and Town

Board’s retaliatory policy to repeatedly investigate, pursue, and enforce minor violations

that are not enforced against others.

        135.    The Board Members’ scheme against the Mallorys was part of its deliberate,

long-term, and pervasive policy or custom, which the Board Members implemented by:

             a. Enabling Board Members to anonymously bring complaints against

                targeted residents or, when necessary, to ask a neighbor of the targeted

                resident to bring a complaint, initiating enforcement proceedings;

             b. Designing their system so that they deliberate behind closed doors to

                decide when and why to proceed in enforcement actions against residents;

             c. Passing extensive ordinances to create opportunities to find violations; and

             d. Discouraging local attorneys from representing residents in enforcement

                proceedings by instilling fear that such attorneys will be treated

                                              32

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 47 of 272 Document 1-2
   Case 2020CV001583       Document 11     Filed 11-09-2020      Page 37 of 55




                unfavorably by the Town Board, resulting in residents engaging in the

                proceedings without legal counsel who might identify the Town Board’s

                abuses.

       136.     The Town Board’s decision to enforce violations against the Mallorys can

easily be separated from the Town Board’s interest in protecting the health, safety, or

wellbeing of the Town and its residents. Instead of enforcing Town ordinances for the

good of the Town, the Board Members—relying on the Town and Town Board’s policy

or custom of retaliation—“voted with emotion” to pursue enforcement against the

Mallorys because they were “ticked off” by the Mallorys’ speech.

       137.     But for the Mallorys’ speech, the Board Members would not have voted to

enforce these ordinances.

       138.     The Board Members’ actions are attributable to the Town and Town Board.

The Board Members are the final policymakers of the Town, and in exercising their final

authority, they made a deliberate choice to adopt a course of action that retaliated against

the Mallorys.

       139.     The Board Members also ratified these retaliatory acts by authorizing and

directing Schwecke, Montoya, and Municipal Law Group to selectively investigate,

pursue, and enforce Town ordinances.

       140.     The Board Members are municipal policymakers, and their decision and

actions described in this complaint—including their exercise of authority to direct Town

                                            33

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 48 of 272 Document 1-2
   Case 2020CV001583     Document 11      Filed 11-09-2020     Page 38 of 55




staff members such as Schwecke, Montoya, and Municipal Law Group—represent the

Town’s policy.

       141.   The Town’s policy or custom of retaliatory enforcement against residents

who criticize the Town, Town Board, or its officials has become more persistent and

widespread in recent years.

       142.   For instance, in the past year, the Town Board has, on multiple occasions,

tacked on additional violations after residents complained of or challenged the initial

enforcement decisions; and Board Members have expressed open hostility toward

residents who stand up for their rights and their property by disparaging them at Town

meetings, repeatedly inspecting their property to find violations (regardless of whether

a complaint has been lodged), and making open-ended threats of future enforcement

actions.

       143.   As noted, the reputation of the Town and Town Board’s retaliatory policy

or custom is so pervasive that in-town attorneys refuse to represent residents in

enforcement proceedings for fear of retribution by the Town Board.

       144.   As these examples demonstrate, the Town and Town Board’s retaliatory

policy would chill the speech of any person of ordinary firmness.

       145.   Absent the Town and Town Board’s policy of retaliating against individuals

who criticize those in power, the Mallorys would not have been subjected to the




                                           34

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 49 of 272 Document 1-2
    Case 2020CV001583       Document 11       Filed 11-09-2020      Page 39 of 55




enforcement proceedings, threats of extensive fines and fees, and all of the harms that

followed.

        146.    If the Town and Town Board’s retaliatory policy is not stopped, the

Mallorys will be forced to move away from the Town of Eagle so that they can exercise

their constitutionally protected rights without retribution.

        147.    The Mallorys are entitled to protection from this retaliation and to relief for

the harms they have endured as a result of the Town and Town Board’s unconstitutional

actions.

                        COUNT II: DISCRIMINATORY ENFORCEMENT
                (Equal Protection Clause—U.S. Constitution amend. XIV)

        148.    The Mallorys incorporate Paragraphs 1–129 as if fully set forth herein.

        149.    The Mallorys’ right to be treated equally to those similarly situated to them

is guaranteed by the Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution.

        150.    The Town, Town Board, and Board Members are forbidden from enforcing

generally unenforced Town ordinances against select individuals for their engagement in

constitutionally protected activity.

        151.    Yet, the Town and Town Board—acting through the Board Members under

color of state law—adopted and enforced a deliberate and pervasive policy or custom to

discriminate against residents who speak out against the Town, Town Board, and Town

officials.
                                               35

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 50 of 272 Document 1-2
   Case 2020CV001583     Document 11      Filed 11-09-2020     Page 40 of 55




      152.   Motivated to punish the Mallorys for exercising their right to engage in

protected speech and to deter them from exercising this right in the future, the Board

Members relied on the Town and Town Board’s discriminatory policy to repeatedly

investigate, pursue, and enforce minor violations against the Mallorys that are not

enforced against others who are similarly situated.

      153.   The Board Members’ scheme against the Mallorys was part of its deliberate,

long-term, and pervasive policy or custom, which the Board Members implemented by:

          a. Enabling Board Members to anonymously bring complaints against

             targeted residents or, when necessary, to ask a neighbor of the targeted

             resident to bring a complaint, initiating enforcement proceedings;

          b. Designing their system so that they deliberate behind closed doors to

             decide when and why to proceed in enforcement actions against residents;

          c. Passing extensive ordinances to create opportunities to find violations; and

          d. Discouraging local attorneys from representing residents in enforcement

             proceedings by instilling fear that such attorneys will be treated

             unfavorably by the Town Board, resulting in residents engaging in the

             proceedings without legal counsel who might identify the Town Board’s

             abuses.

      154.   The Town Board’s decision to enforce violations against the Mallorys can

easily be separated from the Town Board’s interest in protecting the health, safety, or

                                           36

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 51 of 272 Document 1-2
   Case 2020CV001583      Document 11     Filed 11-09-2020      Page 41 of 55




wellbeing of the Town and its residents. The minor violations claimed against the

Mallorys are pervasive, but generally unenforced, throughout the Town, and they have

not been enforced against the Mallorys’ similarly situated neighbors, or Board Members,

who have not spoken out against the Town’s leadership.

      155.     Instead of enforcing Town ordinances for the good of the Town, the Board

Members—relying on the Town and Town Board’s policy or custom of discrimination—

“voted with emotion” to pursue enforcement against the Mallorys, for violations it does

not enforce against others who are similarly situated, because the Board Members were

“ticked off” by the Mallorys’ speech.

      156.     But for the Mallorys’ constitutionally protected activity, the Board

Members would not have voted to enforce these ordinances.

      157.     The Board Members’ actions are attributable to the Town and Town Board.

The Board Members are the final policymakers of the Town, and in exercising their final

authority, they made a deliberate choice to adopt a course of action that caused the

Mallorys to be treated differently from similarly situated residents of the Town.

      158.     The Board Members also ratified these discriminatory acts by authorizing

and directing Schwecke, Montoya, and Municipal Law Group to selectively investigate,

pursue, and enforce these violations that are not enforced against similarly situated

individuals.




                                           37

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 52 of 272 Document 1-2
   Case 2020CV001583     Document 11      Filed 11-09-2020     Page 42 of 55




      159.   The Board Members are municipal policymakers, and their decision and

actions described in this complaint—including their exercise of authority to direct Town

staff members such as Schwecke, Montoya, and Municipal Law Group—represent the

Town’s policy or custom.

      160.   The Town’s policy or custom of discriminatory enforcement against

residents who criticize the Town, Town Board, or its officials has become more persistent

and widespread in recent years.

      161.   For instance, in the past year, the Town Board has, on multiple occasions,

tacked on additional violations after residents complained of or challenged the initial

enforcement decision. Board Members have also expressed open hostility toward

residents who stand up for their rights and their property by disparaging them at Town

meetings, repeatedly inspecting their property to find violations (regardless of whether

a complaint has been lodged), and making open-ended threats of future enforcement

actions. The Town Board does not engage in similar behavior against individuals who do

not use their speech to challenge or question the Town Board’s authority.

      162.   As noted, the reputation of the Town and Town Board’s discriminatory

policy or custom is so pervasive that in-town attorneys refuse to represent residents in

enforcement proceedings for fear of retribution by the Town Board.

      163.   Absent the Town and Town Board’s policy of discriminating against

individuals who criticize those in power, the Mallorys would not have been subjected to

                                           38

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 53 of 272 Document 1-2
   Case 2020CV001583      Document 11         Filed 11-09-2020   Page 43 of 55




the enforcement proceedings, threats of extensive fines and fees, and all of the harms that

followed.

       164.   The Mallorys are entitled to protection from this discriminatory

enforcement and to relief for the harms they have endured as a result of the Town and

Town Board’s unconstitutional actions.

                        COUNT III: PROCEDURAL DUE PROCESS
                              IMPROPER PROFIT MOTIVES
                 (Due Process Clause—U.S. Constitution amend. XIV)

       165.   The Mallorys incorporate Paragraphs 1–129 as if fully set forth herein.

       166.   The Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution requires that government deprivations of property occur only through

neutral and objective actors.

       167.   It is a violation of due process for enforcement processes to be infected with

personal interests, financial or otherwise.

       168.   Municipal Law Group, Schwecke, and Montoya have significant financial

incentives in initiating, pursuing, and drawing out enforcement processes.

       169.   These financial interests distort Municipal Law Group’s, Schwecke’s, and

Montoya’s decision-making in investigating, identifying, and enforcing ordinance

violations.

       170.   These financial interests incentivize Municipal Law Group, Schwecke, and

Montoya to initiate, pursue, and draw out enforcement actions—and to conduct

                                               39

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 54 of 272 Document 1-2
   Case 2020CV001583       Document 11        Filed 11-09-2020        Page 44 of 55




unnecessary follow-up investigations—unrelated to promoting health and safety, instead

of seeking efficient and fair resolution.

       171.   These financial interests incentivize Municipal Law Group, Schwecke, and

Montoya to initiate, pursue, and draw out enforcement actions—and to conduct

unnecessary follow-up investigations—unrelated to promoting health and safety,

regardless of equities, justice, or the facts of a given situation.

       172.   These financial interests incentivize Municipal Law Group to initiate,

pursue, and draw out enforcement actions—and to conduct unnecessary follow-up

investigations—unrelated to promoting health and safety, without regard for the

stringent ethical responsibilities of attorneys acting in a prosecutorial role.

       173.   These financial interests incentivize Municipal Law Group, Montoya, and

Schwecke to encourage the Town Board to pass additional ordinances that Municipal

Law Group, Montoya, and Schwecke then enforce for financial compensation, further

restricting residents’ liberty.

       174.   When costs—such as hourly fees for the investigation, pursuit, and

enforcement of violations—are ultimately passed on to the resident found to be in

violation, Municipal Law Group, Schwecke, and Montoya’s enforcement model

incentivizes the Town to exercise minimal supervision over these agents and to pursue

aggressive enforcement strategies without regard for whether there is a reasonable




                                               40

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 55 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 45 of 55




relationship between the cost of the enforcement approach and the severity of the alleged

conduct at issue.

        175.   The Town could mitigate the risk of improper financial incentives infecting

their enforcement processes by, among other solutions, entering into flat-fee contracts—

instead of their current hourly fee arrangements—with third-party service providers and

providing more oversight of the enforcement process.

        176.   Though the Town may technically be responsible for Municipal Law

Group’s, Schwecke’s, and Montoya’s fees, the Town has a policy or custom of passing

these fees onto residents found in violation of Town ordinances.

        177.   The Town has a policy or custom of demanding that residents found in

violation of Town ordinances sign a reimbursement agreement promising to pay such

fees.

        178.   The Town has a policy or custom of conditioning settlements on residents

agreeing to pay Municipal Law Group’s, Schwecke’s, and Montoya’s fees, even though

the amount of those fees are not disclosed at the time of settlement.

        179.   Because of Municipal Law Group’s, Schwecke’s, and Montoya’s personal

financial interest in the enforcement proceedings against the Mallorys, the enforcement

proceedings, including all notices of violation and threats of fines and fees, are invalid,

and any fines or fees that the Town and Town Board attempt to collect would be illegally

obtained.

                                            41

        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 56 of 272 Document 1-2
   Case 2020CV001583      Document 11      Filed 11-09-2020      Page 46 of 55




       180.    The Mallorys are entitled to protection from this profit-driven enforcement

and to relief for the harms they have already endured as a result of the profit-incentivized

process they have been subjected to until now.

                         COUNT IV: PROCEDURAL DUE PROCESS
                     IMPROPER BURDEN OF PROOF FOR PERMITTING
                  (Due Process Clause—U.S. Constitution amend. XIV)

       181.    The Mallorys incorporate Paragraphs 1–129 as if fully set forth herein.

       182.    The Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution guarantees individuals a meaningful opportunity to be heard before they

are deprived of their property.

       183.    The Due Process Clause of the Fourteenth Amendment also requires that

governments bear the burden of proving violations of municipal ordinances, and it

guarantees those accused of wrongdoing a meaningful opportunity to defend

themselves.

       184.    Individuals are denied a meaningful opportunity to be heard and defend

themselves when they are restricted to proving their innocence (that is, that they are in

compliance with permit requirements) through only a narrowly described set of

documentary evidence—particularly historical records that property owners are unlikely

to maintain.




                                            42

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 57 of 272 Document 1-2
   Case 2020CV001583       Document 11     Filed 11-09-2020     Page 47 of 55




      185.      However, under the Town’s policy or custom, as applied against the

Mallorys, proving that structures and utilities are properly permitted can only be

accomplished with one document: the permits themselves.

      186.      In the Mallorys’ case, where the Town—who is responsible for maintaining

permit records—cannot locate the permits, the burden of producing this one document

(or a copy thereof) is placed on the Mallorys, creating an unconstitutionally stringent

standard of proof and denying the Mallorys their rights to be meaningfully heard and to

defend themselves and their Farm.

      187.      This burden of proof also creates a significant and real danger that the

Mallorys will be penalized even if the barn and utilities were properly permitted, but

those permits were lost, destroyed, or damaged through no fault of their own.

      188.      Due to the unduly high burden of proof the Town has placed on the

Mallorys—producing the permits or their copies—which the Mallorys cannot satisfy, the

Town and Town Board are now requiring the Mallorys to choose between (1) removing

the structure and utilities; or (2) applying for quadruple-fee permits, which the Town

Board could ultimately refuse to grant.

      189.      The only evidence that the Town has that the Mallorys’ barn and utilities

are unpermitted is the fact that the Town cannot locate any of the permit records for the

structures and utility lines that were installed on the Farm long before the Mallorys

purchased it.

                                            43

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 58 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020      Page 48 of 55




      190.   The fact that the Town is unable to locate any of the permits for the Farm’s

structures and utilities that were installed prior to the Mallorys’ purchase of the Farm—

including their house—evidences the Town’s own failure to properly maintain records,

not the failure of the previous property owners to properly obtain permits.

      191.   The Mallorys have offered the Town and Town Board evidence such as tax

records to demonstrate that the barn and utilities are properly permitted. However, the

Town and Town Board have refused to even consider or review these documents.

      192.    The Mallorys, who were not the owners of the Farm when the house and

barn were built or when the original utility lines were installed, reasonably believe these

structures and utilities were installed with proper permits. Due process requires that the

Mallorys be given a meaningful opportunity to demonstrate the propriety of their

structures and utilities through evidence other than the permits, or a narrowly limited set

of documents, themselves.

      193.   Because the Town did not afford the Mallorys a meaningful opportunity to

be heard, and unless and until it does so, it may not require the Mallorys to obtain

quadruple-fee permits or to demolish their barn and remove their utility lines. Nor may

the Town impose any fines or fees for the Mallorys’ failure to obtain quadruple-fee

permits.




                                            44

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 59 of 272 Document 1-2
   Case 2020CV001583      Document 11        Filed 11-09-2020        Page 49 of 55




       194.   The Mallorys have suffered significant injuries, as outlined in Paragraph

129 above, due to the Town Board’s threats of fines, fees, and enforcement actions that

are based on this violation of the Mallorys’ right to due process.

       195.   The   Mallorys    are     entitled   to   protection   from    this    threatened,

unconstitutional deprivation of property and to relief for the harms they have endured

as a result of the Town and Town Board’s denial of due process to date.

                            COUNT V: PROCEDURAL DUE PROCESS
                              PRESUMPTION OF WRONGDOING
                    (Due Process Clause—U.S. Constitution amend. XIV)

       196.   The Mallorys incorporate Paragraphs 1–129 as if fully set forth herein.

       197.   The Due Process Clause of the Fourteenth Amendment requires that

governments bear the burden of proving municipal-ordinance violations by, at a

minimum, a preponderance of the evidence, and it guarantees those accused of

wrongdoing a meaningful opportunity to defend themselves.

       198.   The Town Board has threatened the Mallorys with daily fines calculated

from the day an anonymous complaint was filed against them, more than a month before

the Town Board inspected the property to determine whether the allegations were true

or informed the Mallorys that they were not in compliance with Town ordinances.

       199.   Apart from relying exclusively on the anonymous complaint, the Town

Board has no way of knowing whether there actually were violations on the Farm, or




                                              45

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 60 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020       Page 50 of 55




what those violations were, between the date the complaint was lodged and the date

Montoya and Schwecke inspected the Farm.

       200.   Some of the violations asserted in the anonymous complaint were not

confirmed by Montoya and Schwecke’s inspection, demonstrating the unreliability of the

anonymous complaint.

       201.   The Town’s only basis for imposing violations for the period between the

filing of the complaint and the first inspection is its assumption that, because the Mallorys

were not in compliance on June 18, they must not have been in compliance on May 15.

       202.   However, it is entirely possible that the violations did not occur until after

the anonymous complaint was lodged. For instance, the Mallorys have been found to be

non-compliant with the Town’s property maintenance requirements, including

ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ŗŘȞǯȱ It is reasonably likely that the non-

¢ȱȱȱȱ ȱȱȱȱŗŘȞȱ¢ȱ¢ȱ ȱ¢ȱŗśȱȱ ȱ

18, particularly as the anonymous complaint did not accuse the Mallory’s of having

overgrown grass.

       203.   Further, Montoya and Schwecke cited the Mallorys for violations that were

not alleged in the anonymous complaint, meaning the Town has no evidence—not even

an anonymous complaint—that those violations existed prior to Montoya and

Schwecke’s inspection. And because these violations were not alleged in the anonymous




                                             46

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 61 of 272 Document 1-2
   Case 2020CV001583       Document 11     Filed 11-09-2020      Page 51 of 55




complaint, the Mallorys had no notice of these potential violations prior to receiving a

notice of non-compliance on June 30, 2020.

       204.   Because the Mallorys were not informed of the violations on their Farm

until June 30, they did not have an opportunity to remedy any violations that may or may

not have existed during the time between the lodging of the complaint and the Town’s

notice of non-compliance. They therefore did not have the opportunity to reduce the

amount of the fines that are now threatened against them.

       205.   The Town is also, apparently, threatening to enforce daily fines against the

Mallorys for each day since the anonymous complaint was submitted through present

day, including for violations that were not alleged in the anonymous complaint, if the

Mallorys do not comply with every provision of the October 9 letter, even though the

Mallorys remedied at least some of their violations weeks and months ago.

       206.   To date, the Mallorys have not received an itemized list of the specific fines

the Town is threatening to levy against them if they fail to come into full compliance with

the terms, including the requirement that the Mallorys sign a reimbursement agreement,

of the October 9 Letter.

       207.   For the daily fines that the Town has threatened to impose for violations

between May 15 and June 18, the Town has presumed, instead of proven, ordinance

violations, contrary to due process.




                                             47

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 62 of 272 Document 1-2
   Case 2020CV001583      Document 11       Filed 11-09-2020      Page 52 of 55




       208.   For the daily fines that the Town has threatened to impose for violations

that the Mallorys remedied after the Town’s inspection—if the Mallorys fail to comply

with every term of the October 9 Letter, including signing a reimbursement agreement—

the Town has presumed, instead of proven, these violations, contrary to due process.

       209.   This lack of confirmation and notice produces an extreme risk that the

Mallorys will be deprived of their most fundamental interest—their private land and

their savings—through governmental error.

       210.   This particular risk of erroneous deprivation can be eliminated by instead

(1) calculating fines from the date that the Town confirms the existence of the specific

violation; and (2) refraining from imposing fines for any violations that have been

remedied.

       211.   Making these changes would place no burden on the Town.

       212.   The Town has denied the Mallorys their right to due process by threatening

them with tens of thousands of dollars of fines for violations that the Town has not proven

exist or existed and by threatening fines that (1) include charges for the days upon which

the Town had “not determined if there [was] merit to the complaint or not”; (2) include

fines for days after violations were remedied; and (3) fail to detail the specific fines that

the Mallorys would face for their non-compliance.

       213.   The Mallorys have acted in reliance on the Town’s threats of fines that were

necessarily inflated by, among other things, the month-long period before the Town

                                             48

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 63 of 272 Document 1-2
   Case 2020CV001583     Document 11       Filed 11-09-2020      Page 53 of 55




confirmed whether there were any violations on the Mallorys’ property at all, and they

have suffered significant injuries as a result, as outlined in Paragraph 129 above.

       214.   The Town may not enforce fines that it has not proven exist or existed, and

the Mallorys are entitled to protection against such enforcement and to relief for the

harms they suffered as a result of the Town’s threats to enforce violations it has not

proven.

                                  REQUEST FOR RELIEF

   215.       The Mallorys respectfully request the following relief:

          a. A declaration that the Town of Eagle and Town Board violated the

              Mallorys’ right to freedom of speech by selectively enforcing Town

              ordinances against the Mallorys in retaliation for their constitutionally

              protected speech;

          b. A declaration that the Town of Eagle and Town Board violated the

              Mallorys’ right to equal protection by selectively enforcing town ordinances

              against the Mallorys for their constitutionally protected speech;

          c. A declaration that Defendants violated the Mallorys’ right to due process

              by enforcing the Town’s ordinances through actors with an impermissible

              financial incentive in the enforcement;




                                            49

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 64 of 272 Document 1-2
Case 2020CV001583     Document 11       Filed 11-09-2020     Page 54 of 55




      d. A declaration that the Town of Eagle and Town Board violated the

           Mallorys’ right to due process by denying them a meaningful opportunity

           to prove that their barn and utility lines were properly permitting;

      e. A declaration that the Town of Eagle and Town Board violated the

           Mallorys’ right to due process by threatening to charge fines for alleged

           violations without proving the truth of those allegations;

      f. A permanent injunction enjoining the Town and Town Board from

           selectively enforcing ordinances against the Mallorys for exercising their

           right to engage in protected speech;

      g. A permanent injunction enjoining Defendants from enforcing Town

           ordinances through actors with an impermissible financial incentive in the

           enforcement;

      h. A permanent injunction enjoining Defendants from limiting the Mallorys

           to a narrow set of documents for proof of compliance with permit

           requirements;

      i. A permanent injunction enjoining the Town and Town Board from

           charging fines for violations that the Town has not proven;

      j.   A permanent injunction enjoining the Town of Eagle and Town Board from

           conditioning resolution of enforcement proceedings on execution of a

           reimbursement form;

                                         50

   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 65 of 272 Document 1-2
  Case 2020CV001583        Document 11        Filed 11-09-2020       Page 55 of 55




          k. A permanent injunction enjoining the Town of Eagle and Town Board from

              threatening to impose fines without detailing and specifying the exact fines

              that will be imposed;

          l. An Order directing the Town Board to dismiss all claims of non-compliance

              raised prior to November 9, 2020;

          m. An Order allowing the Mallorys to restore the structures they have been

              forced to tear down since June 30, 2020;

          n. An award of $1 in nominal damages for Defendants’ violations of the U.S.

              Constitution and the harms that resulted therefrom;

          o. An award of the Mallorys’ costs and expenses for this action, together with

              reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988; and

          p. Such other and further relief this Court deems just and proper.




       Dated this 9th day of November, 2020.


Kirby West* (Pa. Bar No. 321371)              Electronically signed by Michael Van Kleunen
Marie Miller* (Ind. Bar No. 34591-53)         Michael Van Kleunen (Wis. Bar No. 1113958)
Alexa Gervasi* (D.C. Bar No. 1500433)         CRAMER, MULTHAUF & HAMMES, LLP
INSTITUTE FOR JUSTICE                         1601 East Racine Ave., Ste. 200
901 N. Glebe Suite, Suite 900                 Waukesha, WI 53186
Arlington, VA 22203                           (262) 542-4278
                                              mvk@cmhlaw.com
* Lead counsel for Plaintiffs; Pro Hac Vice
Applications Forthcoming                      Local Counsel for Plaintiffs




                                               51

      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 66 of 272 Document 1-2
     Case 2020CV001583   Document 12       Filed 11-24-2020       Page 1 of 6
                                                                                FILED
                                                                                11-24-2020
                                                                                Clerk of Circuit Court
                                                                                Waukesha County
                                                                                2020CV001583



STATE OF WISCONSIN                 CIRCUIT COURT                 WAUKESHA COUNTY

ERICA BREWER, et al.,
                                              Case No. 2020CV001583
                     Plaintiffs,
v.                                            Case Codes: 30701, 30704, 30301

TOWN OF EAGLE, et al.,

                     Defendants.

          PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO ADMIT
       KIRBY WEST, MARIE MILLER, AND ALEXA GERVASI PRO HAC VICE

         Plaintiffs ERICA BREWER and ZACHARY MALLORY, by and through their

attorney MICHAEL VAN KLEUNEN of CRAMER, MULTHAUF & HAMMES, LLP,

move the Court for an Order admitting Attorney KIRBY WEST, Attorney MARIE

MILLER, and Attorney ALEXA GERVASI to appear before this Court and participate in

the above-captioned case, pursuant to Wisconsin Supreme Court Rule 10.03(4).

         The Motion shall be heard before the Honorable Ralph M. Ramirez, at the

Waukesha County Courthouse, 515 West Moreland Boulevard, Waukesha, Wisconsin, at

a date and time as set by the Court, if the Court so requires.

         This Motion is based upon the enclosed copies of Applications of KIRBY WEST,

MARIE MILLER, and ALEXA GERVASI, and proof of payment of the required fees to

the Office of Lawyer Regulation.




        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 67 of 272 Document 1-2
  Case 2020CV001583   Document 12   Filed 11-24-2020   Page 2 of 6




Dated: November 23, 2020
                                    Electronically signed by Michael Van Kleunen
                                    Michael Van Kleunen (Wis. Bar No. 1113958)
                                    CRAMER, MULTHAUF & HAMMES, LLP
                                    1601 East Racine Ave., Ste. 200
                                    Waukesha, WI 53186
                                    (262) 542-4278
                                    mvk@cmhlaw.com
                                    Local Counsel for Plaintiffs




                                      2
     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 68 of 272 Document 1-2
Case 2020CV001583   Document 12   Filed 11-24-2020   Page 3 of 6




 Case 2:20-cv-01820-JPS Filed 12/09/20 Page 69 of 272 Document 1-2
Case 2020CV001583   Document 12   Filed 11-24-2020   Page 4 of 6




Case 2:20-cv-01820-JPS Filed 12/09/20 Page 70 of 272 Document 1-2
                                                 Scanned with CamScanner
           Case 2020CV001583             Document 12             Filed 11-24-2020                 Page 5 of 6




   STATE OF WISCONSIN, CIRCUIT COURT, WAUKESHA                                                  COUNTY

   Case Caption: Erica Brewer et al vs. Town                        Application for
   of Eagle et al
                                                                Pro Hac Vice Admission

                                                                   Case No. 2020CV001583

   I DECLARE UNDER PENALTY OF PERJURY:
        1. That I seek to appear pro hac vice in order to represent Plaintiffs                                  in the above-
           captioned matter;

        2. That I am admitted to practice law in the highest court(s) of the state(s) or country(ies) of New York and
           the District of Columbia                                                                    ;

        3. That there are no disciplinary complaints filed against me for violation of the rules of those courts (if so,
           please explain):                                                                                          ;

        4. That I am not suspended or disbarred from practice for disciplinary reasons or reason of medical
           incapacity in any jurisdiction (if yes, please explain):                                                        ;

        5. That I am associated with Attorney Michael Van Kleunen         , State Bar No. 113958          , an
           active member of the State Bar of Wisconsin (name the member of the State Bar of Wisconsin and
           provide his/her Member Number);

        6. That I do not practice or hold out to practice law in the State of Wisconsin;

        7. That I acknowledge the jurisdiction of the courts of the State of Wisconsin over my professional
           conduct, and I agree to abide by the rules of the relevant division of the Circuit Court of the State of
           Wisconsin, the Wisconsin Court of Appeals, the Wisconsin Supreme Court, and the Rules of
           Professional Conduct for Attorneys, if I am admitted pro hac vice;

        8. That I have complied fully with SCR Rule 10.03 (4);

        9. That I am applying for admission pro hac vice for the following reasons: To represent Plaintiffs Erica
           Brewer and Zachary Mallory in this civil rights action.



   I have applied for admission pro hac vice in the courts of the State of Wisconsin 0 times previously in this
   calendar year.

   I attach hereto evidence of my payment or prior payment of the pro hac vice fee.

   Signature of Attorney                                                     Telephone Number

                                                                             (703) 682-9323
   Name Printed                                                              Email Address (if any)

   Alexa Gervasi                                                             agervasi@ij.org
   Address of Principal Office

   Institute for Justice, 901 North Glebe Road, Suite 900, Arlington, VA 22203




                  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 71 of 272 Document 1-2
CA-180, 08/20 Application for Pro Hac ViceThis form meets the requirements of Appendix A to SCR 10.03
                                                                             SCR 10.03(4)
Case 2020CV001583   Document 12   Filed 11-24-2020   Page 6 of 6




   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 72 of 272 Document 1-2
      Case 2020CV001583     Document 13         Filed 11-24-2020        Page 1 of 2
                                                                                        FILED
                                                                                        11-24-2020
                                                                                        Clerk of Circuit Court
                                                                                        Waukesha County
                                                                                        2020CV001583




  STATE OF WISCONSIN                    CIRCUIT COURT                  WAUKESHA
                                                                            SHA
                                                                             HA COUNTY


 ERICA BREWER, et al.,



                                                                     ED
                                                   Case No. 2020CV001583
                                                             020CV001583




                                                                   S
                        Plaintiffs,
 v.                                                Case Codes: 30701, 30704, 3030
                                                                             30301




              O
 TOWN OF EAGLE, et al.,




            P
                        Defendants.
                              ants.




         RO     ORDER
                  DER GRANTING MOTION TO APPEAR PRO HAC VICE




of the
        P The matter befor

       State Bar
    he S
                     before the court, the Motion of Michael Van Kleunen, who is an active member

             B of Wisconsin, to allow Kirby West, Marie Miller, and Alexa Gervasi to appear

pro hac vice in the above-entitled action in association with Michael Van Kleunen of Cramer,

Multhauf & Hammes, LLP, pursuant to Wisconsin Supreme Court Rule 10.03(4).


         NOW THEREFORE, IT IS ORDERED that:

         1.     Pursuant to SCR 10.03(4), Kirby West, Marie Miller, and Alexa Gervasi are

granted permission to appear and participate in this court in the above-entitled action in association

with Michael Van Kleunen of Cramer, Multhauf & Hammes, LLP; and




         Case 2:20-cv-01820-JPS Filed 12/09/20 Page 73 of 272 Document 1-2
   Case 2020CV001583         Document 13        Filed 11-24-2020         Page 2 of 2




       2.      Kirby West, Marie Miller, and Alexa Gervasi shall abide by the Rules of

Professional Conduct for attorneys and the Rules of Decorum of the court, SCR 62.02. Violation

of the provisions will result in revocation of the authorization to appear in this case.

                            ###################################




                                                                               E D
                                                       O S
                              O P
      P R

                                                   2

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 74 of 272 Document 1-2
   Case 2020CV001583     Document 14       Filed 12-07-2020      Page 1 of 42
                                                                                FILED
                                                                                12-07-2020
                                                                                Clerk of Circuit Court
                                                                                Waukesha County
                                                                                2020CV001583




   STATE OF WISCONSIN               CIRCUIT COURT             WAUKESHA COUNTY



      ERICA BREWER, et al.,

                    Plaintiffs,

             v.                                         Case No. 2020CV001583
                                                        Case Codes: 30701, 30704, 30301

      TOWN OF EAGLE, et al.,

                    Defendants.


                      MEMORANDUM IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR A TEMPORARY INJUNCTION

                                       INTRODUCTION

      Plaintiffs Erica Brewer and Zachary Mallory (together, “the Mallorys” or

“Plaintiffs”) seek a temporary injunction to enjoin Defendants from violating their

constitutional rights through retaliatory code enforcement actions. A temporary

injunction is necessary to protect the Mallorys from imminent and significant harms

during the pendency of this lawsuit. With each day that passes without an injunction,

Defendants are able to impose additional fines and fees against Plaintiffs, further drawing

out their unconstitutional actions and punishing the Mallorys for exercising their right to

avail themselves of the court. Additionally, Defendant Town of Eagle Town Board

recently voted to bring legal claims against the Mallorys to recover approximately $20,000



                                       1
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 75 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020       Page 2 of 42




in fines and fees, which the Town of Eagle could file any day, placing the Mallorys at

immediate risk for further harms in violation of their constitutional rights.

       As set out in this memorandum, the Mallorys meet each of the four requirements

for the issuance of a temporary injunction. Consequently, this Court should enjoin

Defendants from pursuing or taking any enforcement actions against the Mallorys—

including inspecting the Mallorys’ property, requiring the Mallorys to make any changes

to their property, imposing additional fines and fees, or filing enforcement claims—for

(1) conditions or alleged violations that existed on their property at the time or before this

lawsuit was filed; or (2) violations that may be alleged to occur during the pendency of

this lawsuit but that are based on ordinances Defendants cited the Mallorys for violating

before this lawsuit was filed.

                                           FACTS

       In 2016, the Mallorys purchased a 3.8-acre farm in the Town of Eagle, Wisconsin.

See Ex. A at ¶ 3 (Brewer Aff.). They hoped to create a family business that would enable

them to retire early from their jobs as an operating-room nurse and a cyber-security

specialist. Id. at ¶¶ 2–4. In addition to their home, the Mallorys maintain a barn, chicken

coop, and sixteen beehives on their property. Id. at ¶ 5. They also grow vegetables that,

until recently, they sold at a farm stand on their property. Id. at ¶ 6. Prior to Defendants’

actions that are the subject of this lawsuit, the Mallorys also housed a small flock of sheep

on their property, which they bred for food for their family. Id. at ¶ 26. For the Mallorys,




                                        2
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 76 of 272 Document 1-2
    Case 2020CV001583     Document 14      Filed 12-07-2020      Page 3 of 42




farming is both a fulfilling way of life and an important source of income for their family.

Id. at ¶ 7.

        The Mallorys became interested in local government several years ago after

learning that the Town had used its ordinance enforcement process to undermine a

neighbor’s efforts to run a small horse-farm business. Id. at ¶ 8. After advocating for that

neighbor at public town meetings and on social media, the Mallorys began paying more

attention to the Town Board and speaking up more regularly at town meetings and on

social media when they felt the Board made mistakes. Id. at ¶ 9.

        On May 19, 2020, Defendant Schwecke, the Town Planner and Zoning

Administrator, sent the Mallorys a letter informing them that an anonymous complaint

had been lodged against them for unspecified allegations of ordinance violations, noting

that the Town had “not determined if there [was] merit to the complaint or not.” Ex. B

(Letter from T. Schwecke to Mallorys dated May 19, 2020). In response to requests by the

Mallorys, Schwecke followed this letter with a copy of the anonymous complaint, which

listed six potential ordinance violations. See Ex. C (Anonymous complaint dated May 15,

2020). About one month after the initial letter, Defendant Schwecke and Defendant

Montoya, the Town Building Inspector, conducted an on-site inspection. See Ex. A at ¶

13. This inspection resulted in the accusation of several new alleged violations, and the

Mallorys soon got a letter detailing nine cited violations, including having too many

accessory buildings, having two too many livestock, failing to obtain a permit to place a




                                         3
        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 77 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020      Page 4 of 42




flower shelf on their balcony, their barn being located within 50 feet of their lot line, and

having tufts of grass or weeds taller than twelve inches. See Ex. D (Notice of Violation

dated June 30, 2020). Not a single one of the alleged violations poses a threat to the health

or safety of the Mallorys or the community, see id., and many of the alleged violations are

regularly committed by the Mallorys’ neighbors without consequence, see Ex. A. at ¶ 15.

       The Mallorys were provided instructions for how to remedy some of the alleged

violations and were informed that failure to remedy all violations would result in legal

action and a monetary penalty. Ex. D. The Mallorys hired an attorney and communicated

regularly with Defendants about their efforts to come into compliance and to

accommodate Defendants’ requests for follow-up site visits. See Ex. A at ¶¶ 16–17. Over

the ensuing months, the Mallorys received conflicting information from various

Defendants regarding what they needed to do to comply and which violations would be

enforced. Compare, e.g., Ex. E (Letter from T. Schwecke to Mallorys dated September 15,

2020), with Ex. F (Letter from P. Alexy to Mallorys dated October 9, 2020).

       Despite this confusion, the Mallorys took significant steps to remedy the alleged

violations. They closed and tore down their farm stand and greenhouse, they arranged

to slaughter excess livestock, and they made sure their grass was cut. See Ex. A at ¶ 20.

On October 5, 2020, the Mallorys updated the Town Board on their progress and

requested an extension on their deadline to comply. Id. at ¶ 22. In a letter dated October

9, 2020, Defendant Municipal Law & Litigation Group, through attorney Paul Alexy,




                                        4
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 78 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020       Page 5 of 42




notified the Mallorys that if they failed to comply with all of the onerous compliance

demands listed in the letter, including signing a cost agreement promising to pay the

town attorney’s legal fees, they would be liable for “forfeitures in the area of $20,000.” See

Ex. F at 3.

       Between June 18 and the filing of this motion, various Defendants have made five

separate visits to the Mallorys’ property, regularly changing their instructions regarding

what steps the Mallorys needed to take to come into compliance, see Ex. A at ¶¶ 18–19,

and presumptively accumulating charges for each visit—charges that Defendants intend

to pass on to the Mallorys.

       The Mallorys long suspected that the enforcement actions against them were

related to their activism in the Town. See id. at ¶ 27. After all, they were being punished

severely for trivial offenses that their neighbors appeared to commit regularly without

consequence. See id. The Mallorys’ suspicions were confirmed on October 27, 2020 when

Erica received an email from Defendant Janis Suhm, a Town Board Supervisor, who

informed Erica that Board Members had voted to pursue enforcement against the

Mallorys because the Mallorys “have literally ticked off all the board members with

[their] meeting comments and on [F]acebook,” causing the Board Members to “vot[e]

with emotion.” See Ex. G (Email from J. Suhm to E. Brewer dated Oct. 27, 2020). On

November 9, 2020, after Plaintiffs filed and notified Defendants of the instant action, the

Town Board again voted to take further steps against the Mallorys by authorizing the




                                        5
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 79 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020      Page 6 of 42




filing of a lawsuit to enforce fines and fees for the Mallorys’ alleged ordinance violations.

See Ex. A at ¶ 29. They have not yet, however, filed their threatened lawsuit.

       The Mallorys want to stay on their farm and pursue their dreams of building it

into a successful small business. Id. at ¶ 31. But Defendants’ retaliatory enforcement

actions, as well as the looming threat of future enforcement actions, have led them to

consider leaving the Town of Eagle altogether. Id. at ¶ 31. A temporary injunction is the

only assurance against these continuing deprivations of the Mallorys’ constitutional

rights. Without a temporary injunction, the Mallorys face serious financial hardship and

may be forced to make further permanent, unwanted alterations to their property.

                                  STANDARD OF REVIEW

       The decision to grant a motion for temporary injunction is within “the sound

discretion of the trial court.” Pure Milk Prods. Coop. v. Nat’l Farmers Org., 90 Wis. 2d 781,

800, 280 N.W.2d 691, 700 (1979). This Court may grant a temporary injunction “[w]hen it

appears from a party’s pleading that the party is entitled to judgment and any part thereof

consists in restraining some act, the commission or continuance of which during the

litigation would injure the party . . . .” Wis. Stat. Ann. § 813.02(1)(a). Courts have

interpreted this statutory directive to authorize the grant of a temporary injunction

where: (1) the movant is likely to suffer irreparable harm if the injunction is not issued;

(2) the movant has no other adequate remedy at law; (3) the injunction is necessary to

preserve the status quo; and (4) the movant has a reasonable probability of ultimate




                                        6
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 80 of 272 Document 1-2
   Case 2020CV001583      Document 14        Filed 12-07-2020      Page 7 of 42




success on the merits. Milwaukee Deputy Sheriffs' Ass'n v. Milwaukee County, 2016 WI App

56, ¶20, 370 Wis. 2d 644, 883 N.W.2d 154 (2016). The Seventh Circuit, in analogous

circumstances, has explained that demonstrating a reasonable likelihood of success on

the merits requires a party to merely “show that it has a better than negligible chance of

success on the merits of at least one of its claims.” Girl Scouts of Manitou Council, Inc. v.

Girl Scouts of U.S. of Am., Inc., 549 F.3d 1079, 1096 (7th Cir. 2008) (internal quotation

omitted).

                                         ARGUMENT

       The Mallorys are entitled to a temporary injunction prohibiting Defendants from

further violating their constitutional rights through continued and future pursuit of

alleged violations and enforcement actions. Below, Plaintiffs examine each of the four

factors of the temporary injunction test, establishing that: (1) they are likely to suffer

irreparable harm if the injunction is not issued; (2) they have no other adequate remedy

at law; (3) an injunction is necessary to preserve the status quo; and (4) they are likely to

prevail on the merits of at least one of their claims.

       I. Plaintiffs’ constitutional injuries constitute irreparable harm.

       Wisconsin courts, like other jurisdictions, have recognized that the deprivation of

constitutional rights constitutes an irreparable harm. See, e.g., State v. Behnke, 155 Wis. 2d

796, 806–07, 456 N.W. 2d 610, 614 (1990) (concluding constitutional violations caused

irreparable harm, even though the harms were speculative); Sentinel-News Co. v. City of




                                        7
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 81 of 272 Document 1-2
   Case 2020CV001583       Document 14       Filed 12-07-2020       Page 8 of 42




Milwaukee, 212 Wis. 618, 618, 250 N.W. 511, 512 (1933) (explaining that unconstitutional

ordinance application and prosecution can result in “great” and “irreparable” injury,

warranting injunctive relief); Ezell v. City of Chicago, 651 F.3d 684, 699 (7th Cir. 2011)

(“When an alleged deprivation of a constitutional right is involved, most courts hold that

no further showing of irreparable injury is necessary.”(quoting 11A Charles Alan Wright

& Arthur R. Miller, Federal Practice and Procedure, § 2948.1 (2d ed. 1995))). This

presumption of irreparable injury is “particularly true in First Amendment claims.” Ezell,

651 F. 3d a 699; see also Nat’l People’s Action v. Village of Wilmette, 914 F.2d 1008, 1013 (7th

Cir. 1990) (“Even a temporary deprivation of first amendment freedom of expression

rights is generally sufficient to prove irreparable harm.”). In addition to the violations of

the Mallorys’ constitutional rights, detailed in full in the Complaint and in part below,

the Mallorys have suffered, and will continue to suffer, additional irreparable harm if

Defendants are not immediately enjoined from pursuing and enforcing alleged ordinance

violations that have no bearing on the health or safety of the Mallorys or their community.

       For example, since June, Defendants have shown up on the Mallorys’ property on

at least five separate occasions to scope out petty violations and retaliate against Plaintiffs

for holding the Town Board accountable. If the Court does not enjoin Defendants from

pursuing violations during the pendency of this lawsuit, there is nothing to stop

Defendants from continuing to invade the Mallorys’ property under the pretext of code

investigations. Failure to enjoin Defendants from pursuing and enforcing alleged




                                        8
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 82 of 272 Document 1-2
   Case 2020CV001583      Document 14      Filed 12-07-2020      Page 9 of 42




violations also carries the untenable risk that the Mallorys will be forced to tear down

structures on their property, such as their barn, that have been on their land longer than

the Mallorys themselves. Having to remove their farm structures, including their barn,

would irredeemably deprive the Mallorys of at least part of the relief they have requested

in this action. What’s more, absent Court intervention, the Town is able to continue

calculating daily, rapidly accumulating fines and to use the threat of those fines to force

the Mallorys to make irreversible changes to their farm while the Mallorys await

adjudication of their claims.

       Further, though Defendant Board Members have voted to file suit against the

Mallorys, they have not yet done so. If Defendants are able to file claims against the

Mallorys to recover the threatened fines and fees while this action is pending, the

Mallorys will face the irreparable harm of having to defend against alleged violations that

exist only because of Defendants’ constitutional violations. Particularly in light of the

Plaintiffs’ likelihood of success on the merits of their claims, explained further below, it

would be inequitable to permit Defendants to force the Mallorys to incur the costs and

stress of a lawsuit mired in unconstitutional motives and processes, even if Defendants’

claims are ultimately unsuccessful.

       These risks are not mere hypotheticals. Because of Defendants’ unconstitutional

enforcement actions, the Mallorys have already been forced to destroy their farm stand,

tear down their canvas shed, slaughter their sheep, and make other undesired changes to




                                       9
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 83 of 272 Document 1-2
   Case 2020CV001583       Document 14       Filed 12-07-2020       Page 10 of 42




their property, many of which have limited the Mallorys’ ability to earn a living from

their farming activities. See Ex. A at ¶ 25. If the threats of enforcement actions—including

for yet uncited violations—continue to loom over the Mallorys, they will face not only

the financial injury of fines and fees, but also the irreparable harm of irrational restraints

on the free use of their property and the knowledge that they may be continually targeted

in retaliation for constitutionally protected activity.

       II. There is no adequate remedy at law for Plaintiffs’ constitutional injuries.

       The Mallorys’ constitutional injuries lack an adequate remedy for at least two

reasons. First, constitutional violations, by their very nature, tend to not have adequate

remedies at law, and the constitutional violations here are no exception. See, e.g., Sentinel-

News Co., 212 Wis. at 618; Ezell, 651 F.3d at 699; GoodCat, LLC v. Cook, 202 F. Supp. 3d 896,

917–18 (S.D. Ind. 2016) (finding no adequate remedy at law where there was a

“reasonable likelihood of a constitutional violation”); see also, e.g., Elrod v. Burns, 427 U.S.

347, 373–74 (1976) (holding that where a plaintiff’s First Amendment interests are

threatened or in fact being impaired, there is no adequate remedy at law and “injunctive

relief is clearly appropriate” (internal quotation omitted)). Second, there is no remedy at

law that will ensure Defendants will not continue to target the Mallorys, charging them

with constantly increasing fines and fees for trivial offenses. Only an injunction can shield

the Mallorys from Defendants’ ceaseless efforts to pursue and enforce ordinance




                                       10
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 84 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020      Page 11 of 42




violations against them—that bear no relation to needs of health or safety—during the

pendency of this lawsuit.

       III. A temporary injunction is necessary to preserve the status quo.

       The Wisconsin Supreme Court has highlighted the importance of preserving the

status quo between parties by the issuance of a temporary injunction:

       Where the complaint states a cause of action, and the motion papers
       disclose a reasonable probability of plaintiff's ultimate success, it is well-
       nigh an imperative duty of the court to preserve the status quo by temporary
       injunction, if its disturbance pendente lite will render futile in considerable
       degree the judgment sought, or cause serious and irreparable injury to one
       party; especially if injury to the other is slight, or of character easily
       compensable in money; and that the discretion vested in the court is largely
       over the question of terms of the restraint and the protection of rights by
       bonds from one party to the other.

Shearer v. Congdon, 25 Wis. 2d 663, 668, 131 N.W.2d 377, 381 (1964) (alterations omitted)

(quoting De Pauw v. Oxley, 122 Wis. 656, 659, 100 N.W. 1028, 1029 (1904)). Plaintiffs’

Complaint states a cause of action, and, as discussed below, Plaintiffs can demonstrate a

reasonable probability of success on the merits. Additionally, any injury to Defendants in

delayed code enforcement is inconsequential as compared to the irreparable injury to

Plaintiffs caused by the violation of their constitutional rights. The lack of potential harm

to Defendants is emphasized by the fact that none of the violations alleged against the

Mallorys threaten the health or safety of the Mallorys, their neighbors, or the Town. Thus,

the principles articulated in Shearer and De Pauw strongly weigh in favor of preserving




                                       11
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 85 of 272 Document 1-2
   Case 2020CV001583       Document 14      Filed 12-07-2020    Page 12 of 42




the status quo by enjoining Defendants from pursuing or enforcing these ordinance

violations against Plaintiffs while this action is pending.

       As of the date of filing this motion, Defendants have not yet filed the threatened

enforcement suit to recover fines and fees from the Plaintiffs. Therefore, at present, the

Mallorys do not have any judgment against them, nor are they obligated to pay the hefty

$20,000 in fines and fees threatened by Defendants. A temporary injunction would ensure

the Mallorys do not face that burdensome penalty until this Court has adjudicated their

constitutional claims and, in turn, determined whether the threatened fines and fees are

themselves constitutional. Importantly, a temporary injunction would also prevent

Defendants from adding to the Mallorys’ bill by beginning new retaliatory investigations.

This factor weighs in favor of granting the requested temporary injunction.

       IV. Plaintiffs are likely to succeed on the merits.

       Crucially, Plaintiffs are likely to succeed on the merits, satisfying the most

important prong of the temporary injunction inquiry. Though Plaintiffs need only show

a probability of success on one of their claims, the below discussion demonstrates

Plaintiffs’ likelihood of success on all five counts and the importance of a temporary

injunction in this case.

          A. Plaintiffs will likely prevail on Count I: Retaliatory Enforcement.

       Plaintiffs are likely to succeed on Count I of their Complaint, which alleges

retaliatory enforcement of town ordinances because the Mallorys exercised their First




                                       12
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 86 of 272 Document 1-2
   Case 2020CV001583      Document 14      Filed 12-07-2020      Page 13 of 42




Amendment right to speak critically of the government. The Mallorys are civically

engaged residents of the Town of Eagle who frequently express their thoughts and

concerns about town activities, both at town meetings and on social media. See Ex. A. at

¶ 9. When they first learned of the Town’s enforcement action against them, the Mallorys

suspected it was a result of this active political engagement. Id. at ¶ 27. Those suspicions

were confirmed in an October 27, 2020 email from Defendant Janis Suhm who clarified

that the Town Board had “voted with emotion” to take enforcement actions against the

Mallorys because the Mallorys had “literally ticked off all the board members with [their]

meeting comments and on [F]acebook.” Ex. G. This baldly retaliatory enforcement

violates the Mallorys rights under the First Amendment, as incorporated by the

Fourteenth Amendment.

       Courts examining a First Amendment retaliation claim must engage in a three-

step inquiry. First, the court determines whether the plaintiff’s speech was

constitutionally protected. Second, the court considers whether the defendant’s actions

were motivated by that constitutionally protected speech. See Rasche v. Village of Beecher,

336 F.3d 588, 596–97 (7th Cir. 2003). Third, if the plaintiff successfully shows that

constitutionally protected speech was a “substantial or motivating factor” in the

defendant’s adverse action against him, the defendant has an opportunity to show that it

would have taken the same action even if the plaintiff had not engaged in the protected

speech. Id. If the defendant successfully clears that hurdle, the burden shifts to the




                                       13
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 87 of 272 Document 1-2
   Case 2020CV001583       Document 14       Filed 12-07-2020      Page 14 of 42




plaintiff to show that the justifications given by the defendant were pretextual and that

retaliation was the true motivating factor for the defendant’s actions. Id.

       Application of this test to the facts here is unusually straightforward among First

Amendment retaliation claims. There is no doubt that the First Amendment protects the

Mallorys’ town-meeting and social-media comments challenging the Town Board’s

actions. See, e.g., Lozman v. City of Riviera Beach, 138 S. Ct. 1945, 1954 (2018) (recognizing,

in a First Amendment retaliation case brought by an individual who had criticized city

government, “the right to petition as one of the most precious of the liberties safeguarded

by the Bill of Rights” (internal quotation omitted)); Surita v. Hyde, 665 F.3d 860, 870–71

(7th Cir. 2011) (holding that mayor violated a citizen’s First Amendment rights when he

barred her from voicing criticism of the city at a city council meeting). The Mallorys do

not just suspect that they have been targeted because of their speech—they have been

directly told as much by one of the Defendants in this case. And this confession is coupled

with the non-enforcement of comparable violations against similarly situated residents.

As a result, it is clear that any post hoc justification Defendants ultimately provide for the

enforcement action is pretextual. The Mallorys are therefore likely to prevail on their First

Amendment retaliation claim.

          B. Plaintiffs will likely prevail on Count II: Discriminatory Enforcement.

       Plaintiffs are similarly likely to prevail on Count II of their Complaint, which

alleges discriminatory enforcement in violation of the Fourteenth Amendment’s Equal




                                       14
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 88 of 272 Document 1-2
   Case 2020CV001583       Document 14       Filed 12-07-2020       Page 15 of 42




Protection Clause. The Equal Protection Clause prohibits government officials from

intentionally treating an individual differently from others who are similarly situated

without a rational basis for the difference in treatment. See Village of Willowbrook v. Olech,

528 U.S. 562, 564 (2000). Here, the Town has dragged the Mallorys through an expensive,

months-long enforcement ordeal based on trivial violations not enforced against other

similarly situated residents. As described above, Defendant Janis Suhm has

acknowledged that this enforcement action was motivated not by public health or safety

concerns, but by specific animus against the Mallorys. See Ex. G. A plaintiff can succeed

on an equal protection claim where the state action is “motivated solely by a spiteful

effort to ‘get’ him for reasons wholly unrelated to any legitimate state objective.” Village

of Willowbrook, 528 U.S. at 564 (internal quotation marks and citations omitted). The

Mallorys can demonstrate Defendants’ retaliatory motivation here and are consequently

likely to succeed on their Equal Protection claim.

          C. Plaintiffs will likely prevail on Count III: Improper Profit Motives.

       Plaintiffs’ likelihood of success on either Count I or Count II is sufficient to satisfy

Plaintiffs’ duty to demonstrate a probability of success of the merits. But even if it

weren’t, Plaintiffs are also likely to succeed on Count III of their Complaint, alleging

violation of their right to due process under the Fourteenth Amendment. The Fourteenth

Amendment’s Due Process Clause “entitles a person to an impartial and disinterested

tribunal in both civil and criminal cases.” Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980).




                                       15
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 89 of 272 Document 1-2
   Case 2020CV001583      Document 14      Filed 12-07-2020      Page 16 of 42




For this reason, “scheme injecting a personal interest, financial or otherwise, into the

enforcement process may . . . in some contexts raise serious constitutional questions.” Id.

at 249–50. Defendants run afoul of this constitutional guarantee by injecting an

impermissible financial incentive into the Town’s ordinance enforcement scheme.

Defendants Municipal Law & Litigation Group, Schwecke, and Montoya each have

significant financial interests in enforcement actions. To maximize their profits, these

Defendants have an interest in drawing out the enforcement process (for example, by

conducting unnecessary follow-up investigations) and in identifying as many violations

as possible. The Mallorys were initially targeted by the Town in retaliation for their

activism, but once the enforcement process began, they faced a system polluted with

profit motives working against their efforts to promptly and reasonably resolve their

alleged violations. The Constitution prohibits this unjust profit motive, and the Mallorys

are likely to prevail on Count III of their Complaint.

         D. Plaintiffs will likely prevail on Count IV: Improper Burden of Proof for
            Permitting and on Count V: Presumption of Wrongdoing.

       Again, this Court need only find that Plaintiffs have a reasonable probability of

success on the merits of one of their claims in order to grant a temporary injunction, but

Plaintiffs are likely to succeed on all five, including Counts IV and V of their Complaint,

which allege improper burdens of proof in the enforcement process. The Due Process

Clause of the Fourteenth Amendment requires that governments bear the burden of

proving ordinance violations and guarantees those accused of wrongdoing a meaningful



                                      16
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 90 of 272 Document 1-2
   Case 2020CV001583       Document 14       Filed 12-07-2020      Page 17 of 42




opportunity to defend themselves and be heard before they are deprived of their

property. See, e.g., Goldberg v. Kelly, 397 U.S. 254, 267–71 (1970) (“Certain principles have

remained relatively immutable in our jurisprudence. . . . [T]he evidence used to prove the

Government’s case must be disclosed to the individual so that he has an opportunity to

show that it is untrue.” (internal quotation omitted)); cf., e.g., City of Cudahy v. DeLuca, 49

Wis. 2d 90, 92–93, 181 N.W.2d 374, 375 (1970) (holding that local governments generally

must prove municipal ordinance violations by a preponderance of the evidence). Despite

these constitutional guarantees, the Town has threatened the Mallorys with fines dated

back to the anonymous complaint, even though the Town did not send an inspector to

the Mallorys’ property until nearly a month after the complaint was submitted. The

Town, therefore, has threatened to impose significant fines and fees, and used these

threats to manipulate the Mallorys into making undesired changes to their property, on

the mere presumption of violations, instead of rising to its burden of proof.

       Relatedly, the Town has deprived the Mallorys of a meaningful opportunity to be

heard by denying them the right to demonstrate that their structures were properly

permitted through evidence other than the permits themselves. The Town’s restriction of

admissible evidence to the permit records, which the Town itself is responsible for

maintaining, strips the Mallorys of their constitutional right to meaningfully defend their

property. See S. Lyme Prop. Owners Assoc., Inc. v. Town of Old Lyme, 121 F. Supp. 2d 195,




                                       17
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 91 of 272 Document 1-2
   Case 2020CV001583      Document 14       Filed 12-07-2020       Page 18 of 42




207 (D. Conn. 2000) (“For owners who have not kept historical records on the use of their

property, [limiting admissible evidence to those records] is meaningless.”).

       The Town has threatened fines and fees without satisfying its burden of proof or

providing the Mallorys a meaningful opportunity to be heard. As such, the Mallorys are

likely to succeed on the merits of their claims.

                                           CONCLUSION

       If Defendants are not enjoined from pursuing and enforcing ordinance violations

against the Mallorys while this suit is pending, the Mallorys will suffer significant and

irreparable harms that far outweigh any harm Defendants may suffer in delaying their

enforcement proceedings. Therefore, and because the Mallorys are likely to succeed on

the merits of at least one of their claims, the Court should grant this motion and enjoin

Defendants from pursuing or taking any enforcement actions against the Mallorys—

including inspecting the Mallorys’ property, requiring the Mallorys to make any changes

to their property, imposing additional fines and fees, or filing enforcement claims—for

(1) conditions or alleged violations that existed on their property at the time or before this

lawsuit was filed; or (2) violations that may be alleged to occur during the pendency of

this lawsuit but that are based on ordinances Defendants cited the Mallorys for violating

before this lawsuit was filed.




                                       18
       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 92 of 272 Document 1-2
   Case 2020CV001583      Document 14    Filed 12-07-2020    Page 19 of 42




Dated: December 7, 2020

                                        Electronically signed by Michael Van Kleunen
 Alexa Gervasi*                         Michael P. Van Kleunen (SBN: 1113958)
 Kirby West*                            CRAMER, MULTHAUF & HAMMES, LLP
 Marie Miller*                          1601 East Racine Avenue • Suite 200
 INSTITUTE FOR JUSTICE                  P.O. Box 558
 901 N. Glebe Rd., Suite 900            Waukesha, WI 53187
 Arlington, VA 22203                    (262) 542-4278
 (703) 682-9320                         mvk@cmhlaw.com
 agervasi@ij.org; kwest@ij.org;         Local Counsel for Plaintiffs
 mmiller@ij.org
 Lead Counsel for Plaintiffs

 *Motion for admission pro hac vice
 pending




                                      19
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 93 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 20 of 42




                        Exhibit A




   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 94 of 272 Document 1-2
  Case 2020CV001583      Document 14      Filed 12-07-2020     Page 21 of 42




STATE OF WISCONSIN                CIRCUIT COURT               WAUKESHA COUNTY


     ERICA BREWER, et al.,

                    Plaintiffs,

            v.                                  Case No. 2020CV001583
                                                Case Codes: 30701, 30704, 30301

     TOWN OF EAGLE, et al.,

                    Defendants.


                       AFFIDAVIT OF ERICA F. BREWER

     Erica F. Brewer, of legal age and being duly sworn, states:

     1. I, along with my husband, Zachary Mallory, am a Plaintiff in the above-
        captioned lawsuit.

     2. I am employed as an operating room nurse, and my husband is employed
        as a cyber-security specialist.
     3. My husband and I are the owners of the 3.8-acre property at W367 S9594
        South Road, Eagle, WI 53119-1571, which we purchased in 2016.

     4. We purchased the property with plans to build a farming business that
        would enable us to retire early from our current careers to become full-time
        farmers.

     5. On our property, we maintain our home, a barn, a chicken coop, and sixteen
        beehives.

     6. We grow produce on our property, which we previously sold from a farm
        stand located on our property.
     7. For our family, farming is not only a fulfilling way of life, but it also provides
        an essential source of income.



                                      1
     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 95 of 272 Document 1-2
Case 2020CV001583    Document 14       Filed 12-07-2020    Page 22 of 42




   8. A few years ago, after learning that officials for the Town of Eagle were
      impeding our neighbors’ ability to run a small horse farm on their property,
      my husband and I began speaking out at public town meetings and on social
      media.
   9. Our advocacy on behalf of our neighbors revealed even more wrongdoings
      by town officials, so we made an effort to attend as many public town
      meetings as possible and to speak out at those meetings and on social media
      in an effort to hold the town officials accountable.
   10. Then, in May of 2020, we received a letter from Tim Schwecke, the Town
       Planner and Zoning Administrator, informing us that a complaint had been
      submitted alleging ordinance violations on our property.
   11. We submitted an open records request to the Town Clerk, Lynn Pepper,
       asking for a copy of the complaint.
   12. Schwecke responded to our request and provided a copy of the anonymous
      complaint, which alleged numerous violations.
   13. On June 18, 2020, Schwecke and the Building Inspector, Martin Montoya,
       came onto our property for an inspection.

   14. In a letter dated June 30, 2020, Schwecke and Montoya alleged that there
       were nine violations on our property that required remediation.
   15. Many of the alleged violations are violations that other residents of the
      town, including our own neighbors, commit without consequence, even
      though the town has been made aware of these violations.
   16. In response to the notice of violation, we hired an attorney and began taking
      steps to come into compliance.
   17. We regularly communicated with Schwecke, Montoya, the members of the
      town board, and the town’s attorney regarding our compliance efforts.

   18. The town has also repeatedly, on at least five separate occasions, sent
       representatives to our property for re-inspections of our property.

   19. During these communications and inspections, we routinely received
      competing advice on exactly what steps we needed to take to satisfy the
      town.




                                    2
   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 96 of 272 Document 1-2
Case 2020CV001583    Document 14      Filed 12-07-2020       Page 23 of 42




   20. Between July and October, and in response to the town’s allegations of
       violations, we closed and tore down our farm stand, tore down our
      greenhouse, removed equipment and building materials from our property,
      trimmed our grass and weeds, and made arrangements to slaughter our
      sheep.
   21. We would not have taken these steps, which were not in the best interest
      of our farm, without the town’s threats of extreme fines and fees.
   22. On October 5, 2020, we provided the town with an update of this progress,
      and we requested an extension of time for coming into compliance.
   23. The town informed us that unless we comply with all of its demands,
      including signing a cost-reimbursement agreement, the town would fine us
      around $20,000.

   24. Between October and today, we have taken additional steps to come into
       compliance, including tearing down our canvas shed and slaughtering our
      sheep.
   25. We have suffered financial consequences and our farming efforts have been
       hindered because of the changes that the town has forced us to make on our
      property.

   26. For instance, because the town will not allow us to temporarily house
       offspring from our sheep, we have been forced to slaughter the entire flock.
       It is not financially responsible to maintain sheep through the winter if we
      are not permitted to breed them in the spring.

   27. Because the town was citing us for violations that other residents regularly
       commit, and because town officials have demonstrated displeasure with our
       efforts to hold them accountable, we suspected that the town was only
      acting against us in retaliation for our criticisms.

   28. Then, on October 27, 2020, I received an email from one of the board
       members, Janis Suhm, confirming that the town officials were upset with
      my husband and me because of our statements at town meetings and on
      Facebook and were punishing us for those statements by enforcing these
      alleged violations.




                                    3
   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 97 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 24 of 42




   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 98 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 25 of 42




                        Exhibit B




   Case 2:20-cv-01820-JPS Filed 12/09/20 Page 99 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 26 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 100 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 27 of 42




                        Exhibit C




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 101 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 28 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 102 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 29 of 42




                       Exhibit D




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 103 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 30 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 104 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 31 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 105 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 32 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 106 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 33 of 42




                        Exhibit E




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 107 of 272 Document 1-2
        Case 2020CV001583           Document 14          Filed 12-07-2020         Page 34 of 42




September 15, 2020

Via email to Attorney Van Kleunen at mvk@cmhlaw.com

Erica Brewer and Zachary Mallory
W367S9594 South Road
Eagle, WI 53119-1571

Subject: Results of on-site inspection on September 14, 2020

Dear Ms. Brewer and Mr. Mallory,

The purpose of this letter is to outline my findings as of this date.

A. Detached accessory buildings. As noted in the original complaint letter, five detached accessory buildings were
on the property. The building for the roadside stand located in front of the house has been completely removed. You
stated that you ll remove the greenhouse located along the north lot line by the end of this week. In the
correspondence from your Attorney dated September 15, 2020, he states that the soft-sided structure will be removed
by October 31, 2020.

You will need to obtain a zoning permit and building permit for each of the remaining accessory buildings.

B. Hot tub. There is an outdoor hot tub on the property that is heated with an integrated wood burner. There are no
Town records indicating you obtained the necessary zoning permits.

In the correspondence from your Attorney dated September 15, 2020, he states that the outdoor wood burner will not
be used. You should remove the smoke stack which would render the unit inoperable.

If you believe the hot tub was installed before March 28, 2017, please advise and forward any supporting evidence. In
this regard, you may submit a signed and dated letter indicating the date you believe it was installed.

C. Home business. During our visit you indicated that you are no longer selling anything directly from your property.
Signs directly related to your business have been removed along with the roadside stand in the front of your house. As
I understand it, you are still growing produce and selling it off-site at farmers markets and other outlets, which is
perfectly fine.

D. Livestock. During the inspection, there are 5 head of livestock on the property. In the correspondence from your
Attorney dated September 15, 2020, he states that the 2 of the livestock will be removed by Thanksgiving Day, 2020.

E. Location of building housing livestock.                                                  building housing livestock
must be at least 50 feet from all lot lines. The building where the sheep were being housed is closer than 50 feet to the
side lot line and, therefore, is in violation of the Zoning Ordinance.

In this regard, the Town is working on a zoning code amendment, which if adopted as drafted, would remove that 50-
foot restriction on buildings housing livestock.


            Case 2:20-cv-01820-JPS Filed 12/09/20 Page 108 of 272 Document 1-2
        Case 2020CV001583         Document 14         Filed 12-07-2020         Page 35 of 42
Page 2
____________________________________


With regard to the above, you are asking for additional time as follows:
       Remove greenhouse no later than September 19, 2020
       Remove soft-sided building no later than October 31, 2020
       Remove two of the livestock no later than Thanksgiving Day, 2020 (leaving 3)

I would also suggest these following timelines:
        Remove the smoke stack on the wood burner no later than September 19, 2020
        Apply for all necessary zoning and building permits no later than October 2, 2020

With regard to property maintenance, we will review that progress consistent with the Town Board s direction and
can potentially be done at any future inspections.

I will be reviewing my findings with the Town Board at their meeting on September 16, 2020. You should plan on
attending the meeting online to answer any questions. Details for joining the meeting will be included on the meeting
agenda.

If you should have any questions, you may contact me at 920-728-2814 or via email at
tim.schwecke@civitekconsulting.com.

Finally, thank you for your continued cooperation.

Sincerely,


Tim Schwecke, Town Planner/Zoning Administrator




Town of Eagle

cc: Martin Montoya, Town Building Inspector
    Don Malek, Town Chairman
    Lynn Pepper, Town Clerk




             Case 2:20-cv-01820-JPS Filed 12/09/20 Page 109 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 36 of 42




                        Exhibit F




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 110 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 37 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 111 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 38 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 112 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 39 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 113 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 40 of 42




                       Exhibit G




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 114 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 41 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 115 of 272 Document 1-2
Case 2020CV001583   Document 14   Filed 12-07-2020   Page 42 of 42




  Case 2:20-cv-01820-JPS Filed 12/09/20 Page 116 of 272 Document 1-2
         Case 2020CV001583            Document 15            Filed 12-07-2020            Page 1 of 14
                                                                          FILED
                                                                                                       12-07-2020
                                                                                                       Clerk of Circuit Court
                                                                  4                  !
                                                                                                       Waukesha County
                                                                                 
                                                                                             2020CV001583
                                                                    70-89 ! #
                
                      
                                                                              #
         ! "#$%& 
          '()*
                                                                 *    +               
                           
                                                                 #
              "  +,-. /0
            '&- *                               5 *   & 
                                                                 +  #
                       1 2*33
                             4                                       
                    & !56 33
                             4                                   !"#$ :!   &# ;!  +   )#   <  =
                   -   - 666 33                        ( ;#*     * > ?@  
                                                                   );    A  #

                       +   #   <  =    @"    ?
                       :    ); '   A   #
               
                                                                 >   *()(  B);;)*&                +  
      !             
                                                                                             D
  ! "                      ;C:$'  + #
         !        !
                                                                 %  
                 # $
%  &       '        (   '          ;C:$'  + #
)  *  )# &  +# ,-. #&#/ 0./1
                                                                              B "      
     2            
                                                                           #B   
         #
                                                                        !    E    " 
                                                                              ! 
                                                                       #&             
   $             '   + 
                                                                              1/ %#&# # 7 0-89
 !     3
                                                                                     
                                                                           !         
     4       
                                                                     #* : F     B 
      !       "     
                                                                 >        4        
 5
                                                                                  +  &  *  
                                                                        > " #
             !  
     "5

  4                                                    )
     !         4
          5                        )/../     B "        
                                                                      E      
  !      6          4              G,..                  
       5                                       <   H$   I=# $  $
                                                                                            
                                                                      #


            Case  2:20-cv-01820-JPS
                               Filed12/09/20
                                             Page
                                                   117 of
                                                                          272 Document 1-2
         Case 2020CV001583            Document 15           Filed 12-07-2020           Page 2 of 14
    


                                                                                          
)     A  A/..1 B "                                        # & !   ) 
        !        !                               "
                <   H !                                    
  I=#B         !                                
                B "                          E  !    
         E                                       
             #B "  4                         ####     
 !"##          !                          E           
    "                                      6        )
  "        !   !                                  !" 
  #                                                                     #        #
                                                                            $        # )      "
                                                                              " !   )4
                                                                             "        
          #& 4       * F
                                                                                    !
'        +   08 /..1  B "  4                !          #$ 
>    *  +  &   E  &                                  #
   4         #                          F      
                   &                       F    #   
  H         #I                    "     "   
        * : F   &                  ) 4  "# )      " 
 !   H    I                              "    4!  " 
    "   #                                                #&    )    
                                                                              !   #" #()   
$ B "                                            
    !    H     #I                       ###&E  J)4 " #
 !    ! "                          %  &E     
  !2  #$                              E   #$ "#" 
  #                                                                       4   #


   +  /./..1* F  & 
                          &           $    
     !      "     E            !    "     #
  #F   &                     !       !         
    >   *       3                           $  #



              # ( )      "  
                                                                      >#    4          > 
                   !    )   
              "        #### $               *               $    
                      "                                +  /8 /..1     #
            !       # B                     B "  4        B  >      
               ;    #B 4                            +K/..1
                                        2             # F  
              F      "                              !          
                  B "  # ( &                             #
                     
                !   #


            Case  2:20-cv-01820-JPS
                               Filed12/09/20
                                             Page
                                                   118 of
                                                                          272 Document 1-2                               
         Case 2020CV001583            Document 15              Filed 12-07-2020             Page 3 of 14
    


 !"#& +0/..1>         4                          >     
   "                                     L     "    > "   
 #                                     " '     H    #I L  
  >                             > "      (   #
@   (   # 6           + 0
    !                            &  ! //..1(       
           +                      > "       
K#                                                                        !    !        
                                                                   !                # $    
   +0 (                       > "          ! 
    !    "     #                #F       
   (      6                     > "      "'      B "   
B "                            >    "#
!        !             
      G0,..# $     !     !    6           >                   #
      >                      > "             
<     G,.      =#>                              !   #
    #                                                 *                   
                                                                      !      #   
>                                  > "      &  ! 1 #
      !                 
         #     ,9.       
                  
                                                                                                   ))
                         $
  # $                            (  2      !     !  
    4   !            !                       # @        
> "   ! #                                                    2        !"#"    
                                                                          ,1M#9M.MM00<M 
 + K /..1    >   (    
                                                                    #/..8=       2     
   !             
              #                       AAA
+K  >                      %#&# AAAA 090 &# # 881 8-0 0M8 ;##/ M.9 </.00=#
     #                                          F   F   >              
                                                                    #           
                                                                        6      2       
         #> " 4          >                     #          ,1M #9  M00# &
                                                                                     !
   > "                            !                     
   $          >                      !          #
*     "    + 
 /..1#>       > "    "                          1M/ %#&# ,00 ,/,A/M 0., &# #
    $  #                                    /8.K 8K ;##/ 100 <0-8,=5      ,1M #9  M00#
                                                                        2    ! 
) /..1> "            $                    !     
   !  &  ! 1/..1>    "                               
  !  B "   "'  #$  "                 4           !       
'           ! 
                                                                          #    1M/%#&# ,/80.,&# #/8.K5
      #
                                                                          ,1M #9  M00# )           


            Case  2:20-cv-01820-JPS
                               Filed12/09/20
                                             Page
                                                   119 of
                                                                          272 Document 1-2                                    !
         Case 2020CV001583             Document 15               Filed 12-07-2020           Page 4 of 14
    


!                                >   * !!    "
                                                                        #$     & 4
 " 2                #   
                                                                                   #
090&# # 8-05              K/M#9K.0K.,<M 
             0                                                        $                   
 #/.0.=#
                                                                                  
B         4       4                 #$   !       
     2  !     #                !           !  !  
                                                                         !       " # '   !   
    K/M#9 K.,#
                                                                                  
                                                                         !  !  6     #!
 N                 
                                                                             !   !   
 !                  
H       !                         ! # &%  '
                                                                     (    ))*  +,/9%#&#KKKKMM008&# #
    !         "#I         ! 
  ,,, %#&# //9 /90 0/- &# # 8.8 0M/ ;##/       0K9901.;##/8M,<0--8=5   ' ,&&!-#
                                                                     ./0 ' ' 1M9%#&#M888..8./0.,&# #
,K,</..-=5  " # 1,M%#&#8..8080./
&# #/M/MM9;##/9-K<0-8/=#)                  919-8M;##/,KM<0-8,=5 ! ' &* !
 !         H  ! !                -   ' *&*1K.%#&#9M1,A1K0.9&# #-18

      #I ! ,,,%#&# /11             M1;##/M-1<0-89=5 -# 1 * 2 %
0/-&# #8.8#                        1,9#98,98K,<M  #/..K=#
      3<0=       
       4                        !              
</=               !       #               "        
                                                                            !       "      
   ! ,,,%#&# /9K0/-&# #8.85        ,1M#9
                                                                                     "   
 M.-A0.#
                                                                       !         # &%  '  (   
 $ !      !        !                ))*,/9%#&# KM8AM-008&# #0K99#
         6               E 
                !      #           $      !          B "  
                                                                              ! #
     ,1M #9  M0.# F         
               5       !         1  #      /     1  .  ,  3
!     6           !             2  ) * 4    ))* 1/- %#&# 0KM 0MK -M &# #
       "                       1/0 ,. ;##/ 9MK <0-MK= <HOBP    !    
                                                                     !       ! !      
    # $ %"  /9,#90...
                                                                           E         !       
0./9<M  #/...=#
                                                                     !    "    !   ###    #I=5 
                                                                        2 0-M #9 0.10 0.11 <0.  #0---= < 
                                                                        "              !  
             #& 4       * F
                                                                                     
$          E  & 4  !"#'                 ! =5 2  /, " %-..#/01/0
                 /                                                   01/,<-  #0--.=<H     " ( "4 
       !      3 <0= 
                                   !           
  !  * F 4                                       
&    "    !                            ####O&P     
            </=F                !     !   !    #I=5
      &     6         


                 Case  2:20-cv-01820-JPS
                                    Filed12/09/20
                                                  Page
                                                        120 of
                                                                               272 Document 1-2                               "
         Case 2020CV001583             Document 15             Filed 12-07-2020           Page 5 of 14
    


                                                                                    
      ) 888 #/ 09/8 0990 <00  #0-8-=
                                                                         ###    "    
<HO$P              !
                                                                    !  #I=#H;         
                  
                                                                        6        "       ! 
!     !          #I=5
                                                                          #I ! +  )* 5  ,/-
    5 8-,#/--10...<1  #0--.=
                                                                   %#&# 80/0/.&# #08M8#+        
< +#=<H&  !    
!                    !           "      4 +# 4 0
                               /6  / ,0,%#&#80-8/800,&# #/,0.
               !        09/;##/M..<0--,=         " 
                                                                       #          !     !2 
    #I=5 '   '#89K#/M9K
                                                                              !   
M1/</ #0-88=<      !  
                                                                   !    !       !       
      !    !"&(     =5/
                                                                         !  #1 ! '
   &%  ' (    ))*,/9%#&# K8.008&# #
                                                                   &* 1K. %#&#  1- 0.9 &# # -18# H$    
0K99<   !    !  
                                                                          &            
H     I=#F       
                                                                     6    "          "  
  B "         
! #                                                             #I   -# 1 *1,9#9 8K,#

@       !     6              F !        &    
             !  #             ! #>     6    "   
  !  6         !2                    !     ! 
                  
                                                                        !2       # &%  '  (   
   6  H               
                                                                    ))*,/9%#&# KMM008&# #0K99#:    
                    #I
                                                                          !     "   
   ! ' &*1K.%#&# 1,0.9&# #-185                                       ! #
   &%  '  (     ))* ,/9 %#&#  KMM 008             1 --  /, '$10.#90/,.
&# #0K99#@         !                 0/K, <00  #/..,=# $    !       F 4
                                &      ! F 4     
                           &  E              !  !
                                 #@               
                                                                   !                        
 6 #   ! ' &*1K.%#&# 1,0.9&# #-18#
                                                                            #1 ('$  1   
 F      !   & 4         !         ,0/ %#&# K// K10A1/ 001 &# # /11, 0/- ;##/ 1-M
        !    !   &
                                                                   <0--1=5   1 --10.#9 0/,8#
                  # F    
      !             
                                                                    !"&) F     ! &    " 
     !  & 4      
                                                                     !    & 4    !2  
   #
                                                                    B "  4 $  J      
                                                                     "    E    $       #
 @                       "  #
                                                                   )     F      !   & 4    !    
   61 ! +  )*5  ,/-%#&#8.9            !    &         # $  
                                                                        !          ! #
80/ 0/. &# # 08M8 01K ;##/ 8K, </...=5  /
    1  .  ,  3 1/- %#&#  0MK -M &# #
                                                                   $           "     !2   
1/05  ,*  $% / $    $  19, %#&# MK,      &   6      !    
M81A8, -8 &# # 01.M ,, ;##/ M.M <0-M8= <H)           &    ! #$ &   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    121 of
                                                                           272 Document 1-2                                #
         Case 2020CV001583             Document 15             Filed 12-07-2020           Page 6 of 14
    


  2                             & 4    2           
                                                                     #
              # 1 
 / . ," % ,.M%#&#10.1/-
                                                                                       
009&# #0,.,0/9;##/--<0--9=#     
                              ! #   &",M8#9,08,/,<M 
                                                                     #/..-=#C     & 4     
    !     ! # 1    0-M #9
                                                                      >    *    !"&*          # >   
   0.1, # 1# $       &       " 
                                                                     &               >    *   
       $        
                                                                   F    !               
  2!      B "   
                                                                   & 4              
   !               #B 
                                                                   !       # $    F    & 4    
F    !  &    " !   
                                                                    !  !       #     
   & 4            
                                                                        !  ! & 4    
       &    6#
                                                                          #        F
                                                                    & 4      #
*       F 4              
  ! 2    ! & 4   
                                                                    ( 6             +   /. /..1
     !                # 
                                                                     !         "   !  &
+  /./..1&         
                                                                      "          
                
                                                                     E               #
          
                                                                   $       H #I ! +  ) 5 '  
  #F  F     & 4    
                                                                     /     1  . ,  3 ! ' 
  >   *    !    5
                                                                   &*4 +#      +  /.
F         & 4          
                                                                   /..1  #$ "              
                # :    & 4
                                                                        !                 
 !           2  
                                                                   !    !    "      
       #&   !  
                                                                                    ! 
   "            
                                                                         !  &    "  
 ! !    #F   !     "
                                                                      !  !              
!                 
                                                                                   
 !       6       
                                                                         !        ! # $
   # 1 2 -.. #/  01/K <H  "               &             !  !      !  
       !  "   ! !                         !  
    ! 6         #          !      <      
$         !                          " 4   =           
      !       !                       #
  #I=#F  !   !      
            J              >   /..1                          
          # F 4                      !            
&    "   E       !           ! #       &        
      &                            !     &  ! 0-89  ! 
 5               F                   !   !     
!                           !          #1
 #F      &      
                                                                      '  89K #/  M1/A11#    2  
               5       
                                                                        !* 0-8M    
    !  6       !     
                                                                   "              
                 #  
                                                                    !        ! !    
  F           2  
                                                                                 6 
!  & 4   #F        


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    122 of
                                                                           272 Document 1-2                                $
         Case 2020CV001583             Document 15             Filed 12-07-2020           Page 7 of 14
    


                                                                   '   +  &       & 4    
     " 4   #     8-,#/ 0...< +#
                                                                                   
=#
                                                                      '%  $  /1 (' /, ," 
F                               1     /M8 #9 K-9 <M  #/../=     
                           & 4  <        4  =#L 
                        F            2        
                                                                   '%         6  
& 4  #1 #  ,* $% /$  19,%#&#
                                                                                     
  M81A8,-8&# #01.M<       
                                                                                    
      =#L    HOP   6    
                                                                             6   
         !   !  
                                                                       !   H!  I       
               I 4 +#,0,%#&#         #
   8/8 00, &# # /,0.   &        
        H  I               )    4    + &  
                   # )      !          '% 7 <0=    
   4 +#  %    4                          <   4  ! =5 </= 
               !                4        !     4   
          #      '           <   4 ! =5 <9=        
  E 0-88 0-8-                        "           !     
     !  !                       4  6             <   4
  !    #189K#/ M1/A            ! =# $  2  !       >      ! 
11 888 #/  0990A91# ) 0--.    2              !   ! "    
                  * 0-8M                     2         6  # &
  !            
                                                                      '% /M8#9 K--#$      
           !      #
                                                                   </=                 
  8-,#/ 0...#$         !"&+                    #
   "    !            ! 
F    & #                                               F  >            
                                                                     '%          !   2  # )     ,M8
F        &         
     &                         #9 ,/,              5  $-
        !         # $              1  ,,M%#&#0KM0/-&# #/9190M1;##/00-
   $                     </..-=!            4 !  
              !2                        
                                              # <$   
       !           4                       5   #=
H Q          O   4 P              (          E   !    
  !O   4 P R  "                              ! 2
 2  O     ! P                               
                                                                                       
    !   #I -18#/9-M9--#1<M  #0--0=#
F  F 4    &                5     ,M8#9 ,/K#
      3      &
 E    !   !      "#                                   # 1
   !      +   /..1     "
                                                                      &+)  2 % 9.M #9 K,. K,, <M  #/../=
     &             
                                                                   <                     ! 
  ! #$           
                                                                                      H!
     #
                                                                   I       =# B              &+)4



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    123 of
                                                                           272 Document 1-2                                %
         Case 2020CV001583               Document 15           Filed 12-07-2020             Page 8 of 14
    


!                            6&    "     
                                                                   &     >   * #$ F 4   
+  /..1 1 #   '  9M0 #9 -/8 -10A1/ <M 
                                                                             >   *   
  #/..1=!    !"&,  !     
                                                                        <    !  =     
 /..-# '%      &+)    
                                                                   &   6         #
         /M8#9 K--  
                            !  +  /..1   4    "   
     !                        6                 
     M..#F 4 !  & 4                  E          # '% 
'%  &+)! !  1 #                              &+)     /../        F  
                                                                                  
                                                                                 !      
:    5 . '//KK.#9-M,<M  #/.00=        !      #F     !   
                 !               +  /..1  "    #
        !           
              !5 ! ! 
 1 .$  / '  .  1/-               >#    4         > 
%#&#/M1-M&# #,K8,.;##/1M0<0-MM=# 5
KK.#9 -MM#B    1 #                            > <0=     
   6  !     !                    !     !       
    !                     #              5 </=         
                                                                    6          5  <9=       
     -M-A8.#$      !                     6        #  
                                           2      
          4                        #'           !"&$
    # #  H      I                2        4   #
    "      !    #  
-M8AM-#$        !    !             >                 
!   !         !                   !    (      
H      I    # #              !      5          

     #        -M-#                                    # $ !   !          7 0-89
                                                                                       
$ + &      !                      # F            
               4  !                                  H
    #*       2                               O P "     !
   !                                  "           
     "      #                      #I     $ %"/9,#9 0.0/#
    6    ! 2 ! 
                    4         )         >      + 0    
  2   #                                                       B "  4
                                                                   $  #F           4 
F          & 4                      "        B "  4  !
   >    *      # F                           # C        4
          & 4        !               >               
              & 4                    !  #     
   #F  F 4                        4    +K  
      &                         ! > 4      
 E     >    *   5 ! F 4             !              #



               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      124 of
                                                                             272 Document 1-2                              &
         Case 2020CV001583              Document 15              Filed 12-07-2020           Page 9 of 14
    


$    >                           ! #$        !  
      !     #                               6              4
                                                                                            
                                       !                  #
            4       
                                                                          09100/&# #/9-,#
      !   !         #
1 )+ / '  (8 / 1KK            $ &                
%#&#M8-8.9?#//0.1&# #/0088.;##/MM/<0-81=#               !           3 <0=
                                                                                  !     
                                                                             </=            
 "              !  #       '
                                                                                !       
1M9%#&# 8./0.,&# #919-5 ! ' &*1K.                              
%#&# 1,0.9&# #-18#     
                                                                              #   09.
  !         !    
                                                                     00/&# #/9-,#$             
           !      
                                                                            2      !     
        !       
                                                                                        #    
     #    ,   )
                                                                     09,A9M00/&# #/9-,#
,.,%#&#0/909.00/&# #/9-,0/.;##/0.0<0--/=#
                    
                                                                        '         
          4    !      
                                                                               5   !     
               #     ( )            '      !       #
!% .  //M #9 -/0 -/1 <M  #/...= //* ,91     $                  
%#&# 90K 0// &# # MM, 0,0 ;##/ M89 </../=#        !              >   
  !                                               +
    !      !    !             K /..1            !   E   
                                $  #(     >   
                                             !       
                                                                             2        
     #   ! ' &*             $  #
1K. %#&#  1, 0.9 &# # -18# :       
                !            '  !        4   
        # ! . *   1.8                   8 ,") 90/%#&#,K-K0&# #MK/8,
%#&#-/---/&# #//8K99;##//0/<0-M/=#                    ;## 0.1- <0-10=#        8    (  F  
                                                                                            
   '                                     G9..        
                             
           !                              #    ,M0 # 0 K0 &# # MK/# &  
     6                       !                    6     !

 # ,., %#&#  0/M 00/ &# # /9-,# $  &                    #   ,MMK0&# #MK/#$  
            !     "                     !    H 
      !                                6!    2             
      3 H$                                   
         J                        !    #I F  >    
    J           #$                 8B "        ! 
                                6     !         #

 4     !     #I  !"&#   09900/&# #
/9-,#                !   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    125 of
                                                                           272 Document 1-2                                  '
         Case 2020CV001583              Document 15             Filed 12-07-2020             Page 10 of 14
    


       '    !                                 
                                                                             H   
 8    # 9:;    <       '
,0, #9 18, ,./ <K  #/..8=#    '  2             I       4 +#,0,%#&#
    4        8 !                    8/-00,&# #/,0.#
    ( F       !   
                                                                    >            !    
        # ,., %#&#  099 # 00 00/
                                                                       !            #>  
&# # /9-,#       8         6!
                                                                                #(  
      6     !    !     '
                                                                                      
 "         6!      
                                                                                      #$
  ! #1 9:; ,0,#9 ,./A.9#             !             !  
   4     !      !                          5> 4   
!   !      !                               !  
       # ' / &)  <# / <' < '8               4   #
<   /5991#9KMKK8/<M  #/..9=#$
            !     "                   '       0--/    !
                                                                                          !    
!             #         4 +# ,0,          !    !                #
%#&# 8/800,&# #/,0.#                                             $ %"  E   /...        
                                                                      4          #$ !
>          '                     + /..1    !         " 
   H " 4   I   J                          !        
 6      ! #>      5                !                
   '                              ! #
                  
              6                          >      ! 
       !  # +   > "                            $
 !"&&           4       " 4                #:   
    #)           !                                     
              !                  E              
     !                       <  =                       
               
                                                                         <=#    ,M8#9 ,/,#
! #   ,.,%#&# 0/100/&# #/9-,#
                                                                             2    ! 
F               "                             '%   !  ! 3 <0= 
             !        >                      <  4  ! =5
                + K  # >       </= > 4           !  4    
           "                             <  4  ! =5  <9= >      
   # F      !       B "  4           "          !     4
$                 #            6         <> 4 ! =#$
$ > 4       !                   2      >   !    
       !  ! #:                           !   ! "           !  
       2     !                   2        6  #$    
   #                                                                   </=            
                                                                         #> 4        '% 
>            4                    2            ! #
  # F   !      6          !
                
    #>          "


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    126 of
                                                                           272 Document 1-2                                 
         Case 2020CV001583             Document 15            Filed 12-07-2020            Page 11 of 14
    


F                            <8  #/..9=#           
J  4  +  /8       # :                                       > 4    
   !"&"            !     
                                                                     #1 5KK.#9 -M8AM-5  
       !        
                                                                  ,M8 #9  ,/,A/K# B         
    #> "    4       
                                                                  !                   !
+ /8            #
                                                                            !         
+        4     >    
                                                                                !    !"&'
     4         
                                                                  !     G0,..     !   
   !     # 9 $                        !   
6 !                                         S
 !    <          ! =            $ "       4         
    !      # 1 $                       !  4   
    !                             ! 2   H #I     !
2   H      #I +       2     !   4      
0 /..1    !      !                  !     > 4        #   
           !              >          ! 
 ,..     #L          6            6   !                   
       +  /8    !                         #
     6    #>      
       !                     >        4          
          #                  # *             #
                 + K   
                                                                      ,M8#9 ,/K#F         !   
     4             #
                                                                           +K    
>              
                                                                    !     $      #>
  6            #
                                                                          +K    
                                                                                       
B   >      "        ! 
                                                                                         
    4     +  /8         # > 
                                                                              !      
            !      
                                                                        #( !(   4        
  $  !         
                                                                        !              #
    !                        
                                                                                    
      !  #  ! 2
                                                                       ! !        #H$              
   4     #
                                                                       !    !          2    
                                                                         6            
(      >   2        
      !        !              !    !    ! #I     $ ( / 
+0/..1#F  !       >          KMM#/K//K/,<M  #0-8/=#
               
  #       > 4                 :         >        ! 
                 #              +/..1         ! #B
                                                                     /..-              
        4    # $         H  I  !         <  =
    !                                         <=  
                                                                     !   E         !  
           #   ,M8 #9
,/,#B   !2    3                  H              O P#I1  
!        "                  ,M8#9 ,/,< &        0-MK0-M,
                #           0-0-=#

        5  /( 918#9M/KM/8A/-


               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      127 of
                                                                             272 Document 1-2
         Case 2020CV001583             Document 15            Filed 12-07-2020           Page 12 of 14
    


                                                                                 # $   
                                                                         >  "     !
        #> " 4         > 
                                                                     "  (     > " 
 ;"       > "     <0=                      #
          !   5 </=    
 5 <9=  #F                 $     2    > 4      L   
  &  ! 1/..1  >    "#                                     
                                                                       "!    #$   2 
)              4                  > "                   
>                                      #        /..1
       !    (                             
 !   > "   5  >                   $ %"/9,#9 0.0/
       #   >    #          !   > 4      "
                                                                        L           
> "     >                   (   4           #
                  
  > " 4      #N   
      > " 4          
> 4  !   2  #*                                             )))
  J2         > "     
                                                                     !         ):*     
     > 4        #
                                                                                    &  
F   > 4             
                                                                       :C:&             
   > " 4          > " 4
                                                                    > " 4      :*('        
              !    # $
                                                                          #
$       B "    "
B  *       > " 4     #
>            
  #                                                           *()(   +          
                                                                   #
 !""(  $                       )    4        
    !                 !    * F    & 4  
        #)        + &                !     
        > 4    ! #           >    > " 4  #> )   
F                          4    >  H    
       #                                           !  I     
                                                                      # <  /9#= $         
> 4                      !           # >             
                                                                  >            4
    > "            7 0-89
                                                                                       #
 ! # F        L          
                                                                  $   )       #
    "   (    !        !
          >     " !  
                                                                                    
         >       
                                                                            > 3 <0=   >   
    !     > " # >          
                                                                      !         5 </=
       > "        
                                                                     >       !       
 !     &  ! 1      
                                                                       5  <9=   >       !
                       #
                                                                       4      #< //A
(      >       !   #
                                                                  /9#= $             
*   >                
                                                                    > 4              !
(      > "   ! 2


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    128 of
                                                                           272 Document 1-2                                
         Case 2020CV001583             Document 15             Filed 12-07-2020          Page 13 of 14
    


                                                                     !        # $    !
       #)    > 4   
                                                                   > 4           (        
  !           
                                                                               !  #
   4      #

                                                                   B          ! "         
!"") B          
                                                                   (      >            
    6    >        
                                                                        "     !     " 
   4        # !                                 #
,,, %#&# //9 /9/ /9K 0/- &# # 8.8 0M/ ;##/ ,K,    $                  >    
</..-=#               HO P                !          > 4
                                  !          
  O P"   !   "                         "            
               #I $ %"          !    # 0  *   >     
   /9,#90...0.0/<M  #/...=<                             
 =#$     >                                #*
   4         !  E            > 4         
    @  (   !                   (    "     !
   4     "                           4       #
!    !       !   
     4      # <  /9#= $                  E        !   
                                     !        
 #                                                         !""*  !                 ,..
                                                                       !     #< 9.#=>
>                                       > #) !    
                                    !  > 
        #               "J     !        J
             4                       (    
           J!                    !     #
     4            #      
                  > 4          $               
   HO P      !                 (        #$     
 ! O   P#I         "              (          !  
H        I     4                    !       #>  
   4  >    (                       !           >  
        #>                         "    "  
                                     4      )  
             !  "                                   
          !   #                  4      > #)  #
       (      
         !        
          #)                    -   
         (           "  
                                                                   KK,#98K.
    > 4        




                                                           Footnotes




             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    129 of
                                                                           272 Document 1-2                              !
        Case 2020CV001583           Document 15         Filed 12-07-2020             Page 14 of 14
    


*     The Honorable Charles N. Clevert, Jr., Chief Judge of the United States Court for the Eastern District of
      Wisconsin, sitting by designation.
1     In some cases, the district court may conclude that even under the facts presented by the defendant, the
      defendant's actions violated clearly established law and qualified immunity does not apply. In others, the
      district court may deny summary judgment because if the facts are found in the plaintiff's favor the defendant is
      not immune.        Mitchell, 472 U.S. at 527, 105 S.Ct. 2806. Here, the district judge granted summary judgment
      for plaintiffs Surita and Carrasco, determining that even under defendants' version of the facts plaintiffs Surita
      and Carrasco had established that their constitutional rights were violated, thus rejecting those assertions
      of qualified immunity completely. However, only the denial of qualified immunity under the collateral order
      rule is appealable; the grant of summary judgment in favor of plaintiffs Surita and Carrasco is not a final
      appealable order. As to Blanks's claims, the judge denied Biang's motion for summary judgment based on
      qualified immunity but did not grant summary judgment in Blanks's favor.
2     Although we reference the First Amendment, the protections of that amendment apply to the states through
      the Fourteenth Amendment. See        Perry Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S. 37, 44, 103
      S.Ct. 948, 74 L.Ed.2d 794 (1983).
3     Biang at times argues as if the July 1, 2004, meeting alone was his allegedly unconstitutional conduct. The
      July 1 meeting was not the problem; the application of the Assembly Ordinance at and after the meeting was.
4
      According to Biang, the district court erred in relying on temporal proximity, citing   Sauzek v. Exxon Coal
      USA, Inc., 202 F.3d 913, 918 (7th Cir.2000). Although we have stated several times that suspicious timing
      alone does not support a reasonable inference of retaliation, the district court was not wrong to consider it in
      combination with other evidence. See id. (noting that “other circumstances must also be present”); see also
         Greene, 660 F.3d at 980 (stating that timing of a conduct report plus the threadbare nature of the report
      were sufficient to create a triable issue as to whether the report was issued in retaliation).
1     The court acknowledges that varying the number of officers assigned to different events does not violate the
      Constitution. (Opinion at 28.) The court concludes that Biang's violation was in calculating the permitting fees.
      But it is undisputed that Neddenriep, not Biang, provided Carrasco with the total fee amount. Therefore, by
      the court's own reasoning, Biang did not effect a constitutional violation by giving Neddenriep an estimate of
      the number of police officers needed to patrol the protest.


End of Document                                          © 2020 Thomson Reuters. No claim to original U.S. Government Works.




           Case  2:20-cv-01820-JPS
                              Filed12/09/20
                                            Page
                                                  130 of
                                                                         272 Document 1-2                              "
         Case 2020CV001583         Document 16             Filed 12-07-2020            Page 1 of 11
                  ! "! #$%!&&&'                  FILED
                                                                                                           12-07-2020
                                                                                                           Clerk of Circuit Court
                                                                                                           Waukesha County
                                                               %;48&& #    '
                                                                                                2020CV001583
                      1                   < 7
                                                               $       !   <7 
          !"#$#"$ %&"$                                      "    < 7  "
          ' ('(&(&)*                           < 7 =  $       
      +# ,-.#*//              =  5   <                    
                          0                                          *>>?   < 7 = 
      %& !"1/* .2                       4   @           *>>? 4   A B 
    3422"54,2                     $ 948"&1        C 
     ,!))2$2%* /                        
     )*0 !*.6*/ 

                  &7899+ :;"--<                                               2%$394<;8#
                            =
                     9999                                
                                                               1               $    & 

                                                               $    '   #       8 7     
             
                                                                             *>>? 4  
                
                                                                              !  
                   
                               $   9  &  DEF. 2DDE*G 
                             .G  $   $     B  B  
                               ;  &  $      H.
    !          !            ;&$D*>E/"     ,     
         " #     $  %                             
& #    '  ()*+                     *>>?4  @I
        ,               ?A< '  *>.GGG#   !       
     -).+         
                                                               $    .E;&$DD*HH**HH/  *HHJ
                         
                                                                 !      .E;&$DD*//* */H/)/+
        -  )/+     
                                                               @I*A
      

                                                                       1         C       
0      
                                                                            *.F*H .GGG #  
                                                                  1                  ,  
       0   1     2    
                                                                          
                                             1                 
                                                                *>>?4  !         
 3  4& '5    0                           
67 8%  $" 1                                    )"    HK*/KGG /F*G@          "
                                                               )HK*/+ A+ "           
"  4 9  # !  & 0   : 6
                                                                        *>>?
7 :  $"0 3% 9   $" 
                                                               4   !    !      ,  
#   
                                                                       )  ?F*G+ <     
                                                                  1                 
                                                                                
                                    




           Case  2:20-cv-01820-JPS
                              Filed12/09/20
                                            Page
                                                  131 of
                                                                         272 Document 1-2
         Case 2020CV001583             Document 16            Filed 12-07-2020            Page 2 of 11
                     ! "! #$%!&&&'


                                                                   +            
%                                                     4F*G         
"$          !               1*>>.4   2D**-
       C      !              )")HK*.+ .PF.>+8!    D*   
                                                                   !      4F*G     
" &  7 1  <     2                               "     
@         A                      1F*>>.4       
  <7$   )1C5L*+2                            
           < 7               1F*>>.4   2D$?P 
         !                               
*>>?4         )1C5L./+          * 8!*?   2
$  M   1      **%          D$?E 2D5*       
!  < 7 $                           L    L       
  ' %    J*% ! <             D5*/    L   
7$                         L              
)$ NNEF>+                                                D5*P&  5!        
                                                                              
"   "  <7@       " A
                                                                       !   *
 $        "#   <
7= $   @      $   A 
                                                                     2  *>>.  $          
        "     
                                                                  @      *>>. 4  A )' 5L *  %+
 = 4    " )$ NN.F/+
                                                                                  2 
                                                                  ! (
" #    5  B  9 '  '  0 
"  4  O   &    &   $!               EP "   #!$ "   !    
   !                                           
  $    #    0    <   =                  (
5  < )=5<+  "    
        $                   EP* %    $ 8           
)$ NNHF?+5                     L         
                                                              !       
                                                                          L           
"               4F             L            
*G      4F*G                                 "    
    *GGGG,   )"    HK*.KGG .JF                      
.P@      ")HK*.+ A+$     4F                   *  8! *?  
*G  !   *GGGG,   "                                
     4F*G              *GGGG,                 
                 
                          *>>. 4     2 D EP* O    
           L                         $          
                       !  (
   !                
                                                                    EE "   #& ' $ "  
 "            !     *H>F?G ).
                                                                    !                   
5*>>.+- $ 9 &  D EF.) +- )' 5L *  %                   ! (
 2DE**+
                                                                    EE* %    $  8         
1   *>>.   22 D *    < 7 =                  ,  
4  @        1F*>>.4   A)'5L*           4           



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    132 of
                                                                           272 Document 1-2                                   
          Case 2020CV001583               Document 16              Filed 12-07-2020             Page 3 of 11
                          ! "! #$%!&&&'


        !                                  "   
        L   "                                          
                                            =  5   <    
      * 8!*?                             "    < 7         
                                     !           
          
                                                                            8     4    
               .
 D EE*  " *>>. 4                                           
                                               =  5   <  
                                                 
       *>>. 4     2 D >/   22        L        '  *
D.**&F*                           *>>.    L     
                                                    
       22D.**                          
F*8!    &F*                                          
                    
                                                                          1   $         ! 
     /                                                                       ,  
                                                                                   *GGGG,      
2 *>>? $          *>>.                                  
4   @       *>>? 4   A )' 5L                        
*   $+                                 $   :  #     
           H  "##  0                         *>>?4   22D.*.?)+
$                               " !              
      !                       !               
                                                 
     1  .*.  *>>? 4     22 D .**          !  2        
"! !    D.*.   !                 !   "#  !  "        
                              L             
  D .*.?-                    &  .*.?)+  =5<  
   4F*G                                   B D.*.?)+ 
    4F*G  ? &  .*.?                                 
*>>?4  ! (                                                           *>>. J

                                                                       1    !    =5<   
   .*.?  '               ! ()    *        !     L       
     !)' ?*>>?+                                                       "=5<  
                                                                            !        
       8    "  <7 
                                                                                            
          !       
                                                                              !       
        !       
                                                                           L    *>>.    
               !     !
                                                                                      )" )HK*/+  HP+ "      
       = 5  <      
                                                                        =5< 00                        
      ,            
                                                                                 
       
                                                                            *>>.)")HK*.+ E?*?PF?E+
       B                
       = 5  <                         " =5<           
                                                    !   
          !                                    !      C   



               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      133 of
                                                                             272 Document 1-2                                       !
          Case 2020CV001583               Document 16               Filed 12-07-2020            Page 4 of 11
                           ! "! #$%!&&&'



     !      )" ) H K*.+  *?GF?H+              ,  "     L
"   C                                         
                                         L        
)+"  !                    )")HK*/+ *H*+
    !          
            *>>.)            2       C      
*?.+                                                                             =5< !      
                                                                                          
" C  !    =5<                               )" )HK*.+
        "   O   5 3              *?/+<          5L  
"                                  &   ,            
     !       L  )1C               )# C 5L 5 B 6 9+ 2     
5L PF**+ "                               !              
         !                          07  7     .G& ! <7
      !                   $              
 !   )")HK*.+ **/F*?+; 03 C                     !  B 
    <7 !   *>EG *>>G                                  
          !                                       
                                                                        .G& !         -  
   0 3                                   !   
                                  )")HK*/+ *H?FHJ*H>F?G-1C
 &                        5L *H+ 0 7                     !
                )1C 5L E 6 *G+ 0              
3                                    
  !         
     )")HK*.+ *..+"                        %                 
                           C              
          -                                   =5<      
                                                     !
                               "                 
                                 !              
             !                          L   ! 
   *>>G                                 
                *>EG )  )**?+                                  "  
B     !   03    ,                               
    ,      )")HK*.+                                  
  *.H+                                                                < 7 =  %      )=%+ )" )HK*.+
                                                                        *?GF?*-")HK*/+ P.FP?-# C5L7+
"                   !   
=5<                               B    L      =5<    
  C       *>EE  *>E>  0                      !     
&       B 3                                               
   )")HK*/+ */G+                   !   "                     
0&  4 4                                         !   
            0                                   
3    !        ,                          =%         
    )")HK*.+ */HF/?-" "#"                     <77 4)"
)HK*/+  *.E+ 0 3                         )HK*.+ *?*-")HK*/+ P?FPP-# C5L0+
    L           0& 


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     134 of
                                                                            272 Document 1-2                                       "
         Case 2020CV001583               Document 16              Filed 12-07-2020            Page 5 of 11
                         ! "! #$%!&&&'


"         =5<                     !            
                                             ! 
    *>>. )" )HK*/+  EGFE*+ B L        &  $                
=5<                               
                                                                      ,        -/   3
                           
                                                                      ' 4 3 0 0 **E B/ >*P >./F.H ). $ *>>P+
F*>>.     !     
                                                                      :  =5<          
           )" )HK*/+
                                                                         = $         
    EGFEE- # C 5L < 1 Q 6 4+ "   !  
                                      P  "    1       !
           !                               !     
     !                                         
     !                       "      $  
!   = $                                  
             !   
 *>>.)")HK*/+ *GPFG>+                                        ;        !      
                                                                         2              
O          !                                    ,        
     =5<                                       
=%                      !                 
     !            )" )HK*/+                           -  ( 1
  *PGFP*+8            ! !           2 0   '  3  %    0  0 JG B/ .P //F
 !   =%                       /H).$ *>>?+O  $     @ A
!                                                                               
                                                                                  $       1          
                                                                                 %    
                                                                      1          ,  =5<      
               "#$ 227597&"8#4#&
                                                                                 ,     
            L                                        
                                                $      
                                                                                  
    +,-   &'- ./ &0 0>*PB.P?EG).
$ *>>G+9           
         )*+        
   ).+ ) +       )+                              222#2&$;&&2<8
    ,        
                                  &  3 
                                                                                    !
   !     C !    + '  1 0PJB/HJE                   /P     
HP/).$ *>>J+-       -1   &' 0                         ,       
/P B/ PH PPFPE ). $ *>>H+ O                    +   ' && 0JJB//J/>).$ *>>?+),       
           !         
                             + 5 ( 0 '  6 0 0?>JB.
 !                       PGP.).$ *>P>++

      23'!  0              1                  
HH B/ *.E */G ). $ *>>?+ "  L               &  $         
      !                           !                    
        !   !               #             
                                 !  
           O                      !     !   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    135 of
                                                                           272 Document 1-2                                       #
            Case 2020CV001583            Document 16             Filed 12-07-2020            Page 6 of 11
                        ! "! #$%!&&&'


     !          
                                                                                0  0       2
 "#%                
                                                                     - &       3 '2    
  , 
                                                                     , &0 0>>/B&**E*.HF.?)#$ *>>E+)  
                                                                           !       !   
2     1 '   0 PHE B. EGH ). $ *>EH+                             
  &  $       @A                                       
 !               !!                   !                 
                
                                                                        +-     5 '4  %  0>.GB&/>/
      EGJ), **$ O                HGG)5#8R*>>J+)         
6 40    6  D.>HE                           C
    HHG )*>P/++ &,   &  $   L               +"       
                              & $  C         
         !                      !  ,          
       + '  1 0PJB/HJEHE.).$ *>>J+            +   0 JJ B/  /> "   
                                                                     !                
)  10 PHE B.  EGJ+-     '
                                                                      !             
' 0 >JP B. P/ PP ). $ *>>.+ " +  
                                                                       
           !           
                         
                                                                          $    1                 !
   + 0 PJ B/  HE.-      '  ! '                    
 ")* 50EGJB&**.J**/?**HJ)&#8R*>>.+                      !    !     
)        !                                               
                                                 
                      2                     !     !   
  +                                                              B      ,      
                                                                                        
O    1  +  !! 5                   !1                 
                           8!      !          
                                     #   C    
          !        L                 1                  
       !                "#&         
  &  $                                  !        
                              
               2      -
/    30 **E B/  >.H        
                                                                     %-1    &  &  
      B             
                                                                      1                            
           &  $     
                                                                                   !            
           
                                                                        B        ! ( @ A
            !
                                                                       &  !       
     ,               
                                                                               ;& $     S2M D
                
                                                                     * "       1              
  ,    !           C
                                                                     L                  
  
                                                                        4    ' 10HGE;&?JH?J>?PJFPP
&                             >.&$ .PG*.PGEFG>//75.?HE)*>P.+-         
     !         
       !                      ' 1   0 *?J B/ /EH />/ ). $ *>>E+- (   '
 !              !                    ').741&  1(0>JB/J./J.EF


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     136 of
                                                                            272 Document 1-2                                     $
         Case 2020CV001583              Document 16             Filed 12-07-2020           Page 7 of 11
                       ! "! #$%!&&&'


.>).$ *>>J+ 0 ?*>;&**?G**P&$ *GE/
*/P 75. .*E )*>>P+ O   $                  : !                  
        4                    $          
          L               1        L       
                              L          
     0*?JB/ />/)                  4                     ' 4)0 HGE
  0HGE;& ?PP>.&$ .PG*+                            ;&HP*HE*>.&$ .?>/.JGG//75.HEH)*>P.+-
                                                                      +2 )     0 '220.GEB//E>/>.).
1                            $ .GGG+2 !      
                -                !         !       
$      $   9  &  DEF                            1)'% 0H.H;&/*>//?
.) +!                         >J&$ E>/>G/HP75.*E)*>PJ+"   
                            *+   !             - .+
L              2                    !         
                                                                            !      !
     88'9  4  2&& 0*PJ$ HP>HEH
                                                                       /+ !  C    !   
HGE..H/.HJ)*>P>+), .R9   )6
                                                                           ! :
   D*JF/ .*>+ $   &$ 
  @ A          !                  23 1'"0*EHB/*?E*JH).$ *>>>+ *G
             
                                                                    1                  
#    !                                        B        
1                  !               '  **>>.      ! 
                                         
                  E                        
#       1        C     )*+            ' ?*>>?& 1            
                                !  *>>.  !   
   ).+           "$                  =5<  !          
                                                         ,     
                                                                    
 B   1                     
   -                            "         C    
                             *>>.   *>>?        
    &                                  4F*G  
L                                         !       
          =5<   1                                  
                   L                  !      % 
      " =5<                         $                   
                 !!                  !       $
                            !     
*>>.4                             
"          
                                                                    "          
            >  %   $
                                                                     1)     ! $    1         
             "#'    #   C
                                                                     !               
                   
                                                                    !            " 
     !       $  
                                                                           !         
              
                                                                     !1                       
!             
                                                                        -     $    2


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    137 of
                                                                           272 Document 1-2                                %
         Case 2020CV001583               Document 16             Filed 12-07-2020              Page 8 of 11
                        ! "! #$%!&&&'


 !     1                7   CL                - 
  !  ! "   !                        8!
          
                                                                     "            
&  $      %               !,           
        !!                   *>>.  *>>? B              
                             !!            
   L  !                                 T  ,    
        B                 "    
       ,                                   =5<     
 "#                
  *>>.  *>>? 1                           ! L       
 =5<                                                
,    $                                              !    B
                                                                         !               
" =5<C                      !                          %  
          !                         0 7       !      
     C          B          )1C5L*H6*?+         
,       =5<                                !               
                         !          2      !
              , L                             
        !   ,                =5<                    
      )" )HK*.+  *?EF?>- " )HK*/+  *EF..+                
"       C                           
    !                             ! ! !  07   C   
  4                              **
!      L               
               *>EG             07   CL        
*>>G            *>>.            =5<  "#!  !    
!   !    *>>? B                 ,                
            =5<                 "      ,     
                                     U          
                     
                                               V      1)0 H.H
                                                                ;& ///>J&$ E>/),  2 ' 8 0
                                                                     /EG ;& ?H? ??. E? &$  **EP **>* *H 75. J.
&                           )*>J?++ "                
                  
                                                                        $  9 &  D EF.) +   !     
  ,            "   
                                                                          !              
   L *>EE*>E>       0
                                                                                
3  C           ,   
                                              *.
                                                                     "  !             C  
B               =5<                   L             
       ,                              "  
        B    0 7              =5<C            ! 
                                         "
&         !                           !        
           "$   0



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    138 of
                                                                           272 Document 1-2                                    &
          Case 2020CV001583             Document 16             Filed 12-07-2020            Page 9 of 11
                       ! "! #$%!&&&'


                                                                     !      -         
                             
                                                                                       
                
                                                                          *>>.*>>?    
                                                                      !       "     
"            $   " C  
                                                                              "#  
"             
                                                                                  
          
                                                                      
 " C                  
"#                
                                                                    #                          
                  
                                                                       !  !              "      
             
                                                                                 
  !            
                                                                                     
      !        
                                                                         !                 
              
                                                                           !        
                                                                        "             
2      $             
                                                                            !      
             *>>? 4   
                                                                         !  ! "1            
$               =5<
                                                                       !   ,      ! 
    = $       !
                                                                        
   !        !   
                      
             
"  $    1           !                                2M$<8$7;&2<8
          
                                                                    2  1        C0    1  2   
                                                                     948"5#@I?A"=5<      
$%                                                     
" &  $          @A !                             
  ,                                    1     C   "   !
          !                            
                       C               =5<  !        
                                 B    
      !    -/   30**E                    =5<         ,  
B/ >.>#         09                    !     !    
    0 $  !                        =5<                  
         !            ! ,   
        !  $   
                  
                                                                    &
  *>>? 4      !         
    "  !                 (  
 !               
"                            *.*B&.*>?




                                                            Footnotes


1        Three Connecticut Superior Court cases interpret these Pre–1992 Regulations in zoning enforcement actions
         brought against property owners to prevent the use of residential dwellings between November 15 and April 1.



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    139 of
                                                                           272 Document 1-2                                   '
          Case 2020CV001583           Document 16            Filed 12-07-2020          Page 10 of 11
                    ! "! #$%!&&&'


         In each case, in the context of determining whether the year-round use of a seasonal property constituted an
         extension or expansion of a pre-existing non-conforming use, the court found that there were no prohibitions
         in the zoning regulations against the year-round use of seasonal dwellings because although the regulations
         include definitions of seasonal use, they do so without restricting that use. See Arcata v. Zoning Board of
         Appeals, 1993 WL 394500, at *6 (Conn.Super.Ct. Sept.21, 1993); Habicht v. Zoning Board of Appeals, 1993
         WL 284791, at *7 (Conn.Super.Ct. July 22, 1993); French v. Zoning Board of Appeals, 1993 WL 284789, at
         *7 (Conn.Super.Ct. July 22, 1993).
2        Jane Marsh, a Commission Member, testified that the adoption of the 1992 Regulations restricted the
         conversion of seasonal properties to year-round properties on non-conforming lots, and as such, were
         consistent with Old Lyme's 1990 Town Plan of Development identifying the capacity of on-site sewage
         systems in the beach area as a critical issue, and recommending a prohibition against the expansion and
         winterization of seasonal dwellings unless relevant health and building codes are met. (Tr. (4/12) at 90; Defs.'
         Ex. I at 3–4, 12.) The Connecticut Department of Environmental Protection endorsed this plan with respect
         to controlling the expansion and winterization of seasonal dwellings in beach areas. (Tr. (4/12) 87–88; Defs.'
         Ex. H at 3.)
3        Neither Ms. Marsh, nor the ZEO, could identify provisions limiting the permitted use of residential property to
         certain months of the year. (Tr. (4/12) at 54–55; Tr. 4/13 at 124.)
4        The regulations were adopted in response to the Commission's continued concern for over-use of wells and
         failing septic systems, (Tr. (4/12) at 57–58, 64, 101–02; Defs. Ex. K at 43), and to the additional concern of
         ground water pollution and its impact on Long Island Sound. (Tr. (4/12) at 95–99; Defs.' Ex. J.) Dennis Grecci,
         a supervising engineer with the Connecticut Department of Environmental Protection, and Brian Curtis, an
         environmental engineer specialist in Connecticut and New York, testified about the risk of nitrogen pollution
         when houses on lots of 10,000 square feet or less are used year-round. Mr. Grecci testified that the over-
         use of too many septic tanks located too close together prevents the proper renovation of water. (Transcript
         of 4/12/00 at 6–8 [hereinafter “Tr. (4/14)].)” When not enough land area exists above a septic system, not
         enough rainfall is able to reach the groundwater to dilute the nitrates in the septic systems. Mr. Curtis testified
         that septic systems generally remove 30–40% of nitrogen from the water, but the remainder of the dilution
         process is dependent upon infiltrating rainfall. (Id. at 38.) Non-diluted nitrates cause hypoxia, a condition that
         starves the water of oxygen. This pollution affects both Long Island Sound and the Town drinking water. High
         levels of nitrogen pollution in drinking water can cause stress and death among infants. (Id. at 39.)
5        Ms. Marsh testified that the Commission at one point had considered making seasonal use the only permitted
         use in R–10 zones, but decided that such a regulation was too restrictive, and instead should allow for
         conversion to year-round use if the property could support a proper septic system. (Tr. (4/12) at 78–80.)
6        The Defendants claim that § 8.8.1 of the 1992 Regulations originally prohibited the enlargement or conversion
         of seasonal properties to year-round properties on non-conforming lots, and, therefore, that 1992 is the
         relevant benchmark for determining whether a non-conforming year-round use existed and should be
         grandfathered.
7        As noted at the outset, Plaintiffs concede for the purpose of this motion only that the challenged zoning
         regulations were enacted for a lawful public purpose and are rationally related to public health, safety, and
         welfare. (Tr. (4/13) at 3–10.)
8        “This Circuit uses the strict ‘entitlement’ test to determine whether a party's interest in a land-use regulation
         is protected under the Fourteenth Amendment. This inquiry stems from the view that a property interest can
         sometimes exist in what is sought—in addition to what is owned—provided there is a ‘legitimate claim of
         entitlement’ to the benefit in question.” Zahra v. Town of Southold, 48 F.3d 674, 680 (2d Cir.1995) (internal
         citations omitted).
9        Although courts have characterized permit applications, variance requests, and other necessary approvals
         as “benefits” subject to the strict entitlement test, see   Crowley v. Courville, 76 F.3d 47, 52 (2d Cir.1996);
            Zahra, 48 F.3d at 680; Donegan v. Town of Woodbury, 863 F.Supp. 63, 64–65 (D.Conn.1994), the plaintiffs


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    140 of
                                                                           272 Document 1-2                           
          Case 2020CV001583          Document 16            Filed 12-07-2020            Page 11 of 11
                   ! "! #$%!&&&'


         here seek to protect rights that pre-exist the applicable zoning regulations, and, therefore, do not classify
         as benefits.
10
         Defendants, citing, among others,       Daniels v. Williams, 474 U.S. 327, 106 S.Ct. 662, 88 L.Ed.2d 662
         (1986), and      Stemler v. City of Florence, 126 F.3d 856 (6th Cir.1997), cert. denied, 523 U.S. 1118, 118
         S.Ct. 1796, 140 L.Ed.2d 936 (1998), argue that the reckless and/or deliberate indifference standard for
         assessing procedural due process violations applies to this situation. This standard, and the mental state of
         a governmental official, would only be relevant if Plaintiffs claimed that the ZEO was acting negligently or
         recklessly in enforcing the systematic procedure set out in § 21.2.5 of the Zoning Regulations. The mental
         state of the ZEO in making seasonal use determinations was not placed at issue at the hearing. The Plaintiffs
         here challenge the administrative process itself; therefore, Defendants' argument is without merit.
11       Much is made by Defendants about Mr. Lapila's alleged admissions of seasonal use by the check marks
         made on the building permits and a letter he wrote to the ZEO on January 11, 1999. (Defs.' Ex. T.) The Court
         finds Mr. Lapila's explanations credible that the seasonal checks were not signed with the understanding that
         the property was not used at all during the winter months, and that the only thing Mr. Lapila admitted to in
         the January 11, 1999 letter was that he did not live in the property full-time during the winter. (Tr. (4/13) at
         145–46, 172–73.)
12
         This portion of § 8–2 was enacted in 1989, superceding the Connecticut Supreme Court's ruling in Essex
         Leasing, Inc. v. Zoning Board of Appeals, 206 Conn. 595, 539 A.2d 101 (1988), which had empowered
         municipalities to terminate nonconforming uses based on nonuse without regard to the owner's intent. The
         statute is consistent with the Connecticut Supreme Court's prior ruling in Dubitzky v. Liquor Control
         Commission, 160 Conn. 120, 125–27, 273 A.2d 876, 879–80 (1970), where it held that manifest intent must
         be established before a nonconforming use can be deemed terminated.


End of Document                                             © 2020 Thomson Reuters. No claim to original U.S. Government Works.




             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    141 of
                                                                           272 Document 1-2
         Case 2020CV001583              Document 17                 Filed 12-07-2020            Page 1 of 9
                                                                              FILED
                                                                                                                    12-07-2020
                                                                                                                    Clerk of Circuit Court
                                                                                                                    Waukesha County
                                                                        !  
                                                                                                            2020CV001583
                                            5,==0<* - %
                       
                                                                        5   A 5 7B 5 C8 
               ! "# $%
                                                                                D1 '%(%*%       A  
              & '                                     A  =   = 0  % & /
                                                                         /      
          $())*#+,##"#  (                                 /        ! "   /   
       -   &)%                             A    %&        /
          . ! $!                         4   A   ; %0  %& 5 
          ,/  '                               %!                    
                                                                         4      %
                        012'3 1
                              4
                    ! -.1211
                                                                                                    " #
                              4
                    /  5.6211
                                                                                              $%&'(!)*+

                             5  5                  
                                      ,  5      
                        !        A    , %.     E
"     #     $                             /    E% &
          #     % &  '   (  )             / ; %5 $    
*       +   )   ,  -   . /             A 5       #       
0 # -%12213011    /4                             /%; %5     F 
        %& *   "               B/ C       /  
5 * -  678                  %5%E< %1>% 
             
718        /                  & A    ,    
    /%                                                                     &  % &  A  =    =
                                                                        0         %, E
"  %                                                               A    &          F 
                                                                            GD%H        
        9  " : ;     ( /                     %; %5      F   
- %                                                                     I                    
                                                                            %; %5  # /     
   
                                                                                            
   *   <% 5 - % 7"  8         ,0                              %
= >"  %                                                  "      A    = (               
                                                                        &   J / 0J      /       
3 3% ? # 7"  8 ?  .   ? # @                           5    "  
? ) = ,0 )   >"  %                                        E  
                                                                        B        /         J  *  
   !0"'; *  -  <"(&<5599?  
                                                                        5        C  B #   / /   
5,==0<* - %
                                                                         K L /   K L    %C5%E< %M2
                                                                        D2%&     A         
                                                                                    ; E%


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    142 of
                                                                           272 Document 1-2
         Case 2020CV001583              Document 17             Filed 12-07-2020             Page 2 of 9
               




,  A                           ,     A         B*   <    
  G2E222   /                     9 C -  5  % .        / 
A         #%; %5                 /          #                   
                  %                 I  % A  &   = #
&  5       4 /              0                   
        #  ; %5                B                 
  A      */ * #% &             #                 A          
         / A                    /- $K5  $L  /             
     ; 11222%                                                        %C 5%E < %2  1D>
                                                                    1H%,     A =  =0  
"     /  E   A      &         A "     5       
                     5   % ,  -/
                                                                    5                   5  % D
E A &      F     
    A $          /   
                                                                     - 9 -/5       
 % 9  "  E          &  
                                                                               ; % 5         F  
                  /
                                                                      %9 -/D H5     
   % 1 &    #                                -/   
         /     %                             A  N  
"     /                5         9                         2
     /   % "       ; % 5        /  A    A "    /
      5                        %   5%1 < %-% .      
       %                                                    &   -/M       /
                                                                                    %& 
"            E   5 $            -/  5    #   ; % 5 
      % .      ; % 5               B     9         
   ,      #            2/          4 #%.  
    //   %&  #             #    #   5A
                  %                  #      %C5%1< %;%
"       5 $    
         % ; % 5         9  "  5          /           
          E%                     ; %5 %&     ; %5
                                                                     B  K L    4 #       /% .   
&  F                                      #  G1H%22%.
ED%'   ED                                   
                            / %C5%1< %+%5     
       % "                      /  /      #       
   /   /     /  
                                                                            -  ;/1222% H
  I     %"   B  
       %%%   %%%
                                                                     . , -/ A    4
     %C5%1< %"7  8%
                                                                    /          %& 5    
, 1 A   F        
                                                                                   F  
B   C   I    /         
                                                                           /%9 "12 5 
        I        
                                                                          # 7+ %D28   %9 9 
          /   I  %
                                                                     5           
&                    
                                                                     #      /%
      /        
        /    /       
                                                                    9    / 9   1  ; % 5    
     %
                                                                         A  4  /    #  + % D2


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    143 of
                                                                           272 Document 1-2                                      
         Case 2020CV001583             Document 17             Filed 12-07-2020           Page 3 of 9
               



   % M 9 +   1 "              /             
#        ,                       4  / %
  %                                                             )      4 /   
                                                                    #        /    
9  )        5      #                ; %5   /  # 
            /%9 )                       /   / % "  $
E /       A                 %E>%
          %9 -  /H1222
  5          #              ,   / 1222   A             
         / %&                     4 / %A "    
   #          / & ;   A             B             
               *   =               -  ;  /        :
; # )(  % "            - /$                A       
&   (      5    1          "4 / 9              F  
        #   / %                                 
                                                                       4    #    
5     A "                        %C 5%1 < %"  O HD% *  I /
    B          A  9             BK L              
    /       5 $   /                               
            /    K L             &       "4 /9    %CO
       &    <  (               HH%
     0 ! *   ( *     (
*  - #      %& &    
  /    %" <  (                                               ##
                       
A "      /; %?         
0 ! *      * *  %C5%1                (!%//+#*'#*01/+#0(#%0%!)(0
< %"OOD>H2%&  0J    A
     A "          /   B        &  5                ; %
           C          0             /  
5 % 5%E < %1  % A  "                A % & /          
                                                  
  BK L     5  5 %%%          ! "     #    A $
              5        -                #   %
5  $ I C           
      %5%1< %"OHM%                          &        /4  ; %0 
                                                                         A %   &          /
9 -  /11222 A "       /           2    / 4        
     ; % 5              B78 0       /           
                              :718     / 
  I   %9 +   11222                    A    /      #
     ; %5 $      % E            /         /#   /%C 5%D2  E%
                                                                   *  I /        /  
9  !   / E 1222 ; % 5                     I           B K L   
A  4  /          #          /        
7+ % DD   D2D   D28:                   $ %C
 %,  A 4 /   
   ; %5                 3     ; % 0            
  %& 5                  BKL      0    


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    144 of
                                                                           272 Document 1-2                                 !
         Case 2020CV001583               Document 17                  Filed 12-07-2020            Page 4 of 9
                


    A $                                       / 
5                                  #                        
 /A  $  /                                !  "  %    , 
0                           %C            /               
%                                                                              $    
                                                                                              
"    A     /               $ % 3    BKL 
 6B                                    /
                               :  /    
 $                                              
   /   I    /%C
                                                                               %C      E!%E
>2%  +                             7E * %M8 7   I    #    
    6                                                           8%

                                                                           &        /         
  =          5    )(   
                                                                                            
      /#    #    A   
                                                                          ; % 0   B           
                   
               %&                     C   E!%     
     /   I      0                        ; %0  $B K   L  
   /#                              / K  5 $L   /      C 2
  A #    %9 /5    
                                                                                1E !%  M% &  5 $  
    /#          
                                                                           ; % 0      5       !" 
       /       $  %
                                                                          5 $           %"
  )(             
                                                                                         D5  
                    
                                                                                  A  %,5  $
        %&   /   
                                                                                  ; %0    
  )(     /#  /   
                                                                                /   5 $          
  #           
                                                                          5    (/0 J *   %,  ; %
                     %
                                                                          0       #  / 5 $
  2 %%
                                                                           %9     5  $     
                                                                             ; % 0            /  
                                ###                                        % 5%1< %5  $) %1H>1M%+   
                                                                             ; %0   5   
                                                                               /    5 $  % "  / 
                         +#%)#!*
                                                                                    /4 
                                                                          ; %0  %
                                3

3                         
 /4    ; %0  %,                                                           $3
    /         /
                                                                          3                 
        #% 3    #       $   
                                                                               /4     A
  /   %                           %
    4 1E!%MM7E
* %12218% ,           #    
                                                                          BK;L               
   $              /    /
     %    ,                           /       %C                     !#  
   /                           $  " 1E !% H HD 7E * %1228 7  


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    145 of
                                                                           272 Document 1-2                                          "
          Case 2020CV001583               Document 17               Filed 12-07-2020              Page 5 of 9
                 


I   #    8%& 5                      B       I  C         
 B        
                                                                             "  (  D !% HH2 HH 7E
 /  /  %C %&                  * %8 7   I    #  8    
 ##'   !# "!%EDEE7E                    F          &  A,,      
* %8%                                                              B           
                                                                               %C )    * *   ++  M !%
'             
                                                                        212D7E* %8%" B  
#   678    /     
                                                                        4   /%C
      :718    
     F  /       
                                                                        3                 / 0J     
   /              
                                                                                    /  /   
  B   C      : 78
                                                                                        I         
            4 /    /
                                                                         /                  
        /#   /%        5                          4 /  % 1  &    0J  
   !# 1E!%HD>H%,     5                   /          &  $        
    /     %                                        5     /          
                                                                                             
&  5        A                    &         
      &        A  "           /        / /        ; % 5  
      A  "      /$               %&     0J  $    
          5 % &  (   *                                  
  6BK=L  /$   /               A    # %,                  
    F    #      /                      /         
    /       /                  /           
    /   /%C      "                 %& A "   $
##'  " "H12'%(%ED2HE                     /            
                                                                               5 $       / 
(%*%1E0%<%1M1M7E8%  .     
                                                                        4  /      %&    
&   B /$   /C F 
                                                                                       #  
 ; %5         
                                                                                          
     %
                                                                               A $    / 
                                                                                F      %
 3             5 $  
                           #     
                                                                        & 5   A    
       B        C
                                                                                         !# 
    A $            ; % 5 %
                                                                          B    /  A     
     1E!%M%<                           %C "  $  %  1% &
      5   /               5   /   B     C  B   /C
 A $       /             B  "4 / 9              %C
  /                          "  $ %%& 5 #    
    /           / 0J                       F        4 /    
E /      5                                  :
"      B  #    / /                                       
K L /   K L    %C5%E< %M2              B  C  %& 5     
D2%                                                                                      
                                                                                      %   3
& / A                       #
                                                                            %
          %"                    



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     146 of
                                                                            272 Document 1-2                                            #
         Case 2020CV001583              Document 17              Filed 12-07-2020            Page 6 of 9
               


                                                                          / $         % "    
 ,           B    
                                                                         /         /  B C 
/   //  
                                                                              $    /
      /         $ C 
                                                                         #   :#       
  B             
                                                                         /    #  %&  /
#  P          Q #        
                                                                                   B C    /   
  I  %C       "  " H12 '%(%  D2E E                   :             
(%*%1%& 5                                         / $    
  I      F                           F           #   
            5 $                          %&    
F $        ! "   %" 
                                                                        /       
  ; %0   /  5  
                                                                                         
     / 5 $   /   
                                                                         $  /    
         %
                                                                             /%
"            
  5                       0  1 %   2  3 41ED!%
 /#   /% "      /               DMDDM7E* %1228%
            
  /# $                     '       5     /   
                                                                            /#   /:     
 5 %BK;L /                  I         #   %
   R  /  R                               " &  0  5     
                                                           
/                     5         F    /    F  
 /        ,&  #    - C                                        I 
      #, "  DEH'%(%DMD>D2M               /%( /  / 
(%*%110%<%1DH17M87  8%,              #   %(       5  
    /#  /                    &  % 5%1< %5  $
BK L  /   #         /C      ) %>12%(           
B /                 %C               &  %   5%1 < %;% &          /R
                                                                               5   R       
    * ##   .  HE !%1 E D2 7E * %18
                                                                          F    % ,      H        
7   I    #     2   8%
                                                                     5    B A   
B" / #   //     /
                                                                             /      K5  $L   
/     /    /  
                                                                                      K5  $L
           /           
                                                                          /        5 %C "  $  %
       /#   /   I   
                                                                      H% ,   A      /   5  $
  %C       #, DEH'%(%D2M(%*%11%,          /     /#  /%
                  /    
BK L  KL                    3   ; %0   5    
                         /       
                                                                       / #    /   
   %C %&    !%  EE 7       I 
                                                                     F  %'  ,   B     C
 #    8%
                                                                        /     F    /      %
3          B C6                            MH,0*(HS>>%B*     C  B
                                                                                 /       
  / "   /            
                                                  %C MH ,0*( HS>>
   / /      /            1% +                / 


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    147 of
                                                                           272 Document 1-2                                      $
            Case 2020CV001583           Document 17           Filed 12-07-2020          Page 7 of 9
                


                                                                   # /   5 %&    ; %
 #   /      7        8
                                                                  0           /#      
       B   %%%   %%%  
                                                                    5          #
         %C MH ,0*( HS%>H>H      HS%>DH>H       /   %
    HS%>D2>2%,         $   
  B               / 2 "
        #                                    % 
      /  %CMH,0*(HS%>H>
H%/          / B     !                     4   
                                %
/  %C MH,0*(HS%>DH>H%J     / 
                                                                  "!!,5;<)
   /                /# 
 /      :    /# 
 /  /     /         %  

      &  %       * ##  HE !%1  >   M!%H
D22% ,   /              ; % 0 




                                                          Footnotes


1      We see no reason to disturb the district court's determination that Mrs. Rasche's interest in this litigation is
       sufficient to give her standing to appear as a litigant in this action. See infra note 8.
2      The ordinance does not expressly prohibit temporary and portable signs, but it defines a sign as one that
       is affixed on land or a structure—thus arguably excluding, at least by implication, temporary and portable
       signs. Under the ordinance, all signs must be approved by the building inspector on application for a permit.
       See R.32, Ex.A at 3.
3      According to Mr. Barber, his duties as the Village Administrator “include making recommendations to
       the Village Board of Trustees regarding local legislation, zoning and building issues, and local ordinance
       enforcement.” R.32, Ex.A at ¶ 3. He attends all meetings of the Board of Trustees and answers to and takes
       direction from the Board of Trustees and the Village President. See id. at ¶¶ 2–4.
4      The Rasches maintain that, at this meeting, the “only specific sign that Barber and Lohmann directed
       Riechers to look at was the Rasches' sign.” Appellants' Br. at 6. However, as noted by the district court,
       this characterization misrepresents the record. The Rasches base their assertion solely on a statement
       made on page 25 of Riechers' deposition. In response to the question, “[D]id [Mr. Lohmann and the Village
       Administrator] mention the Rasche sign to you as one of the signs they wanted you to look at?,” Ms. Riechers
       responded “yes.” R.32, Ex.Riechers' Dep. at 25. It initially should be noted that this response itself does
       not state, as the Rasches contend, that the Rasche sign was the only sign mentioned; rather the response
       indicates that the Rasche sign was “one of the signs they wanted [Ms. Riechers] to look at.” Id. Further, the
       dialogue immediately following this question completely negates plaintiff's contention:
            Q: ... [D]id they mention the Rasche sign to you as one of the signs they wanted you to look at?
            A: Yes. [end of page 25]
            Q: Did they mention any other signs by name?
            A: Risings, Shady Long Golf Course.
            Q: Excuse me a second. Risings, Shady Long Golf Course?




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     148 of
                                                                            272 Document 1-2                             %
        Case 2020CV001583            Document 17          Filed 12-07-2020           Page 8 of 9
             


             A: Actually I think I'm going to take that back. I assumed this all on my own. I'm thinking about it. No
               one told me to deal with any particular thing. They just said go to Route 1, pick out things that you
               think are in violation.
             Q: Of the Village—
             A: Anything, right.
             Q: Of anything?
             A: Right. They did not tell me anything like even the sign, the Rasche sign. We just discussed different
               —I just actually did it on my own.
       Id. at 25–26.
       The Rasches do not include page 26 of the deposition in their appendix, although they do include and cite
       to page 25. They forwarded the same mischaracterization of facts in the district court. The district court
       explained:
          While plaintiffs allege that at this meeting the only sign Lohmann told Riechers to specifically look at was
          Roger's sign, they present at best a scintilla of evidence of this fact. Plaintiffs rely on Riechers' deposition
          where she states that Barber and Lohmann did mention the Rasche sign as one they wanted Riechers
          to look at. A few lines later, however, Riechers retracted the statement and testified, “Actually I think I'm
          going to take that back. I assumed this all on my own. I'm thinking about it. No one told me to deal with any
          particular thing. They just said go to Route 1, and pick out things that you think are in violation.” (Riechers
          Dep. at 25–26.) (Disappointingly, plaintiffs fail to acknowledge page 26 of Riechers' deposition testimony.)
          With no argument addressing the testimony, which fairly read is that Lohmann did not single out the Rasche
          property, there is no basis to infer retaliation based on this meeting.
       R.40 at 8. In a footnote, the court recognized that Riechers' immediate recantation “is consistent with another
       portion of Riechers' deposition testimony. Riechers previously was asked if specific property owners along
       Route 1 were singled out for her to talk to. Riechers responded that there were not, and that she was to talk
       to all property or business owners along Route 1. (Id. at 20).” R.40 at 8 n. 8.
5      The Rasches state repeatedly in their brief that “[w]hen Code Enforcement Officer Riechers went out to
       determine if any business signs along State Route 1 violated the Village of Beecher's sign ordinance, she did
       not determine whether any other business signs were in violation of the Village of Beecher sign ordinance
       except Rasche's. (Appendix No. 11, pp. 112–133.)” Appellants' Br. at 8–9. The record does not support this
       assertion. For example, on pages 26–27 of her deposition, Riechers details that she told four other businesses
       to remove their signs because the signs were not permanent, had wheels or were otherwise not affixed to
       the ground—which was the same violation the Rasches allegedly committed. See R.32, Ex.Riechers' Dep.
       at 26–27. Also, Riechers produced letters sent to other business owners who were told that their signs were
       in violation and that they were required to remove or to change their sign. See R.32, Ex.J. She specifically
       stated in these letters (dated July 14 and 15, 1999) that she and the Chief of Police, Mark DiSanto, “went to
       all local businesses on Dixie Highway to talk to the owners regarding various code violations” and to explain
       that the property owner's sign was in violation of the code and needed to be removed in the next 30 days. Id.
       The letters warn that, if the signs are not removed, “the Village may file a formal complaint with the Village
       Attorney.” Id. The Rasches also emphasize that the sign on Knuth's Country Corner Restaurant, owned by
       relatives of the Village Attorney, was in violation of the ordinance because the restaurant went out of business
       in November of 2000 and it is a violation to have a sign on a vacant building. Riechers testified that a citation
       had not been issued to Knuth for his sign because in February 2001 (three months after the store closed),
       Knuth had “removed some of the signs. He has not removed the giant sign that's on the corner yet. But he
       has been working with me on it.” R.37, Ex.1 at 32. According to Riechers' deposition, on February 21, 2001,
       Knuth asked for a few more weeks to get the large corner sign down because “he said he had more problems
       getting that one down. But he did remove the other ones ....” Id. at 33. Thus Riechers had not issued a citation
       yet, as of her March 2001 deposition, “because he has spoken with me and worked with me on it.” Id. at 32.
6      In the Rasches' statement of facts, this fact appears twice, but refers to the same occasion and the same ticket
       —not two different occasions or tickets. See Appellants' Br. at 7 (discussing at top of page that “the Beecher



           Case  2:20-cv-01820-JPS
                              Filed12/09/20
                                            Page
                                                  149 of
                                                                         272 Document 1-2                           &
        Case 2020CV001583            Document 17          Filed 12-07-2020             Page 9 of 9
             


       Adjudicatory Hearing Officer dismissed Ticket No. 4101” and stating at bottom of page after discussing
       issuance of further tickets that the “ticket for the illegal sign, No. 4101, was dismissed by the hearing officer
       on October 21, 1999 because it was not an offense covered by the Adjudicatory Ordinance”).
7      The state court's order directing the verdict states in its entirety: “This cause comes before the Court for
       decision on Defendant's Motion for Directed Finding, the Court citing People, ex rel Adams Elec. Co-op
       v. Village of Cant Point [sic., Camp Point ], 286 Ill.App.3d 247, 221 Ill.Dec. 641, 675 N.E.2d 1371 [1997]
       and Village of Riverwoods v. Untermyer, 54 Ill.App.3d 816, 12 Ill.Dec. 371, 369 N.E.2d 1385 [1977], hereby
       grants the Motion for Directed Finding and all cases outlined in defendants brief.” Appellants' App. at 53. The
       defendants had argued in their brief supporting their motion for directed verdict that the Village had failed
       to “offer into evidence the Village ordinance itself with publication noted thereon it, certified and signed by
       the Village Clerk and therefore, as a matter of law, the Village did not prove the existence of any ordinance
       under which Roger Rasche is charged.” Id. at 39 (citing Village of Riverwoods, 54 Ill.App.3d 816, 12 Ill.Dec.
       371, 369 N.E.2d 1385). Moreover, the Village had failed to offer into evidence “the Book of Ordinances” and
       thus failed to establish “the existence of the ordinance.” Id. at 39 (citing Village of Camp Point, 286 Ill.App.3d
       247, 221 Ill.Dec. 641, 675 N.E.2d 1371).
8      Before reaching the merits, the court first noted that, because “claims against individuals in their official
       capacities are suits against the municipality,” it need only consider the claim against Mr. Lohmann in his
       individual capacity and the claim against the Village. R.40 at 6 n. 5.
       The court also determined that Mrs. Rasche had standing despite the Village's argument that “she did not
       have any ownership interests in the business and none of the citations were issued against her.” Id. at 7 n. 7.
       The district court concluded that “[t]he facts indicate that Velma has an ownership interest because Rasche
       Towing may be a family business. Also, because Velma asserts that defendants retaliated against her First
       Amendment rights, she has standing to assert an injury sustained as a result” and she is not bringing claims
       “on behalf of third parties,” but “asserts her own claim, not that of her husband.” Id.
9      This statement seems contrary to the court's earlier statement that because it agreed that the actions were
       not attributable to the Village (no municipal liability), it would not consider the question of whether the exercise
       of their First Amendment rights was a motivating or substantial factor in the Village's issuance of the citations.
       See R.40 at 7.
10     It is undisputed that the Rasches' speech on the bond issues was constitutionally protected.
11     A municipality can ratify the action of its employees by “adopting an employee's action as its own” and thus
       becoming “the author of the action for purposes of liability under   section 1983.”   Gernetzke v. Kenosha
       Unified Sch. Dist. No. 1, 274 F.3d 464, 469 (7th Cir.2001). In order to adopt such an action, the municipality
       must know of the “subordinate's conduct” and “approve[ ] of the conduct and the basis for it.”      Baskin v. City
       of Des Plaines, 138 F.3d 701, 705 (7th Cir.1998) (internal quotation marks and citations omitted). Here, the
       Rasches argue that the Village, by authorizing the suit in state court, ratified the Village Attorney's actions.
       The suit is therefore an act by the Trustees. There is no evidence that the Trustees “ratified” any other actions
       (such as Riechers' or DiSanto's issuance of tickets).
12     We therefore need not decide whether this statement is admissible.
13     The Rasches later make an almost identical argument concerning Mr. Lohmann. They argue that, assuming
       he is a final policymaker, “Lohmann set in motion a series of acts by others, which he did, and reasonably
       knew or should have known that they would cause Riechers and the Police Chief to inflict the constitutional
       injuries retaliating against the Rasches only.” Appellants' Br. at 16. Outside of the unsupported allegation
       that Mr. Lohmann directed Riechers to look at only the Rasches' sign, the Rasches give no indication of
       any activities that Mr. Lohmann “set in motion” which he “reasonably knew or should have known ... would
       cause Riechers and the Police Chief to inflict the constitutional injuries retaliating against the Rasches only.”
       Appellants' Br. at 16.


End of Document                                            © 2020 Thomson Reuters. No claim to original U.S. Government Works.



           Case  2:20-cv-01820-JPS
                              Filed12/09/20
                                            Page
                                                  150 of
                                                                         272 Document 1-2                                '
         Case 2020CV001583               Document 18              Filed 12-07-2020              Page 1 of 6
                     !!"#!$                                       FILED
                                                                                                               12-07-2020
                                                                                                               Clerk of Circuit Court
                                                                                  
                                                                                                               Waukesha County
                                                                      !) %& %    '    
                                                                                                          2020CV001583
                                                                       %     !)6
               
                                                                      %    $ % & '     - 6
                      !
                                                                      $        &
 "#$%"&'(%'&()#$%"'*                          $  &    !)6
                                                                     %    $ % & '     - 6
       +$&&,(%-$&.(##(                                      ( % $  $    % $  
                                                                        $$      $$   %&
      - !/0 *
                                                                       $$ +        %
                        "  *12
                              3
                     4 .5                                                                  
                              3
                     0!  %! 1
                                                                                              3)@0*4

                           )   
                    !)6  %$      ABA?  
            !  " !  #   -   2%  7      8
$ % & '    %     $               %%   $     
   (   $   $  $           $  ( %      %$&
)$$               )$$   *$$           % $$&    $ % 
#  $ % &'          $ $ &       %$           &  
     %  $      (             $          &$  
 $   $  $                 & $  & 
%     %  ( %
      &%$+ )%% % $                  $ % &'  
    %  %$ $                  $             
                                                                        $ % &'   $ 
) %                                                              ( %-  !  $$ 
                                                                       $ % &' < 4%  <C
       , ! % &'              <=>=  $$  %        &
                                                                       $ % & ' ) %  $      
                                                      &%  <9 <=>=

     "     )-     $  $$
                                                                      3  
). / 0 1)   0  &"*  
                                                                           $ % &'
, %     1 , &       *   #
                                                                            +       $    -  D
,  2%      $$  
                                                                           $  $         (    %
3 4++"5 *!!." ,)4  #                           $$      $   
                                                                       &$   :    
!                                                                      $         % 7  $$ 
                                                                       $   $    8        
*!!."  #
                                                                        $ $  $(  &  
   !$6  ) 7!)8   $                   $  ( %  
                                                                       $ $  E  %$  $ $  
   9:  ; <=>?     -   2%
                                                                           $  %   %   
7- 8       &   - 6


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     151 of
                                                                            272 Document 1-2
           Case 2020CV001583               Document 18               Filed 12-07-2020           Page 2 of 6
                       !!"#!$


 %     %2  
     &     $ $              2   $  ( %   
(& E                                                           & &    %     %   
                                                                             $ $     
                                                                               &2%   &$ $ 
  FG & H2     &   
   $    (   % %                 C
  & %$      &
     %   I
                                                                                                       
       )2  % &      
        $$   &    %   
          %                                         )).5
       $  & 
                                                                         )       
       F          I

       )5                                                                                          <

    + :? <=>= <>                                                 $$&   $ % &'
       %&  % +                         &    %  
$&$                            %        $ % &
 &   $                   'E
 %        %        %%
   %             
                                                                                     3   $ % & ' 
    $      %   ?  + &    !)
                                                                                         %  %    
    &   $   
                                                                                        %    E 7<8 &  
$     $               
                                                                                      (  %&   M 7:8 &
%%  %*     $   
                                                                                           $       %  
  2%
                                                                                     '  M 7?8&
                                                                                             
4%  : <=>=      
                                                                                      %         
    $$           $ % &
                                                                                     J         K
'  %% /    E
J    ( %    &                                    !   
  $ $            &                        " " C9= +: ?>N  ?>LB
(    %% K 
                                                                                     >C7C <=>98M   # $
: <=>= L    
                                                                                      "  ! ! " " C>:
           $       
                                                                                     +: <9:=  <9?? 7C  <=>L8 
    -   % 
                                                                                      %    %     
        $$       %   
                                                                                          ( &   
2  $        $        % 
                                                                                      %   J   K  & 
    E
                                                                                        %   $    
   & $        $      %                       $  %   
   % $ $  %      %                             '   
   $                                        %  
   &$        $  % 
  +               
   $$2%



                 Case  2:20-cv-01820-JPS
                                    Filed12/09/20
                                                  Page
                                                        152 of
                                                                               272 Document 1-2                                   
         Case 2020CV001583              Document 18             Filed 12-07-2020            Page 3 of 6
                     !!"#!$




    ! %   &  '" >CN +: <?L=  <?C< 7C       # $  "  ! ! " " C>: +: <9:=  <9?C
 <=>=87%$    8
                                                                    7C <=>L8M     +  "! ,"
                                                                    =NN+:<N<: <N<97C <==N87   % 
       $$&         6
                                                                                8 3    
 %    J           
                                                                        JPJ    % %P 
      %  $  %  %  
                                                                     ' O     $ %    
  $   K  ! (  " >=N +: <?>N  <?>9
                                                                      %             
7C <=>=8   %% /     E
                                                                           Q K 6 K " >=N +:  <?>A
                                                                    7(        -    "  !    "
             GH$ % &'                    " >9L +: <NC=  <N>9 7C  <=>>8 7( .
                    %                    / !0 ( !   ""C=L+:=N? =NL7C
                   %  
                                                                     <=>L8 7(           !     "
                   &M   
                                       C9=+:?>N ?=N7C <=>98888M   1!
              (     &                    /  " >L> +: :<C  :<= 7C  <=>=8 7   
                      '                    $ % & '       
             )$$     %  &                         8M ! -!#  ">?=+:<:LA <:C<
                                        7C <=>>87       8
               2     $$ 
                 $ % & '
                     
                                                                                                    :
             '6      +*!
             LA78       %                   )           %% & % 
                    &  
                                                                      J  &  K 0   /    ! 2 
                              &  
                                                                    /  (   &!'" 999  L:N  L?C  <NN  >:L
                 !  
             &!  "C?:+:<:=9 <?NN7C                 >?L  L? .": C? 7<=>N8M +   !   / 3       "
                                                                    9:A  L<N  L<C  =L  <CAA  <CA=  9> .":
              <=>98M &      ) 
                                                                    :9? 7<=CL8 )       %      
             !  $*     "
                                                                    J      &  GH + )%% % K
             CAL+:<A:A <A:=7<< <=>A8
             D  %                             " 999   L?C  <NN   >?L J
                     (                   P!      %     Q K  
                &    &   
                                                                    7( % ! ( " ?C<  9<A  9?>  >? 
                    %  
                                                                    ?:> ?9N =.":9NA7<=L?88
                    
                    O$   
                                                                     $ %      "   $$     
                % &   $       
                                                                          ( %   
             O      
              &             % &                  $ %     !   /   " ?<=
                                    <9<  <9>  L?  >L:  >LL  >C ." <?<? 7<=9?8M
              J     K%                      $  !   " ?<N  :=L  ?NL  LN 
                % 
                                                                    =NN  =N9  >9 ." <:<? 7<=9N8M    +  " 9:A
                                                                      L<>  =L   <CA=        
                                                                       %      $ 
                                                                    /   %  %  %      $



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    153 of
                                                                           272 Document 1-2                                      !
          Case 2020CV001583                 Document 18               Filed 12-07-2020               Page 4 of 6
                       !!"#!$


                                                                                         
  %      +  " 9:A   L<>  =L   <CA=M
                                                                          $   %    $    
     " ?<=   <9>  L?   >LL +          !)              &   
$ $ %       $  % J%                  J        % /%  
     &   %%&                          &     % 
  $    "                    K )$$6  3   :?       
                               &- ,  -  
      O      %                 /   $  J  K         
 %K     " ?<=   <9>B9=  L?                 %  $    
>LL          O$   %  
  J  &                                  %$& $$   
 %     K  & %  J  $ %$               %     $       $  &
      %%  % K                    %   +       
                                                                          $ %%   & %   
    ,!  / ! %*0  "9L>                      $      &  -   J  &   
:>>  :=?  <N9  ?NLA  ?NL=  >: .": ::< 7<=>98M                  %         
      /        / #   !                 &    K     :  <=>=  L   
 1  / 0 " 9LL  C>=  >N>  ><:  <N9                   /  "                
:<<>  :<?N  :<?:  >N .": CC: 7<=>98  $$&                $  ( %   
      %   %%      $ %                    %   %  $ $   & $  
    %R%$  &RJ    %                      $                  
$     %    $  $ %     &                  %      D         
     %6 %                 $ &         $       $ $ 
                            J$  %  K  C    %   
   %      *    ( %               $     +  %    
          P                   J     K    $     
$ %        %                             $ $   2%   ) &  
                                                                            &  4   (   JP  $ %
    &    Q K 4 
                                                                                %      
! ,    " 9=<  C><  <N=  :C9L
                                                                          &         Q K      4  " <N=  
:CACBA> <NA.":LL<7<=>=87( 5   
!   " 9C:  LCA  L>=  <NA  :>=C  :=NL  >L       :CA> 7( 5     !   " 9C:  LCA
.":A?L7<=>A887%8                                   L>= <NA:>=C :=NL >L.":A?L7<=>A88

                                                                           #  ,         %$ /  
3                                                     $  $      % &   
 $        % &  $   
                                                                          $  &E A
%      & $$  $ % &'E!)6
      %   !)      
 $  ( %         & %$                    ' & $ 
  %%  %  $   $$                         $    $  (  &   
  &    %% 9                       &           % $ 
   $$     $ % !)                          % & 
       %  %                       %$&  ( %
 '             (                 : <=>= LBC   6  
 $   %     &                        $ $       $ 
          %   2  $             ( %       &       
     $  !) $        &        $  $           $  
 %      %       $   



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     154 of
                                                                            272 Document 1-2                                                 "
          Case 2020CV001583               Document 18              Filed 12-07-2020            Page 5 of 6
                      !!"#!$


                                                                       '   $ & $$ $  O 
    %                 &$   
                                                                        %%      ( &%&
    %  
 $$      R      &                  %         6 $     !   " L>A
 $  %  R %              & $$     +:<=: <=A7C <=>:87JG  %%H  
 $ % &' $$   % !)             (  ' &   %     
   $         %    $             (  %&K8
              2 ' 
  %   %    &     $  $          + &   $$         %    - 
  6 O$  2%    &                     %  !)      
$    %$          O       %   %        6
 $" %$ &$    %%                $ %  %     6  
 %O$      & $               $          %     
 $        % 2 / (  &!'! / ,       -   %    &  
                                                                          )       6  
  "ALC+:L>= L=<7C <=CA8M  ! /
                                                                        $  ( %     %
 "9NC+:<N>9 <N>L7C <=L=8M  <<
                                                                         &  
2 1), + !  !  ;:=9>
  99N 7<=C?8M / $, ! / " ?>N  9C=        3          
9>L >A<<<L <<:NB:< <9.":::7<=LA87                $ % &'
 %$  %   %  O$   %   
 $      ' &8M   +  "! ,"=NN
+:<N<: <N<>7C <==N87    %%                                      
  $$   $       ' &8  
       $  ( %           '%      %
$  $  2% &    $  $
   % (     %          )++*,"
  &     $$   
 $       %
                                                                       $  
 $$       !)   (  %&
                                                                       =<9+:<NN>
           3




                                                               Footnotes


1       NPA does not appeal the denial of a preliminary injunction on the five year felon restriction, and thus we
        shall not consider that issue.
2       There was a room outside the view of the general public for use in taking the fingerprints of suspects.
3       Although Chief Stoecker originally stated during his testimony that the fingerprints had been used in burglary
        investigations, Tr. of Feb. 23, 1989 at 18–19, he admitted on further examination that that statement might be
        inaccurate: “I might have been inaccurate in saying that we use the prints for comparisons. More accurately,
        I would say that we found that solicitors were involved in burglaries in the community on two occasions.”
        Id. at 19.
4
        See      Gitlow v. New York, 268 U.S. 652, 666, 45 S.Ct. 625, 630, 69 L.Ed. 1138 (1925).
5
        The Third Circuit dealt with a similar fingerprinting requirement in New Jersey Citizen Action v. Edison
        Township, 797 F.2d 1250 (3d Cir.1986), cert. denied, 479 U.S. 1103, 107 S.Ct. 1336, 94 L.Ed.2d 186 (1987).



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     155 of
                                                                            272 Document 1-2                                      #
        Case 2020CV001583          Document 18          Filed 12-07-2020             Page 6 of 6
                 !!"#!$



       After reviewing the Supreme Court precedent;         id. at 1263–65, the court concluded that there was not
       a substantial relationship between the fingerprinting and an important state interest.   Id. at 1265. The
       court noted that the fingerprints would assist in the apprehension of a canvasser who commits a crime, but
       determined that the city had not shown a relationship between canvassers and criminal behavior. Id.


End of Document                                          © 2020 Thomson Reuters. No claim to original U.S. Government Works.




            Case  2:20-cv-01820-JPS
                               Filed12/09/20
                                             Page
                                                   156 of
                                                                          272 Document 1-2                             $
         Case 2020CV001583             Document 19            Filed 12-07-2020            Page 1 of 8
                                                                          FILED
         ! ! " #$$ %                             12-07-2020
                                                                                                              Clerk of Circuit Court
                                                                                
                                                                                                              Waukesha County
                                                                               %  
                                                                                                    2020CV001583
                                                                    *       (  
                      
                                                                    -    #   
                  !                             %  *     *
                 "  #  ##                       ' %*    -    #
                               $                                           %     
                                                                    *  *      
                      %&' ( ') 
                                                                         ! "  %
                        )*+,-./                                 /+01 2   ! 3  "  
                             0                                        ! "    
                   1 !+ +2                         $      %          
                             0                                       /+01 2      )   
                   3! #-2 +2                                -        
                                                                        #         
                                                                        
                                %   / +01 2  
          !           -    # $  
"       !   "      #          
       $ %       "  
     $     "  %& '              4            / +01 2    
& %                       ! 3  "     
                              )   #    
                         3+0+56+0+7
          !             
  (                12        8            
                 )             $  8$  % 
                  %
                                                                         % 9:5  ;+<% =: " =5:% :+ 
           
        % *              :=>%     % =<>  ;:% >5 " 7<% 5=
          # $     990:%          
*          %              % *       
                                $ ?
   +,         #              %        @  
                                                                       *   
                                                                               @    $
-                                                                *% 
                                                                             
       &    '                      $ 3+0+56+0+:

                                                                  1 2?        *  
                                            .
                                                 *        
                                                                      *           %     
   /+01 2     12%
                                                                               (      
             *   
                                                                  A            
                  
                                                                              B    
   12    !       
                                                                            #
                   
                                                                  $  *             
          -  
                                                                       @        B  #
             


               Case
                & 2:20-cv-01820-JPS     Filed 12/09/20
                      '()*+ ,-.)              Page 157 of 2
                                                   ..*-/01*)* 272 Document 1-2                                   
          Case 2020CV001583               Document 19              Filed 12-07-2020            Page 2 of 8
       
         ! ! " #$$ %

        @                      #     
 C  %                               
                             % +      -    
8                                            H+<5%<<<
 *                                      
                                H7=%;<<   
                             * *
   *      )    3
+0+:6+0+7                                                                 (         
                                                                            -     %    
-     
                                                                          9> " / 9+01 2%     *     
                                                                          * '  F            
    !"# $                                                          !     
                                                                            * '       
D  E  %F %!"%                      -     # &         
                                                                         %     * I    
 F3 * %F %!"%   
                                                                         J *IK L   #     
%                                                                    J   % *     #
                                                                       *     *        
& ' &-G                  "        *  *  %       
                                                                        H+7%;<<
   /+01 2     % 9> "
/ 9+01 2%               *       )$  *     
                                    *' ? %   
   12  !                     !  "  %            
                                      )   
       8         *            $              
         !  3   "                           
        )                   * '                
#                                             A    %   /+01 2  
                                                                            !  3   "        
                                                                                          
                                                                                    (   
                        &   ?
                                                                        *          
            *                              %        
  /+9     %;9                  )         
                                                                            )   
+<0:%    % 9> " / 9+9                             
           
        % 50  -  7:;; 1+>:+2                         *     
                             / +01 2%         
  %                  $    !  "           ?
   *                     ) *   C    *' 
                                                      *          
                                                                            %                
   '  % ?%   ! *                                 )       
  (  =<  D ) %?%
   %E % ?                             "    
 +>0> +>:;%     +;<                   %9:5 ;+<%=:"=5:%:+:=>1+>9:2%


              Case
               & 2:20-cv-01820-JPS     Filed 12/09/20
                     '()*+ ,-.)              Page 158 of 2
                                                  ..*-/01*)* 272 Document 1-2
          Case 2020CV001583               Document 19               Filed 12-07-2020            Page 3 of 8
       
         ! ! " #$$ %

                                                                        *                     
          % =<>  ;:% >5 "
                                                                        $               8      
7<% 5= 9 90: 1+>:92%           
                                                                          % *      
     #         
                                                                         %        *          J
            
         %  /+01 2                  9:5 %;59%=:"%===  * 
     # $                      )  % &    
   &                          *    #  
                                                                                %
                                                                             # *     
                                                                              I      %J *    %
F      $  % === >=>%+<<"
                                                                           I*   # (      
=+>%0995+71+>:>2% *   
                                                                            )   
                                                                                       #   J =<>
                                                                          %  0<% >5 "%  75 F        
                                 ??
                                                                               %     * 
                                                                                     $
                                                                           9  ? % I$         
   !  3   "                               $ %J  !!  *!  !! % 5=7  ++% +=% :;
                           " ++% +5% >>  ++ 1+>;=2%   I   
   8      $                     $ *    
        *                             *  *            *      
        %        $ 
                                                                        $  8  *     %J  & +
)                
                                                                          ' %5=> +55%+50%:;"095%09;%>>
              )
                                                                        >=9 1+>;;2        % =+7  =77% >=
       %=5; 9=:%9;>6909%9006
                                                                        "90>:%=+97>:1+>:=2
90:%>7"+<=9%+<=5%+<;<6+<;9%+<;5%+<;=%;;9
9;9% 1+>:72       8        
                                                                                        
 %  %    *  )     
                                                                                         
                *
                                                                           ! 3  " F   % *  %
  ! " # %=9= 5+>%5==%>0"7>5%                  8        
><:%=:9+71+>:02   %                            %
         %I    %           *                
        %$                         $          
                                                                         /+01 2%*    %     
  %J $!%!& ' !!! '(!%5=+ 
                                                                                          
+95%+:9%:+"09=%0=>%>;7+:1+>;+21 )  %
                                                                           &&         
'%  2%      *    
                                                                           (    %*      
                  * 
                                                                            
        *            
    
                                                                            % $       
  8                     $                  9> " / 9+9% * *
    "   ?     ) %   "                         I   
             * *  
                                                                         %J    9> "/9<512
 # *      
                                                                                        
    $     "      
                                                                              I  KL   % %* 
! 3  " *    I   *
                                                                           %       * ) J


              Case
               & 2:20-cv-01820-JPS     Filed 12/09/20
                     '()*+ ,-.)              Page 159 of 2
                                                  ..*-/01*)* 272 Document 1-2                                           $
         Case 2020CV001583              Document 19             Filed 12-07-2020             Page 4 of 8
       
         ! ! " #$$ %

9>"-/;:<+<+1+>:>2  G-- A +=;9%:;                     % *  
" %+ %01+>5:2B- A 77=%:;" %+              *%     (    
 %9%01+>5:2                                                   O                  *
                                                                       '                    
M  +>:=%                               J ;
        $   %
   9> "//9+91 2%      9+:%   %               ! "     
                                                                                     
  9> "//9+012% 9+;121=2G 
                                                                         +>:0%+>::%+>:7?
      8     (     
                                                                      #           
    *%G-- A >56>+5%+;1+>:=2%
                                                                    ?          
  "  " NA *%+>:=%97++%"  
                                                                          +,  #   0
+>:= @          
                                                                     &          %        
 ( H+%<<<      /9+9 9> "                      % *  
/ 9+01 2                      *             
  %    #      (                   (   
          
                                                                        /+01 2    :    
    *     (  *+;
                                                                        %  %     
      ?    (  
                                                                               
  %      
                                                                    "  
          *    
3    % ; " / ;;=      *          "                
$  I   %  *      %                    %  $        
                                  ? +>:0%        *
      %                         B+>::%
                        *            %     C  
                  %              %        
   J9>"-/;7<59121+>:>2G                       (         
                          B 7 +>:7%   *  
                      5
 &'          )              "         
+               %                      
   * $   8                      
   *    =
                                                                     ! "        
   *                     ! 3  " 
                                                                                )   ?    %
   9> "/9+01 2%     
                                                                       +>::        %       
           
                                                                                       
      *I   * 
                                                                             (       
                
                                                                       ?                
         %     *
                                                                     &(                 
      >  J  >%9> "
                                                                      %    *   
/>% +>5=%   
                                                                      (@    (       
  I     !                                %    
      * )                       (  *      
         %  %  % %                    
             !       *                           )    
    * )%   %   


             Case
              & 2:20-cv-01820-JPS     Filed 12/09/20
                    '()*+ ,-.)              Page 160 of 2
                                                 ..*-/01*)* 272 Document 1-2                                          
          Case 2020CV001583               Document 19                 Filed 12-07-2020             Page 5 of 8
       
         ! ! " #$$ %

    #      F                  "             I %        
                                                                     %                       *
                                                                                 *             
         8                                 J     
*   )    )    *      
                                                                               ! '. ! ! #% )=90 
                    G     
                                                                          =79%=>;%>0"95<7%95+;%=>9+1+>:02
$ G    $ 8$ G
   *         
                                                                          F    %     %
8        ) 
                                                                          !  3   "            
     ?             ( 
                                                                                   3         
   P           P    
                                                                            B               /  
        *$  > ?
                                                                           *!  !! ) 9>;  :7% 77% ;; " 09>% 055% :>
         
                                                                           +5+= 1+>5;2 ?          "  
                   
                                                                                           
    9>"-/;7<9+121+>:>2? % &
                                                                              @    $       * 
     #             
                                                                                       *    
             # (  I%   
                                                                                  (     *   *    
               *     
                                                                            *   .    /'" 0) =9+  ;0<% ;0:%
            J 9> "- /
                                                                           :% ;076;:=% >; " +7;+% +7;7%  :% +7;76+70+% ==
;7<51 2 1+>:>2 ?       * $ %   
     % *                      95::1+>:;2B      -' !     *! 
 $    ! "                 !! )5<: +9;%;>":;=%75++=:1+>5>2 ++
 %         /+01 2                 &        %          P        P
  C    *'  +<                                          
                                                                               %           
    8        )                       $  " 9 D !    *
    $ 8$ %                   9+;69;0 19  +>:>2     $  
                           %   * %      
)    C                                        
*                                               '    (
  %  ,--'.)=+< 0+=%>5                         8    / 0' 
" ++=0% 5; 9 :>5 1+>:525; 9 :>5 1+>:52%             ) =5=  5;:% 50;% >7 " 005% 00>% ;=
                               9 0<= 1+>:72B  97 " / ;97 1+>:0 % 
     * % + ! )+'                  ???2 18             
&)5;; =++%=+=%:7"5::%57<%995:<                  *         2 M 
                                                                            8               
1+>;72B '   ) 570  +:+% +79% 7: " ><5%
                                                                                $ %*   
>+9%+:97=9%1+>0:23        
                                                                          )    *      
I    %J    )                       
=<> %09%>5"%7=?    %                    
         @        
   *       
  *%     
                                                                                                          M
     %        
        %      $ % *            ?   % *        *    * 
    &                                   
    * $ $  * ( 
                                                                          *           % +9                   
     ) 9:5 %  ;5;% =: "%  ==;% *     


              Case
               & 2:20-cv-01820-JPS     Filed 12/09/20
                     '()*+ ,-.)              Page 161 of 2
                                                  ..*-/01*)* 272 Document 1-2                                               3
         Case 2020CV001583               Document 19             Filed 12-07-2020            Page 6 of 8
       
         ! ! " #$$ %

                                                                                
             (      
                                                                     8                   
A            
                                                                        *              
            
                                                                                      
        ( 
                                                                       %     %    
*; "/;5591+>:0 ???2   
                                                                         $     %
         ) 1 (                )      M   
 / ) =++  ;0=% ;:>% >5 " +07>% +0>7% 50       %         
9 =77 1+>:52B    ( % =9>                      
9=;% 9;<% >: " ;=0% ;=7% ;< 9 === 1+>::2 1             *      
' 2%                                             )  '    +=  ?            
                                                                       %    *   8          
A                          B    
  #$ *                           *    (    
   @                    #            
 *      %             /        B     *  
+01 2          +,                  @      (  
   +5  ?        %                      (      
  # '     *                     B    (  *    
*                          B       * $  
   )       )            *  *        
                             #    IK L   
           %                  * ) %J
      %            !",0)=9+ 5;%=:%>;"+=;0%+=0=%
  %      *         %   =5 9 :+9 1+>:;2%   (       
                           #       
 *           .           *          (       
)9:: 0+%=7"=5>%:9:7=1+>972                   *        F 
                                                                           #   %   
&       % #    @              %        
        ?        *                          !
                        3  " 
     %              
 (                    $   ! "     % 
  %                                   
    %                *  
*       * 
           %          +!    
$         *   
      %   *   
       (                                    )  

  !  "  #                      ==0 957%+<<"+0+<%0=9+79%9=F N
        !  3   "  *             G  "1MA207+%77 "355%7>7
             




             Case
              & 2:20-cv-01820-JPS     Filed 12/09/20
                    '()*+ ,-.)              Page 162 of 2
                                                 ..*-/01*)* 272 Document 1-2
        Case 2020CV001583           Document 19          Filed 12-07-2020           Page 7 of 8
       
         ! ! " #$$ %




                                                     Footnotes


*      The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions
       for the convenience of the reader. See      United States v. Detroit Lumber Co., 200 U.S. 321, 337, 26 S.Ct.
       282, 287, 50 L.Ed. 499.
1      Those factors include “any history of prior violations; any evidence of willfulness or failure to take reasonable
       precautions to avoid violations; the number of minors illegally employed; the age of the minors so employed
       and records of the required proof of age; the occupations in which the minors were so employed; exposure
       of such minors to hazards and any resultant injury to such minors; the duration of such illegal employment;
       and, as appropriate, the hours of the day in which it occurred and whether such employment was during or
       outside school hours.” 29 CFR § 579.5(c) (1979).
2      For example, we have invalidated a system in which justices of the peace were paid for issuance but
       not for nonissuance of search warrants,     Connally v. Georgia, 429 U.S. 245, 97 S.Ct. 546, 50 L.Ed.2d
       444 (1977) (per curiam); prohibited the trial of a defendant before a judge who has previously held the
       defendant in contempt,   Taylor v. Hayes, 418 U.S. 488, 94 S.Ct. 2697, 41 L.Ed.2d 897 (1974);       Mayberry
       v. Pennsylvania, 400 U.S. 455, 91 S.Ct. 499, 27 L.Ed.2d 523 (1971); forbidden a state administrative
       board consisting of optometrists in private practice from hearing charges filed against licensed optometrists
       competing with board members,     Gibson v. Berryhill, 411 U.S. 564, 578–579, 93 S.Ct. 1689, 1697–1698,
       36 L.Ed.2d 488 (1973); and prohibited a parole officer from making the determination whether reasonable
       grounds exist for the revocation of parole,    Morrissey v. Brewer, 408 U.S. 471, 485–486, 92 S.Ct. 2593,
       2602–2603, 33 L.Ed.2d 484 (1972).
3      See n. 1, supra.
4      See n. 9 infra, and accompanying text.
5      The section was originally designed “[t]o authorize the Department of Labor to make special statistical studies
       upon payment of the cost thereof, and for other purposes.” See 48 Stat. 582; S.Rep. No. 322, 73d Cong.,
       2d Sess. (1934).
6      In 1976, the ESA collected about $151,000 in child labor penalties; in 1977, $650,000; and in 1978, $592,000.
       By comparison, $87,407,000 was appropriated to the ESA in 1976; $98,992,000 in 1977; and $119,632,000
       in 1978. See Budget of the United States Government, Fiscal Year 1980—Appendix 652; Budget of the
       United States Government, Fiscal Year 1979—Appendix 623–624; Budget of the United States Government,
       Fiscal Year 1978—Appendix 510.
7      The record indicates that, in 1976, the ESA returned $981,000 to the Treasury; $870,000 was returned in
       1977; and $4,600,000 in 1978.
8      In that year a total of $559,800 was allotted including $194,800 to the national office. The Chicago office
       received $44,300, the highest allotment of any regional office; the Denver office received the lowest, $4,900.
9      Appellee claims that the hearing before the administrative law judge is not truly de novo because the judge
       has the authority only to determine the existence of the violation, not to assess the reasonableness of the
       penalty. We are unable to discern any such limitation on the administrative law judge's authority. Under federal
       regulations, the administrative law judge is expressly empowered to review the amount of the penalty and is
       required to consider precisely those factors considered by the assistant regional administrator in making his
       assessment. See 29 CFR § 579.5 (1979). Indeed, in this very case the Administrative Law Judge carefully
       reviewed the Assistant Regional Administrator's assessment and reduced it by over 80%.
       Appellee correctly points out that in       Ward v. Village of Monroeville, 409 U.S. 57, 93 S.Ct. 80, 34 L.Ed.2d
       267, (1972), we held that the availability of a trial de novo before an unbiased judge did not remove the
       constitutional infirmity in an original trial before one whose impartiality was impaired. A litigant, we said, “is
           Case
            & 2:20-cv-01820-JPS     Filed 12/09/20
                  '()*+ ,-.)              Page 163 of 2
                                               ..*-/01*)* 272 Document 1-2                             4
        Case 2020CV001583           Document 19          Filed 12-07-2020             Page 8 of 8
       
         ! ! " #$$ %

       entitled to a neutral and detached judge in the first instance.”  Id., at 61–62, 93 S.Ct., at 84. Ward does not
       aid appellee in this case, however, for the administrative law judge presides over the initial adjudication.
10     Appellee errs in suggesting that the Office of Administrative Law Judges is also entitled to reimbursement
       under § 16(e). When read in conjunction with 29 U.S.C. § 9(a), that section allows reimbursement to offices
       that “supervised [the] work” of “determining the violations and assessing and collecting [the] penalties.” The
       Office of Administrative Law Judges does not “supervise” that work. Indeed, the Administrative Procedure Act
       expressly forbids such supervision.    5 U.S.C. § 554(d). The Office of Administrative Law Judges maintains
       an administrative section within the Department of Labor entirely separate from that of the supervising body,
       the ESA, and the Office has a separate budget.
11
       Cf.,    e. g., Adams v. Richardson, 156 U.S.App.D.C. 267, 480 F.2d 1159 (1973);            Environmental Defense
       Fund, Inc. v. Ruckelshaus, 142 U.S.App.D.C. 74, 439 F.2d 584 (1971);           Medical Comm. for Human Rights
       v. SEC, 139 U.S.App.D.C. 226, 432 F.2d 659 (1970), vacated as moot,            404 U.S. 403 (1972);        Perez
       v. Boston Housing Authority, 379 Mass. 703, 400 N.E.2d 1231, 1247, 1252–1253 (1980). See Stewart, The
       Reformation of American Administrative Law, 88 Harv.L.Rev. 1667, 1752–1756 (1975); Jaffe, The Individual
       Right to Initiate Administrative Process, 25 Iowa L.Rev. 485 (1940).
12     In particular, we need not say whether different considerations might be held to apply if the alleged biasing
       influence contributed to prosecutions against particular persons, rather than to a general zealousness in the
       enforcement process.
13     Even if ESA received a considerable amount in civil penalties in a particular year, of course, it is possible that
       Congress would decide to appropriate a corresponding lower amount from the treasury.
14     We need not, of course, say whether the alleged biasing influence is to remote to raise constitutional
       objections even under the standards of Ward and Tumey.


End of Document                                           © 2020 Thomson Reuters. No claim to original U.S. Government Works.




              Case
               & 2:20-cv-01820-JPS     Filed 12/09/20
                     '()*+ ,-.)              Page 164 of 2
                                                  ..*-/01*)* 272 Document 1-2                               
         Case 2020CV001583            Document 20            Filed 12-07-2020           Page 1 of 16
                                                                     FILED
                                                                                                            12-07-2020
                                                                                                            Clerk of Circuit Court
                                                                    "
                                                                                                            Waukesha County
                                                                                                 2020CV001583
                                                                       0  %& "
                  
                                          
             !""#$%%&''                             !"## 2   3" 4 %  3  5   4  ))0
                                                                6   '  +  " 7  /  3  " 0
     ""(  )! **                     -  7 !))  3   0  "
   +,+-.'' '
   . #. $*))/                   ' "    +  0 3%  + (
                                                                 )! % #        %5    3  
         . ' ' 
                                                                 '  "
   0%%12 %%3+2 
 %%2 145%6  %%% 5%6                      +" 7%   / +   %  0  +"
 + ' -%% 2 3-%%                (   7  8  ))0  3  
                                                                    "
                   787 797:;%<+%
                               =
                     - # - 77
                                                                          $%&$%'()*+)(%),$(%
                                                                            (-+%&(.&/.
               
                                                                 (4(' )" *#935  42- +9'52  9  .  
                          
                                                                 '   .  '   
            
        !              5 ))   0            %
                                    :;"<;=<
                       > ?   > ?    
 "#                              > ? ! !   
   $     !"                             " 2       +% <  @A<B  %
  %& "                                                               
                                                                         % 
                                                                   >?"#+
   '   (  )"*  +            @A     &        5 $      " 
   ,                                                         %  5     !   /    %
                                                                        >(#?     % & 
   $    %           -%          '            
./ 0          $              .       &               
    1                                                     5 " #         
                                                                   !))     % >   ?
   %      $  1                   %          
                                                                 5 $        " # +  CA        %
    ! / %                                            
  1                                                    5 $     (#     
                                                                 5       "
   !                 
 & 1                                                  +  CA            
                                                                                  3" <,<D= =;B<
   !     &    "              <EC -"."C ED@  @A<B 6) CDFGBDG ."'"" +
                                                                 CA  @A<B"                



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     165 of
                                                                            272 Document 1-2
         Case 2020CV001583             Document 20            Filed 12-07-2020            Page 2 of 16
          


                            /    >!    ?   %        
            2 0    '  0                    !!              
      -                       !  "  G;,<<=GG,<A"5 $            
   $ 0         "                 M            
  &           $ !"#0              " @   DB,G=<F"     
 % &          .  " 5  /         M % @AA         5 $
              % !           "  DB,@<=@C"
     H % /!    >   %
     ?H          %                B"(%N    5    %  
                                                                     %$   " "N    %
          "              
                                                                     /        "  " N   
              
                                                                  5 $     %          %
      "                                                            M         
                                                                   %"" D@,@F=DC,< E@,<E=EC,C"
#+%<<        %&   "
5 '        %  "               ;" 5    / %    /        
4  5 $I        $                 %      L   "
                           %    !    M    
  %&                    5 $   %       "5 
          !    !                 %   
     !"                                        M %     !      %"  B@,<@=BF,B"

                                                                   !"#4  G" 5         %      
                                                                  "  DF,@=C"
                    $1   2  <
                                                                  E" .  @AAE  5          
1$  3   ') )
                                                                        !   9 .  -' 
<"2 % %         % 
                                                                     >-'?" 5          
%  J    % "        
                                                                       !   -'"  BF,<;=BD,<"
      % ! %  "
.  - KK@ F"
                                                                   1*5 '6 7   2 3 
@" 2         %      >23'.?              <A"  @AAE        -% ./
                L  "     0           >?    
#      L            
        " KK< C"                  @< 9"."" : CG;          -
                                                                   '     >-'?    %  
C" .  @AAE  5                          - '    
       %3  - "-3"FB      >-'?  @< 9"."" : CA<         @< 9"."" :
>4 $ "? DC,<B=DF,D"                                      CG;"

F" 5    % %                    <<"    M    -'$    %    >
          %    C                   % !    
  M %<AA                 /     %         
 %  "  DF,B=<D DD,G=<< D;,<D=<G"
                                                                  O-'P%     &         O  P"?     
                                                                  :CG;"
D" 5            M %
<AF   !   M % @A AAA       
                                                                  <@"         >
>.N9"?  DB,<D=@C"     
                                                                      ?>  /   !?      ::
  M %@A @D            


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     166 of
                                                                            272 Document 1-2                                  
         Case 2020CV001583              Document 20              Filed 12-07-2020           Page 3 of 16
          


CG; CG;&    -'     %  
                              @0          .       
  " :CG;  "
                                                                       5  

<C"#%<A @A<B   -' M              %         3.  """%         !  
   :CG;   ! /! >'                          !"#8  %     !  
( ?%!   -'  >    ?                             %      
      &        -'"                               
    !"#$ G<                   /   !       
- "( "@G E;F%<A @A<B" ' (  /                                  
       G @A<B"                                              /    "

                                                                       72M  
<F"       ' ( !  /
   G  @A<B    -'$                        .    %       
                                                 
      /    /   !                     .   M            
  "  @G E;B"                                                           % 
                                                                        %        %      
<D" ' (       !                    "
        , <      
      <G %      1 @                 @<9"."":CG;"
 /        ! 1  C    
    "
                                                                     )1$  7   2 3 
<B"     -'      %                <G"'  @A<D       5  
      @AAE                    %  0 )!<;B=@A<D   
       "                                %  0  )! @<F=@A<B       
                                                                       : ;"<;=<             
<;"6           -'   %                    %                
            .  E<B                                       
          @< 9"."" : CG;"            "      < >O P       
       !,                                                     
                                                                     ?1  @ >O P            
  <0                                                          "?     " :;"<=;=<=<1
                                                                     .  - KD"
  2M           @     
                
                                                                     <E"       ,
                %   """  . 
           .   """    
         % !       
        !                                                      
                                                        %
               !                         %, <      % 
                                               %        
              M                               1 @     
             %                             
   %         .                                       
             %                                     %       %  
    "                                                                         %1  C     
                                                                                           


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     167 of
                                                                            272 Document 1-2                                  !
         Case 2020CV001583            Document 20              Filed 12-07-2020            Page 4 of 16
          


              %                            @D" %                   
                                                !     %      ,
                         
               %"                                              Q  % %          
                                                                         %         % !        
                                                                                %   '   4 !       
                                                                           4 !   1
   " :;"<=;=<=@"
                                                                     Q  % %          
@A"    >   ?  >                      %         % !        
                                           ( .  -  '
      ?   : ;"<;@<D                 %    '     
     >  M    /                        ' '  2            1
         "? :
                                                                     Q % %         %   
;"<;F<"
                                                                                      /  % 
                                                                          ) /    1
@<"'            
                               Q         %       M     
         ,                        %   !  !         %
  1                      ! !      
!                                    /   %    1
1                       
  1            !     
             "             Q         %       M     
.  - KG"                                                          %   !        %     
                                                                           !       ! 
@@"                             !    L   %   9 !  
!                          )     "
         %
&     %         %$          :: ;"<;F<  ;"<;@<F   ;"<;@@@C" 
                                                                    %    %   %       !   
 !  %                     "   "      %              "
 ::;"<=;=B=C       ;"<=;=B=F"                                :;"<;@<<1.  - KE"

                                                                   @B"             %  
   01 2  3                                        %    (. - '   
@C"                                    %              
                                          %"
     !     %               4 $ " BF,<A=<B"
    %  " :;"<;F<@"
                                                                   @;"'    !   
@F"        >   %  ?  %   %   <                     
>               ?1 @                 ".  - K<<"
> M          %  ?1  C  
+% <  @A<D             !"#9           @G"     %            %   
. ;"<;F<C  /                  % !  .  ;"<;F<C
. ;"<;@<F      %              ;"<;@<F   ;"<;@@@   +% <  @A<D"   :
   " :;"<;@@@"                                       ;"<;@@@C1.  - K<A"




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     168 of
                                                                            272 Document 1-2                                  "
         Case 2020CV001583             Document 20               Filed 12-07-2020              Page 5 of 16
          


@E"                            CD" $      5              
               %                         '   4 !              ! 
  + CA @A<B"                          % L               
!                               4 !                "4     $ "
                                                                     CA,@=D"
+  CA  @A<B"   "   : ;"<=;=F=<1 .  
- KKD=B"'   /! %    
                                                                     CB" .      /                %
5   %$     + CA @A<B 
                                                                         %    $   !       %
             " .  
- K;"                                                                       .     ;"<=;=F=<      ;"<=;=@=<F
                                                                         ;"<=;=@=@@"  <G,E=<@"
   41:5  7  5
CA"  $   "      %   !           C;"'     M      5    
    4   ) %            " 4 $            /!   %  %!
 "   <B,@=B"   %      $ %             9 .          %      "
 M %EA <AA % "  <;,@A=@<"                    <G,E=<B @G,@<=@C GF,<=F <F=<E1 .  
                                                                     - KCA"<"
C<"    @A<D      &   
+              $           CG"  $           
   %   $>    "?  @D,<D=                     
@A"                                                                          !   !  
                                                                      > $  %        $    
C@"@A<D@A<B  $ % !                    "?.  - KCF 2M"E14 $ "FF,G=
                                 @<" $        
 %     %        "                     "0"R2M"E"
@D,@F=@B,<; @E,E=@C"
                                                                     CE" $             %   ! 
CC" '          $                 !  %   %        M %
          !"#;                                          
 $   %!      "  @D,@F=                 "4 $ " <G,<;=@A
@B,<;1.  -  2M"E" "                   <E,D=<D FC,F=E"0  %  $   
           %$   % + /               %    !   M %     
+  ' ! %     $   $                  "  <E,<=F FD,F=<@" "
!                   $                                      &          !
     @A<B"4 $ " @B,@<=@;,<A F;,@<=                              "   
FG,<<"                                                              FD,F=E"


CF"  @A<B    5    %    0
                                                                     &1$6
)! @<F=@A<B  !               .  ;"<=;=F=<        FA"      %        M 
C           @F  @A<B    >   ?" 0             H !  ))1 '7 I   ))1 '3
         !       %                  I     ))1 )   2)     ))1
 %                      !           I 3 ))1  I  7/ 2)  ))" 0"R 2M"
          "@A<B             <<"2    M        %  
" C<DF"    ! %   %                !  $" 1.  - KCA"
      %               !           M          
                                                                     5 $       "
 %                 " 1   "
:;"<=;=F=<C"




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     169 of
                                                                            272 Document 1-2                                     #
         Case 2020CV001583             Document 20                Filed 12-07-2020             Page 6 of 16
          


F<"-    M  H'7I  ))1)  2                  FE"5        %   %  
)   ))1I 3))1I 7/                   @A<D"4 $ " B;,@F=BG,<"
2) ))H   "
                                                                      DA" 5           $     % 
F@"  !  ))   #  % !                  %    -   %  @A<B"  BG,G=
%     #"4 $ " <C<,B=<C@,<"           <@"5   %       $
'     !  %                           "  BG,<C=<D"
    "  C<,F=<D"
                                                                      D<" #   <B  @A<B   %     $  
 !"#<  FC" '3   -  % !                  " N     5        $
 7  .   -                                "
)  - "0"R2M"<@@<"'3                   .   -  K CB1 0"R 2M" <A"  !   
    /    "4 $ " <AG,<@=           " N      5 $       
@C"   &  %         %  !  ;D                  /  5  I  0    
      !    1              $"4 $ " BE,<B=;A,C10"R2M"<F"
       @D                 7 
.  -  "0"R2M"<@"'3$                  D@" #   <C  @A<B  5             
 M     7 N" 14 $ "<AG,E=<@"                   $      &      5 $
                                                                        ".  - KC;" "N    
FF"      '3$     <<               !  !  $    & 
@A<B     <E"0"R2M"<@<C"             5 $                 "
                                                                      4 $ " ;@,<;=@@"
FD"'3       %+ @A<B"
4 $ " <<F,<F=<;"
                                                                      1') 7      557   
FB" '3$         GDBD .   '              3  
9  )  -                       DC" -!  $        
   %"0"R2M"@<"  -  % )L +          !  5  5           
))     %  "0"R2M"@A"                         !   -      %  
                                                                      .   %.      >..?"..    
F;" (        !  '3                                  :;"<=
)L +  "N     !,                         ;=F=<C7!   M  ,..   !
                                                                              "  ..   
  S, 6 $        %   !  )L  +
                                                                      !        % %      " .  
    ))'3I   T
                                                                      - K@<10"R2M"<=@"
  , )L  +     H      !
            / "6             !"#> DF"5 ..          %
                              !  -          
      OP   )L + / 0 . +                 4 !   (. - '   
         ! $    / ! "                      %  :;"<=;=F=<C
                                                                      =   !      -       
4 $ " <<B,<F=@A"
                                                                                  / %    
                                                                      ) /                %     
FG"'3!           )L +   ))"
 <<;,;=<@"                                                           %  :;"<=;=@=@@C7".  
                                                                      - KK@@=@F @;=@E10"R2M"C=G"

/1:5  7 = ') 7             2          DD" 5   ..      !  -  '
 6                                                                4 !  " !    4 !



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     170 of
                                                                            272 Document 1-2                                        $
         Case 2020CV001583             Document 20             Filed 12-07-2020            Page 7 of 16
          


      " - ' 4 !             5 $            
       %     %                  "4 $ " ;C,<@=<B ;D,<@=<B"
   !       !  
          L   %   9 !          DE" 0               5
)      "          %  %            %        %   
>      /   ?         " .  
                                                                         %           : ;"<=;=D=<"
-  KK @D=@B1 4 $  "   @A,<G=@@" )/  9 !  
                                                                   4 $ " BD,<@=<D"
)             /    #  . %
4     $ >#.4? 3 % ( L 
                                                                   BA" # +  @A  @A<B                
  )    >3()?".  - K@B"
                                                                     5 $      %!  
DB"5            %              : ;"<=;=F=<C     5 $    %
!         M    ,                 !"#?        ..     H   
                                                                    % %H !        "0"R
  "..   % %               2M"<;14 $ " ;D,@D=;B,@<"
   %         % !         
          %   '   4 !       
     4 !   1                                    1)5   $  7  2 3 
                                                                   B<"0   + CA @A<B  M %<EA   
  " ..     % %              ! %    M 
      %         % !                >  ?   %
                    ( .  -  '      "  M % EA                 
     %      '                           
      ' '  2              1         ".  - KFF14 $ " EG,<=D"

   "..   % %         
                                                                   B@" 0    +  CA  @A<B         
  %        0  ) / 
                                                                   %     !     !  <;;  
  %    ) /    1
                                                                     " C  #          !     
  "..  !          %             1 M %<BF!       
                 !                  ".  - KFD"
     % %     1
                                                                   BC" % )    !         0   
   "..       %                              /           M    
  !       !                 FF                   
    L  %  9 !  )     "           +% <  @A<B          6   
  .  - K<D"                                              "4 $ " EE,D=@C"")       
                                                                                %  
                                                                             "     !  
'1*5*)= ') 7                   
                                                                        %         
D;" #   @G  @A<B  5      
                                                                                 @F  
             "
                                                                     "  <A@,@=<AC,<F"
5              
    +  <B  @A<B    <  
   %           1 @          %
      1C        ! ..                                 $$1)  2 
5        " K<F10"R2M"
                                                                   <"    M   %          
<=G14 $ " ;C,<=;D,<<"
                                                                          !      %   
                                                                      !". %  %   !
DG"       5      M 
                 %  ! 


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     171 of
                                                                            272 Document 1-2                                 %
         Case 2020CV001583              Document 20             Filed 12-07-2020             Page 8 of 16
          


   !                          .        1  ' 0      -  
    "                                                        1  .  %     I%!%
                                                                            "7            %
@"  M     %   .   ""                            
  : ;"<=@=<=<"    5    %  
                                                                      "     &        ;CB
          !          
                                                                    -"C<AF< <AFB;  "@A<C"
        %          
 "    " :;"<=;=C=<"
                                                                       01  
C"   .        %   "   .          G"5     . E<B        @<
     5   %         %              9"."":CG;      $   %     
      "                                      "'      
                                                                       <    %        >   ?  
F" 7   5        $    %                     M %            1  @
     H   $         H                            %     !     
      9  .                       %     >              
&        @G9"."":<CC<"               ? M           -'  
                                                                     M      %       "

1                                                           E"   .  %        >   )!   
D"            %&            9  .   """         )!      """
  %   !      <   /      %           )!   % .    
         @      %   !            %  !  "? 9"."  "  " I  " @" 
C   !     !    & "                    !         !"
      "% &  '%               4"  3 3   +%5   @D<-"C<<D@
 %( " BEE-"CEB@ E;@;  "@A<@"  /        <<DC;  "@AA<"  !    
   !     !                           !      /       
       & !      
                                                                     "         & ;CB-"C <AFB"
       &      " 
                                   <A"5  %       $  >  
                                                                                   !     
         " )   * 
B<@ -"C DC;  DFB ;   "@A<A1      +,        "?  >O5P       !   
   "    -./01  DC; -"C ;E<  ;ED ;   "@AAG"                
  >          &                         !              
! /     $       !  
                                                                     M                ! "? 
  !"#"    %  "?(2 +
                                                                    6         !          
3   2   &     )" (  %   
                                                                     %                  % %
DG@ -"C ;@<  ;@D ;   "@AAE"  !  %   %
&       $ % !                      "  4! 
    "                                                       5              % !
                                                                          !            !     %
                                                                               " 1     
  1') 7 )
                                                                    D@E 9"." GE  <AG  <@A ." " <<CD  <FB )"2"@ BE @AAA
;" I    5          %
                                                                                  
                   :: ;"<=;=@=<F        >      %   (  ?   
  ;"<=;=@=@@       ;"<=;=F=<                               "
               .  G     9 



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     172 of
                                                                            272 Document 1-2                                      &
         Case 2020CV001583              Document 20             Filed 12-07-2020           Page 9 of 16
          


<<"            M     .  $          >!              %    """
               %                               /   !
     !   %      "                       OP
'      M    !  5                       """"?   '     M 
  H     '          %                             % M   
  H                                   !     !     
                 %            >        O P     
          %"                        .  "?   : CG;@7"        
   %           @AAE                 !                 
!          " @<9"."":CG;  "               "  1       4%      +
          G @A<B   -'$' (              % :, ;  ;AG -"C F@G  FCC @  "@A<C  
         !       %                    -'  
   %     " F   !"0#                                  M  
     !  " #$  G< - " ( " @G E;F           "    .       
% <A  @A<B" 5           $          !          >        
         %    %                  M  %        "?

!          #$                        !        
 6,78    D@E9"."<@A <FC=                 !                  
FF  <@A ." " <@E<  <FB )"2"@ <@< @AAA >         &    1  9 7  
   M              <EBD          $'&     + % "   <<@ -"."C ;FE  ;DF
           "?             3"'""@A<D "
             " 
                                    !"00  <C"     !    5 $   
 %       5                          $    %          . 
  /          M   !             CG;    % >            ? 
 $ M                        $               
              %                 /   !           
                                                                        "
   "       $   9 &     9  DDD 9"." ;A
;;  <@E ." " DCG  <;@ )"2"@ CEG @AAG    
                  ! 
          >!    M  """                             1   

             ?1 6            <F"        >  %   ! ! 
  , $    DFF 9"." FC<  FFE  <@D ." "           %      % .      
<;GG <B<)"2"@BG;@AAD>                                 
     !                          ?   %     
  !                              !    -'  &   
  "?    / "                            -'  " @< 9"."" :: CG; 
                                                                    "             
<@"  . CG;      ,                    -'            
                                   "   : CG; <" 5
  ". CG;<     $  !                       $        
    % >                          %  !      %      
       M                                  !  
      """       O P                     "
      .  """"?    $   %
! %       . CG;@              <D"5 $        ! "-   
"         %                      >   ? %   >  % 



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     173 of
                                                                            272 Document 1-2                                 '
          Case 2020CV001583               Document 20               Filed 12-07-2020            Page 10 of 16
           


    %     %   "?  %%                              -'  
2 &     ( +  BBB -"C FDD  FD; ;   "@A<@"                    5   
                                              %    "  %  
       -' !                         M          $    %    
   "                                        
      %        !                        "
     %     %  "
   5      $   %    
                 !  
                                                                                            1    6 
       !       %    
                %                  <;". CG;&   /   !"- %  
  "       $ M                          % /  -   %<D @AA;
    % !          @< 9"."" : CG;<                           /
     5 $    % "                    !    %   -'        
.     $   %          
                                                                                    "  @< 9"."" :: CG;&== "
         H" "       %
                                                                               /   !    
            !     
                                                                                          
H             !      "    :
                                                                                       
CG;@71 1    4%  ;AG-"C
                                                                               "  :CG;&1 
 FCF         
                                                                        - 3" <A=<   <@=<G         
  !         1  : '                           /   !" 5   
$'% <  &  +% ;C<-"C                     %           
;< GC<  "@A<C "                                                  /   !       
                                                                              %        
                                                                            . CG;&%      L    
                         @1                                         $    %       
                                                                          " ! !       -'$  !
<B" 5 $     !        
                                                                                       %     
  /   !     ". CG;  
                                                                                            
   -'      >  ?
                                                                                  + "  
        >    % %   
                                                                                  "
       ?   >          / 
        %  "? 5     
-'             
      " (   5                                       1'     2     
    $               
                                                                        <G" 5 $                
            " 7   
                                                                         $      -'!    %  
 $         
                                                                        >       ?       " 
          5           %
                                                                             -'!     >  
                         
                                                                                        
                &    "
                                                                                 """  /           
7    M                 
                                                                                          "?
                    1
    %                               @< 9"."" : CG;  <" 5       
     "@<9"."":CG;@>3                 $    %          >    
.   !"04  """ %   """ +   !                    """ /   
                 %                           ?    %     !
           """"?    "                 /     



               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      174 of
                                                                             272 Document 1-2                                     
         Case 2020CV001583              Document 20             Filed 12-07-2020             Page 11 of 16
            


     %  !   %           @<"                -'  
       "                                                             
                                                                       " &   G< - " ( " @G E;F    @E AAC
<E" 5       .    $              &     %           -'
                                                                                1
  1    4  %       
                                                                     M       %         
>   OP           M  %
                                                                        % !%             
            "? ;AG-"C FCF"                       " 3   5
           !    3 ! * /  %                    %       !  
                         !     " -         
>          ?  %. CG;@                -'     %       !      
"   FCC=FD"                     !      
                 !%              %        

  !   % :                     " @<9"."":CG;  <7"7 
4  $    (   === 9"." ====  <C@ ." " EBD         . CG;  %! 
<G<)"2"@EDA@A<@                         >           %
       -          >-?         O  P  ?          
                                                                     $   %    "
   @<9"."":BA<  !   : 
4         
  %   H                     @@"           # " 
-H       "                      4+  D<F 9"." @GA  <<D ." " <FGC  <C<
.     !"08     $         %         )"2"@ CGD <EED !"09  "     .   
       >                              5    !
 ?       -       -$                             

   " D  : ' 4 $' ===9"."====                !    /  / % " # " 
<C@." " E;C <G<)"2"@EDA>O    P         D<F 9"."   @GB  <<D ." " <FGC"      
   U   R U   R1                         3        
                        I   . %  <EBB>. % ? FE9"."":CA<A<
           M !%  O  !P           M %  %         

 "?"-      1                         "       %   ! 
       3 ! * /  %$                    . %      
        M                /%           
             % %                     %        "
                                      %      /  
>    """ O  P         !             %         "          @GD=GB <<D
!           !%   !              ." "<FGC"
   "?     ;AG-"C FCF=CD" B
                                                                    @C")/ 5       # "   
@A"2     $   %    <                >                "?
       @<9"."":CG;@
                                                                           @GB  <<D ." " <FGC1  - 3" <A >0"R
 @            
                                                                    7 " ."?   @@ >3      %     @F
             : CG;@
                                                                                     
7   -'$      +   
                                                                           %   -'"?"      
        %    %   5 $   
                                                                        ,
   "




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     175 of
                                                                            272 Document 1-2
         Case 2020CV001583             Document 20             Filed 12-07-2020            Page 12 of 16
           



                                                                                 "    $   2 +     6  CCA
                                                                   -"C EAF  E<< ;   "@AAC"         
              OP         O                              /           !     
                %P      /                       !     !%         
                                        "           L      
                     """"    
               /                                    %  %" : '   
                        %                 7  $' +%"  FD-"C<<@F <<CA=C<
                                         ;  "<EED")!                       
               / " O    %P                          ,<!   M  %  
                     &    %                                 1@  %  !    
                  %O  . % P                      %                         1
                                      C!                  
                   "(     /                      M  %                           "
                                                  <<C<"
                          
                  %                       @B")!   M  %            > %
                  &  %   "
                                                                     ?    "  1  '%3 
                                                                   % 5+       DDC 9"." C@G  CCG  <@G ." " <GA<
                                                                   <;A )"2"@ BGD @AAG >    % ! """ !
   # "   D<F 9"."   @GB  <<D ." " <FGC         %     U            
 " -'   % M                        %  %     %
                  1            R""""?     "   
                %                    %"
 M "-   . CG;R   
          /        >            @;"      $   !     $
   L      %     O                 %                
                                                                                    %"2 ! 
  P"""  -  5   "?  -   
                                                                       %   %  !%     
          5 / %    
                                                                      %    % !       >   
              $    %
                                                                                   !          "?
     "
                                                                      : '  7  $' FD-"C <<C<" !
                                                                   &    !            %  
   41)    )  
                                                                     !   M  %   "    7%    
@F"            !     
                                                                   !       %   %     
             "9"." " " :G  "C" 
                                                                                              
  M %          >  ? 
   %                           ! % >O   !P !    
                 !                                 %
          M  %      
                                                                    M              "? 
       "  %  +%4  8+              6  " "&   CE; 9"." <C;  <F@  EA ." " GFF
=== 9"." ====  <CD ." " <;G;  <;EF  <E< )"2"@ G<C      @D )"2"@ <;F <E;A"            
@A<D"5        $   %    
                                                                                  %   !
 %           
                                                                         %                    >     
        " ;                                                                   
                                                                            %"?      $   2 +   CCA -"C
!"0; @D"               
                 !               E<<=<@          6,0#      


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     176 of
                                                                            272 Document 1-2                                   
         Case 2020CV001583             Document 20             Filed 12-07-2020              Page 13 of 16
          


:,;   $ " F;B9"."D;C D;E <AB." "
@AGA  EA )"2"@ DD@ <EGB1    %% 2 &      CA"         !  ! 
  ( + BBB-"CFDD FBA;  "@A<@                %    %        %
   %   L!           
                                                                      %!                   "
        "
                                                                                     
@G"    '                %          5 !  /   
            %                           "7       "
            %          %    
                                                                   C<"             %     
      "   : '  7  
                                                                                       
$' FD-"C <<C<1  2==  9%                 %   "   %   
4 +  FC;9"."<<; <@B"<B EG." "@@A; D;)"2"@                      
E<<E;G    %           !   >       !      %            %    "
                        -   -  .  <"    
   %                      %              %   
        !           !   ?"             9  .    %        %    
          '                  "      $     M  %
  %        !     M                      -   -  K CA1   
  "2                   '3I            %       !   % 
      5 $      - "             ! /       /
    -   -  KK C  FC"              -   -  KK CG=CE1    
  5   %                  !    !  
     !  !"0<                      1 0"R 2M" E  <A"           
            "                   !     %        
                                                                              %   "   
@E"            %"0       /          - - KK@F=@D"                
<BF   <;;    EA                       % " "  %     ! 
   !                                  !   
-   -  K B@    M % EA                 %                               %
                                   %           
       " -   !                  %"
 !                
       " G            C@" '             5   
                %                   %         
                                                                     M                
        %      "  : '                   !"0>        %  H  
 7  $' FD-"C <<C<"  !                "       /"
            %                         % >   %
   %                                  ? !           . 
             " 5                                   " 
    !                          $   %        %    
                "   1 (                          
  8 "    $  $  '  FC@ 9"." CCC     $ /    "      
CD<=DC  E; ." " @FCF  DC )"2"@ CGC <E;;          $   %                M 
         6    !                        "
3    !     6      
            6   ! 
 &% V3   ! "



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     177 of
                                                                            272 Document 1-2                                      !
         Case 2020CV001583               Document 20              Filed 12-07-2020           Page 14 of 16
           


                                                                       "@AAE"4    5  
CC" #                            
                                                                      /              
'        $                           $          "
 ,

  6     !    M   >     ?                   )1  25 
    !    >            %? %            CB"  &           ! 
      >       %               5 !          ! 
  O        P                          %      
          %"?O " :P;"<=;=              "
  <=@" !             %
           % !       L             C;" >         !       
                 "   .                      !     """"OP & % 
   M    !  % '                                  % 
          >                          "? 9 "    4  4   % <"  <CA -"C
                                  @EC @EB;  "<EE; !"0?       
   %  ? M " 6                        "'         5 
     %               %               %  %    &  
    L     "                                        "      ! "0     
                                                                       % !    5  %  % 
             W<E"                         '  "& + "  % &  
    /!            $               #  + GA<-"."@GA@ GAB."'""@A<<  
    %    H    %                      2        !          
              H                   % "         %
      %      %                        5  !    !  !    
      %                      "          "5 !       
5            %                     %     !%   "
   %          %    "                                 %  !      /    
                                                                             5        
CF" '       M                                      &    "
     %   !  6@ %                      6  6  EGC-"."@<A@< <A@G."'""@A<F
     %        "7 %                    "
   '          &     
                                 CG" 7   5   /  &  
 %   !    "                             %     5
                                  %     $              %
                         %                 5    &%  %  
 M %     "                         !   "-     5  %
  5   /                          % !     
                "                           M    -'   " . %   2 %   
                                                                                1  %    $
                                                                        %   %      5 $ "
   81&
CD" 5           %                  CE" . %          
       '  0    " -                         !           
   % &   !          %                .         ! 
   >      ? !                %   %    5 !
/     " ( 2 + 3   2   &              & "
    )" (  %     DG@ -"C ;@<  ;@D ; 



               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      178 of
                                                                             272 Document 1-2                                  "
         Case 2020CV001583           Document 20            Filed 12-07-2020            Page 15 of 16
          



                      $$$1)                                       ::;"<=;=@=<F    ;"<=;=@=@@C

-                5         7  ;"<=;=F=< 5 "     
  /                (.&/.    5     
                          5 $     "
   % &   5  !     
   ! ! %    '            ((.&/./& <E %  @A<B"
             "              
'.%* 5 $      0  % & 
                                                                )   
- 3" E"      % /%A($%    
                                                                @A@-"."CGEB




                                                        Footnotes


1       GoodCat and the Defendants filed Joint Stipulations of Fact (Filing No. 36 (“Stipulated Facts”)) prior to the
        preliminary injunction hearing and before the court granted the Intervenors' Motion to Intervene. Thus, the
        court cites to the stipulated facts only to the extent Intervenors neither objected to them during the July 11
        hearing nor presented conflicting evidence.
2       “Vape shops” are typically small retail outlets where e-liquid users can purchase e-liquids and ENDs. (See
        Hr'g Tr. at 55:24–56:7).
3       It is not clear from the briefs or evidence presented to the court whether this figure includes only manufacturers
        of e-liquids.
4       Defendants devote substantial attention to the particulars of a consolidated action pending in the District Court
        for the District of Columbia, Nicopure Labs, LLC v. FDA, No. 1:16–cv–878–ABJ (D.D.C.), which challenges
        the FDA's Deeming Rule on constitutional and administrative grounds. Defendants do not elaborate on the
        significance of that litigation, other than to suggest that this court should “wait and see” how it unfolds before
        deciding the merits of GoodCat's preemption claim. The court disagrees. See         Kraft Foods Holdings, Inc.
        v. Helm, 205 F.Supp.2d 942, 953 n. 12 (N.D.Ill.2002) (declining to stay proceedings pending the outcome
        of case before the Supreme Court which, one party argued, would resolve a circuit split on burden of proof
        required to show trademark dilution).
5       The FMIA's preemption clause reads, in relevant part:
           Requirements within the scope of [the FMIA] with respect to premises, facilities, and operations of any
           establishment at which inspection is provided under ... [the FMIA] which are in addition to, or different than
           those made under [the FMIA] may not be imposed by any State.
        21 U.S.C. § 678 (emphasis added).
6
        In    National Association of Tobacco Outlets, Inc., the First Circuit considered the preemptive effect of
        Section 387p on a Providence, Rhode Island ordinance similar to the New York City ordinance at issue in
           U.S. Smokeless Tobacco, 731 F.3d at 74, 81–83. Although the court reached the same result as the
           U.S. Smokeless Tobacco court, it noted its disagreement with the Second Circuit's suggestion that a sales
        regulation may in effect, yet impermissibly under       National Meat, regulate the manufacturing of tobacco
        products.    Id. at 83 n. 11. The      National Association court explained that unlike the FMIA's preemption
        clause at issue in    National Meat, Section 387p contains a savings clause that exempts sales regulations
        from preemption.      Id. Therefore, the court reasoned, whether a sales regulation impacts manufacturing has



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     179 of
                                                                            272 Document 1-2                         #
         Case 2020CV001583          Document 20          Filed 12-07-2020             Page 16 of 16
          



        no bearing on the preemption analysis.     Id. The court finds this reasoning persuasive in light of Congress's
        express reservation of states' authority to wholly ban entire categories of tobacco products. 21 U.S.C. §
        387p(a)(1); see  U.S. Smokeless Tobacco Mfg. Co., 708 F.3d at 433 (observing that the TCA prohibits the
        FDA—but not the states—from banning tobacco products).
7
        The court notes that in       Legato Vapors LLC v. Cook, No. 1:15–cv–761, 193 F.Supp.3d 952, 2016 WL
        3548658 (S.D.Ind. June 30, 2016), the plaintiffs challenged the Act as an attempt to regulate commerce wholly
        outside of Indiana in violation of the dormant Commerce Clause. GoodCat does not make this argument. To
        the extent the Legato Vapors court evaluated the Act under the       Pike balancing test, see infra, it did not
        consider—as the plaintiffs did not specifically challenge—the constitutionality of the security requirements
        as discriminating against interstate commerce. See        id at 966–69, 2016 WL 3548658, at *9–11 (finding
        evenhanded regulation that only incidentally impacts interstate commerce; and thus no violation of the
        dormant Commerce Clause).
8       The court acknowledges its limited fact-finding at this early stage in the litigation. Despite having had an
        evidentiary hearing, the court and parties adhered to an expedited briefing and hearing schedule due to
        the then-looming effective date of the Act's permitting scheme. Thus, for example, the court does not know
        whether or to what extent in-state manufacturers were responsible for bringing e-liquid labels into Indiana
        from outside Indiana before or after the Act took effect. But because neither the Defendants nor Intervenors
        challenged GoodCat's assertions or their significance, (see supra Finding of Fact ¶ 62), the court accepts
        them as true.


End of Document                                           © 2020 Thomson Reuters. No claim to original U.S. Government Works.




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     180 of
                                                                            272 Document 1-2                            $
         Case 2020CV001583             Document 21            Filed 12-07-2020            Page 1 of 11
             !"#$%                                                     FILED
                                                                  12-07-2020
                                                                                                                Clerk of Circuit Court
                                                                  !   !             & 2 
                                                                                                                Waukesha County
                                                                           + +   !! "
                                                                                                       2020CV001583
                                                                          " !  "  $   !
                 
                                                                   &@38..5+     
               !"#$%                                !  <   &2  
                        &                                           !     "
          '()*'+',*"-," .$*'/"                               !             
                                                                  A!   !  
                         # 012                                !  +    ! &$"    
                              3                                    +    ! &* 
                   "45 20$26                           !     <       ! ?   
                              3                                             #  &;  
                   /78$26                                A    !  ?   ? 
                                                                      !      B 
                                                               &C'    <    
                              &'+    
                       " ++     !  
                           +        " 
     ! " !! #  !!            ! &<           
   ! "  ! !     "               !  !     &'
   "     $  $    $       )       !    
% &'() * +                  &
)   *   $   , & -./"/.0/*'12
*  '&1&2 3& #   # 
                                                                  <      08(&)&+& 
"  " &  !! &'+   %!! 
                                                                                 
4 "+    !    !        5   +! !       
$&%!!6&705&+       &
                                                                                   
                                                                       D5(&)&D)&+&7D0<&4&8
                                                                  5.0& ' #     "    +    
' )!  +   3 1           &'* +   #   <  
        6  !           ! "                
    $ %                          ! "     
              8$&88&                       "   !      <  
                                                                  ! !     ?!    
                                                                    ? &'4 "+     
9     &                                                * +    
                                                                  #              
3'      ! &                           #            
                                                                  !! !      + 
   :      ;  +      &         <     &'6 !    
                                                                         $ %      
                                                                     &
                        
                                                                     -'6 !       <  
%  !  <             !
                                                                  $ %        
     =" >   
                                                                   &:!&D./DD&
 ! ?  +!    
!             ! "  " !
           


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     181 of 272 Document 1-2
                                                            -#&$&)#.%                                                   
         Case 2020CV001583              Document 21             Filed 12-07-2020             Page 2 of 11
              !"#$%
                 

E F '       & <                  !        & % 
 !      &,                   !     ! " " ? 
   " $ %                  !   "   &%
       ! !- !                   & %     ?    " 
     !   !       & :!&     "    !    "   " 
D./D&                                                               !         " 
                                                                            & <      
                                                                    ! "   "   !      +   
EF @              " 
                                                                        !! %  %      
     #            
                                                                            ?          
 !    B  ! ! &C
                                                                       #    ? B ?&&&
       !" #$% &%  '    05(&)&
                                                                    G   H      !C  
5D5)&+&8.D5<&4&85&'+   
                                                                       !D55(&)&5D558)&+&8.8<&4&8
  <       ? !        
                                                                    D     ?           
! &
                                                                        "  !  ? & >  <   
                                                                       + ! "       !  B I 
'  # !     
                                                                        !       >
6  !            " 
      ! !      ! !&            =J C ( * + $ %  $    D5 (&)&
                                                                    D5 D80 88 )&+& 8. D <&4&8 0  ! 
<               %
                                                                      $ %" &
   % $%   ' (      08 (&)& 870 7 )&+&
                                                                      %  %! "     
D5 D. <&4&8 07  "         
                                                                            &     4 " + 
            
                                                                         !!  * +  
     !       
                                                                    #    "  !  "   +  
  &'!   ! !+  
                                                                            #         + 
           
                                                                         !   <    
"       !    &
                                                                             #     
   )  8D/877)&+&D5&'+                       +   
 !!   !    %   D07(&)&8D.               %  %  +   ! "        "
85)&+&5D50<&4&800 +                  <            & :!&
  !         !                D/DD&
  !         
      85D/855 85 )&+& 5D& @      !          5$&%!!6&705"     &
     & @   !   ! "  
!    %  % " &:!&D           14,,4*K 3&  "   !    +   
/D0&                                                             =>4=')+&3& L@,)>(=L>=4K4=%<@'
                                                                    )'M%K= 1%L%,  L=)(+2 33& # &
EF ;  %  %  %  "                  '2M%)3&    ! &
          &$ <  
        !        
                                                                    "  # $% &
      %  % !! 
          !                 :  )&1       )     +%    :  &
!   & <       +     
    !      B   !  ! C            ) *"  ?;  *&+&          =! &

  &    &  5  )&+& 8.& '      3 >&; ;  *&+& ()  
   ! "6                    !   " +  !! 
     ! !  "     !             ! &


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     182 of 272 Document 1-2
                                                            -#&$&)#.%                                                       
         Case 2020CV001583              Document 21             Filed 12-07-2020            Page 3 of 11
              !"#$%
                 


1  <& >  L   '   M  $< :   )&         )     "  <      ! ?  
1 3 <&$ * "'&L  )  <                     +!    !    
) )! +  <  + )  +%                      ! " " !&<  
:  &                                                           ! ? !  !    
                                                                              
>#  M& $   3  *  +  2 ) 
                                                                    !  ! & 2          
*"  ? 3  =& 3   9"? )  3  * 
                                                                    +   !! "     " ! " 
;   *&+& >#  <& >  )!  ;&
                                                                    $   ! &
1   =  = > N'  :<<+% 
*L  @@@+% < >% +
                                                                    @ 3 8..5  +           
%  +  ="  >  ="  >  $<
                                                                    !      !    <  
=! &
                                                                         &%    ! 
'                                                                +    4   ;      +
                                                                           B C <      
314,,4*K "  !  +  &                          +& %!!& 75& <    
                                                                           ?   
 '   A   +             B       M& ;    C   
! !         ! ! 
                                                                     !    "&)& /8&<   
 !  "        !  
                                                                       ?    !   &
      " 6       !& % 
                                                                    '+          
! " !          
                                                                               "    
 !         "  !      
                                                                         ! "       &
          ! "  &
) ,   & #  -'  D0 (&)& 05 D 8D           @  " <           
)&+& D 5. <&4&8 D7 E8..0F& %           !   !  " 
 $  % !   "                         <       !    +
      "         !          !      &'!       ?
                                                                    !   8..5& @ , "       "   
!& $!' .(  %%  D8 (&)& D70 D8 
                                                                            B C  
)&+&D00.<&4&87DEF&
                                                                         + +      !  & '
                                                                         !    
' !           "  
                                                                          +      & %   
!  ?   !  !         
                                                                                       8..
!  !                
                                                                     "   ' &, &-./"/.0
 !    ?  ?    !  
                                                                    E)* $ &F * & 7D !& 5 <   !! !   
!         & ' !    
                                                                    !    "  ?& 2       
   !      &'A 
                                                                                & +    ; 
    !   !        !  
                                                                     ! <         !  ?  
         &
                                                                      ?& <     ! ?     
                                                                                   ; : 
                                                                    > & ;           ! 
                                @                                           & '   !!  <   
                                                                      ?     "  ! & <    & )  ; 
' =" >  %   $                      B   ()  &C ' 
  7D   M &'!   $               <      &'
<  &@8..5<                !           " &)= * &46&D.D
+       &'           * &57 "    !-OO&!   & "O O
        !   +       " O!0  O<  P"P=" > &!0&% 
    &


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     183 of 272 Document 1-2
                                                            -#&$&)#.%
         Case 2020CV001583               Document 21              Filed 12-07-2020            Page 4 of 11
              !"#$%
                  

+<     " +                 3  "      +    # 
+      !                 "  <   !! & ' +    %!!   
 +      "! &% 
                                                                      4 "+   & 5$&%!!6&705E8.7F&%
 <          !
                                                                        "  +   %!!   * 
    + !  !   
                                                                      +    #     
    &
                                                                       + "       &>
                                                                      +   %!!         
(   <         !   A  &
                                                                      #       !! 
2        
                                                                       !           +   
 "     &<  )   
                                                                      <     Q!     
      !         <  
    &                       " $  %   & )  7D/
                                                                      7D8& %   !    +    %!! 
                                                                        6 !      
<         ="& ) &  7 08
(&)&+&&' !                       $ %                  &)     
     <        +         7D8E           8$&8885E+&%&
! !      &'                   8..8FF&
!  <      
+         <               ' +         (  D (&)& //// 
     Q                     )&+&007<&4&88E8.7F  
 +  & )         D5 (&)& D         6 !       $ % 
 )&+& 7D 0 <&4&8 5.0 E8.F& ' "                         &'+    
   !     !   !    
   <                               !D55(&)&
  # &'#    "  +                5D 55 8 )&+& 8. 8 <&4&8 D E8.8F 
   &                                                           "     &


>   +   <   ?  "        
+         , "  8..5                                              @@
  &'* +   #  
      <     ! "            ! "      '     +          & @  +  
      " !                 <         $  
    <  ! !                          !   & 2
   ?!      ? &'* +                         "    , 
     "                    /    $, 7(&)&5)&+&0<&4&
       !!  !          
        E                 E0FR 0%% !    * /%    '  " 
        " F& >  *  +         )   1,  ' %%%  D5 (&)& D. 88 )&+& 8..
       "  !         <            D <&4&8 8.D E8..8FR     !    
     "  $    !  !              !        "!  ,  / 2
       !   &           3   0 (&)& 7 . )&+& 8D .D <&4&8 08
$ &) &7&.E8.7F&E'+   
                                                                      EFR $   $' 0.(&)&D)&+&7.
   *  +            
                                                                      8<&4&880E7FR       
   &F ' *  +          #    
      !           !              <    !      ,   !
   &                                                          (&)&  5 )&+& 7 D <&4&8 57
                                                                      E55F&<         " 
                                                                           + +          #



             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     184 of 272 Document 1-2
                                                            -#&$&)#.%
         Case 2020CV001583               Document 21             Filed 12-07-2020             Page 5 of 11
              !"#$%
                 

! ?        !   !             '           !  
        E        !       (*  -  6
      6F&                              !         "    
                                                                        ! !      ! !&'  #
@  <                              !     !  !   
      "        & '                !!    &'  +  
         +   <    
                                                                          %    %$%  '(    08(&)&
      !     
    +<  A !             8707)&+&D5D.<&4&807E77F&)    
                                                                      '$ 50 $%  6 D(&)&555
!  B   &C) 1,  '0 ! #
                                                                     )&+&808D<&4&80E5F&<    
   4  D8 (&)& D58 8. )&+& .7 0D <&4&8 .5.
                                                                         %  %              
E8...F E&   F& <     "     
                                                                          " & '     +     
      !                & %  
<        "!!                   %     D07 (&)& 8D. 85 )&+& 5D 50
    !!     6  !            <&4&800E8..5F+ ! !  
   !  <     !                !           
!    "         "&                             ! !&

<            !             %  %  "     6&% 
!        "                       
 $  %                            !     &
       ! !- !             08(&)& 8/87)&+&D5& 
     !   !       &              !             
' A   +    ?       
 6  !          $  %          !       ! & )   88 7 )&+&
     &                                                     D5&>       
                                                                       "    !  ? 
                                                                     +   !  * +     

                               @@@                                   ! !& )  807)&+&D5&'+  
                                                                         "     
                                                                           "#        
@          
                                                                                "
     "    #     
                                                                       "     ! !&
    !    B 
                                                                        )  8D/877)&+&D5&@  ! !
! ! &C     !" #$% &%  ' 
                                                                         +    "      "
    05 (&)& 5D 5  )&+& 8. D5 <&4&8 5
                                                                         "       
E7FR  -,  $ %  & D58(&)&                         "   
8 5  )&+& 007 7 <&4&8 05. E8..F& <           !    &) R 
           +             6 & 57D5)&+&808&
      ! Q  
  ++  &<    +             ' +   !!     %  %  
         !                        &@     
      &'+               !          !!    !  
           ?!                %Q             !    
    !     !               6 !    &
    "   &
                                                                     '  ?   %       !   
                                                                      6";  M    6"


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     185 of 272 Document 1-2
                                                            -#&$&)#.%                                                        
         Case 2020CV001583               Document 21             Filed 12-07-2020            Page 6 of 11
              !"#$%
                 

     "       !  !!                +    ( )  8.5 E$  8.7F& @ 
                                                                          !      ? !  
!  !   "! & D07(&)& 8D8/8D85
                                                                     #& '     ! !  
)&+&5D&M   !    ! 
                                                                             
"         & )               !       !     
  8D/8D0 85 )&+& 5D& %    A M            !       
      " !   !     
                                                                       ! &) ,  %% '$ 
 " $ %  
                                                                     0 D(&)&////////)&+&D77D7<&4&8
!         : 
                                                                     0D E8.F EB!      " "   
) "& )  8D085)&+&5D&'+             !  A     !!  !     C E 
  !         !                 A    ? FF&
  !         &
     )   85D/855 85 )&+& 5D& @      !      $                   ?
     & @   !   ! "             !    B!    
    !        %  %   " - '            
!                          !   # &C    D55 (&)&  55 8 )&+&
 "   !                8.& '                 
         ! "                               
!     "   !               !&) % ! 6 ! "
   &)     D07(&)& 85D/85585)&+&5D&            E ! "F        ? 
                                                                                   &)
' +    %       A           >   *  +   & -$ D/&
 6 !    (+   ! "
 ?                    %             
!   #       !     B           %  ? !       
                                                                       %  %    !!        A 
   ! 6             &C )          !     & $         !  
 8585)&+&5D %       !                               !  
B     !                     %& %    !    
       ! &C )                       !           
  85/858 85 )&+& 5D& @   !           !   
     "     ! "                    !  ?B! !    
B!          "                 !      ?&C D07 (&)& 
   &C )  85885)&+&          8585)&+&5D&' ! !    !! 
5D& ,    A   !   !           6& )    &  55 8 )&+& 8.& @
     !         +                  ?  !    6! 
  A  !        !               !      !! !&)> 
! " ? !       !B  !                 @ $ )! -$ &
 !  "   " 
!    &C      )  8585)&+&5D&
                                                                                                    @9
'+   # !     
    !                ' !       A    
 " "      &'                  !  $  % !    ! 
+!  &   D55(&)& 557/558               !     (
)&+&8.&'    "   8... !                 "&>        
  &*!& 3/$>@( + =!                % !!     !!        



             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     186 of 272 Document 1-2
                                                            -#&$&)#.%                                                       
         Case 2020CV001583             Document 21             Filed 12-07-2020           Page 7 of 11
             !"#$%
                

!    6     A                 "   
 "   %  %                  <             
      &$ <                                 +&)    ?
 !                       ?     
  %  % !!                #     B ? &&&  G   H
 !     !  &
                                                                           !&C    D55 (&)&
                                                                     55 8 )&+& 8.& ' A       
2 <         &
                                                                          "   A  #"" 
@<   ?     "       
                                                                   !  "       "" #&
            
                                                                   <       !    
    !!   "    
                                                                       "     &' 
               ?  
                                                                      ?            
<   !   !    "      
                                                                    " !  ? &
  6! " "&
                                                                   %        +   
@  <       "      
                                                                      B  !     !  
!   & 2       +     
    !      B   !  ! C                       >   =&C (
                                                                   * + $ %  $   ((   D5 (&)& D5 D80 88
  &   05(&)& 5)&+&8.&@
                                                                   )&+&8.D<&4&80E8..8FE  A    ?
!        +      
                                                                     F&<   +! "   
     !   !           
                                                                                +
             !
                                                                      !   &'<  !
  &%   +   
                                                                          $  % " & )
  6 !     
, " 8..5  &                                   $ #  05(&)&0D.)&+&507D
                                                                   <&4&87.EF&
'    <    ! "  6 
      !   "                    $      <      ! "  
! <    !                        !                 
 &%      !  !                  +&  ?%  %! " 
 !         !                              & ' +  
 ! " " ?    !                   A  ! "
"   &%  !                              6&
 & %              "
       ?    "    !    "     '       <      
    "    !                  "   &  +   %!! 
  "          & $         !!  %  %     "  !   
         ! ! "              !!    *  +  
  "    !    !              #    "  !  "   +& % 
 A  "   &                                                +    %!!        
                                                                   EF         #         +
@   <        ! " "                     !      <  
!      +        !!  %            3 8..5     R E8F   
   %      &'   !                  #         , "  8..5 
                         +R EF 
     !        !   !           %  %+ ! "    " 
!                     <            Q 6 ! 
  &@    !             <    !     
     <     !  !    


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     187 of 272 Document 1-2
                                                            -#&$&)#.%                                                  /
         Case 2020CV001583               Document 21              Filed 12-07-2020             Page 8 of 11
              !"#$%
                  

   " "     ! ! #                 & ' !          
6!   &                                         A           & ,  ! 
                                                                               !    $ 
$       #   +    %!!           <      #             &) , 
"              !             ' &  % &D/5E    ?B  ?!  C
  ! &                                          B ! ?  CF&K+   
                                                                        ?   BA      
)%                                                              C    A !   !   ! "
                                                                        ? !    &-%  D5&

                                                                      >     +       "     
3'2M%)&
                                                                                   & $     
;             B   6
                                                                      B  I   !  ! J    &C -%  
   !          $  %  
                                                                      D0 EA      ! " # $%  &%  '  
      G 08(&)&+&H&C-%  D.
                                                                          05 (&)& 5D 5  )&+& 8. D5 <&4&8 5
/D&@    " A +  
                                                                      E7FF& )   !    B!  C 
  !               BA  
                                                                            Q  6 ! ! 
       &C -%   D0& '    
A   " " #""                   B    &C -%   D0&   '   
    ! !                         B #""C  ! &-%  D0&
    !   ! !            $   B     CB! 
         & ) %   D0 / DD&         !C ! !    !  B 
,        "                     &C-%  D0&$ 
+      &@    !                 ! ! ! " ?    ! 
@   "  A !                B  $ %" &C-%  
!  !   ! "  ? !                      DD&;      ! +  6! 
    $ %      &@                    B   !  C 6  
 !  &                                                        &-%  D0&

                                                                      @    "      
                                                                         "    !!  "    "
                                 @                                     !       ! "  "
                                                                       A & ,  " <           
' !         ?     "   B
                                                                      +     "    
6  !        GH  $  %
                                                                        &)%  D0/DD&@"   
              &C :&  + & &
                                                                       "           !    
' A  "      &)
                                                                        !!  !!         &
   ./& ;              6  
       !D55(&)&5D558)&+&
8.8<&4&8DE8.8F&>   "
 !   A ! Q                                              @@
A    !! Q    "   & )
                                                                      '  A ! @    !  
)  !      &)
                                                                         $  %        
:& + &8/&@          
                                                                      !   ! "   !    & 8 '+  
 ( D (&)& ////  )&+& 007  <&4&8 8
E8.7F   A  !                 B !              08 (&)&+&      I
:& + &&
                                                                      B  !      &C J C  & $ %
                                                                        %   % 077 (&)& 8 .D .5 )&+&
K  +          "   A   "
                                                                      8D7<&4&880E5FE   F&%  
 !            


             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     188 of 272 Document 1-2
                                                            -#&$&)#.%                                                           
          Case 2020CV001583              Document 21              Filed 12-07-2020           Page 9 of 11
               !"#$%
                  

                                                                      < M      &) ,  ( 
 B GH       !  A    
                                                                      0.,&K&0505E5FE !  ;   3&FEA 
 C  B ?GH         (  
                                                                       !%FR #! $!' 0,&+&007ED5F
 &C      3  %D.(&)&////////7)&+&            EBG'H 6! G H  !  C    
 8. 7 <&4&8 8 E8.7FR  ,   #                  !      B   &&&   ! ?   
 & D8(&)&077000)&+&8508<&4&8               !!     CF&%   !B2 
E0FE    B                                 !  !    6 
                                                                        "  !          "     
      !  CFR    0 0 )&+& 850          !  C "  B!    !  !   
E'2M%) 3&   F E!                        SC !  % 
 B &&&                   D0> &0.05E,&K&)!&5F&
       CF&
                                                                      +     !   !    
                                                                               !      
;          
        "        !&                    & ) ,    -   $   M & 0D D.
                                                                      E55FE  B    !     
)     %     D07 (&)& 8D. 8D 85 )&+&
                                                                            CF& $        
5D 50 <&4&8 00 E8..5F& @       ? 
                                                                      !      !    BC    
         B! "GH     C
                                                                      B   C  B!        C  !         
  &      #& 000)&+&850&'           !  B       #&C
                            ,, 7# 5)&+&7E8FR  $
   - !    !                       $   % ?& 5 85 E7F EB' 6
   &@                !                    !   &&&&
   !  !   !                   '             
 &                                                                    A    CF& )      
                                                                       (!   !          B    C B
+          !  & +                  A        !        
     !  B C            ?   "        !  
    !     B!                             ! !  
     &C '& +  <   '  7D                       &C 1 %     
E.FE+ FR ,  ,, 02&N,&0708
                                                                      7 L & D0 D0 E0FR   $   % .
D74&=!&DD5E46&DFE !  ;  >&F
                                                                      M &DE78F&'  !      ! 
E B !   !   
                                                                        "       & < ?  !     
        !!    6   
                                                                      ! "B"     "C 
CF&%  ! "        
                                                                        #  ''; 80.80E: &F BGH 
    !         
                                                                                    !     C
        B6C  B G
                                                                      1 % & D0R  - & D.&
    H          CQ !    &
+ 7DR  8+&% <  ' .!&
E75FR$&2  '<  '  : " ;              @                
!!&8.7/8. &E FE55F&%< M   6!                 !        !    
 B    A ! C !                       
     !    B                    #"   &+      
     C                   B GH       !  ! 
    !    & !% $%&                                !  
8+ &88DE1&>&7F&'   B                      "  
    "    ! C                            "  
  BGH              ? !             ?         
!  ! &C )  M  )  )!  +    


              Case  2:20-cv-01820-JPS*#+$)##,&
                !"#$%#&'()%  Filed 12/09/20 Page     189 of 272 Document 1-2
                                                             -#&$&)#.%                                                    0
         Case 2020CV001583               Document 21            Filed 12-07-2020            Page 10 of 11
              !"#$%
                 

 "     &C$             "     !    &C   
  +,70M&507D/75E8F&                                D55 (&)&  55 8 )&+& 8.& @  !       
                                                                      A              
%!!  ! !         !            !    6 !  
                                                                    !   !  ?       & +&%#  6% 
 $ %        
                                                                    %%  08 $&%!!6& 7 E+&%& 8.FR  ! ! 
    "   !    ! "  ?  !     & @
 #    "    !               !    !       8  
!                          - &/%% 8.0;<D78D8E,&*&+ &$&
$  %& 4"    $  %            8.0FR         
B     !        ?                      !        8  8.
  &C     % D07 (&)&  85D 85 )&+& 5D& '    ;< 58D E,&*&+ & M & 8 8.F& %  !  
!  !      ! "                            
         !  !             !   ! "  ? !      
  !      ! " !! &)          ! !      ?  
                                                                            &
       8585)&+&5D&> BG!H    
      " !           TTT
     C BGH  GH &&&
 "!  "                       (  >       "    A 
      C  !               !       !           
  B C   !    &     )   85D/855    $  %        @ !  
                                                                    &
85)&+&5DR     850&.85)&+&5D
E    "  6!    F&
                                                                    ",   
M  "             ! 
            !        $      )&+&0D8.<&4&8085()<;008+ &
%  6            #   " &   *  !&) "&D508.*  3   *&%&=&D787
:       6  !                $ &<&;? $&)5
  &%  !B!! "




                                                            Footnotes


*       The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions
        for the convenience of the reader. See      United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337,
        26 S.Ct. 282, 50 L.Ed. 499.
1       This requirement suggests that the Court's rule does not apply when the “policy” that the plaintiff challenges
        is an on-the-spot decision by a single official with final policymaking authority, like the “policy” that this Court
        recognized in    Pembaur v. Cincinnati, 475 U.S. 469, 106 S.Ct. 1292, 89 L.Ed.2d 452 (1986). See         id., at
        484–485, 106 S.Ct. 1292 (holding that a county prosecutor's order to forcibly enter the plaintiff's clinic was
        a “municipal policy”).
2
        I am skeptical that         42 U.S.C. § 1983 recognizes a claim for retaliatory arrests under the First Amendment.
        I adhere to the view that “no ‘intent-based’ constitutional tort would have been actionable under the                     §
        1983 that Congress enacted.”            Crawford–El v. Britton, 523 U.S. 574, 612, 118 S.Ct. 1584, 140 L.Ed.2d



             Case  2:20-cv-01820-JPS*#+$)##,&
               !"#$%#&'()%  Filed 12/09/20 Page     190 of 272 Document 1-2
                                                            -#&$&)#.%                                                   
         Case 2020CV001583            Document 21            Filed 12-07-2020                Page 11 of 11
             !"#$%
                

        759 (1998) (Scalia, J., dissenting). But because no party presses this argument, I assume that such claims
        are actionable under      § 1983.


End of Document                                                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.




            Case  2:20-cv-01820-JPS*#+$)##,&
              !"#$%#&'()%  Filed 12/09/20 Page     191 of 272 Document 1-2
                                                           -#&$&)#.%                                                    
           Case 2020CV001583              Document 23           Filed 12-07-2020            Page 1 of 21
         !                                                                   FILED
                                                                                                                12-07-2020
                                                                                                                Clerk of Circuit Court
                                                                                                                Waukesha County
                                                                       $  *               
                                                                                                        2020CV001583
                                                                      
               
                      !
                                                                       7 6(   8 
      "  #$#%% &'                  &    
                          
                                                                        
       ()*+,(-+. '
                                                                    !"#$   9 : ;      9 < 84
                         / 0' 1                                =  ' # 9    9 > &/
                               2                                    8  ? 
                      3  10
                               2                                    *@  : ;    .   #$ (
                      .!  4510                           9      7     $   $ 
                                                                     #  A  ( /      $  

                                                                    $ / #   $  &/   #   ?
                          
           
                            $ * $      $ < )4  .  
                      #$  $ B B  
            
                          $  (    4     (
   !"     #  $   %          < @ //8  .    #$    $  8
                                                                    @ 4     ) A  #  ! )   8 4 *
#     &   '  ( )   *    +,-, ./
                                                                    $   * A
0112-,3        
                                                                    B )%%> 7'%>  C)> $ * 

                                                                    %  
  !$   4 $ *  
 5                                                                C)> $ * 

           6                        @       $    $   
                                                                        D      
      4                    A E             
          6                ???"???? -0,$ 0,+, 0,+F -GG/> +
                                                                    213 :+,-,; &  +,,2   $   4   
                       #     $         
        6
                                                                                 -             
                             HH3"HG, F0H?0F -+2$ +G20
                        -G- /> +  F0G :+,,2;         
   6                                                                   4       
                                                                           
      4    6        I     I           
                                                                         H1+?1H H11 F+2?+1 -+2$ +G20

                                 $ J    $J 
                                                                                    -0, $    0,+G !
                                                                       


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     192 of
                                                                            272 Document 1-2
           Case 2020CV001583            Document 23             Filed 12-07-2020              Page 2 of 21
         !


                        $  4  $ J 
                                                                              
       0,+F !  $   
                                                                                         !
    5 !        
                                                                    $ J $   $       $  
     # 8 $    @  
                                                                    D               
              0,H, &   4                    $ $ E
  $ $  $      $ J    
              9                ! $  4         4
7 7                                                         $
                                                                    .        =      
!    $ $ J                     6     A    
     ! 7                       6            
 !"$&                    *  .            $ 8
 $K& ("% $7#> L 2?+,?-+,                 #  B      $  
         L2?+,?,2,!          $  $       
                                         
            I    
     4      I   $ J       ! $     4   $ J
             !                               
 7                             $ J    
                             9  7 
            
                                                                    7             !  "  #!   #     
          @       @
                                                                      %-,?01HG -,?01FH<--?-,-F +,--./
       7        
                                                                    +-H,G2H  M-:G $* + +,--;! 7   I
          =  !    4
                                                                          I 4   *
                
                                                                    -+ +,-,!   5!7    
 
                                                                               $K& ("%$7#>
                                                                    L 2?+,?,+,                
.  !  J         
                                                                        J =          L 2?+,?
 !             
                                                                    ,0, &               =
              
                                                                                   L 2?+,?
             J     
                                                                    -,, D     !"$/  
               J 
                                                                       E L2?+,?,3,!
        4              
                                                                    7         4          
           
                                                                      D    NO E   
         7       
                                                                           LL2?+,?,F, 2?+,?
              
                                                                    ,2H 2?+,?-G,
    !      
          
                                                                    !7         
4              $ J 
                                                                    &         $
         
                                                                    @8 $K&("%$7#>L2?+,?--,:;:$ 
                                                                           = ;
                                                                    &            
                        '(                                                

()*  + ,  -.% %                           8  +   L2?+,?-3,:; :;! 8 
!      $                         & @7 J&    
$ $  $ J $    8   @        $    L 2?+,?--,:;:+; 7   +-     
    =              8 =     
                                                                         -2   +,          


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    193 of
                                                                           272 Document 1-2                                          
           Case 2020CV001583             Document 23             Filed 12-07-2020            Page 3 of 21
         !


                      !      $       >A
           8    @ 7 J    .K  *B 6   A  
&     $  L2?+,?--,:;:-;8                ! & 6    @   & 6
       8  L2?+,?--,:;           &        !   
:0;:                                   "  
      4                             4      $ ! 
            ; 7           @       &     
        7                         
        #   $    %              6           A  
#   &  #  #                         
   % --,$'3+HG  +,-, ./ +230-H3 :%#&                    $
  *1 +,-,;6$    %-,$3-23
:%#&  *F +,-,;                                       !        :D!7E;
                                                                                  
                         $ J           
                           !        
                          !7            
                     !    =        
                                !
            0 $K&                      
("%$7#>L2?+,?-+,:;:G;                     !     @     & 
  7       DNO                #        
             E                   
 L2?+,?+2,!7     D 
N O          E 4   =         ! $      5   #  B   
            I                 $8#  
                                                                     8     $J Q   $  B 
              3    L 2?+3?
                                                                                    4     
,-,
                                                                                
                                                                     4      K= 
'      P- ,,, PH ,,,
                                                                              
      D    +,  
                                                                         J        K      
   1,  E   DNO     !"$0   
                                                                               4    
=                   E
                                                                     4!      
$K&("%$7#>L2?+,?0,,:; :;!  
                                                                     4                   !
          L 2?+,?0,,:; :@ DNO 
                                                                                    
     E           PH ,,, 
                                                                                 
P-, ,,,       D    0, 
                                                                                
   = E;
                                                                               K
                                                                             
!             
                                                                             
  L2?+,?+2,!     
      $   $8
                                                                             $J A       
#       $ = 
                                                                          =         
   6      
                                                                       !"$2       F  &      
      $ H
                                                                              
                                                                        D   E    $    D    E
 (1*                                                         =      D          
                                                                              E           


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    194 of
                                                                           272 Document 1-2                                      !
           Case 2020CV001583             Document 23             Filed 12-07-2020            Page 4 of 21
         !


           6                      8   
                               
 7 =                              
           4    
                      7     J 4           
            6              4    !"$4       
                      J    5D      
             4                         
                          J          
                                                                                   =   
!$         -3                 E &            
        H,                 A         
7        +H                           5 DN!O NO J
     H                                   
                                                                            N O E!
B                         $ J      D    E
     4                               
         @>#$&'8           D      A  4    
FH:;:+; :       D                          NO  
             N     O        E
 E; !           4   
                                                         @              
                                                                       $    D           
                                                                      E               
)(1*3                                                    =          $
                       !       J@  
                                     
    4                         =
 ! J      6           
   =     J  
=              !       +2 "$ L -+1+:;:-;
    !          4   : A              
      4                                    ;

!      D  N O         
     E          
D  E       DNO                                      ''( 
            E
                                                                     !          
!     A    D    
                                                                     :-;       
              E
                                                                                      :+; 
 D                       J
     E   D                     4       %
 A  J E                  !  & ' 3H0 @0  2H0  2H1 :G  $+,,F;6 ( 
     5D>  E  A                 )   &  * ' 0G2 @0  F-0  F-1 :G  $+,,3;6
                      D        # %     (   +  1G- @+  F  --?
                       -+:G $-11+;&       
        E!                          
                                 
                                     
                


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    195 of
                                                                           272 Document 1-2                                      "
           Case 2020CV001583             Document 23              Filed 12-07-2020             Page 5 of 21
         !


                      .                   
                                                                           J           
     % !3H0@0  2H1.
                                                                           >A  K    B   $
  J             
                                                                                 
              
                                                                               >A 
     
                                                                               $
                                                                      @8  4       
!                    
                                                                      K   $     
 $ J          
                                                                                 B "
     I       
                                                                            
=                  -3  
                                                                      . .&&6    (4 
        H,        I  
                                                                      $     &          /  
              
                                                                             / 
!  A        J     
                                                                            >A   K         
                
                                                                              8  A
 4            
                                                                            B    
                !
                                                                      4    J    
$ J              
                                                                      8 
 4   5:-;  A  
  J   6:+;       J6:0;
                                                                      !  I  I    
        A 
                                                                        @        
                       6   :3; 
                                                                                    
            
                                                                          4    
      
                                                                      $ J         
                                                                                      
(                                                                          
.     A    J                        
&&&           D$E   D                           $  
$  E                              ! 4     
   D  !"$5                                      4   
                       
                 
                                                                      >A   K  4         
    E  ,      HHH
                                                                       7   J      
"322 -+1$ --3+ --32 -G0/> + -:+,,1;6
                                                                                  B       
   %-   & H,3"HHH HH1?                    4              
F, --+$ +-0, --1/> + 0H-:-11+;6"$7%!                 7    @    $ J        
 &&& L-!                                  
                                                                                        
   -+1$  --316 %- H,3" HH1?
                                                                            !   
F,  --+ $  +-0, D    =      
                                                                      &&&   
         6
            J  6     
                                                                       (           
        J        E
                                                                      7   !       $ J    
   $  .  F+,@0 G,3 G,2:G $+,-,;:                   
   -+1$ --3+     /              &     D   
 $, !H+0"20 --2$ -,,0 -3,/> + +-,                &&&E $   )   & '    F-+
:-112;;                                                              @0 F3G F31:G $+,-,;!       
                                                                       7    4       


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    196 of
                                                                           272 Document 1-2                                        #
           Case 2020CV001583             Document 23              Filed 12-07-2020             Page 6 of 21
         !


                                                                                        
      F+-@0 H2- H2F:G $+,-,;:D
                                                                             E (       
     4     
                                                                                  D        
 E; !  D=           
                                                                         N  $O          
    !"$"          
                                                                       NO     N O    E
               
                                                                        8 & J      
R S         E $  F+, @0                                  
  G,2 ! $               J            6      J
   6                                                 >       
                                                                        %        4       !
    A       $ J                          
        !$ A               A    J         
                                        !         
      A                         $           
     D   A                        !"$6     6 
         E G !                 4              
    !                    !           
                             $ $    
D N O  N O   N O                    6   
                                                                                   
 4  E           $ 
3+1 " -1,  -1H  1G $  3H-  H, /> +  01G :-1GF;
:                     ('  -   7 8,   
      J      ;6   *        !$ J         
  !   +F2 " H-,  H0F  3H $  HG-  F1                   J  
/> -,G,:-1+H;:     J          !  J     
                               J             
D                     D      
                                        NO J
  E;6    0  "                       NO  E!   
 H,H @0  G3+  G3F?3G :G  $+,,G; !                         
   @       &                                 7   J  
   $                      !          
        5:-;           I  I$         
                 6                   
:+;      4                     
    A   6   :0;            $         
                                          
                                                                               !  
        1 
                                                                                      
2  +   &' 1   %  345  $6
                                                                      D   N O  T       NO J
7. H-G " H33  HH0  --F $  -H+1  -03 /> +
                                                                                       
GH2 :-11F;6    &    #..  #  !                       
30+ " 000  030  1G $  +303  H0 /> +  020 :-1GG;6       E!      7   
  "& & 6 $ .                         
H++@0 G1F 2,-?,+:G $+,,2;                                        D   =       
                                                                         E
!              A  
   D                         !                
                                                                         =     =


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    197 of
                                                                           272 Document 1-2                                        $
           Case 2020CV001583              Document 23              Filed 12-07-2020             Page 7 of 21
         !


         ! J      4                           D          
   &   @      =   
                                                                             E &    7   &   
$            D R       
                                                                       ".   *  HH+ " 33+  331  -+2 $  --23  -G,
=        =      
       =               /> + -H-:+,,2;:   1      32-
                                                                       "G01 G3H -,G$ +,1H 1H/> + F1G:-12G;;  
SE       $,. 3H+"
                                                                            DNO           
F- GF?GG -,-$ +-GF F2/> + FG-:-12-;:  
                                                                        J                  
        6(0,2"-3G -F0 F,
                                                                             E 2        1    ' 
$ -3F 23/> -HH:-101;;! 
& J         $          F-3@0 F02 F3H:G $+,-,;:  ;:            
  =          32-" G3H -,G$ +,1H;
                   
     !                   K     A         =  
         =                                       
                                                                           J         !
@      4                                
      !                               I    
                                  I  $ J    
        &                       !       
                7                      
           J                          
   &       DNO            7             
N   O  E  D                   4           
                                                                        &  J            
     E "  2 H,G"
                                                                                        
+1+ 0,,?,- --0$ -301 -+0/> + -:-110;6 
                                                                            4!    
%U  4 A 8-  
                                                                             
F+ !% />' -+,1  -+02 :+,-,; :DN@O  
           I
                                                                       &   4          
       9 .  :;   4 
                                                                                        
  E;6 #  / @ 4  2      %  
                                                                        4 A 8-  F+!%
*. !"$#   1+&7./>'
                                                                       />'   -++1?02 !        
3-  H2 :+,,F; :D          
                                                                                           6
                      
                                                                            4         
          
                                                                                     $J 
                    
                                                                                         6      
      E;6(4>&
                                                                         I    !"$$           
0   0  ; 2                      ) 
                                                                        !     $  $      
" ": 32("/>'0H1 02G:-112;:DNO
                                                                             6 =    
              
                                                                         =     $ J    
                 
                                                                                   
                  
                                                                         ! 4                
               
                                                                          J    
                  
                                                                               
    E;
                                                                                        4
                                                                       .         
!           
                                                                                 J 
          
     "                    1



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     198 of
                                                                            272 Document 1-2                                          %
           Case 2020CV001583             Document 23             Filed 12-07-2020            Page 8 of 21
         !


                                                                            E &          4
 B                         D     J    
 4                            =       
   -- $K/> /% .&9K! >! /                                     
@>#>/ 8$!&$> < 87$>#"> L +132- :+                    NO J  E !             
-11H;:D.                      J     
                 
  E;!         !         @    
                                                                        !                
@     % !
                                                                           (    
3H0 @0    2FG :DN'O     @      
                                                                                @      
           E :  
                                                                      4        !    
    ,    $  3+G " 03G  0G0  1F $  +FG0  31                 
/> +  H3G :-1GF;;; !     @                             $ !
                                    
    D                             
   =     6       
               
         =               /(         8 8
                                                                               
    E         "  0   86.
                                                                     & J                
    F+1 @0  H00  H32 :F  $+,-,; :  
                                                                     $J       4       
          4   ;6         <                 B     J
0  %%    8   3H2 @0  -+F-  -+G+               4     
:-- $+,,F;!                     !  $ J         
                                          
  J           
                                                                         I       
       HH3 "   H1+?1H  -+2 $            I            
+G20&                         $ J       
  -,
                                                                     .         A      
 !6&& &                  =             
            J                       =       
                               
                                                             !      $  
                                                                             =  
                                                                         4 6     
)(  *8 *9                                            6      D 
K       J                   E             
                
                                                                     !6&/               HH3" H1H
4         >      
                          H11?F,, -+2$ +G206             -0,$ 
                  I         0,0F?0G 0,337       $    
                .            #     $J          
                                 4
            J                  HH3 "   F+1?0H  -+2 $  +G20
         $              ! $              DNO 
                    N O     E  D     
D $        $                             


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     199 of
                                                                            272 Document 1-2                                     &
           Case 2020CV001583              Document 23               Filed 12-07-2020            Page 9 of 21
         !


 E  #  J   D=  NO  
                                      F+F?+G  -+2 $  +G20 ! $     
    E        F+2?+1  -+2 $  +G20 !            D   E
        ! $                        =          F+G  +F  -+2 $ 
          
                                                                        +G206                  -0, $    0,3G :  
    D  E    
                                                                            JD E =  ;
@       4             J
                                                                        !          4
   D       E   
                                                                                        
      6 $  =    
                                                                               @       
   F+2?+1< +G -+2$ +G20:D&                   DE  5
       4              &            
                                   V  >  '4  .    
                             "<. $ # = ;# # 
               E;6             2 6'  " # HF"$//>'-330
    ' F-3@0  F3-:D&               -331!  =     
N       O                             HH3" F03?0H -+2$ 
                      +G20 :D$                
      E; B     $                           
=                                   :;     
                
                                                                          4      E;6         !6&0   -0,
  J             
                                                                        $  0,3G:DN!O      E
            HH3 "   F0H  -+2 $  +G20            =         
:DNO       $ J                   ;
=                
=           E; &     $                           
      D   N      O                                 
                        6    J
          A                              
       E                                        @    
                                                                                    -0, $    0,02?3+   
            $      
                                                                                  @  
=  5
                                                                             4           
                                                                               0,0,?0- :          *;6        
              N%O                                0,H2?2, :!  *    ;6              0,21?11
               4             
                                             :    *    ;6         0-+,?+- :B  *
                                                ;        
                                             $ J       
                                                   
                                                         
                                                        HH3" F-,?-1 -+2$ 
                   
                                                                        +G206           -0,$  0,02?3+ --
               




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     200 of
                                                                            272 Document 1-2                                           '
           Case 2020CV001583             Document 23             Filed 12-07-2020            Page 10 of 21
         !


 !  $ J                    4   B    $ J @
  4    DE !$                        
  A     D                         
      EI                                 J    
       I   D    E                 '4  .     " 
                                                                     <.        $  #   =  HF "$/ />'
 @    1      HH1"
                                                                       -3H3?G+ :=            
3F, -0,$ -HGG -H23?2H -GF/> + 30H:+,-,;6
                                                                                   ;6
   $6   , !   #!  ??? " ????            % / 8 #  K  0 
-0-$ +G+1 +G00?0H -2,/> + G,2:+,--;.              (.   HF "$/ />' -030  -0G+?GH :+,,1;6
$ D                  . 4 KJ =>>HF"$//>'-HH-
       @                      -HG-?G0:+,,1;6/ B #   $
      E   -0,$         K      0 -,0%."/>'1+0 1G1?2,
 -H2F&                    :+,,1;69 K  <B  8#   KJ
                       2 %6-,+%."/>'+,0H +,3+?
                            33:+,,2;
     
                     B                    
     B     6                       I4
                                       
   DE    4                     I  
     @                                  HH3 "   F+2?0H  -+2 $ 
         HH3" F+H?+2 -+2$ +G206          +G20:D.4            
                                                                                       
            -0, $    0,02?3G       
                        R    S E;6             -0, $ 
     !6&2                    0,3G?32 @          
                                          
  I-G1--2F2I                                   $  
 6                                   
                               6      
                                                                     D   E        J 
 &           I                          
                        
           I    
                  J        !                    ' 
                = 
                                                                     F-3 @0    F01?30   1      &   F-F
                 J   D       @0  F2H  F1-?10 :G  $+,-,;       
   N O     E     HH3 "              DE         
F+2?+1  -+2 $  +G20            A                        4 
   D N O      E                      !  @     !  $  
                                -+   1     
        -0, $    0,3F :         //   !6&4 F-3@0 2H 21:0 $+,-,;:D
   ;#                                   
                              @ 4   
I          D   E     4                        
 I                          J   &     
                                &          


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    201 of
                                                                           272 Document 1-2                                     
           Case 2020CV001583            Document 23             Filed 12-07-2020              Page 11 of 21
         !


                                                                    '"9K%BB7!! *"#9>%#*"C5878"/
       E;6 1   
                                                                    >W8/%!&7% 7@ !K> />#&%9 !78&$ &% !K>
   F+2 @0  FG0  F2, :3  $+,-,; : D 
                                                                    /.7@!K>/%#000:-22,;;;
          
  =      '  
                                                                    &   $          
  E;6 1    "F+G@0 G1+ 2,,?              !6&5           
,- :-,  $+,-,; :; >                      
                                    $          
      -2"$L1++    4                             
                               
 $       D    R               !                  
@                                $ J   
                          !$        
                                                                                
B  SE -0,$  0,0H:                                 
  0G2 " -  -,?--  23 $  -321  -+ /> +  FH0                 
:-1F3;;                                                                           
                                                                                     
                                                                                @     
   0(  *8 )*  + 8   
                                                                    !                     $  
   - 
                                                                                        
 !         $ J      
                                                                            =  
                  
          
                                                                    @=  $  -G1,7      
              !$ A
                                                                                     
        D    E    
                                                                               
        4        
                                                                       3  -G1,  $ W&&&  L 3    - !       7
               HH3 "   H11  -+2      %   ! -,3:$ -200;!
$  +G206             -0, $    0,32 !                        
                     -G3F            
               6        B        =       5 $ 
    J                          D NO (4!   >=
    4                4 *    >   $ E
      >=   $.                       D@  7    
       D   E               B  E6  D NO (4 
          $                         B   E B        
       D  -2F2 !           D$  9 E  (+2 -G3F $W   
$     /   E    !            /  ( B+,2:)   -G3F;
$5 DN!O          
 4 6                     ! $               
 6                                
                 E        A      
                                                                                   
   HH3 "   F-F  F-G?-2  -+2 $  +G20 :  
                                                                      -0 !    8  
    4   ;6       F-1  -+2 $        +F -G+- L3        
+G20 :D R%     A   4           $         D  E
               
                                                                      HH3" F00 -+2$ +G20&   
                 
                                                                           $ J
 =   SE:  B>%*(&%


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    202 of
                                                                           272 Document 1-2
           Case 2020CV001583             Document 23             Filed 12-07-2020            Page 12 of 21
         !


                                                                       @            
 .        HG3 F0+
-+2$ +G20 :        D                HH3 "   H2+  H1H  F0H  -+2 $  +G206
           E   
                                                                             -0,$  0,3H         
  #   $JD NO N O
                                                                              
  !6&"     E;!D   
                                                                     @          !6&6  
 E          $ J    
                                 =      ' F-3@0  F3-6        F31:4
                                                                     *    ;6 F+2@0  F2+6  //  
!                          F-3@0  21 36 '4 .   "
         $            <. $ # = HF"$//>'
                    -331 -3H+ -3H3?HH6/ 8 #  K
!                      0  (.   HF "$/ />'   -0GF6
                        . 4 KJ =>>HF"$//>' -HG+
                
           -3  7  I                &              
 B       -2+F     7                          
-20-I                          @      
                                       @ =  DNO  
           -H                  E "#) 
HH3 "   F0+  -+2 $  +G20 :DN.O      4      *  H,H"0GG 02+ --+$ +H02 -+,/> +
                            0,H :-11+;                 
                                    
  E;!         
                                                                                   01H --+$ +H026 
        
                            #/ 2 ,   ! 2    *#  $ 
                                                                     ???"???? -0-$ +2,F +2-F?-G -2,/> + FF3
 .             4              :+,--; /4  DNO         
   $ J                          E / 1   2 , 
           =                 ! HH2"0-, -0,$ 2GF 212 -GH/> + GH0
                      :+,-,;:     4  ;7   
  $                      D     E      
        $   4             D E D           
            
                                                                           E &    "' #   " 
          HH3" F+2 +G -+2$         31-"G2- G1- -,1$ +G3F -,H/> + FF-:-121;
+G20 :   1          *  0,3 "       !$         
-33  -H+  3  H2 $  GG2  2+ />  -+03 :-102;; !       6       
      $                            
                           D        
                                                                         R            J
!                     SE    %   &H3G@0 2H0
                        
    $ D  E                2F3:G $+,,2;:   7  6   
       ! $              H00"12 -,F?,G -+-$ +,10 -H,/> +
D   E    $ J          -H-:+,,-;;

   *       *      *     H,H " 200      &               =
2GF?G1  --+ $  +G1-  -+, /> +  FG3 :-11+;                       
         B                                   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    203 of
                                                                           272 Document 1-2                                      
           Case 2020CV001583              Document 23              Filed 12-07-2020            Page 13 of 21
         !


          6                             
                                     
                               E;
                       6
                                                                       /      @      
       ,   $  HH0 " -2-  -1,?1-  -+2
                                                                         =           
$ -F-, -G,/> + HG3:+,,2;6         &  7             =  @          
HH+" 3H-?H+ -+2$ --236 $ ' 8 '                         
H,3 " 3+2  303  --+ $  +,H1  --1 /> +  +3H             =           
                                                                              J     
:-11+;6 %  < 3F0 @0  GF0  GF2 :G  $+,,F;                   
D@                                      
     = EI  =                           
             I                 K          
D         R=     S E                   =      
  "  HF- " -2F  -0, $  +2--  +2-2  -GG /> +
310:+,-,;!    D                &  '      D        EIT4T
                       D     EI     
        E   D                               -2 "$ L 1++:;:1;  
                                    
       @      E   :  
   4  ;                                                      F-3 @0    F3- .
                                                                          D   E  D    E
              4                     
                                            D  
        D                     E     F3+ &       
                         '     
          E    # 9 $'             D     A E   HH3"
     .  H2- @0  3F,  3F+ :G  $+,,1;         F0H -+2$ +G206        
:   % #    !6&#  #   $'   H0H                            ' F-3@0  F3H
" 3+H  -++ $  -G+2  -H+ /> +  FG, :+,,+;  
   "   * 8  3GH"3- -,F$             K             D  
1+H  21 /> +  +1 :-12F;;                     A E         
  $                                       
     D     E                          
  D      @     E            !$ J      
                                                                        6 . D     A E
   $   8    1    ?  29 31+ " 3F1    $          
3GG -,1$ 0,+2 -,F/> + 022:-121;&   =                    ! 
     D      J                          
                                      =    
               6                      !   $ 
                                    
              E              A     
 32, -,1$ 0,+2:     4                                '
                                                                                  D     E ! 
  ;6           ??? "
                                                                                      
????  -0- $  +FH0  +FFG?F2  -2, /> +  H33 :+,--;
                                                                          $         
:!          D     


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     204 of
                                                                            272 Document 1-2                                      !
           Case 2020CV001583            Document 23             Filed 12-07-2020            Page 14 of 21
         !


               5!            A    
$         !6&$            !$  A       
                             
J                                 
                                !          J  
         $                     D  =  J$   
                          4     J  
4                            E $ 
                                             4          
                                                                             $     
              $            4        
        &       $               B      
     =                               
                                  K
    &                      =            
                                      
    A                       7   
   !                                
 $ J     B              J             
                                   %
                                   %9> 7"$> B77) :   D     
                                                                        !6/&            
 ! $              4                     E;   5TT
                             T   T4 :   
  B                  * + +,--;6@/!!L2+0-F:F;:+,--;:   
                           %" $';6)%
            &   @          #(&%>9L--H?++?-:;:+,--;:;6(&%%!!
 =                   L 2G,+ :+,-,; :;6 %>B>'!! L 0G?-0,+:3;
          =           :+,-,; :;6 7K&7 #(&% $7#> -H,-5 0-?+1?,0:#;
                                                                    :+,--;:;
     #  $' H0H"
  302  -++ $  -G+2 :        A  
                                                                                 $   
      4   D   
                                                                                     
       !   J      
                                                                     5  4               
    J       E;6
                                                                      J            B  
  # 9$'    . F+3@0 0F2
                                                                    4                  
0F1:G $+,-,;:       
                                                                          6      D    
 JD  N O   N   
                                                                    N   O  E    
       4 O 4E;6        6               ! $    
#  )%%  6#  H2-@0 HHF HF,?                       
F- :G  $+,,1; :                          
     D        E                    D 
A     A                E ! 4         
      J                          D  E
  ;                                                              !$             
                                                                    4       D  E
B      $               7    $                
                              @  5&    4
        (   



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    205 of
                                                                           272 Document 1-2                                   "
           Case 2020CV001583             Document 23              Filed 12-07-2020            Page 15 of 21
         !


                 @               
  !    =                            $ @ 8            
                                                                                      $K&
8  $                        ("%$7#> LL 2?+,?--,:;  2?+,?-3,:;?:;    
                                       
  4                       
                                      
          $             2?+,?--,:; 2?+,?-3,:;  = 
      J                                  
  4                                  DN ON O E  
                                                                          8             
                                                                                  
3(  8                                                         
 !               
         &          !         
        4  $                       ! $  
                                      
   8           D   N O 4          E6
                                  4 
       7                        $J
        4                 !    
                                                 
               !   
                                                                     -0,
                                                                      $    0,3G :D#      J  
 !    4                                       
        .    L 2?+,?+2,I                   E; ! $     A  
     DNO                                 
    E!                                  
                !            A 6             
              $                                  $ J
          7                    D E    
           !                            
       7                 A               
          5 $K& ("%$7#> LL              $                  
2?+,?,+, :                       !4     !$ $     
  ;  2?+,?,0, :                       7        
         ;  2?+,?,2, :  
                             !              
8           ;  2?+,?-,, :                        
              =                              
   ; 2?+3?,-,:                            =     @
=               !6//   ;          9      4       
!  =                           4
  A           
                   @     >'>>     J
        $    A                    J       
  =                            >(%#           
                                                                              



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    206 of
                                                                           272 Document 1-2                                       #
           Case 2020CV001583             Document 23              Filed 12-07-2020              Page 16 of 21
         !


                                                                      !                 
7'%> $ *                                       
                  ???                     
" ????  -0, $  0,+,  -GG /> +  213 :+,-,;                  5TT   T
$  4                            T   :     *
  A                      F +,--;6 5TT    T V
  $     $               X+H< X/>Y' YB  Y.  :   
                           * F  +,--;6  5TT      T
             $              :     * F  +,--; &    
                                                                                     
  -  !6/0 !        
                                                                             &            
           
                                                                              $       
       $  !           
                                                                                   
         $  
                                                                                $    
!                 
                                                                       4            
                 
                                                                      !    4      
      $ &  &    5
                                                                         8       
   4                         5   4   
HH3"HG, -+2$ +G20 -G-/> + F0G:+,,2;                     :    ;   
           $                                    
           $              4    
      $  !             7              
  4                                   
                                $  @   &
          =                     
           
    !       $            !6/2  &             
  5                                      
                              =         
      $                                               A 
                                                                                 D  
>     $                          E 
                                     A                  
                                    #    G,2      
         !                     
                                  &    D
      J                           '  
    DE        
                                                                           R    SE #  G,1'
     4             
                                                                                        
9              
                                                                        D       E  
                
                                                                       D    E    
              
          .                         1    ' F-3
  4                          @0 F02 F3+:G $+,-,;    ???"???? -0-
        $                  $ -FG3 -G1/> + F3H:+,--;
                     
               B   $       !   J              
          6                              @  
       !                            



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    207 of
                                                                           272 Document 1-2                                          $
           Case 2020CV001583             Document 23              Filed 12-07-2020            Page 17 of 21
         !


     '  !               $          
   $    D                        $        
                                     !   
               E                      
#    G,H                               $ J   
                                
                             !     
                                    
          !                    
             
    D                    @          
                                      
=  E #    G,H !                 7           
                              
   @                          
                         A 
                       @      =       
                                                   
                                                                                             '  F-3
B               
                                                                      @0    F3- &              
  J   @       -2 
                                                                            D@ZE             
-1             $    
                                                                      -2  %C4  -1  $ %
                 
                                                                      7          =    
               
                                                                       @  -3&  4  
               
                                                                         =        
             $ A 
                                                                        @         
           
                                                                                  A 
        4
                                                                           &              
       7    
                                                                                4  
              4    
                                                                                 
   9    J     
                                                                              
          
                                                                               $      
      
                                                                       =      4   
                                                                                 
   &              
                                                                            $  
               
@ =                   
                                                                      !  J   $ J   
              
                                                                                
                   
                                                                      7                 D
7           
                                                                          E            
               ! D 
                                                                                    
  E 4  @   
                                                                            @   
                
                                                                           4               
                
                                                                                     
     $   4   
                                                                            !   $ J
        !6/4      
                                                                           D  E   
             $ 
                                                                      #    G,1 !     D      
                   
                                                                                 E
                & 
                                                                      B  ++ B  +F?+G:   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    208 of
                                                                           272 Document 1-2                                       %
           Case 2020CV001583           Document 23             Filed 12-07-2020             Page 18 of 21
         !


                                                                                 
   $ =      $    
                                                                                   J 
              
                                                                              
             
                                                                       B                
  ;!  J      
                                                                                   
           
                                                                                
$           
                                                                          
  $                  
         
                                                                   !              4 
      $      
                                                                           ! $     
    6       
                                                                             
 "          
                                                                      $  B  $  
! $             
          !6/5          4                   
                               
                                                            $           
                                                                          @   &
                             
    &    =      
                  )   
                 & 
                        FH-@0 F23
         =          




                                                           Footnotes


1      The Second Amendment provides: “A well regulated Militia, being necessary to the security of a free State,
       the right of the people to keep and bear Arms, shall not be infringed.” U.S. CONST. amend. II.
2      Once issued, a Chicago Firearm Permit is valid for three years. CHI. MUN.CODE § 8–20–130(a). Any
       registration certificate expires with the Permit. The Permit fee is $100; the registration certificate fee is $15.
       Id. §§ 8–20–130(b), 8–20–150(a). An application for a registration certificate must be submitted “no later than
       5 business days after a person takes possession within the city of a firearm from any source,” id. § 8–20–
       140(d), and registration certificates are subject to an annual reporting requirement, id. § 8–20–145(c). Failure
       to file an annual report regarding each registered firearm “may result” in revocation of the owner's registration
       certificate, his Permit, or both. Id. § 8–20–145.
3      The Ordinance provided a 90–day “grandfathering” period after its effective date during which previously
       acquired firearms could be registered. CHI. MUN.CODE § 8–20–140(d)(2). To take advantage of this
       provision, a firearm owner had to complete all of the prerequisites for a Permit, including a firearm-safety
       course with one hour of range training.
4      There are exceptions for discharging a firearm in self-defense or in defense of another, and also for game-
       bird hunting in certain limited areas of the city. Id. § 8–24–010.
5      We say “apparently” because it is not clear whether the exception allowing private security companies to
       operate firing ranges is codified. The Ordinance contains an exemption for private security contractors at
       section 8–20–020(b), but this exemption appears to apply only to the provision of the Ordinance making it
       “unlawful for any person to carry or possess a handgun, except when in the person's home,” id. § 8–20–
       020(a), not to section 8–20–280, the provision banning firing ranges.
6      See CHI. MUN.CODE §§ 17–2–0204 (Residential Districts section stating: “Uses that are not listed in the
       [corresponding use] table are ... prohibited.”), 17–3–0204 (Business & Commercial Districts section stating


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    209 of
                                                                           272 Document 1-2                                     &
           Case 2020CV001583         Document 23          Filed 12-07-2020           Page 19 of 21
         !


       the same), 17–4–0204 (Downtown Districts section stating the same), 17–5–0204 (Manufacturing Districts
       section stating the same), 17–6–0403–C (Special Purpose Districts section stating the same). Apparently, the
       City does not interpret the “Sports and Recreation” special-use category allowed in manufacturing districts,
       see id. § 17–5–0207, to include firing ranges.
7      The district court's emphasis on the organizational plaintiffs' standing is puzzling. As we have noted, it's clear
       the individual plaintiffs have standing. Where at least one plaintiff has standing, jurisdiction is secure and the
       court will adjudicate the case whether the additional plaintiffs have standing or not. See        Vill. of Arlington
       Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264, 97 S.Ct. 555, 50 L.Ed.2d 450 (1977);                Bond v.
       Utreras, 585 F.3d 1061, 1070 (7th Cir.2009);     Bethune Plaza, Inc. v. Lumpkin, 863 F.2d 525, 530–31 (7th
       Cir.1988).
8      We noted in Skoien that “the Salerno principle has been controversial” and does not apply to all facial
       challenges: “[T]he Justices have allowed ‘overbreadth’ arguments when dealing with laws that restrict speech
       and reach substantially more conduct than the justifications advanced for the statute support....”          United
       States v. Skoien, 614 F.3d 638, 645 (7th Cir.2010) (en banc) (citing United States v. Stevens, 559 U.S. 460,
       130 S.Ct. 1577, 1587, 176 L.Ed.2d 435 (2010)). Overbreadth claims are a distinct type of facial challenge.
          Stevens, 130 S.Ct. at 1587 (“In the First Amendment context, ... this Court recognizes ‘a second type of
       facial challenge,’ whereby a law may be invalidated as overbroad if ‘a substantial number of its applications
       are unconstitutional, judged in relation to the statute's plainly legitimate sweep.’ ” (emphasis added) (quoting
          Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 n. 6, 128 S.Ct. 1184, 170 L.Ed.2d
       151 (2008))).
9      For different views of the Salerno doctrine and the structure of the facial and as-applied forms of judicial
       review, see generally Nicholas Quinn Rosenkranz, The Subjects of the Constitution, 62 STAN. L.REV. 1209,
       1242–50 (2010); David L. Franklin, Facial Challenges, Legislative Purpose, and the Commerce Clause, 92
       IOWA L.REV. 41, 58 (2006); Matthew D. Adler, Rights, Rules, and the Structure of Constitutional Adjudication:
       A Response to Professor Fallon, 113 HARV. L.REV. 1371 (2000); Richard H. Fallon, Jr., As-Applied and
       Facial Challenges and Third–Party Standing, 113 HARV. L.REV. 1321 (2000); Mark E. Isserles, Overcoming
       Overbreadth: Facial Challenges and the Valid Rule Requirement, 48 AM. U.L.REV. 359 (1998); Michael C.
       Dorf, Facial Challenges to State and Federal Statutes, 46 STAN. L.REV. 235 (1994); Henry P. Monaghan,
       Harmless Error and the Valid Rule Requirement, 1989 SUP.CT. REV. 195.
10
       The City cites our opinion in Campbell v. Miller, 373 F.3d 834, 835 (7th Cir.2004), which cautioned
       against the assumption “that money never is an adequate remedy for a constitutional wrong.” But
       Campbell concerned a Fourth Amendment unreasonable-search claim—a claim properly characterized as “a
       constitutional tort” and “often ... analogized to (other) personal-injury litigation.” Id. In Campbell the plaintiff
       contended that jail officers violated the Fourth Amendment by subjecting him to an unreasonable search; the
       proper, fully adequate remedy for that kind of constitutional violation is damages. The constitutional claim
       here is quite different. The plaintiffs do not contend that a city official violated the Second Amendment by
       enforcing the range ban against them; they contend that the City Council violated the Second Amendment
       by enacting the firing-range ban in the first place. If they prevail, the only appropriate remedy is a declaration
       that the firing-range ban is invalid and an injunction forbidding its enforcement.
       The City also cites the First Circuit's decision in Public Service Co. of New Hampshire v. Town of West
       Newbury, 835 F.2d 380, 382 (1st Cir.1987). In Public Service Co., local regulators ordered a nuclear power
       plant to remove utility poles from its property because they were too high. The plant owner sued, alleging
       a denial of due process. The First Circuit noted that the “alleged denial of procedural due process, without
       more, does not automatically trigger” a finding of irreparable harm.    Id. The court then affirmed the denial
       of preliminary injunctive relief because “the prospects of any irreparable damage were speculative” and the


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    210 of
                                                                           272 Document 1-2                          '
           Case 2020CV001583         Document 23         Filed 12-07-2020          Page 20 of 21
         !



       owner had little likelihood of success on the merits.   Id. at 383. Public Service Co., like Campbell, does not
       help the City. An improper order requiring the removal of utility poles can easily be remedied by damages—
       not so with the constitutional violations alleged here.
11     On this aspect of originalist interpretive method as applied to the Second Amendment, see generally
       AKHIL REED AMAR, THE BILL OF RIGHTS: CREATION AND RECONSTRUCTION 215–30,257–67 (1998);
       Brannon P. Denning & Glenn H. Reynolds, Five Takes on McDonald v. Chicago, 26 J.L. & POL. 273, 285–
       87 (2011); Josh Blackman & Ilya Shapiro, Keeping Pandora's Box Sealed: Privileges or Immunities, The
       Constitution in 2020, and Properly Extending the Right to Keep and Bear Arms to the States, 8 GEO. J.L.&
       PUB. POL'Y 1, 51–57 (2010); Clayton E. Cramer, Nicholas J. Johnson & George A. Mocsary, “This Right Is
       Not Allowed by Governments That Are Afraid of the People”: The Public Meaning of the Second Amendment
       When the Fourteenth Amendment Was Ratified, 17 GEO. MASON L. REV. 823, 824–25 (2010); Steven G.
       Calabresi & Sarah E. Agudo, Individual Rights Under State Constitutions When the Fourteenth Amendment
       Was Ratified in 1868: What Rights Are Deeply Rooted in American History and Tradition?, 87 TEX. L.REV.
       7, 11–17, 50–54 (2008); Randy E. Barnett, Was the Right to Keep and Bear Arms Conditioned on Service in
       an Organized Militia?, 83 TEX. L.REV. 237, 266–70 (2004); David B. Kopel, The Second Amendment in the
       Nineteenth Century, 1998 BYU L.REV. 1359; Stephen P. Halbrook, Personal Security, Personal Liberty, and
       “The Constitutional Right to Bear Arms”: Visions of the Framers of the Fourteenth Amendment, 5 SETON
       HALL CONST. L.J. 341 (1995).
12     The Ninth Circuit recently adopted a somewhat different framework for Second Amendment claims. In
       Nordyke v. King, a divided panel announced a gatekeeping “substantial burden” test before the court will
       apply heightened scrutiny.    644 F.3d 776, 783–86 (9th Cir.2011) (O'Scannlain, J.). Under this approach
       only laws that substantially burden Second Amendment rights will get some form of heightened judicial
       review. Id. The Nordyke majority specifically deferred judgment on “what type of heightened scrutiny applies
       to laws that substantially burden Second Amendment rights.”     Id. at 786 n. 9. Judge Gould, concurring in
       Nordyke, would apply heightened scrutiny “only [to] arms regulations falling within the core purposes of the
       Second Amendment, that is, regulations aimed at restricting defense of the home, resistance of tyrannous
       government, and protection of country.”      Id. at 795. All other firearms laws, he said, should be reviewed for
       reasonableness,       id., although by this he meant the sort of reasonableness review that applies in the First
       Amendment context, not the deferential rational-basis review that applies to all laws,    id. at 796–98.
13     See Act of Aug. 26, 1721, § IV, in A Digest of the Acts of Assembly Relating to the City of Philadelphia
       183 (Duane ed. 1856) (hereinafter Philadelphia Digest) (providing for “governor's special license”); Act of
       Feb. 9, 1750–51, ch. 388, in 1 Laws of the Commonwealth of Pennsylvania 312 (Carey ed. 1803) (providing
       for “Governor's special license”); Ordinance of June 7, 1813, § V, in Philadelphia Digest 188 (providing for
       permission from the board of commissioners); Ordinance of Sept. 8, 1851, § IX, in Philadelphia Digest 419
       (providing for permission from the president of the board of commissioners); Ordinance of 1854, ch. 5, §
       20, in Revised Ordinances of the City of Manchester, N.H. 59 (Gage ed. 1859) (providing for “permission of
       the Mayor and Aldermen in writing”); Act of Feb. 14, 1855, § 78, in Private Laws of the State of Illinois 144
       (Bailhache ed. 1861) (providing for “permission from the mayor or common council”); Bylaw, Title XI, ch. IV, in
       Charter and By–Laws of the City of New Haven, Conn. 90 (Benham ed. 1865) (providing for “permission ... of
       the Mayor, or some one or more of the Aldermen”); Ordinance of June 12, 1869, § 17, in Laws and Ordinances
       Governing the City of St. Joseph, Mo. 110 (Grubb ed. 1869) (providing for “permission from the city council
       or written permission from the mayor”).
14     See Act of Apr. 22, 1786, in The New York Daily Advertiser, Dec. 30, 1788 (prohibiting discharge of firearms
       “for the more effectual prevention of FIRES in the city of New York”); Ordinance of July 1, 1817, art. 12, in
       Ordinances of the City of New Orleans 62, 68 (prohibiting the discharge of firearms for the “Prevention of
       fires”); Ordinance of Apr. 18, 1881, ch. XV, art. XX, § 1298, in Municipal Code of Chicago 307 (Jamieson ed.
       1881) (prohibiting firearms discharge under article governing “Firearms, Fireworks and Cannons”).


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    211 of
                                                                           272 Document 1-2                      
           Case 2020CV001583         Document 23         Filed 12-07-2020             Page 21 of 21
         !


15     See Ordinance of Mar. 9, 1826, § 6, in Baltimore Gazette and Daily Advertiser, Dec. 17, 1827 (“[I]f any person
       shall fire or discharge any Gun or Pistol or fire arms within the City, unless it be on some occasion of Military
       parade and then by order of some officer having the command, every such person, for every such offense,
       shall forfeit and pay a sum not exceeding five dollars.”); Acts of Feb. 17, 1831, § 6, in 29 Acts of a General
       Nature of the State of Ohio 162 (Olmsted ed. 1831) (subjecting “any person or persons [who] shall shoot
       or fire a gun at a target within the limits of any recorded town plat” to a fine “not exceeding five dollars, nor
       less than fifty cents”).
1      As the majority clarifies, the City grants exceptions for ranges in a few select circumstances such as ranges
       used by law enforcement personnel. None of these ranges are open to the public in general or to the plaintiffs
       in particular.


End of Document                                           © 2020 Thomson Reuters. No claim to original U.S. Government Works.




             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    212 of
                                                                           272 Document 1-2                           
           Case 2020CV001583            Document 24           Filed 12-07-2020               Page 1 of 16
                        !"#   $%                     FILED
                                                                                                               12-07-2020
                                                                                                               Clerk of Circuit Court
                                                                                                               Waukesha County
                                                          =< "                                    2020CV001583
                
                       !"                                >## 7?   2    
                                                                  @! "
              #$%&'(')*$('
            '*$&$* +,                       

         #$%&'('(!*$(-.((-'                      !"#$%      ("     =   9 ; 
        )-%$$*  . ,               A#B& & @  2   C## "

                                                                  33   A  ' D:E ;DE
                        *  /,0//
                                                                  %< '"1 A  ' 2? (@
                              1
                                                                   % C## "
                     2  /0      /
                              1                                   F  2> D'=3DD'$@D%'=&  1"
                   ."    0 /
                              1                                   &  
                    '."  0 /
                                                                  3DD'&  1"

                                                                                 
                     
                                                                              ?  &  @"   
                       
                                                                             /GH*" D:    I    
              
                                                                        # :      
         !   "   
                                                                   #           
#     !  #    
                                                                         "?  #   #
#       "$  
                                                                   # #   : # #  
%  &   ' %   (   )**+           ; #         ? 
(),)-./01"2"   1"                 " ?         
 ## "                                                    #     !   # <   
                                                                    !    #            " $
                                                                         ?       #    
  $&  ## 3&  1           !      ?  :      
4                                                              8   #   ? ## "(<
                                                                         ? : 
    5 #   6                   #     : :     
 #     ! 7                                               "F?  
                                                                      8   #     ! 
    8   5  6   (   9           #  // )**+          :  
%   #:(9%7                                            #     : <        " $  
                                                                  !    ;     
        8                   : ?  !   "$ #    
      #     ! 7                                # //"


     :   ; 
7                                                                            '( )*+,&-./

     :   <     "       @ /G/) 1    :          
                                                                    <   " D        /GH*



              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     213 of
                                                                            272 Document 1-2
         Case 2020CV001583              Document 24             Filed 12-07-2020                Page 2 of 16
                           !"#   $%


&   #                    5 < #  
    "2""D"-.*.- "                   !   6   
)) /GH*      ,. " "&" J +*,*/                #   ;" @
 " $    ##   /**               ##  :     #  
  ### I  ,"0                         5 #      
       "                             :   #    
                                                                     #                 
$# #    5# 8                      #       
       #       #        &           #  
;           ;            :  "6'    
<    6 ,. " "&" J +*,*)/            !     <      "
5          #    
 6 J+*,*),"D:  < 
#   :<  5         6     " @            
9   E  )**.   #  #   <              $ #             ?  & 
  K/),  " >     K,H    <             @"(  #   #      
                                                                         " ?  8      
   # ) :  K/,"H           
                                                                     (  " @   !            # 
                                               ,
             "  D  
                                                                       <       (   .   
       <    !"#$0
                                                                       # I 0***  <  "      
    ; :    
                                                                        ?   /GH*      : 
    " -                            :   : ;  1 
                                                                     /)**."$#       5#   "6
          D   &              
:          <                  ?  ;       "@ 
   "$D  & <               #    #    
            5D   F 6         < ## " @ :      # # 
<   #    " $ D   F  ##               :         # #  
   #            I <             " $  # &# '<    !"#$1  )-*C
  "          <                    < #  2  (     
  #                                   > #  
                       :   # " $  # &# ?  < 
 :#    "  #   #               /-*     $: = <  (  " ?   
     <   )**."                 :# #  <    ;<   
                                                                     K/) "$ # 8  :   
$ # <                                 <        <    
< #I <: ;    "@)**H               <   ;<  I
               ## I             K, "
,/H  "'    <  
: #    #  :              ?       /**L      <
#       #     :           <              < 
 "      #   <              # <    <   ? 
# <         ;             < "       ;         
     #  <  H            K/   < "?  
  :#   "                          *")L   <       
                                                                      #   :          "
$    # :             
         "9    
          :                !" # $$%



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    214 of
                                                                           272 Document 1-2                                     
         Case 2020CV001583               Document 24             Filed 12-07-2020                Page 3 of 16
                            !"#   $%


@)**-  #:      #            # #     5M:N :    
       5:  #     <6              !     ## <
     <                   D  F )-)**."6$   
    : <   :                         ?    # :  
 <     <"                            # " @  ?    
   &    <       5             :    5 D   F  :  ; 
    6 :  " @                        :   F 
     )**H     #              F; F %)**."6
     )**G          
## I   ,/H  /*G                 @   #      1  G )**+
      5  # 6  " $                ?               #
        :     #              ?      5 
   #   #       :  <     :  &   M  N 
      #                       ? &   "6
:   #    ; <               9 :  ?          
  #            "                    #        
       #  :  :   #                  <   ? !   "
 < < <   <             #      $#        
#  "                                                                &''(:  :
                                                                           #      !   
$ D   F  ## <    #                    <         : < <
  #  )**H" $ :   &'>                  :      "
    <        >                    " "   "      
   # "9   :            &''()+C)G)**.M      N"  < 
?  #  <  <  #   #                 1 /H )**+    
         (  "$  # #           :   D   F  :  ;      
 5(   =  2 6                      ? !   "
 %    ?  &'>      
   ?)**.: <  
     (  ## 2                  ) * %
  ?     " ?  :  <   .*L           > 9   )G )**+ ?     <    
      :         I                    %   &    
                                                                      '  %     (   ;  8      
  (  ## 2   0   :
                                                                       <         <       (  
           D :   ;" $
                                                                      9 %   #:        
      ?     :  <   < 
                                                                         # "? <
: ::(   : : 
                                                                       #  !      ? 
 ? :"$D 
                                                                      I   !   " $   ?     
F ## <(  = 2  
                                                                        8 #     !    "
)**."
                                                                      $   :  <    
                                                                            1H)**+"$  
D      ?    #  < 
                                                                                   4  ? 
    # #  " F:
                                                                                     
? !"#$2   >  )**0 :      <:
                                                                        :     #          
      :   :      ? 
                                                                      #     ! "@    ? ## "
# #   #     (  
                                                                                  #      
= 2 "     # !  
                                                                          # //)**+ : : < 
       ##     (  
                                                                             !    5  ;  
= 2 "@    ? F 
                                                                          :   !   
  = > ,)**0   ? 


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    215 of
                                                                           272 Document 1-2                                      !
         Case 2020CV001583               Document 24              Filed 12-07-2020               Page 4 of 16
                            !"#   $%


  ##         ?  &  @" #           ; #    :  < 
          "6                      :    < 7  ;  
                                                                      :   :    < "6      # + 
                                                                      0-G9"),+07 .%),09",+GH7 33
                        ''(.3'
                                                                      13  G0/ 9")  /)" (  ## #      
 8             5 O #            #      #        
 !  I   <     #: <           #     ! : <#  
     I#         "P 6       < 5#   6"         .%
   # +  ,    0-G9"),+*            ),09",+GH7 # + 0-G9"),++"$; 
,+G 0 & "/G+- 8  -   )    ,               
 //*9"))G))G,,& "/G-*#  "$              I        5  <        
   :      :              ! < <      #     <   
       !"#$4 #           #     <  "6
:  #4  #  #"
                                                                         12)  0+)9")/-,."

$ < <  ## ; #    
                                                                       ( < :               
 !        8 "  .% 
                                                                       #     !           " 
,  / 0   ),0 9", +G/ +GH 0 & ")**/7
                                                                       /-,0"             : 
   12 )     ,  ,   0+) 9") /-)G /-,,     #     !     
0& "/G+."9 #     !  
                                                                                 :"      .%),09",+G.7
:    #      # #   
                                                                          3313 G0/9")/,7 12)  
       " .%),09",+GH" 
                                                                      0+)9")/-,05&          
        :  8"  
                                                                          O    P
    ;    "
                                                                       ;       "6"     
     @    < #                 :5O < :  
      8            <    :    <  
  ! " 3313 ,  /+             ; "P6  ,  %
4 G0/9").//0& "/GG)"@ :<                %"  -0*" "H.-H0,/*H "&"/H*-+-
  < # #        
                                                                      "'")H/+/G+H8        ,   %0
#   #   "
                                                                       ,,," ",.-,GH.+ "&"H)HG)"'"0-./G-+"
                                                                      $8  5: !I
@ #  #   
                                                                      #       "6 # + 
 #      *0 00%0 , *0
                                                                      0-G 9")  ,G*"      :      
)   1  0+* 9") H+G HG,CG- 0 & "/G+. 5
                                                                            #   
:            #   
 !  ;  # <   #   !             "     3313 G0/9")/,"
   !   :  
                                                                       !"#$5   (              
   O#   P 6 12 )   0+) 9")
                                                                      #  <     #     !      
/-,," #   :  #   
                                                                             8  : <  
  <  #  :    :   #  
                                                                                 I     
   #     !     #    
                                                                           #     !     "
< # :     :  
                                                                         ) *$$0 , ) 5  0
 8   " 3313 G0/9")//C/)"@
  #    ## 45MN            /-G9",0))0,*0& "/GG+7             



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    216 of
                                                                           272 Document 1-2                                       "
          Case 2020CV001583               Document 24            Filed 12-07-2020                 Page 5 of 16
                            !"#    $%


  ,      0   /)+ 9", //// //)/ 0       : :   5        : 
& "/GG0"% I#   < : ##                #  <     
                                                                         #   :   "6   J /,H"*,"
      #  "   )  * $$
                                                                      @#     #  # #  (9%   # < 
/-G 9",  0,*7       /)+ 9",  //)/"            # #    #     :     
@                   <  " J/,H"*.H"A    5 # # 
             Q         I#6         5  6    (9% 
  #   Q: < :                    ? #   #  "F 
:          "        2       ? :   :  
                                                                       # #   #   "
,  .% /*- 9", G.H G0* 0 & "/GG07  
  /)+9",///-"  :              (            
      :#               : #  <  ?  :     
 #     !                           ?     !"#$$   
             "          :      :    "" #  "(
 $           /)+9",//)*"                  #             
                                                                      ?    #   (9%"
@  #         <   
   #    #     !    7
                                                                         6 .+  ! 7  5  $
           ?   
                                                                      $          !     
      ?       
                                                                      ?  :  #  <   D   F  
 :    #   : #    
                                                                           8  ?    #     
 ! "(    :   "
                                                                      !   " > 1 /H )**+         
                                                                               D   F   
    03*                                                ?  <    # /H)**+.*L
@       ?       #               !    I : :  : 
 !     ?               :  <         
    :     #     :              "$     ?  
 ! <   "$       "          I  : :  :  
9                             #  "
    ?    !          
                     DI         ?    
    ?                              !    :     
 : #  "$                           # 
    < :# 5  <                   #       # <                 "
 "6     ? 5         $      :<         " F
  :  #            < !  ? !      
 # <           "6$              ?       <Q <
      !       ?        ?    <      :  
 <    #    <  !     " $          I: ? I  
    :        5 6          # < "
 < <8  : ? : %
 #   "                                                ?  ;  #         
                                                                       ##  #       <  " (  :
                      ##   :   "    ? 
< ? #;#  5  6          &'>      <  <  .*L   ? 
   (   9  %   # : 5(9%6 ( "          !    :          
 " J /,H    $ (9% #                         # # <
                                                                        <       #    "


               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      217 of
                                                                             272 Document 1-2                                        #
         Case 2020CV001583               Document 24             Filed 12-07-2020                 Page 6 of 16
                            !"#    $%


F     #   #     
                                                                           /)+9",//)*7 2%8 #%
        ?  :  #   # :  
                                                                       , . # # ! 1 ,H9",//,-//-*0
  % #?  "A:< <  
 ?  <  < <                & "/GG-7 #     , #   8 0 
 <   "&;   : ?             .)09")--H,0& "/G+*"?  ;           
 K/  #   :                    < : <   "
.*L"(   !      :            9      ?   < #    #
  :    "               :     <    I "
    :   < # #               $    #    <     
        #              #: :<  7<  7
     # #                    ;  "
      :  ? " 9:    
 :     #:      "           @    <      ?  
                                                                                      <  "
?  #         ## I               # #       <  
K)  "                 # :             : : 8     :
 :?    I#               <      " ?  < 
 :    <    ?           ##   :  : 
     <  " (                  ;: : ;# "
  # :      <     
?   I#  I :              2 #         :  ?  :
      ?   # < "                   :     #       
? :#  I# &#'< &#                 "?   <     
?    <  ,.*      :   #                 ;      #
       "$<             ?  # <  I#      " $  
#   : # :  <                 <        
  ?  !   " ?    :  #             "F < .*L  !   
  #  8     7 ;  <         ? :     
# I#                          #" %  :    : !   
   ?   #"( ;            :         
  8   <     "            !     ? "    :  
  ?  !"#$6   #               ?     !         
   #       :   <              : ?  ;    :   <
   #   #          :   ?           ?  : :   
!   "                                                               !   " @   :   
                                                                      *0 00% : :     :
9 :       <    I            #  < 0+* 9")  HGH     <
I#    ;   #   ?            < "   # <    
!   :  #<     ?               <    < :  
         ?    <" @             K,****         #  
   :  #       ##           :      ?     
           ?                 "$  #   : 
  #    #        8 #        #    "
   # # "
                                                                      $             : 
F       ?  ;                 ?             
 <   !      #    ;              :  #  "  5 #  6  
         :  :  : <          5# <       !
      #    "   $ 
                                                                           "6   #  +  0-G 9")  ,+." $   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    218 of
                                                                           272 Document 1-2                                         $
           Case 2020CV001583              Document 24             Filed 12-07-2020                 Page 7 of 16
                             !"#    $%


   ?    
                                                                       (   9  %   # : ( " " J /,H"*))
 :  ! #     !  
                                                                       ! # #   #  
    !  :   #   ""  
                                                                          J /,H"*.H" (       8  
 !  :       :     ! 
                                                                       #     (9% 8   :
 !"#6#   #   ;!   
                                                                       : < : ,  , 83%  G+,9")
? "
                                                                       /-*-/-//0& "/GG,"

:<::<  #      
                                                                       $ (         (9%  # 
?   :   :       
                                                                       5        :        """
  ?  ;    Q   # 
                                                                                #      6 ( " "
    # #  #          :
                                                                       J /,H"*)H)  5MN #        
    : " $        
                                                                          :   <#   
  #  "  ) ,  9    -   % +.H         #:   #       #:       
9")+00++,0& "/G+G5                     #6  J /,H"*)H)" #    (9%
:   !   #                   ;       5     
O #  P   < : 8 """"67           :   #  < 
                                                                           # : "6 J/,H"*,"
   2%8 #% ,H9",//-*    
                                                                       # # # ; #   (9%!
      :      #    
                                                                        # #   #   " J/,H"*.H"
 !      I#  :      
5O <#    68 
                                                                       $ (9% #     5  6    
   #  +  0-G 9")  ,+.7           
                                                                                      #"   J
  /)+ 9",  //)* 5M$N #        ! 
                                                                       /,H"*))" $  #    8    
  : """"      #  
 """"67 : %; "1# , !  <0 $         #I "  J/,H"*),"9  
8$! 1 6=' GG- 9") /)0/ /)0G 0 & "/GG,                   :  : #  " 
     #  # # <                 # <   
: #   !   : :                        4 /       < 7  !"#6"
 8 "                                                    )        < 7   ,     
                                                                         ;       "
  <    :   5 O   :            $  I 5    6:
   <      ;    "P 6           #   5                 
                                                                         < :      
     -0* " "  H0, /*H "&" /H*- 8 
                                                                        : "6 ##    8 :
          %0   ,,, " "  ,GH .+ "&" H)H7      ?         :  
 # + 0-G9"),G*8  5:               # < : (9%"
!I #      
 6"?    ; #     
                                                                          $ 2+) 
  #   #     ! "$
                                                                       9    #I   8   
                 
                                                                        :#  "$     
                  
                         "   J /,H"*),   
#     ! "                                                      5   I#    #  """  
                                                                         : 6"       #    
                                                                         :           ? "   
   & .+  !%                                 :   #
     ##         ?  :             I           : 
   #        :              8 "
?      :  5  6 #   


               Case  2:20-cv-01820-JPS
                                  Filed12/09/20
                                                Page
                                                      219 of
                                                                             272 Document 1-2                                        %
         Case 2020CV001583               Document 24              Filed 12-07-2020               Page 8 of 16
                            !"#   $%




   3   3  ,                 $  ?  ; I <      
   )                                                       ;" $    ; :     
$ 8      #            ?   # < ? :    
 ? 5                     "$(   # & # 
   <           ;  <   ;       ;: 5  ; !"#6% 
 # <             "6                    # """#    # 
           :                <   # #      #    
     8  ?       
 "                                                                    8    #    < "6      5
                                                                        ,    )   /*H ( ") /0 ,/, D"(")
9 ?    "? #               .* .. /G+/" ?      ;  
 <    <                       <  <   #      
;  :   ?     #    I          <  :   #    
K/  " %    #  ?                   " @      ?  5  

          # "     ,             <     ;"6   ++G
+  5  ++G9")0,G0& "/G+G              9")  0-,           <  
    ;                 #  ;  <"
#   ;       <   8    
                                                                      %#                 
   (9%7       +, "!+           (9%  ##  " @        
/,G ( ") .,H -*0 D"(") ++, +++ /G+0         :<     ;" @               
 5# #;                                 ;     
  :      ;6:5                             5  
< (9%67  $, 1 /H.( ")              6    5O    6
.)/-H0D"(")H,,H,.##"/GG*                     #    "
5# ;# ;#6  5  6 8 
    #"                                                     F:   "$(9%I# 
                                                                         5  6   <   
  ?      < Q                   8 7  ;   :     " D
    <      #   #                    :      : 5  #  6
                                                                      5  #  6  "@  : 5 
  "      +-*0D"(")+G/   
                                                                      3    6 ( " " J /,H"*)H) # 
#        #           
                                                                         ##   #  
# # < 7       + 0                " @            
   ,  )+%   )   0  )/H ( ") .*H H0,      ?  :       #    
D"(")H-)H-HC-0&"##"/GG0                         #     
                                                                         "  <   
 #  <              + " 
                                                                      (9%  ;I#   #  
                
                                                                         " F          
             "  ? 
                                                                            :  :      < 
   # :            # < 
                                                                      : #  <     
       <     (     <
                                                                      + #   I#:     
 #    : 5 < 6  
                                                                      "
   (9%"           H0,D"(")H-.7
   ),  $/H0( "))))-H+D"(")HG/HG.            9                       5
&"##"/GG*    #             O      6 #    :  5  6 
 # <   <     : :                  
 : #      "                                   < "@ : ::  



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    220 of
                                                                           272 Document 1-2                                        &
          Case 2020CV001583               Document 24              Filed 12-07-2020                Page 9 of 16
                              !"#   $%


  5  6  <  <  7 :                  <          
  :           <   
                                                                             #"6     > $  -*0 D"(")  +0G"
?     :      "
                                                                        &   : #  :
                                                                           ;      #  
@     ?  :         
                                                                                 I  
  8   (   #  &     
                                                                         #:   " 0 .+/D"(")/++"
    :  ,   3 5 $+ 0  GG ( ") 0-. ,**
D"(").,0./G+/  : #5I# <              $ (   #  &       
  #            O   #"P 6  :                 < < 5 :  <  
< : :<     ?  8   
                                                                         6      #" > $-*0D"(")
   8   I#     (9%" ?   
                                                                         +0G" @     I <     
 "@   "@   < "
                                                                                   /     
@ ; I <           ;  "
                                                                              #7 )     I   
$ 8       #   
                                                                        #       7 ,  # #      
:   (   #  &     :
                                                                         <   <   
  5 #  I      <   
                                                                        #   < 7-#   #  
     #        "6
                                                                            <    # 
   > $ , #;  ?> $@/,G( ")HG,              < 7H I    
-*0 D"(") +0, +0+ /G+0                             7 .    
! <   I    5     6          I                 
   # 8 "                                                 # #    ;7 0     I     
                                                                           <     <   :
                                                                                     #7 +  # 
     %                                             <               #7 G
A<      ?        :            #         <    
 8    5   #6     (9% :            #           #    < 7
      8  :   :    I         /* I ##   < 
  5     6 : ?                # <                
    "     ( " " J /,H"*),  8  5                 #    < "       +0GC+*7  
            !"#60    
       < :                    *) ,, -,+9",0/GC)*"

       : 67             J          <                ? 
/,H"*)/  5    65                         #
     :                    8   5     6 
#      #   ;                #    #I "?  
  < 6"                                                                       /GH*"
                                                                        $      #::    
 $ (   #  &     :                   I <"? </**L     
5 #6       :                # <         !   "?  <
   I :       #"    > $      <   /**L    #                    
                                                                        #    < "          ?  
-*0D"(")+0+C0G7 *) ,, 
                                                                                <    <  0***
 , . ,  -,+9",0/.0/G0& ")**."
                                                                         < "? ;I <   
$    5       6 : 
                                                                        # #    ;" ?      < 
#  "   0  ,  #+ )   0  )0) ( ")
                                                                          # # : :      : 
H./ .+/ D"(") /0+ /+0 ( ")**-7 > $  -*0             :              " ?  <
D"(")+0+"$  <  5  #6            /**L    #    # <             
  5    :          # 


              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     221 of
                                                                            272 Document 1-2                                         '
         Case 2020CV001583               Document 24              Filed 12-07-2020                  Page 10 of 16
                              !"#    $%


!   "  ? <   #                 ?    "  ?        
     ##      "                     #     <   ; I <  
                                                                              # #    ;"       
>                                      I  : ?        
        !"#61    Q                     " ( I     #    #   
 8  5#  6 ? "                   ?    # #       
 #;                      "
(9%##  #     " 
             #                 $ (9% #         #  
I# #  (9%7    :<                   :     ;  #     ! 
            #  R  #                        <       " ( " "
         ?    #          J /,H"*.H" $    ;      <
 5#  6    "@           (       :     
   :<     # : "59 #  6                 # #   #         "
5  #  6                       40 , , 134  
  "5#  6 I  << I#  "           -,H9" ##")+0G++-C+.'"%"( ")**.I  
(     #     #   :                      (9%# < 
 #  :   I <"                        # #   #   "(
     "S  8 8             #    :  (   #  & 
 0   #  4                         :        <  :   
                                                                           # #        
                                                                          "  :     < ?  :
             $   5#      6                         #     #   
                                            <    #      !    < :  
                                           #      (9%" @ :         
               !  #  " =                     ;   :     
                                      (9%# #   #   "
             #          
                                            9     : ? : 
             # < #  " )                           #     : :     
             ;,,;0                       ?          : #             
              ;:                                    ?  !         # "
               # """" "0  $ A                    F      #       < 
              0    $ 0                         #     !   
              # #     #                    Q  <    !"#62         
             8 : "                                             ;      <          
                                                                        <     Q: :     8    
                                                                        8     "              /)+
      " " "8 8             9",//)*"
0 /*/GGG# "@
          ?   
5#  6#    # "                                 %1$# 
                                                                         @     #         
                                                                         8    !  #      
                                                                                         
                           TTTTT
                                                                          "":  8"            .%
$     #         ?   
                                                                        ),0 9",  +GH7        12 )   0+) 9")  /-,,7
5  6 :              
 (9%" 9         # I  :            #  +  0-G 9")  ,+."   


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    222 of
                                                                           272 Document 1-2                                          
            Case 2020CV001583            Document 24              Filed 12-07-2020               Page 11 of 16
                            !"#   $%


  5     6   5:    "6          #      :  """"P 6 8 
   # + 0-G9"),+."@# + %:                3313 G0/9")/."
          
 8    : :  ##            9      ##      8  
                                                                       : # < ? :   <   "A< 
 " +     
                                                                         ?      :     
                                                                         8    !"#64  #    
$  ::  <
                                                                       ! ::  4?  ; 
#    " : <  
                                                                           "
   ;  ?  <   
  !    :  ;   :   
  I #    "               1  + + 
:<                 $  ##    !    
<        #              :  !   ? : 
  <  8 <   #  "          7   5    6  

  , 5  -)G9")                  " .%),09",+G07 <$
//G0 /)*H ) & "/G0*                  )   ,  % 0 .G-9")//G/),
   5    :           0& "/G+)"$     : 8  
MN     :     :           #      8 " #  +  0-G 9") 
    6  : 5              ,+0">   :     8 # 
   6" ?  :  # <                  #   :  :
: < :   !                   ; ?     8
(       #          
                                                                      ! "  7      .% ),0 9",  +GH7   33
"   -)G9")/)*H5M$N             13 G0/9")/)"
 :   < 
 : "6"                                               ?  #            
                                                                           "&@ <    (9%"$(9%
    8               # <   5MN              
 :            #                #           :
;     " # + 0-G                     #  <   
9")  ,+." @      ?   :         #   :   "6 ( " " J
<   #  #"$                /,H"*,"@         
 #          ;:  #           #  <  ? 
                                                                       :      <     
:    #   11 $
                                                                           :   " 9    :  
"  6&(( ! !  +   4 0 -
                                                                      : ?     
,  )  0  ..+ 9") )0. )+.C+0 0 & "/G+/
                                                                                 (9%   " F
   5M:N     #       
                                                                      ?  #     
#     !     86
                                                                        : ?  ;  
            # 
                                                                             "
:   5  #   67      # # 
 ) +.H 9")  ++, 5MN  < :  
 8     :    #                 6 3 +$+0  , 
                                                                         ++ 0$
 8 "67:  .%),0                  ## ?  .*L  
9",  G*) 5 OM@N  <   #          !     #  < 
#   8                 ?  :   "  /,H"*,#   
                                                                                5 #  <


                 Case  2:20-cv-01820-JPS
                                    Filed12/09/20
                                                  Page
                                                        223 of
                                                                               272 Document 1-2
         Case 2020CV001583               Document 24             Filed 12-07-2020                Page 12 of 16
                            !"#   $%


        # $ :               DI            #  I# <
"6   #  " &    (   &           #     0 9  :     
                                                                            % ;  
  ##      0 9    ,  7
                                                                        #   #          <
 5     /-. ( ") H.+ -,/ D"(")
                                                                           5     #  <
0)/ &"##"/G++  :    :     
      :                     "6          :    :    
    : ? #                   <# <     ##  
  #  <  " 9                  ;     # 0
 ;  09             9     " A:<  :    
:  ?   I  <"                    I# <  #   :    :   (9%
  ?     ##   # <               #      ( " " J
!     5!               /,H"*)H/ #; (9%
     6   :     #         #      J/,H"*)H,"
          " (  
 #  <                ?     ##                   : 
 <# <    "    G                             # <  4


 !"#65 @      I  <"
@ 0 9       <                           M? N : <  !   
  I#  I  <  # <                             <      
                                                                                       !   
    "         0)H 5&#  :  
                                                                                     : M  N""" ## 
;0        #     
                                                                                         !   
+    +    <    <    
                                                                                   !         
" /,H"*,"6 #  " @       
                                                                                          1 /)**.
   ##  Q   
                                                                                    % ,/)**G"
   Q # <  "@  
       ##         
#    2 3I  <"@
  ##    I# ?  5< #          $      :   #       # <  
             +$++        :    ##   ?       
 B    69                 ##    :                <
&''(:        :                    ?  !        
#  4 5(                      ##  # "@    
      :     #           ? !      "$
#       #   :                 ##     #  " ? 
     !   """"6  0                     ?   
)*"  ;           #                 5:        !   
 #                  # :  M  N"6 $   :   
          : #      ;       :   ##    
     #      #                       ##   #  :   !"#6$
     !   "                     :       
#     < ##                   "
 ##    "$  
 I# I  <  :<               #:  ##  
  I  <                        # <    ##      "
 09                                                  <  ##   
                                                                         1 /)**.% ,/)**G"$
                                                                           :<   < 



             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    224 of
                                                                           272 Document 1-2                                        
         Case 2020CV001583               Document 24              Filed 12-07-2020                Page 13 of 16
                            !"#    $%


% ,/)**G  5#   "6$ # < 
   < < # <  #            $(   # &      
 # ##  : :!
                                                                         > $ , #;  ?> $@
          "$
                                                                      /-0( "),*+-,,D"(")+/G++"@=I 
        
                                                                                8 #    :
 ?   "
                                                                        : U        # # 

F   #    <   #        U          <       (9%" 
     :I  <              /*"@ =I   U   
  # <                     :            
? !    # 8            =I     !    "
 09 $                  //"$  5   
                             
#  <    : ? "                  :    
                                                                                "6   
   &                                                              I  /
           #               5! <    6  # #
        #              )# #   #
 #  <         #  
                                                                      ,    "           /,7
:  ?     :   " ( " " J
/,H"*,5D  """      :                 %70+%/-)9",,0+"
       #  <   
    # 2 + $   6 #  " (        $    # > $    %7
< #             0+% /-) 9", ,0, !"#66   :  :  
-   "2 , A1 )!+ 0H9",)/+             U '    <     
))-0& "/GG,:   :                 :         " U 
   %70+% , > +8 0             # #:     #  
/-)9",,0,,0.0& "/GG+"$ 5              :          5  # 6
6   : :4                                            " U   :  #        
                                                                       < K,)*    # < 
                                                                        <  # : :    
                                                                         :            ? C
             9         # 
                                                                      ? #  U        "
                :     
                8  #                                 ,0-C0H" $     :      
             #                              (   # &  > $  #  
                  #                             U     !  ? C? #
                 :  8                                   #  
                      # 
                                                                       "     ,0+"
             :  8  #  
                         
                                                                      @     ;  > $   %70+% :
                         
                                                                      8    ! <    # #  
               "
                                                                       #   #    ? 
                                                                      !   " $         
                                                                                ;      =I  
   ( " " J /,H"*)-"       # <        U  : :   I# 
     5                  "

   #"6     J/,H"*)-"


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    225 of
                                                                           272 Document 1-2                                       !
         Case 2020CV001583              Document 24             Filed 12-07-2020                Page 14 of 16
                           !"#   $%


        #   ! <   
                                                                      #     ! " 12)  
    # #  7   <     
                                                                     0+)9")/-,,"(:#   #
                 
                                                                     #     !   "
      =I > $-,,D"(")/*C
//  U   %70+% /-) 9",  ,0-C               $03*  $+ $
0H"                           %      #    #     ! 
#   <I #  I# 9                    
E )**H)**.  #  #   K++.***
K)"H  # < "9  :   ##                        ;"   *0
                          00%0+*9")HG,"$ # 
5    65: #    <6              #   #    #   Q
:            #         #    ;< #  
#     (     < #          #     !   #    ;
                                                                       <  #    #     !  
56# <   (9%" > $
-,, D"(")  /) 5@                  " .% ),0 9",  +GH" ( <    
        #               ## " $  ;   
    "6"                ? : :     
                                                                       :    < "      3313 G0/9")
'<   : ! <    
                                                                      /)7 #  +  0-G 9")  ,+0" &<    
:   8   # #        #"
                                                                       <   ; Q           : <
       #     :     : 
                                                                        Q? : :  
     " @  #     :<    
                                                                        :   ?  < "
  < .*L ?   :  
: :  #  <  "F                  3313 G0/9")/)7 # + 0-G9")
?  :     I                ,+0"(       ## # 
  :    <    !                  ;    #    :   
       (   :     "                           #    
@    ?     I     :  
                                                                     ! #     "      12)  
.*L    :     "   
 :    :     #    :                0+) 9")  /-,,7 .% ),0 9",  +GH" $     
:                       5O! <   <: #     
:  :  <   # " (    <           : #     ## # 
      #                         "P6 .%),09",+G.8  3313 G0/
    # #   #          9")/)     8  ; "
5 <    6  5  #    
#    <"6 /* (               $              :  
    !                ?  < "(<   #  
 ;  ! <  !""##                     ?        ! <   "
# #     ## #            &<     ; <     #    "
"                                                                             
                                                                          #         )**G" ( 
F     :    ?                            
                       (   #         ; 
     " $  #      #             "    ;    ?    
  "@  :   ;                      #    
              ?                 :     "
              :  
 8    :     #      


             Case  2:20-cv-01820-JPS
                                Filed12/09/20
                                              Page
                                                    226 of
                                                                           272 Document 1-2                                     "
          Case 2020CV001583                Document 24               Filed 12-07-2020               Page 15 of 16
                               !"#   $%


                                                                         #    : ; : <  ? 
$#      < ? ">  
                                                                         :  " <     
      I    :  ?   ## 
                                                                           #   :  ? 
 !   "$ <  
                                                                          <      5 
:< <#    :
                                                                            6               ! <
  ::      :  
    "$  ## <                   "  #33 ,  
    "@               .H09")/.-/.00& "/G+/"
    < <: :  
  "@ < ::#   <  
          " $ :    
                                                                                               '''()&.)-'&.
 ##?   <  ;
#        #  !""#"   ;        9          # //)**+
    " ?    #                ='V'= '%      'D1>@D'%
   <      :                  5  ;          : 
     <    ? :                       !      ##      
"F   8:                ? & @"#       
         : !Q                  "6
   "

F   #      #               )   
   :      ?  <  :  
 I  8  ;                   H-G9",/*0G
?      "(I# 




                                                                Footnotes


1       With notation that an opinion would follow.
2       Every Girl Scout is required to pay annual membership dues of $10. These dues accrue to GSUSA, not to
        the local councils. A more complete explanation of the financial relationship between GSUSA and its local
        councils follows.
3       GSUSA sells Girl Scout-branded merchandise to the local councils at wholesale, who then resell the products
        to their members.
4       Although GSUSA does not receive direct revenues from the sale of Girl Scout cookies, it does receive royalties
        paid from the bakeries approved and licensed by GSUSA to produce Girl Scout cookies.
5       In addition to cookies, Girl Scouts sell candy, nuts, calendars, and magazine subscriptions, as well as Girl
        Scout-licensed apparel and equipment.
6       Manitou's jurisdiction extends into all or part of the Wisconsin counties of Calumet, Dodge, Fond du Lac,
        Manitowoc, Ozaukee, Sheboygan, and Washington.
7       The other six councils involved in the proposed realignment were the Girl Scouts of the Fox River Area, Inc.;
        Girl Scouts of the Peninsula Waters, Inc.; Girl Scouts of Lac–Bale Council, Inc.; Girl Scouts of Woodland
        Council, Inc.; Girl Scouts of Birch Trails Council WI, Inc.; and Girl Scouts of Indian Waters Council, Inc.
        Notwithstanding Manitou's refusal to participate, these councils have continued with merger plans and now
        operate as a single council located in northern Wisconsin and the Upper Peninsula of Michigan.
8       In addition to the two situations discussed above, the other two instances we cited in Roland Machinery that
        could lead to inadequate legal remedies are, first, if the plaintiff's lost revenues would make it impossible to




              Case  2:20-cv-01820-JPS
                                 Filed12/09/20
                                               Page
                                                     227 of
                                                                            272 Document 1-2                                         #
         Case 2020CV001583            Document 24         Filed 12-07-2020                 Page 16 of 16
                      !"#   $%


        finance its lawsuit, and second, if the plaintiff would be unable to collect damages from the defendant at a
        later time because of the defendant's subsequent insolvency.  749 F.2d at 386.
9       Unlike in Super Valu Stores, where there was an express agreement that unequivocally defined the bounds
        of the questioned relationship, see 431 N.W.2d at 723, it is unclear what exactly constitutes the agreement
        in this case. GSUSA, for example, continues to argue on one hand that there is no formal contract between
        the parties, while on the other hand claiming that Manitou is bound by the terms of the agreement to adhere
        to GSUSA's constitution, bylaws, and policies. Having already decided that there is an agreement between
        the parties, we assume, without deciding, that the contract includes, at a minimum, Manitou's charter and its
        charter application, which the charter incorporates by its own terms.
10      We should note that we view with skepticism GSUSA's unilateral removal proposition. If GSUSA succeeds
        in removing 60% of Manitou's jurisdiction, there is no reason to believe that GSUSA will continue to allow
        Manitou, by then only 40% of its original size, to continue long-term operations. Doing so would fly in the face
        of GSUSA's ongoing initiative: to combine and grow its local councils. Instead, this appears to be only the
        first step in a multi-step process to remove all of Manitou's territory.


 End of Document                                           © 2020 Thomson Reuters. No claim to original U.S. Government Works.




            Case  2:20-cv-01820-JPS
                               Filed12/09/20
                                             Page
                                                   228 of
                                                                          272 Document 1-2                               $
   Case 2020CV001583       Document 25       Filed 12-07-2020        Page 1 of 2
                                                                                    FILED
                                                                                    12-07-2020
                                                                                    Clerk of Circuit Court
                                                                                    Waukesha County
                                                                                    2020CV001583




   STATE OF WISCONSIN                 CIRCUIT COURT               WAUKESHA COUNTY



       ERICA BREWER, et al.,

                      Plaintiffs,

              v.                                             Case No. 2020CV001583
                                                             Case Codes: 30701, 30704, 30301

       TOWN OF EAGLE, et al.,

                      Defendants.


             RULE 3.3 CITATION OF NON-WISCONSIN AUTHORITIES



Elrod v. Burns, 427 U.S. 347 (1976)

Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011)

Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of America, Inc., 549 F.3d 1079 (7th
       Cir. 2008)

Goldberg v. Kelly, 397 U.S. 254 (1970)

GoodCat, LLC v. Cook, 202 F. Supp. 3d 896 (S.D. Ind. 2016)

Lozman v. City of Riviera Beach, 138 S. Ct. 1945 (2018)

Marshall v. Jerrico, 446 U.S. 238 (1980)

National People’s Action v. Village of Wilmette, 914 F.2d 1008 (7th Cir. 1990)

Rasche v. Village of Beecher, 336 F.3d 588 (7th Cir. 2003)




      Case 2:20-cv-01820-JPS Filed 12/09/201 Page 229 of 272 Document 1-2
   Case 2020CV001583      Document 25          Filed 12-07-2020   Page 2 of 2




South Lyme Property Owners Assoc., Inc. v. Town of Old Lyme, 121 F. Supp. 2d 195 (D.
       Conn. 2008)

Surita v. Hyde, 665 F.3d 860 (7th Cir. 2011)

Village of Willowbrook v. Olech, 528 U.S. 562 (2000)




      Case 2:20-cv-01820-JPS Filed 12/09/202 Page 230 of 272 Document 1-2
           Case 2020CV001583             Document 26             Filed 12-07-2020           Page 1 of 20
                                                                                      FILED
                                                                             12-07-2020
                                                                                                                  Clerk of Circuit Court
                                                                             #    $    $  
                                                                                                                  Waukesha County
                                                                      6              )   
                                                                                                       2020CV001583
                                                                     ) %           
                  
                                                                      2  %+78+       9 
        !"# # $#%  #                       :      
                          &                                                      
                   '( $                                  $  1 )      
                                                                          0 $      
                          ( )*+ ,                                    0           
                                -                                               
                     ./.$*#*                              ! %       
                                -                                               0  
                     " 0#*                           ; <! 0     1 *=8(*=('>*=('


                                                                        &'() *++,,  
               
                     
                                                                     - .   /2?%0  - .   @;!?
               
                                                                     - .   -%2#;%AA  <
                    
         !  "   #  $    
                                                                     +       3       
  $         
                                                                               0  
           
                                                                                        
       ! %   &'() *                  0        # 1 *=8(*=7'
++,,                
! #  - .   /  .                * !           )  
0  .                     ) %           
                             1 *=7+*=7(
             )    ) 
%                                                              9:1                   
                                                                                       
%                                                                  )  %    
                                                                             )  %     
-  .    #                           3         
0   - .   / 0  
                                                                            0    1  #  
-  .   /                              B'7" # &(,(*#  *=(B,,A ? *&8'> C   
                                                                      /2   ,7&" # &7(78#  =8&+8A ? *
-  .    1              -           =*( 1 *=7+*=7,
 .   / - .   2 3 0  
                                                                        9:!)  %        
- .   #                                                     
                                                                          D      
                                                                        /   E  B*B " #  + (B (= # 
                            #     4                          =+*B=A ? *=&(         
                                                                                 
  2   2                                                 
                         #                   
5                                    
0             


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 231
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                    
           Case 2020CV001583            Document 26           Filed 12-07-2020            Page 2 of 20
         
         

               
    1 *=7,*=7&                                    . !     

                                                                    
9:!              
                           - .   /2?%  0  
                                  - .   @;!?
                        - .   -%2#;%AA0  
   >            
  3            #            !         3         
                                                  
                                           
                                      
         1 *=7&*=78                        )  ) %  

9: !                 
                
                                                                                                 
           
1 *=78                                                           2            "   #
                                                                  $         $       
9 : 1         0                           2  .  ?  2  .  $ 
                    $   5 6      
                         $            
                      !                 
      -                          
                                   $  1 ! 
                 )   %              0      
  1 *=78*=7(
                                                                   )  ) %           B*" #  

,  #              0       +(7, +(7&+(7= +(77 )     
           0                   3        0
                              $               
         9             0          
      $   1       :                       !
)   %                         "   #    %      #    
     !     0                     # ?  "  A  B8,
                         ) *&=+9%8+(8*:      
        0                            6    
 %  1 *=7(*=('                              !    %        $      

    -  .    #!?@%2! 0    -  .                   0     &'( ) * ++,,
/A%C-"                            9%8+(8&: @     B*," # 7*+(=#  ,,
                        B=A ? *,8 @   +
0         
                 
                                                                                                 
      1 *=('
                                                                  $   +(8' #  2  
                                                                         2  ?   $   % 
  
                                                                           2           
! % )                              #    5   !        


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 232
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2
           Case 2020CV001583             Document 26              Filed 12-07-2020             Page 3 of 20
         
          

                              #   5         
                        )    )  %    !                 
  5   ./   $                 3              
  1  $                       
                                                                                        ,=( " #   *++ 7*
#    5        !           
     )E                  #    8'=  #  1   - ,(& " #  B7=
        .        )        &+7&B(7(#  +(BB+(=*+(87*,A ? *B(+9+(=(:
A /                               1          
. $                                           #         
                                                                        1   !    3    
      #                  0           #
    #        
                                                                         @    2  ,(, " #  *, *7 7( #   & ( *+
                 #   
                                                                      A ? **B9+(=7:
5                  D  
                                                                      1      0       
            3     
                                                                                      D  
            3    3 
                                                                                        D  
 #   ?               
                                                                       3                  
  D    /          
                                    0        !     - 
        $   1                  "   #  *8* " #  &* B8 #   *+ 8+ A ?  +='
                 /             9+(*=:     !    
                                           
   2                               3          
 #   ?                    0            #  !     - 
                                                                                
                                                                        1        
                                                                        D     -       
                                
                                                                             0              
%      0                D                           
       3                                   
       ! 0                             @             
                                                                      %        
                                                                             D          
                                                                                    
% 3                                       
                                  
          )    F    
         /    ,=( " #  +7= *+8
7* #   =(+ 8+' 8 A ? * ==, 9+(=*:  !  G                                           E
            0       
     )    F                   ! #         
0        #                                   
                                                                            * !      
H    3   I J   ,=( " #   *+' 7* #   
                                                                                         0  
8'=  !         #       )  
                                                                                       
F              
                                                                                          
          3        
                                                                                   
0        3     
                                                                               )         
                      
                                                                          -    0    
                 


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 233
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2
           Case 2020CV001583            Document 26            Filed 12-07-2020            Page 4 of 20
         
         

                  
            %      
                                                                                                   E
               
                       !            
                                                                !          
                                                                      0       3   
1          %        
                                                                                $   1  
 D                      1  
                                                                                $   1
 !  .    ,        6               1 
                1                1     
%  .  B  !        3   %                    2     
       ?   &                  $          3 
             6                          %    
                                                                                       
    F         =  -
                                                                               0  ;     
                          
                                                                                  
             
                                                                        !        
          %  .      
                                                                              
          
                                                                             
                       
                                                                                             
1  % 8        %
                                         #  / 
                                                                   E B*B" # ++((=#  =+*=,B=,&B=A ? *=&(
      7 !       
                                                                   9+(8=: ?        
   #   %   A    B+," #                              
&B7&=B(,#  *77'*77(,8A ? *8(=9+(8,:            #                 
G  0       ?D                     
                                       
                 F                                  
                                 
                                     
             J
                                                                                      
!                                     !    
         3                                  
                                     
                              ?D         
                                       0
               5 3          %             
        0                                     
                                              
                                        
                                                                     1          
       /  /  ?  ,B8 " #  B7,
                                                                                    
8B #   =7= (7 A ?  78, 9+(&B:                     6      
     +=, " #  &,8 += #   ++,7 B+ A ?  *&=          
9+7(=:  2  3                    5              
                                               
     (                                                                  
                                                                                )   %   +'  2 


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 234
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                     
           Case 2020CV001583             Document 26             Filed 12-07-2020             Page 5 of 20
         
         

                       9+(B8:G H      
                                                                       2   .            
          /  ? 
                                                                              IJ!          
/  ,+(" # =*B=,#  ++8778A ? +=*79+(B,:
                 G9 :           @   "  ,BB " #  +7, 8, #   *+&
 D                   (8 A ?  *+= 9+(&*:       #    
           D         3             D 
                                      % 
   6        J
                                                                           @   -? ,=8" # 77=7(77+# 
     ,+( " #   =B* =, #    ++78  %    +8B, +8&' = A ? * +*,' 9+(=+:      6 
             G9:  )   %                           
               D  J                              ++
   /  E  B*B" # ++(=#  =,*
G!        
                                                                     1              
           
    H   I                 C    /2   
                                                                     ,7& " #  &7( 78 #   =8& +8 A ? * =*( 9+(=8: 
)  ) %             %%1 /,8+
                                                                         1   #   B'7 " #  &(, (* #   *=(B ,,
" # B+&B,'7,#  ,*7,,=(A ? *B'&> / 
                                                                     A ? * &8' 9+(8*:   C          
A  2,=+" # &+=&**&*,7'#  B+*B+=B+8B
                                                                      K         
A ? *B7'> %%1 % ,&8" # BB(B='B=+                       G         J  6   C   
87#  ++=,++8+*A ? *+B77 !                 3                  
                             )   %       
        J C   1  B+B                3            +*  
" # &+&=&8(B#  ,',,'8,7A ? **='9+(8,:                     0          
                                                                      )   %                  
      !          G                             G
                                                  
                                                                                        
           J  K
                                                                         )         
!      #  ,8= " #  *&B *8' 7B #   8+'
                                                                                  
8*+ ++ A ? * =7= 9+(=B:            
                                                                             D           
          G9:      
                                                                          6      !                 
                
                                                                           H        9 :   
     J @    2  ,(, " #   ,* 7(
                                                                         I #        2 ,&8" # &+,&*=
#    ++  1         D   
                                                                     87#  +,,*+,B**A ? *+B=' #      
             
          G                          J B'7" # &(8
            )            (*#  *=(8
                                                                     1     3        
%   J    #  ?   "   A  
                                                                     C   1  "      
B8,) *&8= %        
                                                                         0               
            6 
                                                                                     
              
                                                                     !                  
          
                                                                     3             
 
                                                                                      6  
                                                                      D  !        
 !     6    "   1  @                                 +, % 
-  ,,'" # 8&+''=8#  &&=&=((+A ? 8&B


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 235
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                        
            Case 2020CV001583            Document 26              Filed 12-07-2020              Page 6 of 20
         
          

              
                                @                     
                                0                
                                                          0      3      /   D  
                                                                        0                
                                                                                     
                                                                                          
                                E
                                                                         )  %                D 
 %                                       /  E B*B" # =B=&(=#  
   )  %       3  
       )  %              =&=>    %%1  %  ,&8 " #  BB( B='B=+
           2                87 #   ++=, ++8'++8+ * A ? * +B77 9+(&7:  G!
     C   1                               
                                D    )   %         
                                                   
               3                               J

      /   2   ,B+ " #  (+7 8+ #             /  E  B*B" # =&(=#  =&=
                                                                      !   G 0       
==( (& A ?  +,&* 9+(&+:    7= " # % $   *B7
                        +B                                                       J C    1   B+B
+7* ) * B= 9+(&':  !        
                                                                      " # &7(B#  ,'7 !       
                    
                                                                                    
             1 
                                                                               D         
   6   GLM     3  
                           /   E   B*B " #   (B (= #   
H I                          =8'>      @        2  ,(, " #   ,+,, 7( #  
      !             
                            +'++>      %%1 /,8+" # B+&B,7BBB7,

       J B'7 " #   &(8 (* #            #  ,*7,B',B,(A ? *B'&9+(=,:> /  A 
 *=(8             6             2,=+" # &+=&*B7'#  B+*B+8BA ? *B7'
      <!                       9+(=':>       %%1 %  ,&8" # B=BB==
                   
                                                                      87#  ++8*++8,> !    ,*," # &+=
                   
                                                                      &,'=&#  ,+&,**7(A ? B,'9+(B&:    
    GHL!M       
                                                                                 
            0        
                                                                       6          5    
          0   I
                                                                         -          
J C    /2   ,7&" # ='&='=78                                 
#  =7& G        
                                                                         #    E    ,8B " #   B'= 7, #   
   D         
                                                                      +8(& !           
                  J #                           
  E  ,8B" # ,(7B'B7,#  +8('+8(B+'A ? *
                                                                             "  1 @   -  ,,'" # (==8
(=& 9+(=,:  G HL!M       0      
                       #  &=8 +=     G  9: 
       6     J G     J  G H J                   J

          #  $  B+, " #  =,B =BB (,            /  E  B*B" # *&(=#  =,7
                                                                      G9%:#         
#  *7B**7B7,8A ? *7&,9+(8,:93  F                         H1       
   2   B', " #  ,=& ,8B (+ #   +7B7 +7&, *(                      
A ? *&,B9+(8+:: +&                                                        I    #        


              Case
                2:20-cv-01820-JPS     Filed 12/09/20
                      ! "#$%&              Page 236
                                                  "&'& %()*" of +",
                                                                              272 Document 1-2                                       
           Case 2020CV001583              Document 26                  Filed 12-07-2020            Page 7 of 20
         
          

                                               J
             D 
                                                                                # ?  "  A  B8,) *&8'
          J                  C             %                       
1    B+B " #   &( (B #    ,'7 9                            
                                                                           # #            
  :  #       "   #   2  ,7( " #  *&7 77
                                                                                  0  
#  B+(+(A ? *&'79+(=8:> #  ! ,=B                         D 
" #  B8( 7+ #   *B8 & A ? * *,+ 9+(=':   
                   
                               ?            
                                           0           
                                                    
                                             
            +8                                       
                                                                           0  1           
    5          0                              /  
                                                       
                                              
                                                3     
                                                    
                                       D             
                                          !   
    @      !                                                      
                                            
                                                     
  0      %             
                                                                           !     0              
                    
                                                                                        
       +7  )       
                                                                                  # A    B+,
         
                                                                           " #  &B7 (, #   *77' ,8 A ? * 8(= 9+(8,: 
             3  
    0           D                  "  1 @   -  ,,'" # 8&=8# 
                     0           &&=(+A ? 8&B9+(B(:     
  -                                              
                                              
               >                )  %           
                                                     
      !           6                      *'        
           3                                     
      #  C    /                                 %    
 2    ,7& " #   ='=='7 78 #    =7&=7=>             -   G!          
                                                                                            
   ?   2          ,7B " #  ++ +( 7= #   +*,7
                                                                                 9+77*:      6     
+*B* += A ? * ,*+ 9+(==:>         @   "                                   
,BB " #   +('+(+ 8, #    *+7 +(  !                               
                     1                      J ,,'" #
    G       9   :                     (8(7=8#  &=7
               92  : 1                       %          
           9 :                                      


              Case
                2:20-cv-01820-JPS     Filed 12/09/20
                      ! "#$%&              Page 237
                                                  "&'& %()*" of +",
                                                                              272 Document 1-2
           Case 2020CV001583            Document 26            Filed 12-07-2020              Page 8 of 20
         
         

                  
                                                                      > @   2 ,(," # *,7(# 
              
                                                                   &*+A ? **B9+(=7:>"  1 @   -  
               
                                                                     /        
                 
                                                                                 D    
      ! 0      
                3              **  @   2  
   A                            ,(, " #   ,* 7( #    ++          
                                                   
                                               
                                 1    
                                                   D                  
                                                                           %  .     
                                                                                               
                                           *,
        @    
                             1                       
                                                  
      !                                              *B
                                                                                 !         
       ?          D  
                                                                                        
                
                                                                                 1  
         0             %  
                                                                                      
                  
                                                                    D    %        6 
               
                                                                               
                   
                                                                                                
                 
                                                                                    ! 
                      
                                                                                    
              !  
                                                                                 
     G0        
                                                                               
              0 J             ;%      
# ?  "  A  B8,) *&8B #                   ! "   #       
                                         
                             0       
            0    
                                                                   )  %    *&
                     
                
                                                   !     A       -     ; %
                                                                                 
             
                                                                     !                           )  
                 
                                                                   %   /       0 
%      GH      
                                                                                
         
                                                                                  
   !    6       
                                                                       *= #    )  %  
          IJ *+
                                                                             !
!          
                                                                         )  %   
      
                                                                              
1              
                                                                       )  %   %  
         0     
                                                                                
)  %    #  /  E B*B                                  
" # +(=#  =+*B=A ? *=&(9+(8=:># A            -  A    )  )  %   


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 238
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                        -
           Case 2020CV001583            Document 26             Filed 12-07-2020            Page 9 of 20
         
         

                                          0
                            3        !   
                             %    <G                  )  
   0            -  A          %                   
  *8                                                                              
                                                                    0   0            
     3     
                                                                     J &'() *++,= @ 
           )  %  
                                                                     %          0      
!     0       
                                                                    $                    
     *7 !                                      
                                       
  )   %                                                
                                    $  
       0      6          1                   
     5                     )  %              
                                        !    
     1    D                )  %             
        @  3 
       6                3          0 #   
                        K!    "  # B'," # 8+,(+# 
                                                                 *+B'*(A ? *7**9+(8+: *( #    0 
                                        
        !                                   
                                       %     
                               $            
   !                                  0   #  // 
                                  # ,8*" # &7=87,#  =,+=,8(A ? *
!                           &7B9+(=,:
            )   
       0           
                    ! 0  %  
                  
               3             %  
   -          
                              - .   #!?E?#         
                     )          
%    @       
           )            - .   #!?@%2! - .   /A%C-"
) %                      0     0 
      
                                                                    % 0          
                                                                       0 

                              E                                   !    3      
                                                                                   
!         3                               3     
   0                                     
 %   !  $                                        
       0                              
                      3  


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 239
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                     
           Case 2020CV001583            Document 26             Filed 12-07-2020             Page 10 of 20
         
         

                                                                               D     
   !      3                                      
                                       
                                       
0                             1   # ?  A 
                     $  ++=" # % $  +,=,*+) *8B(9+(=,: !
 #  1  #  B'7" # &(,&(8&(7                            
(*#  *=(B*=(8*=(7,,A ? *&8'                                  0              )  
                                                                    %                   
-  .   /"2F?2                                          2   #  D   
                                                                                
!            
                                                                                
                  
                                                                    A              
   -  .    /2?%         
     D       0  -  .    15@?AA
          6               - .   15@?AA !;?;?)."#!?
                              - .   2?;N"#!0   

!     A                       !                     
  #                   2            
        D                   6 %     !     
         !                 )  %      
   )   %                  0           3  
                                 
                                         )  
       3  +7&             %       
)            
#              !                                           
       D     6     
0                      !    #    5      D  
                                                                 ,'''  2       G  J
                                                                                     !
5                 !     A                           
   "  B*= " #  7,, (= #   *B=& B( A ? * *B&                  G
9+(8=:       #             J     G J !
             )                            
                                
      #           
                                                                    1    2 ? $    #  
              6  
                                                                     +(8'   2      
  @   )    - .   15@?AA
                                                                                      
           )  %     3 
                                                                               $      
0              
                                                                            $        !   
         GJGJ
                                                                                        
         6          
                                                                               2   
             
                                                                           ?        
 #      ! %  
                                                                         
G   #       J

                                                        
                  


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 240
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                     
           Case 2020CV001583             Document 26             Filed 12-07-2020             Page 11 of 20
         
         

                                                                                       
%            6                          
                             1   G   9 :    
%   + %  D                                       A  J
                           ##++&
                      *  !
                                                                                   
                      
                                                                                   !     
  6      .  1  
                                                                                           
%   *=7'                 
                                                                              / 
     @     
                                                                                                  
1                                 0              
                                                  
                  @                       
                                  -         
    )       )    %                              
    D      3                            
            . %                                     
  2      .                     G  J             $
1    1                    2   )    #           8'8B
                          9+(8+: -          
   !        -  -                          3           
. N  %                              )   %      
                                            $   8=88 7*7=>     
   .         D                      B+," # &B7(,#  *77',8
       1    .                 A ? *8(=9+(8,:
     

                                                       
                      
      .   1                                         
                                              )   %  
 2   1    $                                 
                 #                     !                
          K  1      !                      6         
                                         
    .                  2      
                                                                   D         
                                                                       <
      6                   G)                  
         6  %       #                       #     
?   ) !  #    1 +&=+&8                     #       
9+('&:> # 1   1 , -   .  1 #                         
++&++=9+(&(: /                                   #           9:
G  J                    1                     
                                 #  > 9O           
      )  #  +&8  1                 3    :    J%  ,
                   
                      
                 1   


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 241
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                                      
           Case 2020CV001583              Document 26               Filed 12-07-2020               Page 12 of 20
           
           


@                
   0                                                            %
      G  J         
                                                                        %               
#   5  #    /     
                                                                          %         
       >     6 
                                                                                  
                 
          #     1                 =  3      
                                                                                      
   %  )   # ?   #BB,1                 ?    !               
&*8*7'% *,8&9+(8+:                            <
                             G91   1      :    9 :
     #             / &',) *                    
+,B(9%B+(8B:                                                                     
                                                                            J /  E  (*(,(=
!                 !
                                                                        #  =8'9   :
           0       
                                                                           GA      )  %    
        3   
                                                                             D   5      
         ,                             D  
   3                       
                                          J    (, +*8(=#  =8'
       0            
          
                                                                        @       6            
           B
                                                                                  D
                                                                              !      
                                E                                          G               
                                                                                        
!  3                )  
                                                                             J #  /B+&" #
 )  %      #     
                                                                        8*B8,&(B#  +*8B+*7+,(A ? *8+B9+(8B:
       D        
                                                                        G          9 :
                  
         !                                     J          B+&
                                " # 8,=(B#  +*7* #  /  E  
                               B*B" # (7+'+(=#  PP
0      3      )   %  
           /   E  B*B " #  + *& (=
                                                                        @          
#   =+* =,8=,7 B= A ? * =&( 9+(8=:> %  
                                                                                         
*=7,*=7&                   
                                                                                      
          
                                                                          G            9  :J
                   
                                                                        %   *=7+   G          
    /                
                                                                                      
               
                                                                             J% *=78 5   
                
                                                                                 
                   
                                                                                          
                  
                                                                                             
                   
                                                                                                                    8
                                               
  D                 )   %  
  &


               Case
                 2:20-cv-01820-JPS     Filed 12/09/20
                       ! "#$%&              Page 242
                                                   "&'& %()*" of +",
                                                                               272 Document 1-2                                        
           Case 2020CV001583              Document 26              Filed 12-07-2020            Page 13 of 20
         
          

                                                                       1                
!            #                      @        
                                        
                                     6           
         #          
                                 /   E  B*B " #   ===7 (= #  
                                =&8=&7  E            
            $                             
                                                   
                                            
               3 
                                                                             D     
            
                                                                                   
      "             
                                                                               G     
                   
                                                                        J%*=7+ !  0   0 
                    
                                                                         0              
         
                                                                                              
                    
                                                                                   
  G J                   3   G  
                                                                                   5  
     J                  
                                                                                               
  A D        
                                                                        3          
            
   !                                             (
                                                +' #
                                  #  A      B+, " #   &=B (,
      GJ    7 !  
                                                                       #    *77(*7('> "   1  @    -  
               
                                                                       ,,' " #  8& (( =8 #   &&= &=( (+ A ?  8&B 9+(B8:
           !  G J   
                                                                       %            
                6 
                                                                       G9:             
            
                                                                              9:       
1         6                   J        
                #  6                     
                                     % *=779   :
             3   
  <     6          >                                              /
        >    G J  
  6                                            
               6                                
                                                       )   %    0  
                                                                                )   %       
                                       
                         
  G J           )                  !           
                                       GH    
       0                                   D     
                                                  I
              0   
                                                                       J @  E    #  /  ?   /  
             
                                                                       ,+( " #  =*B =B* =, #   ++87 ++78 78 A ?  +=*7
  6            D    
                                                                       9+(B,:  /             
             


              Case
                2:20-cv-01820-JPS     Filed 12/09/20
                      ! "#$%&              Page 243
                                                  "&'& %()*" of +",
                                                                              272 Document 1-2                                      
               Case 2020CV001583            Document 26            Filed 12-07-2020             Page 14 of 20
             
              

                                                                                             
!                    
                                                                          
                  
?    F   A  %          / ,B+ " #  8+= 8+
#   ('( (& A ?  +,+8 9+(&+:                                                    E
    D   G            
                                                                       5                  
0  J    8*& 8+ #    (+& 9)  .                  
     :  D                         
                                            
                  6                                    ; 
     /                                   
                                                   
     G   J%                                       
                                           
    D  ?                           )  %      ! 0 
            ++   D                               6    %  
                                                                                      
         #        1  #  B'7" # &(,(*# 
                                                                                            +*
*=(B ,, A ? * &8' 9+(8*:>      1     /           @                  -
?  ,(+ " #  &=, 77 #   +8,+ *' A ? * 7++        .   ;  G9 :    
9+(=7: !                               
)  %                             ) %    Q  J.
                               2  *='" # **,+B,#  ((=8A ? +'8
              !    
                                                                       9+(**:>  @ 6 !D,(8" # ==B=87('
                       
                                                                       #  +B'(+B+=*&A ? *=(89+(8':
                  
     !                             ""#  
                 
                           B*8" # ,B8(=#  *=8,B(A ? *&B8+?2          ='




                                                              Footnotes


*             The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions
              for the convenience of the reader. See        United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337,
              26 S.Ct. 282, 287, 50 L.Ed. 499.
1             For purposes of our review, all of the well-pleaded allegations of respondents' complaint and uncontroverted
              affidavits filed in support of the motion for a preliminary injunction are taken as true.
2             M. Tolchin & S. Tolchin, To the Victor 5-6 (1971).
3             Id., at 323.
4             Id., at 323-326.
5             See C. Fish, The Civil Service and the Patronage 87, 209-210 (1904); D. Rosenbloom, Federal Service and
              the Constitution 238-240 (1971).
6             C. Friedrich & Z. Brzezinski, Totalitarian Dictatorship and Autocracy 183-188 (rev. ed. 1965).
7             Act of Jan. 16, 1883, c. 27, s 2(2) Fifth, Sixth, 22 Stat. 404.
8
              See    Broadrick v. Oklahoma, 413 U.S. 601, 604-605, n. 2, 93 S.Ct. 2908, 2912, 37 L.Ed.2d 830 (1973).
              Factors contributing to the declining use of patronage have not been limited to the proliferation of merit


                  Case
                    2:20-cv-01820-JPS     Filed 12/09/20
                          ! "#$%&              Page 244
                                                      "&'& %()*" of +",
                                                                                  272 Document 1-2                                   
           Case 2020CV001583            Document 26        Filed 12-07-2020         Page 15 of 20
         
         

      systems. New methods of political financing, the greater necessity of job expertise in public employment,
      growing issue orientation in the elective process, and new incentives for political campaigners have also
      contributed. Sorauf, The Silent Revolution In Patronage, 20 Pub.Admin.Rev. 28, 34 (1960).
9     For comprehensive commentary on the constitutionality of the practice of patronage dismissals, see Schoen,
      Politics, Patronage, and the Constitution, 3 Ind.Legal Forum 35 (1969); Comment, Patronage Dismissals:
      Constitutional Limits and Political Justification, 41 U.Chi.L.Rev. 297 (1974).
10    “It is important to note that while it is the Fourteenth Amendment which bears directly upon the State it is the
      more specific limiting principles of the First Amendment that finally govern this case.” Board of Education
      v. Barnette, 319 U.S. 624, 639, 63 S.Ct. 1178, 1186, 87 L.Ed. 1628 (1943).
11    Protection of First Amendment interests has not been limited to invalidation of conditions on government
      employment requiring allegiance to a particular political party. This Court's decisions have prohibited
      conditions on public benefits, in the form of jobs or otherwise, which dampen the exercise generally of First
      Amendment rights, however slight the inducement to the individual to forsake those rights.
      In   Torcaso v. Watkins, 367 U.S. 488, 81 S.Ct. 1680, 6 L.Ed.2d 982 (1961), decided the same day as
      Cafeteria Workers, the Court squarely held that a citizen could not be refused a public office for failure to
      declare his belief in God. More broadly, the Court has held impermissible under the First Amendment the
      dismissal of a high school teacher for openly criticizing the Board of Education on its allocation of school
      funds.       Pickering v. Board of Education, 391 U.S. 563, 88 S.Ct. 1731, 20 L.Ed.2d 811 (1968). And in
         Sherbert v. Verner, 374 U.S. 398, 83 S.Ct. 1790, 10 L.Ed.2d 965 (1963), unemployment compensation,
      rather than public employment, was the government benefit which could not be withheld on the condition that
      a person accept Saturday employment where such employment was contrary to religious faith. Similarly, the
      First Amendment prohibits limiting the grant of a tax exemption to only those who affirm their loyalty to the
      State granting the exemption.         Speiser v. Randall, 357 U.S. 513, 78 S.Ct. 1332, 2 L.Ed.2d 1460 (1958).
12
      Thereafter,      United States v. Robel, 389 U.S. 258, 88 S.Ct. 419, 19 L.Ed.2d 508 (1967), similarly held
      that mere membership in the Communist Party could not bar a person from employment in private defense
      establishments important to national security.
13    The increasingly pervasive nature of public employment provides officials with substantial power through
      conditioning jobs on partisan support, particularly in this time of high unemployment. Since the government
      however, may not seek to achieve an unlawful end either directly or indirectly, the inducement afforded by
      placing conditions on a benefit need not be particularly great in order to find that rights have been violated.
      Rights are infringed both where the government fines a person a penny for being a Republican and where
      it withholds the grant of a penny for the same reason.
      Petitioners contend that even though the government may not provide that public employees may retain their
      jobs only if they become affiliated with or provide support for the in-party, respondents here have waived any
      objection to such requirements. The difficulty with this argument is that it completely swallows the rule. Since
      the qualification may not be constitutionally imposed absent an appropriate justification, to accept the waiver
      argument is to say that the government may do what it may not do. A finding of waiver in this case, therefore,
      would be contrary to our view that a partisan job qualification abridges the First Amendment.
14    Brief for Petitioners 12-13.
15
      See also     Board of Regents v. Roth, 408 U.S. 564, 571 n. 9, 92 S.Ct. 2701, 2706, 33 L.Ed.2d 548 (1972):
      “In a leading case decided many years ago, the Court of Appeals for the District of Columbia Circuit held
      that public employment in general was a ‘privilege,’ not a ‘right,’ and that procedural due process guarantees
      therefore were inapplicable.         Bailey v. Richardson, 86 U.S.App.D.C. 248, 182 F.2d 46, aff'd by an equally
      divided Court,  341 U.S. 918, 71 S.Ct. 669, 95 L.Ed. 1352. The basis of this holding has been thoroughly
      undermined in the ensuing years. For, as Mr. Justice Blackmun wrote for the Court only last year, ‘this
      Court now has rejected the concept that constitutional rights turn upon whether a governmental benefit is


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 245
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                     
           Case 2020CV001583            Document 26       Filed 12-07-2020          Page 16 of 20
         
         

      characterized as a ”right“ or as a ”privilege.“ ‘    Graham v. Richardson, 403 U.S. 365, 374, 91 S.Ct. 1848,
      1853, 29 L.Ed.2d 534. See, e. g.,          Morrissey v. Brewer, 408 U.S. (471) at 482, 92 S.Ct. (2593) at 2600
      (33 L.Ed.2d 484);         Bell v. Burson, (402 U.S. 535,) at 539,      91 S.Ct. (1586) at 1589 (29 L.Ed.2d 90);
            Goldberg v. Kelly, (397 U.S. 254,) at 262,      90 S.Ct. (1011) at 1017 (25 L.Ed.2d 287);        Shapiro v.
      Thompson, 394 U.S. 618, 627 n. 6, 89 S.Ct. 1322, 1329, 22 L.Ed.2d 600;          Pickering v. Board of Education,
      391 U.S. 563, 568, 88 S.Ct. 1731, 1734, 20 L.Ed.2d 811;    Sherbert v. Verner, 374 U.S. 398, 404, 83 S.Ct.
      1790, 1794, 10 L.Ed.2d 965.”
16    “(T)his Court must balance the extent of the guarantees of freedom against a congressional enactment to
      protect a democratic society against the supposed evil of political partisanship by classified employees of
      government.”        United Public Workers v. Mitchell, 330 U.S., at 96, 67 S.Ct., at 567.
17
      The Court's decision in United States v. O'Brien, 391 U.S. 367, 88 S.Ct. 1673, 20 L.Ed.2d 672 (1968), does
      not support petitioners. O'Brien dealt with the constitutionality of laws regulating the “nonspeech” elements
      of expressive conduct. No such regulation is involved here, for it is association and belief per se, not any
      particular form of conduct, which patronage seeks to control. Moreover, while partisanship may involve
      activities such as registering with a political organization, wearing a campaign button, or contributing to
      a campaign fund, we cannot say these activities can be equated with such conduct as destruction of a
      draft card which was involved in O'Brien. See       Buckley v. Valeo, 424 U.S. 1, 17, 96 S.Ct. 612, 634, 46
      L.Ed.2d 659 (1976). Finally, to paraphrase the Court's observations in Buckley : “Even if the categorization of
      (partisan activity) as conduct were accepted, the limitations challenged here would not meet the O'Brien test
      because the governmental interests advanced in support of the (practice of patronage) involve ‘suppressing
      communication.’ ”     Id., at 17, 96 S.Ct., at 634. For the end to be furthered by the practice involves the
      compulsion of support for the incumbent political party. Indeed, unlike the legislation tested in Buckley, the
      practice of patronage does “focus on the ideas expressed by persons or groups subjected to (it) . . . .” Ibid. And,
      contrary to O'Brien's proscription, under patronage “the alleged governmental interest in regulating conduct
      arises in some measure because the communication allegedly integral to the conduct is itself thought to be
      harmful.”     391 U.S., at 382, 88 S.Ct., at 1682.
18    It does not appear that efficiency and effective government were the concerns of elected officials in this
      case. Employees originally dismissed were reinstated after obtaining sponsorship letters, a practice hardly
      promotive of efficiency if the employee's work had been less than par or if the employee had previously
      behaved in an insubordinate manner. App. 14. Complaints by one supervisor that too many people were being
      discharged too fast, without adequately trained replacements, were met with the response that the number
      of dismissals was to be maintained because the job openings were needed for partisan appointments. Id.,
      at 15. One Republican employee of the Sheriff's Office was told that his dismissal had nothing to do with the
      quality of his work, but that his position was needed for a Democratic replacement. Id., at 22.
19
      In this regard, petitioners' reliance on    American Communications Assn. v. Douds, 339 U.S. 382, 70 S.Ct.
      674, 94 L.Ed. 925 (1950), is misplaced. To be sure, that decision upheld a section of the National Labor
      Relations Act denying certain benefits of the Act to labor organizations which had not filed with the National
      Labor Relations Board affidavits that their leaders were not members of the Communist Party. The Court
      there deferred to a legislative determination, that, with respect to labor relations, the Communist Party was
      unlike other parties in its use of union leadership to bring about strikes and other obstructions to commerce.
      The Court was careful to note in Douds, however, that the precise holding in that case would not serve as a
      departure point for inferences of ill conduct grounded merely on political association.     Id., 339 U.S. at 410,
      70 S.Ct. at 689. Indeed, the Court in Douds also carefully observed that political affiliations and beliefs “are




             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 246
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                        
           Case 2020CV001583            Document 26       Filed 12-07-2020         Page 17 of 20
         
         

      circumstances ordinarily irrelevant to permissible subjects of government action.”       Id., 339 U.S. at 391, 70
      S.Ct. at 680.
      Those caveats were well stated. With but three exceptions shortly after Douds,      Adler v. Board of Education,
      342 U.S. 485, 72 S.Ct. 380, 96 L.Ed. 517 (1952);         Garner v. Los Angeles Board, 341 U.S. 716, 71 S.Ct.
      909, 95 L.Ed. 1317 (1951); and     Gerende v. Board of Supervisors, 341 U.S. 56, 71 S.Ct. 565, 95 L.Ed. 745
      (1951), the Court's decisions have consistently rejected all inferences based merely on belief and association,
      and we do so today. See e. g.,        Keyishian v. Board of Regents, 385 U.S., at 606-608, 87 S.Ct., at 685-686;
          Wieman v. Updegraff, 344 U.S., at 188-190, 73 S.Ct., at 217-218.
20    Legislative restraints on political management and campaigning were also upheld in Letter Carriers and
      Mitchell because they served to protect individual belief and association and, thereby, the political process.
      The distinction between this case and those cases in that respect is treated infra, this page and at 2687-2688.
21    Brief for Petitioners, 43, quoting V. Key, Politics, Parties and Pressure Groups 369 (5th ed. 1964).
22    Partisan politics bears the imprimatur only of tradition, not the Constitution.
      “It may be correct that the patronage system has been followed for ‘almost two hundred years' and
      therefore was in existence when the Constitution was adopted. However, the notoriety of the practice in the
      administration of Andrew Jackson in 1828 implies that it was not prevalent theretofore; we are not aware of
      any discussion of the practice during the drafting of the Constitution or the First Amendment. In any event,
      if the age of a pernicious practice were a sufficient reason for its continued acceptance, the constitutional
      attack on racial discrimination would, of course, have been doomed to failure.” Illinois State Employees
      Union v. Lewis, 473 F.2d 561, 568 n. 14 (CA7 1972).
23    Sorauf, The Silent Revolution in Patronage, 20 Pub.Admin.Rev. 28, 32-33 (1960); Sorauf, Patronage and
      Party, 3 Midwest J.Pol.Sci. 115, 118-120 (1959).
24    See n. 8, Supra.
25
      The Court's decision earlier this term in     Buckley v. Valeo, 424 U.S. 1, 96 S.Ct. 612, 46 L.Ed.2d 659 (1976),
      is not contrary. It is true that in Buckley, as here, the interest to be served was the democratic system, and
      accordingly in Buckley, the infringement of some First Amendment rights was held to be tolerable. In Buckley,
      however, unlike here, the disclosure and contribution limitations on campaign financing, which were upheld,
      were essential to eliminating the grave evil of improper influence in the political process. The Court found
      that those provisions “constitute the Act's primary weapons against the reality or appearance of improper
      influence stemming from the dependence of candidates on large campaign contributions.”             Id., at 58, 96
      S.Ct., at 653. The Court further found that “(t)he contribution ceilings . . . serve the basic governmental
      interest in safeguarding the integrity of the electoral process without directly impinging upon the rights
      of individual citizens and candidates to engage in political debate and discussion.” Ibid. With respect to
      expenditure limitations, however, which were not upheld, the Court found: “These provisions place substantial
      and direct restrictions on the ability of candidates, citizens, and associations to engage in protected political
      expression, restrictions that the First Amendment cannot tolerate.”        Id., at 58-59, 96 S.Ct., at 653. The
      restrictions imposed by patronage dismissals, limiting wholesale an individual's political beliefs, expression,
      and association, while perhaps less direct, are equally, if not more, substantial, and therefore also intolerable
      to the First Amendment. Moreover, patronage dismissals involve the evil of influence, whose very need for
      elimination justified the contribution and disclosure provisions in Buckley.
26    “To declare that the present supposed evils of political activity are beyond the power of Congress to redress
      would leave the nation impotent to deal with what many sincere men believe is a material threat to the
      democratic system.”        United Public Workers v. Mitchell, supra, 330 U.S., at 99, 67 S.Ct., at 569. “Congress




             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 247
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                      
           Case 2020CV001583            Document 26      Filed 12-07-2020           Page 18 of 20
         
         

      may reasonably desire to limit party activity of federal employees so as to avoid a tendency toward a one-
      party system.”     Id., at 100, 67 S.Ct., at 569.
27    The judgment that the First Amendment interests in political campaigning and management must, in the
      setting of public employment, give way to the First Amendment interests in individual belief and association
      does not necessarily extend to other contexts. Restraining political campaigning and management in the
      area of public employment leaves it free to continue in other settings. The consequence of no such restraint,
      however, is the complete restriction of individual belief and association for each public employee affected.
28    Letter Carriers did observe: “Although Congress is free to strike a different balance than it has, if it so chooses,
      we think the balance it has so far struck is sustainable by the obviously important interests sought to be served
      by the limitations on partisan political activities now contained in the Hatch Act.” 413 U.S., at 564, 93 S.Ct.,
      at 2890. Though Congress may be free not to impose restraints on political campaigning and management
      in the public employment sector, we are not similarly free to do so where those practices, protected as they
      may be in other contexts, are found impermissibly to preempt equally, if not more, fundamental constitutional
      rights.
29
      The timeliness of political speech is particularly important. See       Carroll v. Princess Anne, 393 U.S. 175,
      182, 89 S.Ct. 347, 352, 21 L.Ed.2d 325 (1968);      Wood v. Georgia, 370 U.S. 375, 391-392, 82 S.Ct. 1364,
      1373-1374, 8 L.Ed.2d 569 (1962).
      “(T)he purpose of the First Amendment includes the need . . . ‘to protect parties in the free publication of
      matters of public concern, to secure their right to a free discussion of public events and public measures,
      and to enable every citizen at any time to bring the government and any person in authority to the bar of
      public opinion by any just criticism upon their conduct in the exercise of the authority which the people have
      conferred upon them,’ ”     Id., at 392, 82 S.Ct., at 1374 (quoting 2 T. Cooley, Constitutional Limitations 885
      (8th ed. 1927)).
1     Substantially for the reasons stated in the plurality opinion, I agree that the question presented here is
      a justiciable one. I note, however, that the ability to formulate judicial standards is another factor to be
      considered in evaluating justiciability.     Baker v. Carr, 369 U.S. 186, 82 S.Ct. 691, 7 L.Ed.2d 663 (1962).
      The difficulty of formulating standards might pose a bar to judicial review of some patronage practices not
      before us.
2     The sources primarily relied upon for the statements in text are C. Fish, The Civil Service and the Patronage
      (1905), and D. Rosenbloom, Federal Service and the Constitution (1971).
3     On petitioners' motion to dismiss, the District Court had before it only the complaint and the petitioners'
      conclusory motions to dismiss. Although one reasonably may be confident that these employees willingly
      accepted this employment as political patronage, with full knowledge that their continued employment
      depended on the outcome of the next election, this may not be entirely clear from the pleadings as viewed
      upon a motion to dismiss. The District Court made no finding of fact in this respect, and its brief opinion does
      not rely on this ground.
4     One may agree readily that different plaintiffs legitimately could assert First Amendment interests. These
      would be individuals who desired to be hired for state or local employment and who possessed all requisite
      qualifications except the “right” political posture or sponsorship.
5     This case involves only employees. We thus face no allegations that patronage practices exclude any voters
      or candidates from effective participation in the political process by impermissibly disadvantaging them. Cf.
         Shakman v. Democratic Organization of Cook County, 435 F.2d 267 (CA7 1970). Elrod informs us that
      since 1955 two Democrats, two Republicans, and an Independent have served as Sheriff. Reply Brief for
      Petitioners 11 n. 20a.
6     Some commentators have believed that patronage hiring practices promote other social interests as well:




             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 248
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                         -
           Case 2020CV001583            Document 26       Filed 12-07-2020          Page 19 of 20
         
         

      “Patronage is peculiarly important for minority groups, involving much more than the mere spoils of office.
      Each first appointment given a member of any underdog element is a boost in that element's struggle for
      social acceptance. It means that another barrier to their advance has been lifted, another shut door has
      swung open.”
      S. Lubell, The Future of American Politics 76-77 (1952).
7     As this case presents only the question whether a State constitutionally may pursue patronage hiring
      practices, we do not consider whether such practices would be justified if pursued by the Federal Government.
8     Former Senator Paul H. Douglas (D. Ill.) said of patronage hiring practices:
      “In short, I am for civil service but not for having civil service dominate public employment 100 percent. That
      would give us the bureaucracy of Germany and France which I do not regard as ideal.
      “But I would like to have you consider just how long most liberals would be able to last in Congress if you
      stripped us of all patronage, as you desire. We who try to defend the interests of the people, the consumers
      and the taxpayers commonly face the powerful opposition of the special-interest groups which will spend
      enormous sums of money to defeat us. . . . If we are to survive we need some support rooted in gratitude
      for material favors which at the same time do not injure the general public.” Letter to New Republic, July
      14, 1952, p. 2.
9     The plurality might be taken to concede some promotion of the democratic process by patronage hiring
      practices but to conclude that in net effect such practices will reduce political debate impermissibly by affecting
      some employees or potential employees and thereby depriving society of the “unfettered judgment of each
      citizen on matters of political concern.” Ante, at 2689. In the past the Court has upheld congressional actions
      designed to increase the overall level of political discourse but affecting adversely the First Amendment
      interests of some individuals.         Buckley v. Valeo, supra, 424 U.S. 1, 64-68, 96 S.Ct. 612, 656-658, 46
      L.Ed.2d 659 (1976) (disclosure requirements);         CSC v. Letter Carriers, 413 U.S. 548, 564-566, 93 S.Ct.
      2880, 2889-2891, 37 L.Ed.2d 796 (1973);          Red Lion Broadcasting Co. v. FCC, 395 U.S. 367, 392-395,
      89 S.Ct. 1794, 1807-1809, 23 L.Ed.2d 371 (1969). In Letter Carriers we indicated specifically that the First
      Amendment freedoms of federal employees could be limited in an effort to further the functioning of the
      democratic process. I do not believe that local legislative judgments as to what will further the democratic
      process in light of local conditions should receive less weight than these congressional judgments. Surely
      that should be the case until we have a record, if one could be created, showing the fears of the plurality
      to be justified.
10    The judgment today is limited to nonpolicymaking positions. Ante, at 2687. A “policy-making” exception,
      however, will not allow substantial advancement of the state interests undercut by the Court's holding, as it is
      doubtful that any significant number of employees can be identified as policymakers in a sheriff's office. States
      have chosen to provide for the election of many local officials who have little or no genuine policymaking
      functions, see Supra, at 2694-2695, and the subordinates of such officials are even less likely to have such
      functions. It thus is predictable that the holding today will terminate almost completely the contributions of
      patronage hiring practices to the democratic process. The probability of this result is increased to the extent
      that the needs of efficiency in local government require that policymaking positions be included in a merit-
      oriented, nonpolitical civil service.
11    It appears that before the adoption of the Australian ballot, one's access to or retention of a government job
      sometimes could depend on voting “correctly.” D. Rosenbloom, Supra, n. 2, at 61. Today this ultimate core
      of political expression is beyond the reach of any coercive effects of the patronage system.
12    In concluding that the Constitution does not require the invalidation of state and local patronage systems, I
      wish to make clear that approval of any particular type of system or of the practice in any particular State,
      city, or community is not implied. I believe that the prevailing practice is to establish a broad base of merit-
      oriented civil service, but to leave some room for the operation of traditional patronage. I must say that the
      “mix” in Cook County (where only about half of the employees in the Sheriff's Office are within the merit
      system) seems disproportionate. On the other hand, there are smaller communities E. g., where nonpartisan,


             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 249
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                        
           Case 2020CV001583            Document 26    Filed 12-07-2020            Page 20 of 20
         
         

      council-manager forms of government exist in which the merit system embraces the vast majority of public
      employees. Political scientists and students of government differ, and their views also have varied from time
      to time, as to the best means of structuring state and local government employment in the public interest.
      Nor is the answer necessarily the same for every community without regard to its size, form of government,
      or other local conditions. My conviction, as indicated in the opinion above, is that we should not foreclose
      local options in the name of a constitutional right perceived to be applicable for the first time after nearly
      two centuries.


End of Document                                        © 2020 Thomson Reuters. No claim to original U.S. Government Works.




             Case
               2:20-cv-01820-JPS     Filed 12/09/20
                     ! "#$%&              Page 250
                                                 "&'& %()*" of +",
                                                                             272 Document 1-2                           
          Case 2020CV001583            Document 22                Filed 12-07-2020             Page 1 of 11
                                                                                    FILED
                                                                                                12-07-2020
                                                                                                                    Clerk of Circuit Court
                                                                                                                    Waukesha County
                                                                      # 9&$ *             * &
                                                                                                            2020CV001583
                                             $  

        !"#$ %                       0 &1 2#:                     &
        &   '()*$+ %% $
                                                                      '%         
                              &
                                                                      $           
                     ,# * %
                                                                                 
                           (-.                                                     
                             /                                                ;       
                    +0   1$ -                             &
                             /
                                                                      '  $         
                   !2.1$ 3
                                                                          $    !"%  
                                                                              
                                       < = 
                        !   "  #    & 7  '
           !   "  #                   
  $   %                                 *   
                           $    *       *
 & '  ( )                     $   & +   !"&
        * +,-& &.,/*                       %     
(     *&'                   $           &
     *0 &1 2 *             "  *               
  %              $                    $ *     *
$                  *   % 
   *             $         &
       $  
                                                                      '             
         %   
                                                                                ! 8   # 
                    
                                                                        %                  
  $              
                                                                               !        
  $             
                                                                                $   
           3  
                                                                      <=  $    <$=   /57&+>     
 &
                                                                      & / '    !"'   "
 &                                                                           $    <$=&
                                                                      '$   *     *  
0 &  1 2  0 &1 2  &                              
                                                                                       
       0 &  1 2  0 &                          *
1   /,4)& &+.+*+.5*,6 & &76+.*76+,&                     %      
                                                                            $           
       8&                                                        
                                                                             **  *
                                                         $ *         * 
                                                                                      
      !"" 1  1& 9  * 1 &*          *        $    &'  $   
&                                                                             $



               Case
                 2:20-cv-01820-JPS
                       Filed
                                             !"# 12/09/20     Page 251 of ()
                                                   #$#"!%&' 272 Document 1-2
          Case 2020CV001583                 Document 22                Filed 12-07-2020            Page 2 of 11
         
            

 3  *                                       & '     G
   & '      3                  ?D         &  *  
?<=  $                                 &2  *
                            *   &HHH
   * *                                   
       *     &@                    HHH?$ @        
                                                                             $*       ( 
;  $   <$=*   
          ;    & >.A7.&                     &! I & D* +,- & & .,/* .,,* ,66 <7,>.=&
       $ $     !                 '   (   
  $              & B       $ ! 3     %   ?   
            $*                   &@? (     $ 
      !"(        &                  $      !     
B      *                    %        $     
                                   & H H H D    $     3
          %                $   *   (   
        *  %                        &) 
                             *   % %
      &B                        $      $ *
       $  *                              
      $                      &@ B&*,67&     
 &!     C                      *       
$                                          &D 
   $       * %                    $$(   */,-)& &,47*., & &7->,*++9&:&+
     *                          457 <7,>,=*          $ 
3     & - "  *                 $(      $ (
      %                                   D  &
?  &! 5 '    $                    0   */,4)& &+.6*,6 & &76+>*+59&:&+/64&
 !%                        D &
  *    *   3                                  
      *                         $           $ &
 &B     ?  @              !%!   $           

         & >  ":D "$           * & BE*        %       & .  '     
                                                                                  (    & '
>+66A>566F 7. ##.-&+A.-&+/&                                $ $ 
         $  ?   @                  $    $    J ?  @   
(    &&&  ;  9#* &
4.<7,>/=&'        *7. ##.-&7>&                  ? &@ K       & '  * /,- )& & >7.* >+4
                                                                           & >* ., & & 7/++* 7/+4 <7,>,=& #    
                                                                                         $ 
                                   B                                         $      %       

'        $  *   *                  *         $  & E  * /4- )& & /,.* ./
       ;   %                      & & 74,6* 76 9&:&+ ,>5 <7,>/=F        3
    $          $              3 *          & #* /54 )& & 57/* 4. & &
                           4
    $ & '     !%                  7//+* + 9&:&+ 7->6 <7,5.=F         $ 
            
                                                                            *            & 2    "   : *
     *  (     
          $                 /56 )& & 557* 4> & & >/4* 766 9&:& >,+ <7,5>=& ,  '
   ?  @                           3  '      !% 



                Case
                  2:20-cv-01820-JPS
                        Filed
                                              !"# 12/09/20     Page 252 of ()
                                                    #$#"!%&' 272 Document 1-2
         Case 2020CV001583              Document 22             Filed 12-07-2020            Page 3 of 11
        
          

$      $3                 $    & 7/
  $ ?          *@      1      '   * $        *
  #  &0L */-7)& &7+/*                      
7>.* 47 & & >+-* >-4* ,5 9&:& .74 <7,57= <    *   $    & D * $    $ 
1&*   =*          !        $ *$     
                                   $    
    (  &  *                      &
                                                                     *      
      M# D  ) *&&0: *
                                                                         (     
/>4 )& & ..>* .,5* .7 & & 74-/* 74-.A74-,* > 9&:&+
                                                                      & ;$   * *       *
7+/6<7,>7=*?        
                                                                    $     ?      D *   
 %     $ 
                                                                    2  9 $      ;  &@'
           
                                                                                  
       
                                                                     *         
$$   &@   "                $    F         
&9 */>/)& &-+6*--6*--+*.6 & &756+*757/*757-*         $ &
-9&:&+7/64<7,>6=&
                                                                              
B  *   *   $ $           $         $
                                     
                                                                            & '  *   
        & 76  !%# 2 
                                                                     * (             
          * 
                                                                             &   (  
             
                                                                       $    $      
       & &           &                   $        
      &* /,5 )& & //4* ., & & 7.+6* +/ 9&:&+         $&        
/-, <7,>,=&   %     *            * (     $  
  $   *  *  *              $  $
                                                                          &
 & 77  &  &   B    * /.,
                                                                     !%%  D          *   * 
)& & +/5* +/,* .. & & />+* />>* 7, 9&:&+ -/. <7,>4=&
                                                                               
'      3A   
                                                                     3&' %     $  
      $         * 
                                                                         3*   $        $
     *3  3
                                                                            $$ $
3 *           
                                                                      *             $ (
    A           
                                                                     &2          C
              $      
                                                                       &0         
  $     $    
                                                                         $  $       
 &      *   
                                                                              $    
$     & "       
                                                                           & B*          
           $ *   *
                                                                                  ! " 
  (  $       
                                                                    #             
 $  & 7+
                                                                       C      $      
                                                                      $                 
0   *         $                 & '*        $
                 &                 $  * 
        ! $  !%"                 !    $  
$     $              *    !    
   $  &D     C                           



             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 253 of ()
                                                 #$#"!%&' 272 Document 1-2                                       *
         Case 2020CV001583               Document 22              Filed 12-07-2020              Page 4 of 11
         
          

$ &           * ?<=                  !%'      *
          *                     $     
  $       $ (  *                 $     
                             &'     
*   * $   !            $ *      
     $                          
                                                                                    
   $&@    +,-& &*,6-A,65&
                                                                          & 75

                                                                      D        
                                BB                                      $         
                                                                      *  $    % 
 D            *   *  
                                                                         $ &     
         (  
                                                                                    &  
   % (    & D $        
                                                                        $               
?   @          !%&     
                                                                                      % 
      & 7-    *      
                                                                        $      $  &:    
      G        
                                                                        $  ! $&
              !
                                                                      '   $     $$ !      
                
                                                                               &
           $ &
  &      &   &*/,5)& &//4*/-/*           ' !          
., & & 7.+6* 7.+/* +/ 9&:&+ /-, <7,>,= <" * 1&*               $    
  =& '*                              $  &'   
    *               (                           *
       * $                           3     & '
       & D   C*  *  $                       %  
                    &
     %     $  *    
        *               '      $    $      
   $   &'              !%(               
     (                     $  & 7>  B             
           *                                 
             *                  & D  $  
         $  &D                            *     
    *        *   C                
                             $    &0   * 
L                        $     3 $      F
 %  $     $                             
 &                                                                                &
                                                                      ;        $          * 
 ?'  %                     $         *  
    $ &@ L  &8 *+/-)& &/.5*            $           $      &
/,-*/- & &44,*4./*5.9&:&7/>/<7,7-=&'               '              $ 
$?     &@                     F     
                                                                              $  
     &0C */.6)& &5-5*55+*.5 & &77.4*
                                                                       *      !     
77,7* 7- 9&:&+ >+ <7,>5=& B     3 
                                                                         $     & '       
   %     %
                                                                      $            & B    


             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 254 of ()
                                                 #$#"!%&' 272 Document 1-2                                           +
         Case 2020CV001583               Document 22             Filed 12-07-2020              Page 5 of 11
        
          

   F     3        %  
                & &            D      $    
":D"$ *&BE*>-66<=&                                            3        $ 
                                                                      &
 B                
%   *    %                  !!   ?'    $     $*   *
                                                                               $ 
   3   &:&&* B
&9   M&#& &*++4)& &..*,/A,-*// & &7.5*           $  &@ ;  & $* +.4 )& & -5* >.A>,*
                                                                     5/ & & 55* >-* 44 9&:& 75. <7,/+=& D      
7.4A7..*549&:&-/7<7,7/=F D  &                    $       *$
   M */4/)& &,>*76/A76-*./ & &7745*                $      
77.6A77.7*769&:&+++-<7,>/=&D   !&                &   * 
   L  & 0: * />6 )& & -4-* -,>A-,4* 4, & &                *  
7-66*7-7/*/9&:&+7/44<7,5,=*               3  *   !&    
 G                                                                   & D              
                                                                           $  &: 
                                                                     ":D   & -5 #+65&76*
          ?         
                                                                     /- &#& 77-- <7,>,=F -5 #  ++6&+5* /- &#&
                  $              
                                                                     7/5,5<7,>,=&
          (  &8   
               ( 
                                                                       *      !          !
             *    $ 
                                                                       $             
                  * 
             L  !                         &     8  2 '&     & & ;) * /67
          $                         )& & +,+* 54 & & 4+-* .7 9&:& 76,/ <7,/4=F ) 
                                    & $  M &#& &* +>5 )& & +4-* +..A+.,* --
              & D                         & &5>5*5>,A546*>.9&:&767><7,+-=&'   
                 *                            % *    
                                                       
                     
             $  *                               *& D  #&M9 
            *   $  (                          &&;) *+>6)& &-.*54A5,*-/ & &57*5-A55*>4
             $  *    *                    9&:&7+-<7,++=*     
             *  ( *  ( & D                             
             C                            &*   *         &
           %                               &   B 0   */-,)& &7//*45 & &>+/*,,9&:&
           3  & '   
                                                                     ,-+<7,55=F D  &0L *//,)& &//*
              &' 3    3
                                                                     -5A->*46 & &--5*-57A-5+*,-9&:&>7><7,56=&D
          HHH&'   $
                                                                                
          C         
                                                                               $       
            & B        
                                                                           &"  *  *
             * H H H $    
                                                                                &
                HHH
               &@
                                                                      &


                                                                     0 &1 29 I*  &




             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 255 of ()
                                                 #$#"!%&' 272 Document 1-2                                            
         Case 2020CV001583               Document 22              Filed 12-07-2020            Page 6 of 11
         
          

                                                                      (        *  *    
B )  *  *           $                
   *        *               $  (    
   $      *  *     
      3   !&!                &' * 0 $ &0  *7 7/4*+9&:&
    * *  *          >6<7.6/=**  *B  *  $
  C& '                              *B   C
*  *       )                            $ 
          $                &2 
        *              ( (         *B 
                                                                                
  *$ * * %  & 7  
                                                                                
           $   *    
                                                                       &'   B$      
      *     
                                                                       &" &
              & '   
           $             '               
           $    
                                                                       * 5        
 $       3
                                                                      56      &' 
  $   &
                                                                       $    $   
'                              $  &; $$    !
                               
  $ $                                 * $ 
      *                               !# 
& B       (              & $       
 $                               $*  $ 
  !  : *  *                            &0  
      &0                                    
                             $    $  
                         &2    
           $       C& B         ;     
   *    B $ *                       
      $                             
$       !&    $  *               ?     @  !&"       
                                                                                     
 $    & + ' 
                                                                               & B    *  
 $    !     
                                                                             $         
                      
                                                                      $  $     *   
  G?'     
                                                                           *  
 F       *   $ 
                                                                          *      *
  3   *   &! /                 *   &B  $   
                                                                                     C 
#         '  8  
                                                                        !      
        *          74.4 
                                                                             &
;  *; *       
  &'       A9  *           ;      B           
1  *  :3 & ' 1                 $       $     &
     &B               '     $        
           1                    *    
       *   *            *     
 ($           & - B !&#
                                                                      $        3&      &      &


             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 256 of ()
                                                 #$#"!%&' 272 Document 1-2                                          ,
          Case 2020CV001583               Document 22              Filed 12-07-2020             Page 7 of 11
         
          

      * //+ )& & ->* 47A4+*  & 5* >4 & & 7>4+*                   & 
7>.>*,79&:&7,6/<7,-4=<     =&'  *                   $?(
  *                           !      *          
                     & 4     *   
 $                           $*     
      *    ;               (*           
  &B                     3   &B   
  !                    $        
   $                                     
                      (   
&                                                                  $   
                                                                       (             
B  * * $(  ( !  
                                                                          $      $  
                 " 
                                                                         $&
       :   9$ * $     
   $           B            '    %            
     &8 $                          & #   
   $                             *   $            
      ?                     %             
   H H H ?$  @       !&%                 %           
          $*!    *                    & 8         
   *    & ' (                 ?  @          (    
  $        ?   !              $              
    @         $                & '    *    *     
?         (  &@ *                   & 2 B         
 767.& ' ! $   %   ?                       
    *@                  !&'      %  $        
        !$ $& (               (        $ 
$        %    *                    $         
  $  !  !            $            &   !
              *                $      $
$        (   (           $             
 $     &                        $ * ? ! 
                                                                           &'    $    
'           
                                                                         $    $ *( 
3  $   $         
                                                                       *$       &
;    $       (   
    $  ? *@ ? *@  ?                 '              $ 
  &@ *&&* #  &    */-+)& &7>5*               & B  (   
74+*4+ & &+65*+6,*,>9&:&7./<7,5+=&                 $ (    & D   !    % 
      ;                         *      *   $
  &B * (  1                            
                        *       
  !"    $                               (    & B  3  
                                                                            $     $ 
& > "   ;  
                                                                       $ (     !     
($      !&& 
                                                                           & * $   * !%    
   *      *
                                                                                  ?     $   
     *    $  & B *  
                                                                         $     *@*
     *;   
                                                                       767.* B   $              


              Case
                2:20-cv-01820-JPS
                      Filed
                                            !"# 12/09/20     Page 257 of ()
                                                  #$#"!%&' 272 Document 1-2                                            
          Case 2020CV001583               Document 22               Filed 12-07-2020            Page 8 of 11
         
           

                                                                             $  $  
        (  
                                                                                  
   $  $& **
                                                                        3          $  &D 
(  *       
                                                                                   
   !   $         
                                                                        $     ? !  *
   *     $     
                                                                                 *
      &     !    % 
                                                                                
          $      
                                                                                    $  &
      * $        $   
       %                        B    !  &
 *                       '            3  
   !&(                              &      *    * B   
 & & L  &D  */4+)& &//5*/--*                 3          $
./ & &4,+*4,>*,9&:&+4,,<7,>/=&'              C         &' $*
  !  $  *                       *   
    $ *                       &
    $      
(    *  *   *                 )  
      &    
                                                                        /,4)& &+5-*,6 & &7677*+59&:&++.4
    *  $  




                                                               Footnotes


1
        AFDC was established by the Social Security Act of 1935, 49 Stat. 627, as amended,            42 U.S.C. ss
        601—610 (1964 ed. and Supp. IV). It is a categorical assistance program supported by federal grants-in-aid
        but administered by the States according to regulations of the Secretary of Health, Education, and Welfare.
        See N.Y. Social Welfare Law ss 343—362 (1966). We considered other aspects of AFDC in                           King v. Smith,
        392 U.S. 309, 88 S.Ct. 2128, 20 L.Ed.2d 1118 (1968), and in    Shapiro v. Thompson, 394 U.S. 618, 89
        S.Ct. 1322, 22 L.Ed.2d 600 (1969).
        Home Relief is a general assistance program financed and administered solely by New York state and local
        governments. N.Y. Social Welfare Law ss 157—165 (1966), since July 1, 1967, Social Services Law ss
        157—       166. It assists any person unable to support himself or to secure support from other sources. Id.,
            s 158.
2       Two suits were brought and consolidated in the District Court. The named plaintiffs were 20 in number,
        including intervenors. Fourteen had been or were about to be cut off from AFDC, and six from Home Relief.
        During the course of this litigation most, though not all, of the plaintiffs either received a ‘fair hearing’ (see
        infra, at 1015—1016) or were restored to the rolls without a hearing. However, even in many of the cases
        where payments have been resumed, the underlying questions of eligibility that resulted in the bringing of this
        suit have not been resolved. For example, Mrs. Altagracia Guzman alleged that she was in danger of losing
        AFDC payments for failure to cooperate with the City Department of Social Services in suing her estranged
        husband. She contended that the departmental policy requiring such cooperation was inapplicable to the
        facts of her case. The record shows that payments to Mrs. Guzman have not been terminated, but there is
        no indication that the basic dispute over her duty to cooperate has been resolved, or that the alleged danger
        of termination has been removed. Home Relief payments to Juan DeJesus were terminated because he
        refused to accept counseling and rehabilitation for drug addiction. Mr. DeJesus maintains that he does not


              Case
                2:20-cv-01820-JPS
                      Filed
                                            !"# 12/09/20     Page 258 of ()
                                                  #$#"!%&' 272 Document 1-2                                         
        Case 2020CV001583            Document 22         Filed 12-07-2020          Page 9 of 11
       
         

       use drugs. His payments were restored the day after his complaint was filed. But there is nothing in the record
       to indicate that the underlying factual dispute in his case has been settled.
3      The adoption in February 1968 and the amendment in April of Regulation s 351.26 coincided with or followed
       several revisions by the Department of Health, Education, and Welfare of its regulations implementing          42
       U.S.C. s 602(a)(4), which is the provision of the Social Security Act that requires a State to afford a ‘fair
       hearing’ to any recipient of aid under a federally assisted program before termination of his aid becomes
       final. This requirement is satisfied by a post-termination ‘fair hearing’ under regulations presently in effect.
       See HEW Handbook of Public Assistance Administration (hereafter HEW Handbook), pt. IV, ss 6200—6400.
       A new HEW regulation, 34 Fed.Reg. 1144 (1969), now scheduled to take effect in July 1970, 34 Fed.Reg.
       13595 (1969), would require continuation of AFDC payments until the final decision after a ‘fair hearing’ and
       would give recipients a right to appointed counsel at ‘fair hearings.’ 45 CFR s 205.10, 34 Fed.Reg. 1144
       (1969); 45 CFR s 220.25, 34 Fed.Reg. 1356 (1969). For the safeguards specified at such ‘fair hearings'
       see HEW Handbook, pt. IV, ss 6200—6400. Another recent regulation now in effect requires a local agency
       administering AFDC to give ‘advance notice of questions it has about an individual's eligibility so that a
       recipient has an opportunity to discuss his situation before receiving formal written notice of reduction in
       payment or termination of assistance.’ Id., pt. IV, s 2300(d)(5). This case presents no issue of the validity or
       construction of the federal regulations. It is only subdivision (b) of s 351.26 of the New York State regulations
       and implementing procedure 68—18 of New York City that pose the constitutional question before us. Cf.
          Shapiro v. Thompson, 394 U.S. 618, 641, 89 S.Ct. 1322, 1335, 22 L.Ed.2d 600 (1969). Even assuming
       that the constitutional question might be avoided in the context of AFDC by construction of the Social Security
       Act or of the present federal regulations thereunder, or by waiting for the new regulations to become effective,
       the question must be faced and decided in the context of New York's Home Relief program, to which the
       procedures also apply.
4      These omissions contrast with the provisions of subdivision (a) of s 351.26, the validity of which is not at
       issue in this Court. That subdivision also requires written notification to the recipient at least seven days
       prior to the proposed effective date of the reasons for the proposed discontinuance or suspension. However,
       the notification must further advise the recipient that if he makes a request therefor he will be afforded an
       opportunity to appear at a time and place indicated before the official identified in the notice, who will review
       his case with him and allow him to present such written and oral evidence as the recipient may have to
       demonstrate why aid should not be discontinued or suspended. The District Court assumed that subdivision
       (a) would be construed to afford rights of confrontation and cross-examination and a decision based solely
       on the record.     Kelly v. Wyman, 294 F.Supp. 893, 906—907 (1968).
5
       N.Y. Social Welfare Law s 353(2) (1966) provides for a post-termination ‘fair hearing’ pursuant to 42 U.S.C.
       s 602(a)(4). See n. 3, supra. Although the District Court noted that HEW had raised some objections to the
       New York ‘fair hearing’ procedures,      294 F.Supp., at 898 n. 9, these objections are not at issue in this
       Court. Shortly before this suit was filed, New York State adopted a similar provision for a ‘fair hearing’ in
       terminations of Home Relief.    18 NYCRR ss 84.2—84.23. In both AFDC and Home Relief the ‘fair hearing’
       must be held within 10 working days of the request, s 84.6, with decision within 12 working days thereafter,
       s 84.15. It was conceded in oral argument that these time limits are not in fact observed.
6      Current HEW regulations require the States to make full retroactive payments (with federal matching funds)
       whenever a ‘fair heairng’ results in a reversal of a termination of assistance. HEW Handbook, pt. IV,
       ss 6200(k), 6300(g), 6500(a); see   18 NYCRR s 358.8. Under New York State regulations retroactive
       payments can also be made, with certain limitations, to correct an erroneous termination discovered before
       a ‘fair hearing’ has been held. 18 NYCRR s 351.27. HEW regulations also authorize, but do not require,
       the State to continue AFDC payments without loss of federal matching funds pending completion of a ‘fair




             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 259 of ()
                                                 #$#"!%&' 272 Document 1-2                          
        Case 2020CV001583            Document 22           Filed 12-07-2020            Page 10 of 11
       
         

       hearing.’ HEW Handbook, pt. IV, s 6500(b). The new HEW regulations presently scheduled to become
       effective July 1, 1970, will supersede all of these provisions. See n. 3, supra.
7      Appellant does not question the recipient's due process right to evidentiary review after termination. For
       a general discussion of the provision of an evidentiary hearing prior to termination, see Comment, The
       Constitutional Minimum for the Termination of Welfare Benefits: The Need for and Requirements of a Prior
       Hearing, 68 Mich.L.Rev. 112 (1969).
8      It may be realistic today to regard welfare entitlements as more like ‘property’ than a ‘gratuity.’ Much of the
       existing wealth in this country takes the form of rights that do not fall within traditional common-law concepts
       of property. It has been aptly noted that
       ‘(s)ociety today is built around entitlement. The automobile dealer has his franchise, the doctor and lawyer
       their professional licenses, the worker his union membership, contract, and pension rights, the executive his
       contract and stock options; all are devices to aid security and independence. Many of the most important
       of these entitlements now flow from government: subsidies to farmers and businessmen, routes for airlines
       and channels for television stations; long term contracts for defense, space, and education; social security
       pensions for individuals. Such sources of security, whether private or public, are no longer regarded as
       luxuries or gratuities; to the recipients they are essentials, fully deserved, and in no sense a form of charity. It
       is only the poor whose entitlements, although recognized by public policy, have not been effectively enforced.’
       Reich, Individual Rights and Social Welfare: The Emerging Legal Issues, 74 Yale L.J. 1245, 1255 (1965).
       See also Reich, The New Property, 73 Yale L.J. 733 (1964).
9
       See also     Goldsmith v. United States Board of Tax Appeals, 270 U.S. 117, 46 S.Ct. 215, 70 L.Ed. 494
       (1926) (right of a certified public accountant to practice before the Board of Tax Appeals);             Hornsby v.
       Allen, 326 F.2d 605 (C.A.5th Cir. 1964) (right to obtain a retail liquor store license);     Dixon v. Alabama
       State Board of Education, 294 F.2d 150 (C.A.5th Cir.), cert. denied, 368 U.S. 930, 82 S.Ct. 368, 7 L.Ed.2d
       193 (1961) (right to attend a public college).
10     One Court of Appeals has stated: ‘In a wide variety of situations, it has long been recognized that where harm
       to the public is threatened, and the private interest infringed is reasonably deemed to be of less importance,
       an official body can take summary action pending a later hearing.’    R. A. Holman & Co. v. SEC, 112
       U.S.App.D.C. 43, 47, 299 F.2d 127, 131, cert. denied, 370 U.S. 911, 82 S.Ct. 1257, 8 L.Ed.2d 404 (1962)
       (suspension of exemption from stock registration requirement). See also, for example, Ewing v. Mytinger &
       Casselberry, Inc., 339 U.S. 594, 70 S.Ct. 870, 94 L.Ed. 1088 (1950) (seizure of mislabeled vitamin product);
          North American Cold Storage Co. v. Chicago, 211 U.S. 306, 29 S.Ct. 101, 53 L.Ed. 195 (1908) (seizure
       of food not fit for human use);      Yakus v. United States, 321 U.S. 414, 64 S.Ct. 660, 88 L.Ed. 834 (1944)
       (adoption of wartime price regulations);     Gonzalez v. Freeman, 118 U.S.App.D.C. 180, 334 F.2d 570 (1964)
       (disqualification of a contractor to do business with the Government). In   Cafeteria & Restaurant Workers
       Union, etc. v. McElroy, supra, 367 U.S. at 896, 81 S.Ct. at 1749, summary dismissal of a public employee
       was upheld because ‘(i)n (its) proprietary military capacity, the Federal Government, * * * has traditionally
       exercised unfettered control,’ and because the case involved the Government's ‘dispatch of its own internal
       affairs.’ Cf.   Perkins v. Lukens Steel Co., 310 U.S. 113, 60 S.Ct. 869, 84 L.Ed. 1108 (1940).
11     Administrative determination that a person is ineligible for welfare may also render him ineligible for
       participation in state-financed medical programs. See N.Y. Social Welfare Law s 366 (1966).
12     His impaired adversary position is particularly telling in light of the welfare bureaucracy's difficulties in reaching
       correct decisions on eligibility. See Comment, Due Process and the Right to a Prior Hearing in Welfare Cases,
       37 Ford.L.Rev. 604, 610—611 (1969).
13     See, e.g., Reich, supra, n. 8, 74 Yale L.J., at 1255.




             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 260 of ()
                                                 #$#"!%&' 272 Document 1-2                               
        Case 2020CV001583            Document 22          Filed 12-07-2020            Page 11 of 11
       
         

14     Due process does not, of course, require two hearings. If, for example, a State simply wishes to continue
       benefits until after a ‘fair’ hearing there will be no need for a preliminary hearing.
15     This case presents no question requiring our determination whether due process requires only an opportunity
       for written submission, or an opportunity both for written submission and oral argument, where there are no
       factual issues in dispute or where the application of the rule of law is not intertwined with factual issues. See
           FCC v. WJR, 337 U.S. 265, 275—277, 69 S.Ct. 1097, 1103—1104, 93 L.ed. 1353 (1949).
16     ‘(T)he prosecution of an appeal demands a degree of security, awareness, tenacity, and ability which few
       dependent people have.’ Wedemeyer & Moore, The American Welfare System, 54 Calif.L.Rev. 326, 342
       (1966).
1      This figure includes all recipients of Oldage Assistance, Aid to Families with Dependent Children, Aid to the
       Blind, Aid to the Permanently and Totally Disabled, and general assistance. In this case appellants are AFDC
       and general assistance recipients. In New York State alone there are 951,000 AFDC recipients and 108,000
       on general assistance. In the Nation as a whole the comparable figures are 6,080,000 and 391,000. U.S.
       Bureau of the Census, Statistical Abstract of the United States: 1969 (90th ed.), Table 435, p. 297.
2      The goal of a written constitution with fixed limits on governmental power had long been desired. Prior to
       our colonial constitutions, the closest man had come to realizing this goal was the political movement of
       the Levellers in England in the 1640's. J. Frank, The Levellers (1955). In 1647 the Levellers proposed the
       adoption of An Agreement of the People which set forth written limitations on the English Government. This
       proposal contained many of the ideas which later were incorporated in the constitutions of this Nation. Id.
       at 135—147.
3      This command is expressed in the Tenth Amendment:
       ‘The powers not delegated to the United States by the Constitution, nor prohibited by it to the States, are
       reserved to the States respectively, or to the people.’
4      It was proposed that members of the judicial branch would sit on a Council of Revision which would consider
       legislation and have the power to veto it. This proposal was rejected. J. Elliot, 1 Elliot's Debates 160, 164,
       214 (Journal of the Federal Convention); 395, 398 (Yates' Minutes); vol. 5, pp. 151, 161—166, 344—349
       (Madison's Notes) (Lippincott ed. 1876). It was also suggested that The Chief Justice would serve as a
       member of the President's executive council, but this proposal was similarly rejected. Id., vol. 5, pp. 442,
       445, 446, 462.
5      See n. 1, supra.
6      I am aware that some feel that the process employed in reaching today's decision is not dependent on the
       individual views of the Justices involved, but is a mere objective search for the ‘collective conscience of
       mankind,’ but in my view that description is only a euphemism for an individual's judgment. Judges are as
       human as anyone and as likely as others to see the world through their own eyes and find the ‘collective
       conscience’ remarkably similar to their own. Cf.    Griswold v. Connecticut, 381 U.S. 479, 518—519, 85 S.Ct.
       1678, 1700—1701, 14 L.Ed.2d 510 (1965) (Black, J., dissenting);      Sniadach v. Family Finance Corp., 395
       U.S. 337, 350—351, 89 S.Ct. 1820, 1827, 23 L.Ed.2d 349 (1969) (Black, J., dissenting).
7      To realize how uncertain a standard of ‘fundamental fairness' would be, one has only to reflect for a moment
       on the possible disagreement if the ‘fairness' of the procedure in this case were propounded to the head
       of the National Welfare Rights Organization, the president of the national Chamber of Commerce, and the
       chairman of the John Birch Society.


End of Document                                           © 2020 Thomson Reuters. No claim to original U.S. Government Works.




             Case
               2:20-cv-01820-JPS
                     Filed
                                           !"# 12/09/20     Page 261 of ()
                                                 #$#"!%&' 272 Document 1-2
         Case 2020CV001583              Document 27             Filed 12-07-2020              Page 1 of 2
                                                                       FILED
                                                        12-07-2020
                                                                                                                 Clerk of Circuit Court
                                                                    9         5        
                                                                                                                 Waukesha County
                                                                                   ;B 
                                                                                                            2020CV001583
                                                                    ;            5  
                  
                                                                         :       +3+C
   !"#$"$%&""'( ) (*  (
                      +                                             !$  %                   
                 ,"! -                                         8   % 6   +C<9=<0=       
                                                                     D9  7 6  %  8 
                          . /0100                                 %       %        # 
                                 2                                    %       
                          #3  (                                 9      
                                                                     9@E   @A   

                                                                            9? FA       +03
           
                        -0-G<+,,-=<      2 
                     +G0+-3<%  G+,,2== '  5  
       ! "  #  $   % 
                                                                             +03    --  .
   &   $    '   (  )  ) 
                                                                             7 6 
*     +,,- ./ +,0122                  %       9@ 
     !# %              A    9  
%   +03 -0                         H  2CG " #  +30G +C3 # %  +3 +11 / 7 C -1+
     #   %                <+,,,=
        
                                                                    5     D      
                                                             9  9@  A    
                                                                        9             
* 4                                        9     
                                                                             #          
       5                                       C03 " #  11+ 1 # %  +,3 0G / 7  13
                                                                <+,C=B   ! "      #
                                                                    $" 1--" # 0+3,# % 0+3C/ 7 C0--
  678%"8')                                              <+,-,= '    I @EJK  
                                                                                    
8    (  5       9  !
                                                                                    #
 :  ;. 9 :<;= 
                                                                    ?         9      
        !;
                                                                           9 I            9
            5      
                                                                         I             F A
;>   !5 9? 
;    +2>                   %1121# % +,3<  
     :       >             &'  () %#$#  C1G" #
 ;              232C-# % 1,20C/ 7 ++21<+,+-==
    +2>  
                                                                        !       9       5
5 ; ;             9    ;
  +->  7 6                 >        
%           5                            
 >        @                    ;       +2>     
 9  AB;     
                                                                                     #        


                 Case  2:20-cv-01820-JPS
                                    Filed 12/09/20
                            !"#!$ %# &!'()"              Page
                                                     !!%)*)(      262 of !%,#
                                                                    +!%"  272 Document 1-2                                      
         Case 2020CV001583               Document 27              Filed 12-07-2020                  Page 2 of 2
            
                  

                                                                          !                 
* " 22 " #  1+ 12>10 G- # %  ,, C / 7 C -3
                                                                                   D  
<+,2G= !  ;  
                                                                                 7  6   %   !
     @       9  A     ;
                                                                            9   %             
                
                                                                                     I      N
  +2>     !       
                                                                              %      @   A
 ;  9?     
                         @   A   @  A +03   -0 --
.       ?     %             <%  G +,,-=             
9     @ 9? A
                                                                             9     2   +G0 <%  G
  9 
                                                                          +,,2= 9          
                                                                                   @       
' 
                                                                                      <    N  
                                                                           9  = I   9          EF
* 487L78                                             A    +03 --
!# (   . 9 :
I              7  6                '         
%                                      D   9      
                          D            
 %    '  9       :                  9% '
                    :             
    9               :
         M        I 
                           !"  
        D  
                                                                          2C-" # 20C+C3# % +3G+12/ 7 C+3030-"#/.
  :      D  
                                                                          1+2G37  / 8 C30333% $5 #  +2,
   : @  9  A   < 
                                                                          C333$* $  8 +,3,C333%*%  8 -,G
           9 =




                                                              Footnotes


*       We note that the complaint in this case could be read to allege a class of five. In addition to Grace
        and Thaddeus Olech, their neighbors Rodney and Phyllis Zimmer and Howard Brinkman requested to be
        connected to the municipal water supply, and the Village initially demanded the 33–foot easement from all
        of them. The Zimmers and Mr. Brinkman were also involved in the previous, successful lawsuit against the
        Village, which allegedly created the ill will motivating the excessive easement demand. Whether the complaint
        alleges a class of one or of five is of no consequence because we conclude that the number of individuals
        in a class is immaterial for equal protection analysis.


End of Document                                                       © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                Case  2:20-cv-01820-JPS
                                   Filed 12/09/20
                           !"#!$ %# &!'()"              Page
                                                    !!%)*)(      263 of !%,#
                                                                   +!%"  272 Document 1-2                                             
   Case 2020CV001583      Document 28       Filed 12-07-2020       Page 1 of 2
                                                                                  FILED
                                                                                  12-07-2020
                                                                                  Clerk of Circuit Court
                                                                                  Waukesha County
                                                                                  2020CV001583




   STATE OF WISCONSIN                CIRCUIT COURT              WAUKESHA COUNTY



       ERICA BREWER, et al.,

                     Plaintiffs,

              v.                                         Case No. 2020CV001583
                                                         Case Codes: 30701, 30704, 30301

       TOWN OF EAGLE, et al.,

                     Defendants.


                          NOTICE OF MOTION AND
             PLAINTIFFS’ MOTION FOR A TEMPORARY INJUNCTION



       Plaintiffs ERICA BREWER and ZACHARY MALLORY, by and through their

attorney MICHAEL VAN KLEUNEN of CRAMER, MULTHAUF & HAMMES, LLP,

move the Court for an order enjoining Defendants from pursuing or taking any

enforcement actions against the Mallorys—including inspecting the Mallorys’ property,

requiring the Mallorys to make any changes to their property, imposing additional fines

and fees, or filing enforcement claims—for (1) conditions or alleged violations that

existed on their property at the time or before this lawsuit was filed; or (2) violations that

may be alleged to occur during the pendency of this lawsuit but that are based on

ordinances Defendants cited the Mallorys for violating before this lawsuit was filed.




                                       1
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 264 of 272 Document 1-2
   Case 2020CV001583      Document 28    Filed 12-07-2020    Page 2 of 2




       This Motion shall be heard before the Honorable Ralph M. Ramirez at the

Waukesha County Courthouse, 515 West Moreland Boulevard, Waukesha, Wisconsin, at

a date and time as set by the Court.

       This Motion is supported by the accompanying brief and the exhibits attached

thereto.

Dated: December 7, 2020

                                        Electronically signed by Michael Van Kleunen
 Alexa Gervasi*                         Michael P. Van Kleunen (SBN: 1113958)
 Kirby West*                            CRAMER, MULTHAUF & HAMMES, LLP
 Marie Miller*                          1601 East Racine Avenue • Suite 200
 INSTITUTE FOR JUSTICE                  P.O. Box 558
 901 N. Glebe Rd., Suite 900            Waukesha, WI 53187
 Arlington, VA 22203                    (262) 542-4278
 (703) 682-9320                         mvk@cmhlaw.com
 agervasi@ij.org; kwest@ij.org;         Local Counsel for Plaintiffs
 mmiller@ij.org
 Lead Counsel for Plaintiffs

 *Motion for admission pro hac vice
 pending




                                       2
      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 265 of 272 Document 1-2
      Case 2020CV001583       Document 29       Filed 12-07-2020        Page 1 of 1
                                                                                        FILED
                                                                                        12-07-2020
                                                                                        Clerk of Circuit Court
                                                                                        Waukesha County
                                                                                       2020CV001583


    67$7(2):,6&216,1                 &,5&8,7&2857                   :$8.(6+$&2817<
    

    (5,&$%5(:(5HWDO                         
                                                  &DVH1R&9
                     3ODLQWLIIV                  
    Y                                            &DVH&RGHV
                                                  




                                       D
    72:12)($*/(HWDO                        
    




                                     E
                     'HIHQGDQWV
                     




                                   S
                                   
     25'(5*5$17,1*3/$,17,))6¶027,21)25$7(0325$5<,1-81&7,21
                                     21)25$7(0325$5<,1
                                     21 )25$7(0325$5<,1
                                   






                                 PO
          7KHPDWWHUEHIRUHWKH&RXUWLV3ODLQWLIIV¶0RWLRQIRUD7HPSRUDU\,QMXQFWLRQ
                                      LV3ODLQWLIIV¶0RWLRQIRUD
                                      LV3ODLQWLIIV¶0RWLRQIRUD7HP

         12:7+(5()25(,7,625'(5('WKDW
                  )25(,7,625'(5('WKDW
                    5(,7,625'(5

         

   LQWLIIV


          R
    QWLIIV²
                               O
                  'HIHQGDQWVDUHHQMRLQHGIURP
                  'HIHQGDQWVDUHHQMRLQHGIURPSXUVXLQJRUWDNLQJDQ\HQIRUFHPHQWDFWLRQVDJDLQVW

           ²LQFOXGLQJLQVSHFWLQJ
            LQFOXGLQJLQVSHFWLQJ 3
3ODLQWLIIV²LQFOXGLQJLQVSHFWLQJ  3ODLQWLIIV¶SURSHUW\UHTXLULQJ 3ODLQWLIIV WR PDNHDQ\FKDQJHVWR




        P
  HLUSURSHUW LPSRVLQJ
  HLUSURSHUW\

     HGY
     HGYLRODWLR
                 PSR
WKHLUSURSHUW\LPSRVLQJDGGLWLRQDOILQHVDQGIHHVRUILOLQJHQIRUFHPHQWFODLPV²IRUFRQGLWLRQVRU

DOOHJHGYLRODWLRQVWKDWH[LVWHGRQWKHLUSURSHUW\DWWKHWLPHRUEHIRUHWKHDERYHFDSWLRQHGODZVXLW

ZDVILOHGDQG

                'HIHQGDQWVDUHHQMRLQHGIURPSXUVXLQJRUWDNLQJDQ\HQIRUFHPHQWDFWLRQVDJDLQVW

3ODLQWLIIV²LQFOXGLQJLQVSHFWLQJ 3ODLQWLIIV¶SURSHUW\UHTXLULQJ 3ODLQWLIIV WR PDNHDQ\FKDQJHV WR

WKHLUSURSHUW\LPSRVLQJDGGLWLRQDOILQHVDQGIHHVRUILOLQJHQIRUFHPHQWFODLPV²IRUYLRODWLRQVWKDW

PD\EHDOOHJHGWRRFFXUGXULQJWKHSHQGHQF\RIWKHDERYHFDSWLRQHGODZVXLWEXWWKDWDUHEDVHGRQ

RUGLQDQFHV'HIHQGDQWVFLWHG3ODLQWLIIVIRUYLRODWLQJEHIRUHWKHODZVXLWZDVILOHG




        Case 2:20-cv-01820-JPS Filed 12/09/20 Page 266 of 272 Document 1-2
             Case 2020CV001583      Document 30        Filed 12-08-2020        Page 1 of 2
                                                                                               FILED
                                                                                               12-08-2020
                                                                                               Clerk of Circuit Court
                                                                                               Waukesha County
DATE SIGNED: December 8, 2020                                                                  2020CV001583

                      Electronically signed by Hon. Ralph M. Ramirez
                                     Circuit Court Judge




         STATE OF WISCONSIN                    CIRCUIT COURT                  WAUKESHA COUNTY


        ERICA BREWER, et al.,
                                                          Case No. 2020CV001583
                                Plaintiffs,
        v.                                                Case Codes: 30701, 30704, 30301

        TOWN OF EAGLE, et al.,

                                Defendants.




                       ORDER GRANTING MOTION TO APPEAR PRO HAC VICE


                 The matter before the court, the Motion of Michael Van Kleunen, who is an active member

        of the State Bar of Wisconsin, to allow Kirby West, Marie Miller, and Alexa Gervasi to appear

        pro hac vice in the above-entitled action in association with Michael Van Kleunen of Cramer,

        Multhauf & Hammes, LLP, pursuant to Wisconsin Supreme Court Rule 10.03(4).


                NOW THEREFORE, IT IS ORDERED that:

                1.     Pursuant to SCR 10.03(4), Kirby West, Marie Miller, and Alexa Gervasi are

       granted permission to appear and participate in this court in the above-entitled action in association

       with Michael Van Kleunen of Cramer, Multhauf & Hammes, LLP; and




               Case 2:20-cv-01820-JPS Filed 12/09/20 Page 267 of 272 Document 1-2
   Case 2020CV001583         Document 30        Filed 12-08-2020         Page 2 of 2




       2.      Kirby West, Marie Miller, and Alexa Gervasi shall abide by the Rules of

Professional Conduct for attorneys and the Rules of Decorum of the court, SCR 62.02. Violation

of the provisions will result in revocation of the authorization to appear in this case.

                            ###################################




                                                   2

       Case 2:20-cv-01820-JPS Filed 12/09/20 Page 268 of 272 Document 1-2
   Case 2020CV001583         Document 31       Filed 12-09-2020       Page 1 of 2
                                                                                      FILED
                                                                                      12-09-2020
                                                                                      Clerk of Circuit Court
                                                                                      Waukesha County
STATE OF WISCONSIN              CIRCUIT COURT            WAUKESHA COUNTY              2020CV001583



ERICA BREWER and
ZACHARY MALLORY,

               Plaintiffs,

       v.                                                       Case No: 20-CV-1583
                                                              Case Code: 30701
TOWN OF EAGLE,
TOWN OF EAGLE TOWN BOARD,
DON MALEK, CHRIS MOMMAERTS,
STEVE MUTH, JANIS SUHM, DANIEL WEST,
MUNICIPAL LAW & LITIGATION GROUP, S.C.,
MARTIN MONTOYA, and TIM SCHWECKE,

               Defendants.


                                NOTICE OF APPEARANCE


TO:    All Counsel of Record


       PLEASE TAKE NOTICE that Attorney Thomas A. Cabush of Kasdorf, Lewis &

Swietlik, S.C. has been retained by and appears for the Defendants, Town of Eagle, Town of Eagle

Town Board, Don Malek, Chris Mommaerts, Steve Muth, Janis Suhm, Daniel West, Municipal

Law & Litigation Group, S.C., Martin Montoya, and Tim Schwecke, in the above-referenced

matter. Copies of all pleadings and other papers should be served upon us via the Wisconsin Circuit

Court eFiling System or via U.S. Mail at the address below.




      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 269 of 272 Document 1-2
  Case 2020CV001583      Document 31          Filed 12-09-2020   Page 2 of 2




      Dated this 9th day of December, 2020,

                                         KASDORF, LEWIS & SWIETLIK, S.C.
                                         Attorneys for Defendants, Town of Eagle, Town of
                                         Eagle Town Board, Don Malek, Chris Mommaerts,
                                         Steve Muth, Janis Suhm, Daniel West, Municipal
                                         Law and Litigation Group, S.C., Martin Montoya,
                                         and Tim Schwecke.

                                         By: Electronically signed by Thomas A. Cabush
                                             Thomas A. Cabush
                                             State Bar No. 1019433


MAILING ADDRESS:
One Park Plaza, Suite 500
11270 W. Park Place
Milwaukee, WI 53224
Phone: (414) 577-4000
Fax:    (414) 577-4400
E-Mail: tcabush@kasdorf.com




                                               2

     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 270 of 272 Document 1-2
   Case 2020CV001583         Document 32       Filed 12-09-2020       Page 1 of 2
                                                                                      FILED
                                                                                      12-09-2020
                                                                                      Clerk of Circuit Court
                                                                                      Waukesha County
STATE OF WISCONSIN              CIRCUIT COURT            WAUKESHA COUNTY              2020CV001583



ERICA BREWER and
ZACHARY MALLORY,

               Plaintiffs,

       v.                                                       Case No: 20-CV-1583
                                                              Case Code: 30701
TOWN OF EAGLE,
TOWN OF EAGLE TOWN BOARD,
DON MALEK, CHRIS MOMMAERTS,
STEVE MUTH, JANIS SUHM, DANIEL WEST,
MUNICIPAL LAW & LITIGATION GROUP, S.C.,
MARTIN MONTOYA, and TIM SCHWECKE,

               Defendants.


                                NOTICE OF APPEARANCE


TO:    All Counsel of Record


       PLEASE TAKE NOTICE that Attorney Matthew J. Hastings of Kasdorf, Lewis &

Swietlik, S.C. has been retained by and appears for the Defendants, Town of Eagle, Town of Eagle

Town Board, Don Malek, Chris Mommaerts, Steve Muth, Janis Suhm, Daniel West, Municipal

Law & Litigation Group, S.C., Martin Montoya, and Tim Schwecke, in the above-referenced

matter. Copies of all pleadings and other papers should be served upon us via the Wisconsin Circuit

Court eFiling System or via U.S. Mail at the address below.




      Case 2:20-cv-01820-JPS Filed 12/09/20 Page 271 of 272 Document 1-2
  Case 2020CV001583      Document 32          Filed 12-09-2020   Page 2 of 2




      Dated this 9th day of December, 2020,

                                         KASDORF, LEWIS & SWIETLIK, S.C.
                                         Attorneys for Defendants, Town of Eagle, Town of
                                         Eagle Town Board, Don Malek, Chris Mommaerts,
                                         Steve Muth, Janis Suhm, Daniel West, Municipal
                                         Law and Litigation Group, S.C., Martin Montoya,
                                         and Tim Schwecke.

                                         By: Electronically signed by Matthew J. Hastings
                                             Matthew J. Hastings
                                             State Bar No. 1059063


MAILING ADDRESS:
One Park Plaza, Suite 500
11270 W. Park Place
Milwaukee, WI 53224
Phone: (414) 577-4000
Fax:    (414) 577-4400
E-Mail: mhastings@kasdorf.com




                                               2

     Case 2:20-cv-01820-JPS Filed 12/09/20 Page 272 of 272 Document 1-2
